        Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20              Page 1 of 347



                                                                                               FILED
                                                                                              MAY 05 202u
UNITED STATES OF AMERICA                                                               CLERK. U.S.
                                                                                                     DISTRICT CLERK
     ex rd. JOHN ADAMS',                                                              WESTERN DISTRICT cw
                                                                                                             TEXAS
     Plaintiffand Relator,                                                            BYLEPUTy
COMMONWEALTH OF MASSACHUSETTS                                       liii   !D
    cx rd. JOHN ADAMSI,
                                                                    1U111I   I
                                                                    LIJPU3I. 'i
                                                                                 I   UI
                                                                                          i
       Plaintiff and Relator,

MASSACHUSETTS DEPARTMENT OF REVENUE
    ex rel, JOHN ADAMS',

       Plaintiff and Relator,
                                                                    Case No.
and

JOHN ADAMS',
                                                                             yj2OC362
       Plaintiff,

V.




INTERNAL REVENUE SERVICE,

REAL PROPERTY I LOCATED IN BOSTON,
COUNTY OF SUFFOLK, COMMONWEALTH OF
MASSACHUSETTS,

REAL PROPERTY 2 LOCATED IN BOSTON,
COUNTY OF SUFFOLK, COMMONWEALTH OF
MASSACHUSETTS,

REAL PROPERTY 3 LOCATED IN BOSTON,
COUNTY OF SUFFOLK, COMMONWEALTH OF
MASSACHUSETTS,




'The plaintiff and relator, Jaideep S. Chawla, is legally known as Jaideep S. Chawla at the time
of the filing of this Complaint.
                                                2
       Case 6:20-cv-00362-ADA         Document 1      Filed 05/05/20   Page 2 of 347




REAL PROPERTY 4 LOCATED IN BOSTON,
COUNTY OF SUFFOLK, COMMONWEALTH OF
MASSACHUSETTS,

REAL PROPERTY LOCATED IN BROOKLINE,
COUNTY OF NORFOLK, COMMONWEALTH OF
MASSACHUSETTS,

REAL PROPERTY LOCATED IN CHARLESTOWN,
COUNTY OF SUFFOLK, COMMONWEALTH OF
MASSACHUSETTS,

REAL PROPERTY LOCATED IN CONCORD,
COUNTY OF MERRIMACK, STATE OF NEW
HAMPSHIRE,

REAL PROPERTY LOCATED IN DENVER,
COUNTY OF DENVER, STATE OF COLORADO,

REAL PROPERTY LOCATED IN NEW YORK,
COUNTY OF NEW YORK, STATE OF NEW YORK,

REAL PROPERTY LOCATED IN NEWTON CENTRE,
COUNTY OF MIDDLESEX, COMMONWEALTH OF
MASSACHUSETTS,

REAL PROPERTY LOCATED IN PORTLAND,
COUNTY OF CUMBERLAND, STATE OF MAINE,

ONE AUTOMOBILE WITH MASSACHUSETTS
LICENSE PLATE "DURKJN,"

EQUITABLE SHARING PROGRAM BANK
ACCOUNTS 1-X,

OBAMA FOUNDATION BANK ACCOUNTS 1 -X,

TRUSTEES OF BOSTON COLLEGE BANK
ACCOUNTS I -X,

JOHN DOE 1 -X, individually and in his or her respective
official capacity as a federal agent, if any,

                                              3
       Case 6:20-cv-00362-ADA          Document 1           Filed 05/05/20   Page 3 of 347




RONNIE ABRAMS, individually and in his official
capacity as Fake Chief Judge of the United States District
Court for the Southern District of New York,

JOAN AZRACK, individually and in her official
capacity as Fake Judge of the United States District
Court for the Eastern District of New York,

ROBERT BACHARACH, individually and in his official
capacity as Fake Judge of the United States Court of
Appeals for the Tenth Circuit,

PAUL BARBADORO, individually and in his official
capacity as Judge of the United States District Court for
the District of New Hampshire.

DAVID BARRON, individually and in his official
capacity as Fake Judge of the United States
Court of Appeals for the First Circuit,

ALFRED BENNETT, individually and in his official
capacity as Fake Judge of the United States District
Court for the Southern District of Texas,

AMY BERMAN JACKSON, individually and in her
official capacity as Fake Judge of the United States
District Court for the District of Columbia,

CHRISTA BERRY, individually and in her official
capacity as Clerk of the United States District Court for
the District of Maine,

BETH BLOOM, individually and in her official
capacity as Fake Judge of the United States District
Court for the Southern District of Florida,

JAMES BOASBERG, individually and in his official
capacity as Fake Judge of the United States District
Court for the District of Columbia,

STEPHEN BREYER, individually and in his official

                                                 ri
      Case 6:20-cv-00362-ADA           Document 1        Filed 05/05/20   Page 4 of 347




capacity as Justice of the Supreme Court of the United
States,

VINCENT BRICCETTI, individually and in his official            )
capacity as Fake Judge of the United States District           )
Court for the Southern District of New York,                   )


MAR00 BRODIE, individually and in her official
capacity as Fake Judge of the United States District
Court for the Eastern District of New York,

VERNON BRODERICK, individually and in his official
capacity as Fake Judge of the United States District
Court for the Southern District of New York,

R. BROOKE JACKSON, individually and in his official
capacity as Fake Judge of the United States District
Court for the District of Colorado,

KETANJI BROWN JACKSON, individually and in her
official capacity as Fake Judge of the United States
District Court for the District of Columbia,

MARGARET BUCKLEY, individually and in her official
capacity as Assistant Clerk Magistrate of the
Commonwealth of Massachusetts,

 ALLISON BURROUGHS, individually and in her official
 capacity as Fake Judge of the United States District
 Court for the District of Massachusetts,

 DAVID CAMPOS GUADERRAMA, individually and
 in his official capacity as Fake Judge of the United States
 District Court for the Western District of Texas,

 VALERIE CAPRONI, individually and in her official
 capacity as Fake Judge of the United States District
 Court for the Southern District of New York,

 SUSAN CARNEY, individually and in her official
 capacity as Fake Judge of the United States Court of
 Appeals for the SecondCircuit,
       Case 6:20-cv-00362-ADA           Document 1          Filed 05/05/20   Page 5 of 347




ANDREW CARTER, JR., individually and in his official
capacity as Fake Judge of the United States District
Court for the Southern District of New York,

DENISE CASPER, individually and in her official
capacity as Fake Judge of the United States District
Court for the District of Massachusetts,

EDMOND CHANG, individually and in his official
capacity as Fake Judge of the United States District Court
for the Northern District of Illinois,

EDWARD CHEN, in his official capacity as
Fake Judge of the United States District Court for
the Northern District of California,

PAMELA CHEN, individually and in her official
capacity as Fake Judge of the United States District
Court for the Eastern District of New York,

VINCE CHHABRIA, in his official capacity as
Fake Judge of the United States District Court for
the Northern District of California,

DENNY CHIN, individually and in his official
capacity as Fake Judge of the United States Court of
Appeals for the Second Circuit,

MORGAN CHRISTEN, individually and in her official
capacity as Fake Judge of the United States Court of
Appeals for the Ninth Circuit,

TANYA CHUTKAN, individually and in her official
capacity as Fake Judge of the United States District
Court for the District of Columbia,

JEFFREY COLWELL, individually and in his official
capacity as Clerk of the United States District Court for
the District of Colorado,

CHRISTOPHER COOPER, individually and in his official
      Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20   Page 6 of 347




capacity as Fake Judge of the United States District
Court for the District of Columbia,

RUDOLPH CONTRERAS, individually and in his official
capacity as Fake Judge of the United States District
Court for the District of Columbia,

GREGG COSTA, individually and in his official
capacity as Fake Judge of the U.S. Court of Appeals for
the Fifth Circuit,

KEVIN CURTIN, individually and in his official capacity
as Assistant District Attorney of Middlesex County,
Massachusetts,

MAE D'AGOSTINO, individually and in her official
capacity as Fake Judge of the United States District
Court for the Northern District of New York,

EDWARD DAVILLA, in his official capacity as
Fake Judge of the United States District Court for
the Northern District of California,

JAMES DONATO, in his official capacity as
Fake Judge of the United States District Court for
the Northern District of California,

ANN DONNELLY, individually and in her official
capacity as Fake Judge of the United States District
Court for the Eastern District of New York,

CHRISTOPHER DRONEY, individually and in his
official capacity as Fake Judge of the United States
Court of Appeals for the Second Circuit,

THOMAS DURKIN, individually and in his official
capacity as Fake Judge of the United States District Court
for the Northern District of Illinois,

SARA ELLIS, individually and in her official
capacity as Fake Judge of the United States District Court
for the Northern District of Illinois,

                                                 7
        Case 6:20-cv-00362-ADA           Document 1         Filed 05/05/20   Page 7 of 347




PAUL ENGELMEYER, individually and in
                                             his official
capacity as Fake Judge of the United States District
Court for the Southern District of New York,

                                                official
KATHERINE FAILLA, individually and in her
capacity as Fake Judge of the United States District
Court for the Southern District of New York,

ROBERT FARRELL, individually and in his official
                                                      for the
capacity as Clerk of the United States District Court
District of Massachusetts,

MICHAEL FATALE, individually and in his official
capacity as a Deputy General Counsel of the
Massachusetts Department of Revenue,

 GARY FEINERMAN, individually and in his official
 capacity as Fake Judge of the United States District Court
 for the Northern District of Illinois,

 MICHELLE FRIEDLAND, individually and in her
                                                      Court
 official capacity as Fake Judge of the United States
 of Appeals for the Ninth Circuit,

 JESSE FURMAN, individually and in his official
 capacity as Fake Judge of the United States District
 Court for the Southern District of New York,

  RALPH GANTS, individually and in his official
  capacity as Chief Justice of the Supreme Judicial Court
  of the Commonwealth of Massachusetts,

  MERRICK GARLAND, individually and in his official
  capacity as Chief Judge of the United States Court
                                                     of
  Appeals for the District of Columbia Circuit,

  DARRIN GAYLES, individually and in his official
  capacity as Fake Judge of the United States District
  Court for the Southern District of Florida,

  LINDA GILES, individually and in her official capacity
       Case 6:20-cv-00362-ADA           Document 1        Filed 05/05/20   Page 8 of 347




as Justice of the Superior Court of the Commonwealth        )
of Massachusetts,                                           )
                                                            )


HAY WOOD GILLIAM, in his official capacity as               )
Fake Judge of the United States District Court for           )
the Northern District of California,                         )
                                                             )


NELVA GONZALES RAMOS, individually and in her                )
official capacity as Fake Judge of the United States District)
Court for the Southern District of Texas,                    )
                                                             )


YVONNE GONZALEZ ROGERS, in her official capacity )
as Fake Judge of the United States District Court for )
the Northern District of California,                  )
                                                             )

JAMES GRAVES, JR., individually and in his official          )
capacity as Fake Judge of the U.S. Court of Appeals for      )
the Fifth Circuit,                                              )
                                                                )


KAREN GREEN, individually and in her official capacity )
as Justice of the Superior Court of the Commonwealth   )
of Massachusetts,                                      )
                                                                 )


LASHANN HALL, individually and in his official                   )
capacity as Judge of the United States District Court for        )
the Eastern District of New York,                                )


 GEORGE HANKS, JR., individually and in his official
 capacity as Fake Judge of the United States District
 Court for the Southern District of Texas,

 DAVID HAMILTON, individually and in his official
 capacity as a Fake Judge of the United States Court of
 Appeals for the Seventh Circuit,

 MAURA HEALEY, individually and in her official
 capacity as Attorney General of the Commonwealth of
 Massachusetts,

 STEPHEN HIGGINSON, individually and in his official                 )
 capacity as Fake Judge of the U.S. Court of Appeals for             )
 the Fifth Circuit,                                                  )
        Case 6:20-cv-00362-ADA          Document 1         Filed 05/05/20   Page 9 of 347




TIMOTHY HILLMAN, individually and in his official
capacity as Fake Judge of the United States District
Court for the District of Maine,

BERYL HOWELL, individually and in his official
capacity as Fake Chief Judge of the United States District
Court for the District of Columbia,

ANDREW HURWITZ, individually and in his official
capacity as Fake Judge of the United States Court of
Appeals for the Ninth Circuit,

SHANNON JOHNSON COLEMAN, individually and in
her official capacity as Fake Judge of the United States
District Court for the Northern District of Illinois,

ADALBERTO JORDAN, individually and in his
official capacity as Fake Judge of the United States
Court of Appeals for the Eleventh Circuit,

ELENA KAGAN, individually and in her official
capacity as Fake Justice of the Supreme Court of the
United States,

GARY KATZMANN, individually and in his official
capacity as Fake Judge of the United States Court of
International Trade,

WILLIAM KAYATTA, JR., individually and in his
official capacity as Fake Judge of the United States Court
of Appeals for the First Circuit,

 C. JEFFREY KINDER, individually and in his official
 capacity as Justice of the Massachusetts Appeals Court,

 LUCY KOH, in her official capacity as Fake Judge of the
 United States District Court for the Northern District of
 California,

 ERIC KOMITEE, individually and in his official
 capacity as Fake Judge of the United States District

                                                 10
      Case 6:20-cv-00362-ADA           Document 1          Filed 05/05/20   Page 10 of 347




Court for the Eastern District of New York,

RACHEL KOVNER, individually and in her official
capacity as Fake Judge of the United States District
Court for the Eastern District of New York,

WILLIAM KUNTZ, individually and in his official
capacity as Fake Judge of the United States District
Court for the Eastern District of New York,

BETH LABSON FREEMAN, in her official capacity as
Fake Judge of the United States District Court for
the Northern District of California,

JOHN LEE, individually and in his official capacity as
Fake Judge of the United States District Court
for the Northern District of Illinois,

JON LEVY, individually and in his official capacity as
Fake Chief Judge of the United States District
Court for the District of Maine,

RAYMOND LOHIER, JR., individually and in his
official capacity as Fake Judge of the United States Court
of Appeals for the Second Circuit,

DAVID LOWY. individually and in his official
capacity as Justice of the Supreme Judicial Court of the
Commonwealth of Massachusetts,

JORGE LUIS ALONSO, individually and in his official
capacity as Fake Judge of the United States District Court
for the Northern District of Illinois,

GERARD LYNCH, individually and in his official
capacity as Fake Judge of the United States Court of
Appeals for the Second Circuit.
                                                              )

SANDRA LYNCH, individually and in her official                )
capacity as Judge of the United States Court of Appeals       )
for the First Circuit,                                        )
                                                              )




                                                11
       Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20   Page 11 of 347




MARINA MARMOLEJO, individually and in her official
capacity as Fake Judge of the United States District
Court for the Southern District of Texas,

BEVERLY MARTIN, individually and in her
official capacity as Fake Judge of the United States
Court of Appeals for the Eleventh Circuit,

WILLIAM MARTINEZ, individually and in his official
capacity as Fake Judge of the United States District
Court for the District of Colorado,

SCOTT MATHESON, JR., individually and in his official
capacity as Fake Judge of the United States Court of
Appeals for the Tenth Circuit,

MARK MASTROIANNI, individually and in his official            )
capacity as Fake Judge of the United States District          )

Court for the District of Massachusetts,                      )
                                                              )


 AMOS MAZZANT III, in his official capacity as
 Fake Judge of the United States District Court for
 the Eastern District of Texas,

 LANDYA MCCAFFERTY, individually and in her official
 capacity as Fake Chief Judge of the United States District
 Court for the District of New Hampshire,

 JOHN J. MCCONNELL, JR., in his official
 capacity as Fake Judge of the United States District
 Court for the District of Rhode Island,

 CAROLYN MCHUGH, individually and in his official
 capacity as Fake Judge of the United States Court of
 Appeals for the Tenth Circuit,

 AMIT MEHTA, individually and in his official
 capacity as Fake Judge of the United States District
 Court for the District of Columbia,

  PATRICIA MILLETT, individually and in her official
  capacity as Fake Judge of the United States Court of

                                                  12
     Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20   Page 12 of 347




Appeals for the District of Columbia Circuit,

RAYMOND MOORE, individually and in his official
capacity as Fake Judge of the United States District
Court for the District of Colorado,

NANCY MORITZ, individually and in her official
capacity as Fake Judge of the United States Court of
Appeals for the Tenth Circuit,

RANDOLPH MOSS, individually and in his official
capacity as Fake Judge of the United States District
Court for the District of Columbia,

MARY MURGUJA, individually and in her official
capacity as Fake Judge of the United States Court of
Appeals for the Ninth Circuit,

ALISON NATHAN, individually and in her official
capacity as Fake Judge of the United States District
Court for the Southern District of New York,

ERIC NEYMAN, individually and in his official
capacity as Justice of the Massachusetts Appeals Court,

JACQUELINE NGUYEN, individually and in her
official capacity as Fake Judge of the United States Court
of Appeals for the Ninth Circuit,

GEORGE O'TOOLE, JR., individually and in his official
capacity as Judge of the United States District Court
for the District of Massachusetts,

J. PAUL OETKEN, individually and in his official
capacity as Fake Judge of the United States District
Court for the Southern District of New York,

WILLIAM ORRICK III, in his official capacity as
Fake Judge of the United States District Court for
the Northern District of California,

JOHN OWENS, individually and in his official

                                                13
       Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20   Page 13 of 347




capacity as Fake Judge of the United States Court of
Appeals for the Ninth Circuit,

GREGORY PHILLIPS, individually and in his official
capacity as Fake Judge of the United States Court of
Appeals for the Tenth Circuit,

CORNELIA PILLARD, individually and in her official
capacity as Fake Judge of the United States Court of
Appeals for the District of Columbia Circuit,

ROBERT PITMAN, individually and in his
official capacity as Fake Judge of the United States
District Court for the Western District of Texas,

JILL PRYOR, individually and in her official capacity
as Fake Judge of the United States Court of Appeals
for the Eleventh Circuit,

EDGARDO RAMOS, individually and in his official
capacity as Fake Judge of the United States District
Court for the Southern District of New York,

JOHN ROBERT BLAKEY, individually and in his
official capacity as Fake Judge of the United States
District Court for the Northern District of Illinois,

JOHN ROBERTS, individually and in his official capacity
as Chief Justice of the Supreme Court of the United States,

JAMES RODNEY GILSTRAP, in his official capacity as
Fake Chief Judge of the United States District Court for
the Eastern District of Texas,

JOSE ROLANDO OLVERA, JR., individually and in his
official capacity as Fake Judge of the United States Districi
Court for the Southern District of Texas,

 NELSON ROMAN, individually and in his official
 capacity as Fake Judge of the United States District
 Court for the Southern District of New York,


                                                  14
       Case 6:20-cv-00362-ADA           Document 1           Filed 05/05/20   Page 14 of 347




ROBIN ROSENBAUM, individually and in her
official capacity as Fake Judge of the United States
Court of Appeals for the Eleventh Circuit,

ROBIN ROSENBERG, individually and in her official
capacity as Fake Judge of the United States District
Court for the Southern District of Florida,

DIANE SALDANA, individually and in her official
capacity as Fake Judge of the United States District
Court for the Southern District of Texas,

BRENDA SANNES, individually and in her official
capacity as Fake Judge of the United States District
Court for the Northern District of New York,

PATTI SARIS, individually and in her official capacity as
Judge of the United States District Court for the District
of Massachusetts,

LORNA SCHOFIELD, individually and in her official
capacity as Fake Judge of the United States District
Court for the Southern District of New York,

ROBERT SCOLA JR., individually and in his official
capacity as Fake Judge of the United States District
Court for the Southern District of Florida,

ROBERT SCHROEDER III, in his official capacity as
Fake Judge of the United States District Court for
the Eastern District of Texas,

 RICHARD SEEBORG, in his official capacity as
 Fake Judge of the United States District Court for
 the Northern District of California,

 MANISH SHAH, individually and in his official
 capacity as Fake Judge of the United States District Court
 for the Northern District of Illinois,

 TEAGAN SNYDER, individually and in her official
 capacity as an Employee of the United States

                                                  15
     Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20   Page 15 of 347




District Court for the District of Maine,

LEO SOROKIN, individually and in his official capacity
as Fake Judge of the United States District Court for the
District of Massachusetts,

SONIA SOTOMAYOR, individually and in her official
capacity as Fake Justice of the Supreme Court of the
United States,

DEBRA SQUIRES-LEE, individually and in her official
capacity as Justice of the Superior Court of the
Commonwealth of Massachusetts,

SRI SRINIVASAN, individually and in his official
capacity as Fake Chief Judge of the United States Court of
Appeals for the District of Columbia Circuit,

ERIC STORMS, individually and in his official
capacity as Chief Deputy Clerk of the United States
District Court for the District of Maine,

INDIRA TALWANI, individually and in her official
Capacity as Fake Judge of the United States District
Judge for the District of Massachusetts,

JOHN THARP, individually and in his official
capacity as Fake Judge of the United States District Court
for the Northern District of Illinois,

0. ROGERTEE THOMPSON, individually and in her
official capacity as Fake Judge of the United States
Court of Appeals for the First Circuit,

JON TIGAR, in his official capacity as Fake Judge of the
United States District Court for the Northern District of
California,

ANNALISA TORRES, individually and in her official
capacity as Fake Judge of the United States District
Court for the Southern District of New York,


                                                16
     Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20   Page 16 of 347




NANCY TORRESEN, individually and in her official
Capacity as Fake Judge of the United States District Court
for the District of Maine,

ROBERT ULLMANN, individually and in his official
capacity as Justice of the Superior Court of the
Commonwealth of Massachusetts,

MARTIN WALSH, individually and in his official
capacity as Mayor of the City of Boston, Massachusetts,

PAUL WATFORD, individually and in his official
capacity as Fake Judge of the United States Court of
Appeals for the Ninth Circuit,

KATHLEEN WILLIAMS, individually and in her official
capacity as Fake Judge of the United States District
Court for the Southern District of Florida,

ROBERT WILKINS, individually and in his official
capacity as Fake Judge of the United States Court of
Appeals for the District of Columbia Circuit,

GABRIELLE WOLOHOJIAN, individually and in her
official capacity as Justice of the Massachusetts
Appeals Court,

ANDREA WOOD, individually and in her official
capacity as Fake Judge of the United States District Court
for the Northern District of Illinois,

GREGORY WOODS, individually and in his official
capacity as Fake Judge of the United States District
Court for the Southern District of New York,

AMY CRAFTS, PIERCE CRAY, GILLIAN FEINER,
DEAN MAZZONE, HOWARD MESHNICK, JAMES
SWEENEY, LORRAINE TARROW, JEFFREY
WALKER, individually and in his or her respective
official capacity as Assistant Attorney General of the
Commonwealth,


                                                17
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20   Page 17 of 347




THOMAS MURPHY, individually and in his official
capacity as a State Police Officer of the Commonwealth
of Massachusetts,

JONATHAN BLODGETT, in his official capacity
as District Attorney for Essex County, Massachusetts,

CHRISTOPHER HARDING, in his official capacity
as Commissioner of the Massachusetts Department of
Revenue,

MARIS ABBENE, NAA-SAKLE AKUETE, TYLER                   )
ARCHER, ROBERT BLOOM, MARK           BRODIN,            )
THEODORE BUNZEL, JUDD         CARHART,    R.  MICHAEL)
CASSIDY, MARTHA COAKLEY, JAMES COLE, JOHN )
DAWLEY, ROBERT DIAMOND, BRIAN DURKIN,                   )
THOMAS DURKIN, BENJAMIN FLATGARD,               TORIL   )
FORLAND, JAVIER GONZALEZ,        MARGARET               )
000DLANDER, WILLIAM          HENNRIKIJS,   JOSEPH       )
HERLIHY, SARAH HERLIHY, ERIC HOLDER,                     )
SAMUEL HOYLE, LILAH HUME, JULIETTE                       )
KAYYEM, ELISABETH KELLER,         BROOKS      KENYON,)
DANIEL KOH, STEVEN KOH, DAVID LAMPERT,                   )
PAY LAMPERT SHUTZER, HENRIK LAMPERT,                     )
THOMAS LAMPERT, LORETTA LYNCH,                           )
JOHN LYSOHIR, DAVID MACKEY, THOMAS                       )
MAFFEI, JUSTIN MALONEY,        TEMBA    MAQUBELA,        )
VUYELWA MAQUBELA,           OHISLAINE   MAXWELL,         )
CARMEN ORTIZ, DEVAL PATRICK,                             )
AYANNA PRESSLEY, JAMIL ROMAN, VINCENT                    )
 ROUGEAU, DONALD SAVERY, JANET                            )
 SCOGNAMIGLIO, WILLIAM         SHUTZER,    DAVID          )
 SIMAS, JOHN VERNER, GEORGE WALKER IV,                    )
 SALLY YATES, individually and in his or her respective )
 official capacity, if any,                                )
                                                             )


 GEORGE W. BUSH, individually and in his official            )
 capacity as Former President of the United States,          )
                                                             )


 JOHN E. BUSH a/k/a "JEB BUSH," individually and in          )
 his official capacity, if any,                              )
                                                             )



                                                 18
      Case 6:20-cv-00362-ADA           Document 1          Filed 05/05/20   Page 18 of 347




OMAR MANGALJI a/k/a 'RONNIE BACARDI,"                         )
individually,                                                 )


SIKANYISELWE-SIPO MAQUBELA a/k/a
'KANYI MAQUBELA," individually,

BARACK H. OBAMA a/k/a "BARRY SOETORO"
individually and in his official capacity as Fake Former
President of the United States,

CARLOS SLIM HELU a/k/a "CARLOS SLIM,"
individually,

UNITED STATES, U.S. DEPARTMENT OF JUSTICE,
U.S. DISTRTCT COURT FOR THE DISTRICT OF
COLORADO, U.S. DISTRICT COURT FOR THE
DISTRICT OF MAINE, U.S. DISTRICT COURT FOR
THE DISTRICT OF MASSACHUSETTS, U.S.
DISTRICT COURT FOR THE DISTRICT OF NEW
HAMPSHIRE, U.S. COURT OF APPEALS FOR THE
FIRST CIRCUIT, U.S. TAX COURT,

COMMONWEALTH OF MASSACHUSETTS,
MASSACHUSETTS APPEALS COURT,
SUFFOLK SUPERIOR COURT, MASSACHUSETTS
DEPARTMENT OF REVENUE,
                                                                  )


AMERICAN BAR ASSOCIATION,

 LAW SCHOOL ADMISSIONS COUNCIL,

 RECTORS AND VISITORS OF THE UNIVERSITY
 OF VIRGINIA,

 TRUSTEES OF BOSTON COLLEGE,

 TRUSTEES OF COLUMBIA UNIVERSITY IN THE
 CITY OF NEW YORK,

 TRUSTEES OF THE UNIVERSITY OF
 PENNSYLVANIA.


                                                  19
       Case 6:20-cv-00362-ADA   Document 1   Filed 05/05/20   Page 19 of 347




CORNELL UNIVERSITY,                              )
                                                 )

NORTHWESTERN UNIVERSITY,                         )
                                                 )

THE UNIVERSITY OF CHICAGO,                       )

UNIVERSITY OF DENVER,

NEW YORK TIMES COMPANY,

and

WILMER CUTLER PICKERING HALE AND DORR,
LLP,

       Defendants.




                        [TABLE OF CONTENTS FOLLOWS]
       Case 6:20-cv-00362-ADA               Document 1          Filed 05/05/20        Page 20 of 347




                                          vui*ii

INTRODUCTORY STATEMENT                                                                                       .22

PARTIES ...................................................................................................... 23

JURISDICTION AND VENUE ............................................................................ 79

LAW SCHOOL ADMISSIONS TEST .................................................................... 80

BOSTON COLLEGE LAW SCHOOL TUITION RATES ............................................. 81

CORNELL LAW SCHOOL TUITION RATES .......................................................... 84

ANTITRUST COMBINATION OR CONSPIRACY ................................................... 85

LEGAL RELATIONSHIP BETWEEN FEDERAL ASSET FORFEITURE
AND THE FALSE CLAIMS ACT ........................................................................ 87

THE ENTERPRISE .......................................................................................... 89

GENERAL ALLEGATIONS .............................................................................. 100

INJURIES TO BUSINESS AND PROPERTY.......................................................... 215

RACKETEERING ACTS ..................................................................................216

CAUSESOF ACTION ..................................................................................... 251

RELIEF REQUESTED ..................................................................................... 341




                                                      21
     Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 21 of 347




                             !iUftI) WI*1S)W&UU*i
     This complaint (this "Complaint") is brought by John Adams, (formerly Jaideep S.

     Chawla, hereinafter "THE RELATOR" or "ADAMS"), acting pro Se, for statutory

     compensation and award pursuant to the False Claims Act (31 U.S.C. § 3730(b)(l)).

      Additional claims are made pursuant to federal law, including the Racketeer Influenced

      and Corrupt Organizations Act (18 U.S.C. §S 1961 et seq.), as well as Massachusetts law.

2.    As set forth in the Causes of Action section, all claims are brought as a relator under state

      and/or federal law as well as in an individual capacity.

      THE RELATOR's status as a relator pursuant to Mass.Gen.Laws ch. 12 § 5C was

      confirmed by the Massachusetts Supreme Judicial Court in the case of Chawla v. Mass.

      Appeals Court, No. SJC-12488. That case concerned a recusal issue in Commonwealth

      cx rd. Chawla & another v. Gonzalez, et al., 90 Mass. App. Ct. 1102; 56 N.E.3d 894;

      2016 Mass. App. Unpub. LEXIS 836 (May 12, 2017), which was the appeal of the

      dismissal of Commonwealth cx rel. Chawla v. Gonzalez, et al., C.A. No.

      SUCV-2014-2090D (Suffolk Super. Ct., Apr. 24, 2018) (altogether, the "Qué Tam

      Action").

4.    This Complaint arises out of narcotics trafficking between Mexico, Texas, and the

      Commonwealth of Massachusetts by alleged members of the "Gulf Cartel" and

      subsequent and repeated corruption of the judicial process occurring in connection with

      state and federal courts as well as at American Bar Association-approved law schools.

      As set forth herein, THE RELATOR cannot receive a fair trial, hearing, and/or

      disposition in Suffolk Superior Court of the Commonwealth of Massachusetts, the
                                                22
     Case 6:20-cv-00362-ADA          Document 1          Filed 05/05/20   Page 22 of 347




     Massachusetts Appeals Court, the Massachusetts Supreme Judicial Court; the United

      States Tax Court; the United States District Court for the Districts of Massachusetts, New

     Hampshire, and Colorado; the United States Court of Appeals for the First Circuit, and/or

     in the Supreme Court of the United States due to the presence of ineligible and/or

     allegedly corrupt "judges" and "justices."

6.   As set forth herein, there are a number of purported federal judges who have participated

      in THE RELATOR's litigation or could participate based on the facts alleged herein.

     Each of these so-called judges ("FAKE FEDERAL JUDGES") is listed in the caption of

     this Complaint as "Fake Judge" or "Fake Justice."

7.   As set forth herein, many, but not all of the claims herein have been dismissed in prior

     actions brought by THE RELATOR in the United States District Court for the Districts of

     New Hampshire, Massachusetts, and Colorado. These prior judgments are void and/or

     not preclusive because 1) they were made by one of the FAKE FEDERAL JUDGES; and/

     or 2) the racketeering and unlawful activity, as alleged herein, has continued even after

     entry of these purported judgments.

8.   Allegations marked with an asterisk (*) are "specifically so identified" and "will likely

     have evidentiary support after a reasonable opportunity for further investigation or

     discovery" pursuant to Fed. R. Civ. P. 11 (b)(3).




9.   The qui tam plaintiff, United States of America (the "United States"), is the federal

     government of the United States.



                                              23
      Case 6:20-cv-00362-ADA         Document 1      Filed 05/05/20      Page 23 of 347




10.   The qui tam plaintiff, Commonwealth of Massachusetts (the "Commonwealth" or the

      "Commonwealth of Massachusetts"), is the sovereign government of the state of

      Massachusetts.

11.   The qui tam plaintiff, Massachusetts Department of Revenue ("DOR"), is a department,

      agency, and/or entity of the Commonwealth of Massachusetts, having its headquarters at

      100 Cambridge Street, Boston, County of Suffolk, Commonwealth of Massachusetts.

12.   The qui tam relator, John Adams (hereinafter, "THE RELATOR" or "ADAMS," formerly

      Jaideep S. Chawla), is a relator pursuant to Mass.Gen.Laws ch. 12 § SC and brings claims

      pursuant to 31 U.S.C. § 3730(b)(2) and Mass.Gen.Laws ch. 12 § 5A et seq. THE

      RELATOR formerly identified as Jaideep S. Chawla. As of the time of the filing of this

      Complaint, THE RELATOR was still evaluating the best method to effectuate a legal

      name change. THE RELATOR is a graduate of the Pike School in Andover,

      Massachusetts; Groton School in Groton, Massachusetts; and Cornell University in

      Ithaca, New York. THE RELATOR attended but did not graduate from Boston College

      Law School.

13.   THE RELATOR is a plaintiff in his individual capacity in this Complaint.

14.   The Defendant, Internal Revenue Service (the "IRS"), is an executive agency of the

      United States and a bureau of the United States Department of Treasury that is

      headquartered in Washington, District of Columbia.

15.   The Defendant, Real Property I Located in Boston, County of Suffolk, Commonwealth

      of Massachusetts ("1 COURTHOUSE WAY"), is real property located at I Courthouse

      Way, Boston, County of Suffolk, Commonwealth of Massachusetts and is a federal

                                             24
      Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20     Page 24 of 347




      courthouse for the U.S. Court of Appeals for the First Circuit and the U.S. District Court

      for the District of Massachusetts.

16.   The Defendant, Real Property 2 Located in Boston, County of Suffolk, Commonwealth

      of Massachusetts ("3 PEMBERTON SQUARE"), is real property located at 3 Pemberton

      Square, Boston, County of Suffolk, Commonwealth of Massachusetts. 3 PEMBERTON

      SQUARE is next to the John Adams Courthouse ("John Adams Courthouse") at 1

      Pemberton Square, Boston, County of Suffolk, Commonwealth of Massachusetts.

17.   The Defendant, Real Property 3 Located in Boston, County of Suffolk, Commonwealth

      of Massachusetts ("1 PEMBERTON SQUARE"), is real property located at 1 Pemberton

      Square, Boston, County of Suffolk, Commonwealth of Massachusetts.        I   PEMBERTON

       SQUARE is the John Adams Courthouse at 1 Pemberton Square, Boston, County of

       Suffolk, Commonwealth of Massachusetts.

18.    The Defendant, Real Property 4 Located in Boston, County of Suffolk, Commonwealth

       of Massachusetts ("MAG BOSTON"), is real property located at I Ashburton Place,

       Boston, County of Suffolk, Commonwealth of Massachusetts, being occupied by the

       Attorney General of the Commonwealth of Massachusetts. MAG BOSTON is multiple

       floors of I Ashburton Place, Boston, County of Suffolk, Commonwealth of

       Massachusetts. All allegations in this Complaint concerning the Office of the Attorney

       General of the Commonwealth of Massachusetts take place at, near, and/or in connection

       with MAG BOSTON.




                                               25
      Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 25 of 347




19.   The Defendant, Real Property Located in Brookline, County of Norfolk, Commonwealth

      of Massachusetts ("100 DAVIS AVENUE"), is real property located at 100 Davis Avenue,

      Brookline, County of Norfolk, Commonwealth of Massachusetts.

20.   The Defendant, Real Property Located in Charlestown, County of Suffolk,

      Commonwealth of Massachusetts ("40 WINTHROP STREET"), is real property located

      at 40 Winthrop Street, Charlestown, County of Suffolk, Commonwealth of

      Massachusetts.

21.   The Defendant, Real Property Located in Concord, County of Merrimack, State of New

      Hampshire ("55 PLEASANT STREET"), is real property located at 55 Pleasant Street,

       Concord, County of Merrimack, State of New Hampshire and is the Warren Rudman

       Federal Courthouse for the U.S. District Court for the District of New Hampshire (the

       "Warren Rudman Federal Courthouse")

22.   The Defendant, Real Property Located in Denver, County of Denver, State of Colorado

       ("901 19TH STREET"), is real property located at 901 19th Street, Denver, County of

       Denver, State of Colorado and is the federal courthouse for the U.S. District Court for the

       District of Colorado.

23.    The Defendant, Real Property Located in New York, County of New York, State of New

       York ("745 7TH AVENUE"), is real property located at 745 7th Avenue, New York,

       County of New York, State of New York. 745 7TH AVENUE is the former headquarters

       of Lehman Brothers Holdings, Inc. 745 7TH AVENUE is currently owned and operated

       by Barclays PLC, which purchased the property following the bankruptcy of Lehman

       Brothers Holdings, Inc. in September 2008.

                                               26
      Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20   Page 26 of 347




24.   'F he Defendant, Real Property Located in Newton Centre, County of Middlesex,


      Commonwealth of Massachusetts ("885 CENTRE STREET") is real property located at

      885 Centre Street, Newton Centre, County of Middlesex, Commonwealth of

      Massachusetts. The Trustees of Boston College, which is a defendant in this Complaint,

      owns and/or operates Boston College Law School ("BCLS") at 885 CENTRE STREET.

      Any events in this Complaint concerning BCLS occurred at and/or in connection with

      885 CENTRE STREET.

25.   The Defendant, Real Property Located in Portland, County of Cumberland, State of

      Maine ("156 FEDERAL STREET"), is real property located at 156 Federal Street,

      Portland, County of Cumberland, State of Maine and is a federal courthouse for the U.S.

      District Court for the District of Maine.

26.   The Defendant, One Automobile with a Certain Massachusetts License Plate (the

      "DURKIN CAR"), is personal property in the form of an automobile with a

      Commonwealth of Massachusetts license plate of "DURKIN."

27.   The Defendant, Equitable Sharing Program Bank Accounts 1 -X ("EQUITABLE

      SHARING ACCOUNTS I -X"), are bank accounts in which funds from the Equitable

      Sharing Program, which is an asset forfeiture sharing program operated by the federal

      government, are deposited and kept by law enforcement agencies of the Commonwealth

      of Massachusetts.

28.   The Defendant, Obama Foundation Bank Accounts 1-X ("OBAMA FOUNDATION

      ACCOUNTS 1 -X"), is or are one or more deposit accounts of the Obama Foundation (the

      "Obama Foundation"), which is a non-profit corporation organized under the laws of the

                                                  27
      Case 6:20-cv-00362-ADA            Document 1      Filed 05/05/20      Page 27 of 347




       State of Illinois. The Obama Foundation is owned and/or operated in whole or in part by

       the Defendant, Barack Obama and the Defendant, David Simas.

29.    The Defendant, Trustees of Boston College Bank Accounts 1 -X ("BOSTON COLLEGE

       ACCOUNTS -X"), is or are one or more deposit accounts of the Trustees of Boston
                      1




       College, which is a non-profit corporation organized under the laws of the

       Commonwealth of Massachusetts.

30.    The Defendants, John Doe 1-X ("JOHN DOE l-X"), were and/or are federal employees,

       federal contractors, domestic intelligence agents, foreign intelligence agents, and/or

       private citizens carrying out physical and/or electronic surveillance and/or threatening

       activities in association with one or more of the defendants named herein. The names of

       JOHN DOE I -X are currently unknown, but THE RELATOR reasonably expects that

       their identities will be uncovered in the course of discovery.

3L     The Defendant, Ronnie Abrams, ("ABRAMS"), is a Fake Judge on the United States

       District Court for the Southern District of New York. ABRAMS is sued in his individual

       capacity and in his official capacity as a Fake Judge of the United States District Court

       for the Southern District of New York. ABRAMS is an attorney admitted to practice law

        in one or more jurisdictions.

32.     The Defendant, Joan Azrak, ("AZRACK"), is a Fake Judge on the United States District

        Court for the Eastern District of New York. AZRACK is sued in her individual capacity

        and in her official capacity as a Fake Judge of the United States District Court for the

        Eastern District of New York. AZRACK is an attorney admitted to practice law in one or

        more jurisdictions
                                                 28
      Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 28 of 347




33.    The Defendant, Robert Bacharach, ("BACHARACH"), is a Fake Judge on the United

       States Court of Appeals for the Tenth Circuit. BACHARACH is sued in his individual

       capacity and in his official capacity as a Fake Judge of the Court of Appeals for the Tenth

       Circuit. BACHARACH is an attorney admitted to practice law in one or more

       jurisdictions.

34.    The Defendant, Paul Barbadoro, ("BARBADORO"), is a judge on the United States

       District Court for the District of New Hampshire. BARBADORO maintains a principal

       office at the Warren Rudman Federal Courthouse. BARBADORO is sued in his

       individual capacity and in his official capacity as a judge of the United States District

       Court for the District of New Hampshire. BARBADORO is a former student at and

       graduate of Boston College Law School. BARBADORO is an attorney admitted to

       practice law in one or more jurisdictions.

35.    The Defendant, David Barron, ("BARRON"), is a Fake Judge on the United States Court

       of Appeals for the First Circuit. BARRON maintains a principal office at I

       COURTHOUSE WAY. BARRON is sued in his individual capacity and in his official

       capacity as a Fake Judge of the Court of Appeals for the First Circuit. BARRON is an

       attorney admitted to practice law in one or more jurisdictions.

36.    The Defendant, Alfred Bennett, ("BENNETT"), is a Fake Judge on the United States

       District Court for the Southern District of Texas. BENNETT is sued individually and in

       his official capacity as a Fake Judge of the United States District Court for the Southern

        District of Texas. BENNETT is an attorney admitted to practice law in one or more

       jurisdictions.
      Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 29 of 347




37.   The Defendant, Amy Berman Jackson, ("BERMAN JACKSON"), is a Fake Judge on the

      United States District Court for the District of Columbia. BERMAN JACKSON is sued

      in her individual capacity and in her official capacity as a Fake Judge of the United States

      District Court for the District of Columbia. BERMAN JACKSON is an attorney

      admitted to practice law in one or more jurisdictions.

38.   The Defendant, Christa Berry, ("BERRY"), is Clerk of the United States District Court

      for the District of Maine. BERRY is sued in her individual capacity and in her official

      capacity as Clerk of the United States District Court for the District of Maine.

39.   The Defendant, Beth Bloom, ("BLOOM"), is a Fake Judge on the United States District

      Court for the Southern District of Florida. BLOOM is sued individually and in her

      official capacity as a Fake Judge of the United States District Court for the Southern

      District of Florida. BLOOM is an attorney admitted to practice law in one or more

      jurisdictions.

40.   The Defendant, James Boasberg, ("BOASBERG"), is a Fake Judge on the United States

      District Court for the District of Columbia. BOASBERG is sued in his individual

      capacity and in his official capacity as a Fake Judge of the United States District Court

      for the District of Columbia. BOASBERG is an attorney admitted to practice law in one

      or more jurisdictions.

41.   The Defendant, Stephen Breyer, ("BREYER"), is a justice on the Supreme Court of the

      United States. BREYER is sued individually and in his official capacity as a Justice of

      the Supreme Court of the United States. BREYER is an attorney admitted to practice law

      in one or more jurisdictions.

                                               30
      Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 30 of 347




42.   The Defendant, Vincent Briccetti, ("BRICCETTI"), is a Fake Judge on the United States

      District Court for the Southern District of New York. BRICCETTI is sued in his

      individual capacity and in his official capacity as a Fake Judge of the United States

      District Court for the Southern District of New York. BRICCETTI is an attorney

      admitted to practice law in one or more jurisdictions.

43.   The Defendant, Margo Brodie, ("BRODIE"), is a Fake Judge on the United States

      District Court for the Eastern District of New York. BRODIE is sued in her individual

      capacity and in her official capacity as a Fake Judge of the United States District Court

      for the Eastern District of New York. BRODIE is an attorney admitted to practice law in

      one or more jurisdictions.

44.   The Defendant, Vernon Broderick, ("BRODERICK"), is a Fake Judge on the United

      States District Court for the Southern District of New York. BRODERICK is sued in his

      individual capacity and in his official capacity as a Fake Judge of the United States

      District Court for the Southern District of New York. BRODERICK is an attorney

      admitted to practice law in one or more jurisdictions.

45.   The Defendant, R. Brooke Jackson, ("BROOKE JACKSON"), is a Fake Judge on the

      United States District Court for the District of Colorado. BROOKE JACKSON is sued

      individually and in his official capacity as a Fake Judge of the United States District

      Court for the District of Colorado. BROOKE JACKSON is an attorney admitted to

      practice law in one or more jurisdictions.

46.   The Defendant, Kentanji Brown Jackson, ("BROWN JACKSON"), is a Fake Judge on

      the United States District Court for the District of Columbia. BROWN JACKSON is

                                               31
      Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 31 of 347




      sued individually and in an official capacity as a Fake Judge of the United States District

      Court for the District of Columbia. BROWN JACKSON is an attorney admitted to

      practice law in one or more jurisdictions.

47.   The Defendant, Margaret Buckley ("BUCKLEY") is sued individually and in her official

      capacity as an assistant clerk magistrate of the Superior Court of the Commonwealth of

      Massachusetts. BUCKLEY maintains a principal office at 3 PEMBERTON SQUARE.

      BUCKLEY is an attorney admitted to practice law in one or more jurisdictions.*

48.   The Defendant, Allison Burroughs, ("BURROUGHS"), is a Fake Judge on the United

      States District Court for the District of Massachusetts. BURROUGHS is sued in her

      individual capacity and in her official capacity as a Fake Judge of the United States

      District Court for the District of Massachusetts. BURROUGHS is an attorney admitted

      to practice law in one or more jurisdictions.

49.   The Defendant, David Campos Guaderrama, ("CAMPOS GUADERRAMA"), is a Fake

      Judge on the United States District Court for the Western District of Illinois. CAMPOS

      GUADERRAMA is sued individually and in his official capacity as a Fake Judge of the

      United States District Court for the Western District of Illinois. CAMPOS

      GUADERRAMA is an attorney admitted to practice law in one or more jurisdictions.

50.   The Defendant, Valerie Caproni, ("CAPRONI"), is a Fake Judge on the United States

      District Court for the Southern District of New York. CAPRONI is sued in her individual

      capacity and in her official capacity as a Fake Judge of the United States District Court

      for the Southern District of New York. CAPRONI is an attorney admitted to practice law

      in one or more jurisdictions.

                                               32
       Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 32 of 347




51.    The Defendant, Susan Carney, ("CARNEY"), is a Fake Judge on the United States Court

       of Appeals for the Second Circuit. CARNEY is sued in her individual capacity and in her

       official capacity as a Fake Judge of the Court of Appeals for the Second Circuit.

       CARNEY is an attorney admitted to practice law in one or more jurisdictions.

52.    The Defendant, Andrew Carter, Jr., ("CARTER"), is a Fake Judge on the United States

       District Court for the Southern District of New York. CARTER is sued in his individual

       capacity and in his official capacity as a Fake Judge of the United States District Court

       for the Southern District of New York. CARTER is an attorney admitted to practice law

       in one or more jurisdictions.

53.    The Defendant, Denise Casper, ("CASPER"), is a Fake Judge on the United States

       District Court for the District of Massachusetts. CASPER is sued in her individual

       capacity and in her official capacity as a Fake Judge of the United States District Court

        for the District of Massachusetts. CASPER is an attorney admitted to practice law in one

        or more jurisdictions.

54.     The Defendant, Edmond Chang, ("CHANG"), is a Fake Judge on the United States

        District Court for the Northern District of Illinois. CHANG is sued in his individual

        capacity and in his official capacity as a Fake Judge of the United States District Court

        for the Northern District of Illinois. CHANG is an attorney admitted to practice law in

        one or more jurisdictions.

 55.    The Defendant, Edward Chen, ("EDWARD CHEN"), is a Fake Judge on the United

        States District Court for the Northern District of California. EDWARD CHEN is sued

        individually and in his official capacity as a Fake Judge of the United States District
                                                 33
      Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 33 of 347




      Court for the Northern District of California. EDWARD CHEN is an attorney admitted

      to practice law in one or more jurisdictions.

56.   The Defendant, Pamela Chen, ("PAMELA CHEN"), is a Fake Judge on the United States

      District Court for the Eastern District of New York. PAMELA CHEN is sued in her

      individual capacity and in her official capacity as a Fake Judge of the United States

      District Court for the Eastern District of New York. PAMELA CHEN is an attorney

      admitted to practice law in one or more jurisdictions.

57.   The Defendant, Vince Chhabria, ("CHHABRIA"), is a Fake Judge on the United States

      District Court for the Northern District of California. CHHABRIA is sued individually

      and in his official capacity as a Fake Judge of the United States District Court for the

      Northern District of California. CHHABRIA is an attorney admitted to practice law in

      one or more jurisdictions.

58.   The Defendant, Denny Chin, ("CHIN"), is a Fake Judge on the United States Court of

      Appeals for the Second Circuit. CHIN is sued in his individual capacity and in his

      official capacity as a Fake Judge of the Court of Appeals for the Second Circuit. CHIN is

      an attorney admitted to practice law in one or more jurisdictions.

59.   The Defendant, Morgan Christen, ("CHRISTEN"), is a Fake Judge on the United States

       Court of Appeals for the Ninth Circuit. CHRISTEN is sued in her individual capacity

      and in his official capacity as a Fake Judge of the Court of Appeals for the Ninth Circuit.

       CHRISTEN is an attorney admitted to practice law in one or more jurisdictions.

60.    The Defendant, Tanya Chutkan, ('CHUTKAN"), is a Fake Judge on the United States

       District Court for the District of Columbia. CHUTKAN is sued in her individual

                                                34
      Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20       Page 34 of 347




       capacity and in her official capacity as a Fake Judge of the United States District Court

       for the District of Columbia. CHUTKAN is an attorney admitted to practice law in one

       or more jurisdictions.

61.    The Defendant, Jeffrey Colwell, ("COLWELL"), is Clerk of the United States District

       Court for the District of Colorado. COLWELL is sued in his individual capacity and in

       his official capacity as Clerk of the United States District Court for the District of

       Colorado. COLWELL is an attorney admitted to practice law in one or more

       jurisdictions.

62.    The Defendant, Christopher Cooper, ("COOPER"), is a Fake Judge on the United States

       District Court for the District of Columbia. COOPER is sued in his individual capacity

       and in his official capacity as a Fake Judge of the United States District Court for the

       District of Columbia. COOPER is an attorney admitted to practice law in one or more

       jurisdictions.

63.    The Defendant, Rudolph Contreras, ("CONTRERAS"), is a Fake Judge on the United

       States District Court for the District of Columbia. CONTRERAS is sued in his

       individual capacity and in his official capacity as a Fake Judge of the United States

       District Court for the District of Columbia. CONTRERAS is an attorney admitted to

       practice law in one or more jurisdictions.

64.    The Defendant, Gregg Costa ("COSTA"), is a Fake Judge on the U.S. Court of Appeals

       for the Fifth Circuit. COSTA is sued individually and in his official capacity as a Fake

       Judge of the Court of Appeals for the Fifth Circuit. COSTA is an attorney admitted to

       practice law in one or more jurisdictions.

                                                 35
      Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 35 of 347




65.   The Defendant, Kevin Curtin, ("CURTIN"), was and/or is an employee of Boston

      College Law School. CURTIN was and/or is an assistant district attorney for Middlesex

      County, Massachusetts. CURTIN is sued individually and in his official capacity as an

      Assistant District Attorney of Middlesex County, Massachusetts. CURTIN is a former

      student at and graduate of Boston College Law School. CURTIN maintains an office at

       885 CENTRE STREET and/or 15 Commonwealth Avenue, Woburn, County of

       Middlesex, Commonwealth of Massachusetts.* CURTIN is an attorney admitted to

       practice law in one or more jurisdictions.

66.    The Defendant, Mae D'Agostino, ("D'AGOSTINO"), is a Fake Judge on the United

       States District Court for the Northern District of New York. D'AGOSTINO is sued in

       her individual capacity and in her official capacity as a Fake Judge of the United States

       District Court for the Northern District of New York. D'AGOSTINO is an attorney

       admitted to practice law in one or more jurisdictions.

67.    The Defendant, Edward Davilla, ("DAVILLA"), is a Fake Judge on the United States

       District Court for the Northern District of California. DAVILLA is sued individually and

       in his official capacity as a Fake Judge of the United States District Court for the

       Northern District of California. DAVILLA is an attorney admitted to practice law in one

       or more jurisdictions.

68.    The Defendant, James Donato, ("DONATO"), is a Fake Judge on the United States

       District Court for the Northern District of California. DONATO is sued individually and

       in his official capacity as a Fake Judge of the United States District Court for the



                                                 ii;i
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 36 of 347




                                                                                                 one
       Northern District of California. DONATO is an attorney admitted to practice law in

       or more jurisdictions.

69.    The Defendant, Ann Donnelly, ("DONNELLY"), is a Fake Judge on the United States

        District Court for the Eastern District of New York. DONNELLY is sued in her

        individual capacity and in her official capacity as a Fake Judge of the United States

        District Court for the Eastern District of New York. DONNELLY is an attorney admitted

        to practice law in one or more jurisdictions.

70.     The Defendant, Christopher Droney, ("DRONEY"), is a Fake Judge on the United States

        Court of Appeals for the Second Circuit. DRONEY is sued in his individual capacity and

        in his official capacity as a Fake Judge of the Court of Appeals for the Second Circuit.

        DRONEY is an attorney admitted to practice law in one or more jurisdictions.

71.     The Defendant, Thomas M. Durkin, ("FAKE JUDGE DURKIN"), is a Fake Judge on the

        United States District Court for the Northern District of Illinois. FAKE JUDGE

        DURKIN is sued individually and in his official capacity as a Fake Judge of the United

        States District Court for the Northern District of Illinois. FAKE JUDGE DURKIN is an

        attorney admitted to practice law in one or more jurisdictions.

 72.    The Defendant, Sara Ellis, ("ELLIS"), is a Fake Judge on the United States District Court

         for the Northern District of Illinois. ELLIS is sued individually and in her official

         capacity as a Fake Judge of the United States District Court for the Northern District of

         Illinois. ELLIS is an attorney admitted to practice law in one or more jurisdictions.

 73.     The Defendant, Paul Engelmeyer, ("ENGELMEYER"), is a Fake Judge on the United

         States District Court for the Southern District of New York. ENGELMEYER is sued in
                                                   37
      Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 37 of 347




       his individual capacity and in his official capacity as a Fake Judge of the United States

       District Court for the Southern District of New York. ENGELMEYER is an attorney

       admitted to practice law in one or more jurisdictions.

74.    The Defendant, Katherine Failla, ("FAILLA"), is a Fake Judge on the United States

       District Court for the Southern District of New York. FAILLA is sued in her individual

       capacity and in her official capacity as a Fake Judge of the United States District Court

       for the Southern District of New York. FAILLA is an attorney admitted to practice law in

      one or more jurisdictions.

75.   The Defendant, Robert Farrell ("FARRELL") is clerk of the United States District Court

      for the District of Massachusetts. FARRELL is sued individually and in his official

      capacity as clerk of the United States District Court for the District of Massachusetts.

      FARRELL maintains a principal office at 1 COURTHOUSE WAY.

76.   The Defendant, Michael Fatale ("FATALE"), was and/or is an employee of Boston

      College Law School. FATALE is sued individually and in his official capacity as an

      employee of the Massachusetts Department of Revenue. At all times or during a portion

      of the times relevant to this Complaint, FATALE was an employee of DOR. FATALE is a

      former student at and graduate of Boston College Law School. FATALE maintains a

      principal office at 100 Cambridge Street, Boston, County of Suffolk, Commonwealth of

      Massachusetts. FATALE is an attorney admitted to practice law in one or more

      jurisdictions.

77.   The Defendant, Gary Feinerman, ("FEINERMAN"), is a Fake Judge on the United States

      District Court for the Northern District of Illinois. FEINERMAN is sued individually

                                               38
      Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 38 of 347




      and in his official capacity as a Fake Judge of the United States District Court for the

      Northern District of Illinois. FEINERMAN is an attorney admitted to practice law in one

      or more jurisdictions.

78.   The Defendant, Michelle Friedland, ("FRIEDLAND"), is a Fake Judge on the. United

      States Court of Appeals for the Ninth Circuit. FRIEDLAND is sued in her individual

      capacity and in his official capacity as a Fake Judge of the Court of Appeals for the Ninth

      Circuit. FRIEDLAND is an attorney admitted to practice law in one or more

      jurisdictions.

79.   The Defendant, Jesse Furman, ("FURMAN"), is a Fake Judge on the United States

      District Court for the Southern District of New York. FURMAN is sued in his individual

      capacity and in his official capacity as a Fake Judge of the United States District Court

      for the Southern District of New York. FURMAN is an attorney admitted to practice law

      in one or more jurisdictions.

80.   The Defendant, Ralph Gants, ("GANTS"), is Chief Justice of the Supreme Judicial Court

      of the Commonwealth of Massachusetts. GANTS is sued in his individual capacity and

      in his official capacity as Chief Justice of the Supreme Judicial Court of the

      Commonwealth of Massachusetts. GANTS is an attorney admitted to practice law in one

      or more jurisdictions.

81.   The Defendant, Merrick Garland, ("GARLAND"), is a Judge on the United States

      District Court for the District of Columbia. GARLAND is sued in his individual capacity

      and in his official capacity as a Judge of the United States District Court for the District



                                                39
      Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20       Page 39 of 347




      of Columbia. GARLAND is an attorney admitted to practice law in one or more

      jurisdictions.

82.    The Defendant, Darrin Gayles, ("GAYLES"), is a Fake Judge on the United States

       District Court for the Southern District of Florida. GAYLES is sued individually and in

       his official capacity as a Fake Judge of the United States District Court for the Southern

       District of Florida. GAYLES is an attorney admitted to practice law in one or more

       jurisdictions.

83.    The Defendant, Linda Giles ("GILES") is sued individually and in her official capacity as

       Justice of the Superior Court of the Commonwealth of Massachusetts. GILES maintains

       a principal office at 3 PEMBERTON SQUARE. GILES is an attorney admitted to

       practice law in one or more jurisdictions.

84.    The Defendant, Haywood Gilliam, ("GILLIAM"), is a Fake Judge on the United States

       District Court for the Northern District of California. GILLIAM is sued individually and

       in his official capacity as a Fake Judge of the United States District Court for the

       Northern District of California. GILLIAM is an attorney admitted to practice law in one

       or more jurisdictions.

85.    The Defendant, Nelva Gonzales Ramos, ("GONZALES RAMOS"), is a Fake Judge on

       the United States District Court for the Southern District of Texas. GONZALES

       RAMOS is sued individually and in her official capacity as a Fake Judge of the United

        States District Court for the Southern District of Texas. GONZALES RAMOS is an

        attorney admitted to practice law in one or more jurisdictions.
      Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 40 of 347




86.   The Defendant, Yvonne Gonzalez Rogers, ("GONZALEZ ROGERS"), is a Fake Judge

       on the United States District Court for the Northern District of California. GONZALEZ

       ROGERS is sued individually and in her official capacity as a Fake Judge of the United

       States District Court for the Northern District of California. GONZALEZ ROGERS is an

       attorney admitted to practice law in one or more jurisdictions.

87.    The Defendant, James Graves, Jr. ("GRAVES"), is a Fake Judge on the U.S. Court of

       Appeals for the Fifth Circuit. GRAVES is sued individually and in his official capacity

       as a Fake Judge of the Court of Appeals for the Fifth Circuit. GRAVES is an attorney

       admitted to practice law in one or more jurisdictions.

88.    The Defendant, Karen Green ("GREEN") is sued individually and in her official capacity

       as Justice of the Superior Court of the Commonwealth of Massachusetts. GREEN

       maintains a principal office at 3 PEMBERTON SQUARE. GREEN is an attorney

       admitted to practice law in one or more jurisdictions. GREEN worked for more than 10

       years at WILMERHALE in Boston, Massachusetts.

89.    The Defendant, Lashann Hall, ("HALL"), is a Fake Judge on the United States District

       Court for the Eastern District of New York. HALL is sued individually and in his official

       capacity as a Fake Judge of the United States District Court for the Eastern District of

       New York. HALL is an attorney admitted to practice law in one or more jurisdictions.

90.    The Defendant, George Hanks, Jr., ("HANKS"), is a Fake Judge on the United States

       District Court for the Southern District of Texas. HANKS is sued individually and in his

       official capacity as a Fake Judge of the United States District Court for the Southern



                                                41
      Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 41 of 347




       District of Texas. HANKS is an attorney admitted to practice law in one or more

       jurisdictions.

91.    The Defendant, David Hamilton, ("HAMILTON"), is a Fake Judge on the United States

       Court of Appeals for the Seventh Circuit. HAMILTON is sued individually and in his

       official capacity as a Fake Judge on the United States Court of Appeals for the Seventh

       Circuit. HANKS is an attorney admitted to practice law in one or more jurisdictions.

92.    The Defendant, Maura Healey ("HEALEY"), is sued individually and in her official

       capacity as Attorney General of the Commonwealth of Massachusetts (the "OFFICE OF

       THE ATTORNEY GENERAL OF THE COMMONWEALTH"). HEALEY maintains a

       principal office at One Ashburton Place, Boston, County of Suffolk, Commonwealth of

       Massachusetts. HEALEY resides at 40 WINTHROP STREET.* HEALEY is an attorney

       admitted to practice law in one or more jurisdictions. HEALEY is married to the

       defendant, Gabrielle Wolohojian. Prior to becoming Attorney General of the

       Commonwealth, HEALEY worked for approximately 11 years at WILMERHALE in

       Boston, Massachusetts.

93.    The Defendant, Stephen Higginson ("HIGGINSON"), is a Fake Judge on the U.S. Court

       of Appeals for the Fifth Circuit. HIGGINSON is sued individually and in his official

       capacity as a Fake Judge of the Court of Appeals for the Fifth Circuit. HIGGINSON is

       an attorney admitted to practice law in one or more jurisdictions.

94.    The Defendant, Timothy Hillman, ("HILLMAN"), is a Fake Judge on the United States

       District Court for the District of Massachusetts. HILLMAN is sued individually and in

       his official capacity as a Fake Judge of the United States District Court for the District of

                                                42
      Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20         Page 42 of 347




      Massachusetts. HILLMAN is an attorney admitted to practice law in one or more

      jurisdictions.

95.   The Defendant, Beryl Howell, ("HOWELL"), is a Fake Judge on the United States

      District Court for the District of Columbia. HOWELL is sued individually and in his

      official capacity as a Fake Judge of the United States District Court for the District of

      Columbia. HOWELL is an attorney admitted to practice law in one or more jurisdictions.

96.   The Defendant, Andrew Hurwitz, ("HURWITZ"), is a Fake Judge on the United States

      Court of Appeals for the Ninth Circuit. HURWITZ is sued in his individual capacity and

      in his official capacity as a Fake Judge of the Court of Appeals for the Ninth Circuit.

      HURWITZ is an attorney admitted to practice law in one or more jurisdictions.

97.   The Defendant, Sharon Johnson Coleman, ("JOHNSON COLEMAN"), is a Fake Judge

      on the United States District Court for the Northern District of Illinois. JOHNSON

       COLEMAN is sued in individually and in her official capacity as a Fake Judge of the

       United States District Court for the Northern District of Illinois. JOHNSON COLEMAN

       is an attorney admitted to practice law in one or more jurisdictions.

98.    The Defendant, Adalberto Jordan, ("JORDAN"), is a Fake Judge on the United States

       Court of Appeals for the Eleventh Circuit. JORDAN is sued in his individual capacity

       and in his official capacity as a Fake Judge of the Court of Appeals for the Eleventh

       Circuit. JORDAN is an attorney admitted to practice law in one or more jurisdictions.

99.    The Defendant, Elena Kagan, ("KAGAN"), is a Fake Justice on the Supreme Court of the

       United States. KAGAN is sued individually and in her official capacity as a Fake Justice



                                                43
       Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20       Page 43 of 347




        of the Supreme Court of the United States. KAGAN is an attorney admitted to practice

        law in one or more jurisdictions.

100.    The Defendant, Gary Katzmann ("KATZMANN"), is a Fake Judge on the U.S. Court of

        International Trade. KATZMANN is sued individually and in his official capacity as a

        Fake Judge of the U.S. Court of International Trade. KATZMANN maintains a principal

        office at the U.S. Court of International Trade in New York, New York. KATZMANN is

        an attorney admitted to practice law in one or more jurisdictions.

101.    The Defendant, William Kayatta, Jr. ("KAYATTA"), is a Fake Judge on the U.S. Court of

        Appeals for the First Circuit. KAYATTA is sued individually and in his official capacity

        as a Fake Judge of the Court of Appeals for the First Circuit. KAYATTA is an attorney

        admitted to practice law in one or more jurisdictions.

102.    The Defendant, C. Jeffrey Kinder, ("KINDER"), is an associate justice of the

        Massachusetts Appeals Court. KINDER is sued individually and in his official capacity

        as Associate Justice of the Massachusetts Appeals Court. KINDER is an attorney

        admitted to practice law in one or more jurisdictions.

103,    The Defendant, Lucy Koh, ("LUCY KOH"), is a Fake Judge on the United States District

        Court for the Northern District of California. LUCY KOH is sued individually and in her

        official capacity as a Fake Judge of the United States District Court for the Northern

        District of California. LUCY KOH is an attorney admitted to practice law in one or more

        jurisdictions.

104.     The Defendant, Eric Komitee, ("KOMITEE"), is a Fake Judge on the United States

         District Court for the Eastern District of New York. KOMITEE is sued individually and
                                                 44
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 44 of 347




        in his official capacity as a Fake Judge of the United States District Court for the Eastern

        District of New York. KOMITEE is an attorney admitted to practice law in one or more

        jurisdictions.

105.    The Defendant, Rachel Kovner, ("KOVNER"), is a Fake Judge on the United States

        District Court for the Eastern District of New York. KOVNER is sued individually and

        in her official capacity as a Fake Judge of the United States District Court for the Eastern

        District of New York. KOVNER is an attorney admitted to practice law in one or more

        jurisdictions.

106.    The Defendant, William Kuntz, ("KUNTZ"), is a Fake Judge on the United States

        District Court for the Eastern District of New York. KUNTZ is sued individually and in

        his official capacity as a Fake Judge of the United States District Court for the Eastern

        District of New York. KUNTZ is an attorney admitted to practice law in one or more

        jurisdictions.

107.    The Defendant, Beth Labson Freeman, ("LABSON FREEMAN"), is a Fake Judge on the

        United States District Court for the Northern District of California. LAB SON

        FREEMAN is sued individually and in her official capacity as a Fake Judge of the United

        States District Court for the Northern District of California. LAB SON FREEMAN is an

        attorney admitted to practice law in one or more jurisdictions.

108.    The Defendant, John Lee, ("LEE"), is a Fake Judge on the United States District Court

         for the Northern District of Illinois. LEE is sued individually and in his official capacity

         as a Fake Judge of the United States District Court for the Northern District of Illinois.

         LEE is an attorney admitted to practice law in one or more jurisdictions.

                                                  45
        Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20       Page 45 of 347




109.    The Defendant, Jon Levy, ("LEVY"), is a Fake Chief Judge on the United States District

        Court for the District of Maine. LEVY is sued individually and in his official capacity as

        a Fake Chief Judge of the United States District Court for the District of Maine. LEVY is

         an attorney admitted to practice law in one or more jurisdictions.

110.     The Defendant, Raymond Lohier, Jr. ("LOHIER"), is a Fake Judge on the U.S. Court of

         Appeals for the Second Circuit. LOHIER is sued individually and in his official capacity

         as a Fake Judge of the Court of Appeals for the Second Circuit. LOHIER is an attorney

         admitted to practice law in one or more jurisdictions.

Ill.     The Defendant, David Lowy ("LOWY"), is a justice of the Massachusetts Supreme

         JudicialCourt. LOWY is sued individually and in his official capacity as a justice of the

         Massachusetts Supreme Judicial Court. LOWY maintains a principal office at I

         Pemberton Square, Boston, County of Suffolk, Commonwealth of Massachusetts.

         LOWY is an attorney admitted to practice law in one or more jurisdictions.

 112.    The Defendant, Jorge Luis Alonso, ("LUIS ALONSO"), is a Fake Judge on the United

         States District Court for the Northern District of Illinois. LUIS ALONSO is sued

         individually and in his official capacity as a Fake Judge of the United States District

         Court for the Northern District of Illinois. LUIS ALONSO is an attorney admitted to

         practice law in one or more jurisdictions.

 113.    The Defendant, Gerard Lynch, ("GERARD LYNCH"), is a Fake Judge on the U.S. Court

         of Appeals for the Second Circuit. GERARD LYNCH is sued individually and in his

         official capacity as a Fake Judge of the Court of Appeals for the Second Circuit.

          GERARD LYNCH is an attorney admitted to practice law in one or more jurisdictions.
       Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 46 of 347




114.    The Defendant, Sandra Lynch ("SANDRA LYNCH"), is a judge on the United States

        Court of Appeals for the First Circuit. SANDRA LYNCH maintains a principal office at

        1   COURTHOUSE WAY. SANDRA LYNCH is sued individually and in her official

        capacity as a judge of the Court of Appeals for the First Circuit. SANDRA LYNCH is an

        attorney admitted to practice law in one or more jurisdictions.

115.   The Defendant, Marina Marmolejo, ("MARMOLEJO"), is a Fake Judge on the United

        States District Court for the Southern District of Texas. MARMOLEJO is sued

       individually and in her official capacity as a Fake Judge of the United States District

       Court for the Southern District of TEXAS. MARMOLEJO is an attorney admitted to

       practice law in one or more jurisdictions.

116.   The Defendant, Beverly Martin, ("MARTIN"), is a Fake Judge on the United States

       Court of Appeals for the Eleventh Circuit. MARTIN is sued individually capacity and in

       her official capacity as a Fake Judge of the Court of Appeals for the Eleventh Circuit.

       MARTIN is an attorney admitted to practice law in one or more jurisdictions.

117.   The Defendant, William Martinez, ("MARTINEZ"), is Fake Judge on the United States

       District Court for the District of Colorado. MARTINEZ is sued in his individual capacity

       and in his official capacity as Fake Judge of the United States District Court for the

       District of Colorado. MARMOLEJO is an attorney admitted to practice law in one or

       more jurisdictions.

118.   The Defendant, Scott Matheson, Jr. ("MATHESON"), is a Fake Judge on the United

       States Court of Appeals for the Tenth Circuit. MATHESON is sued individually and in
       Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 47 of 347




        his official capacity as a Fake Judge of the Court of Appeals for the Tenth Circuit.

        MATHESON is an attorney admitted to practice law in one or more jurisdictions.

119.    The Defendant, Mark Mastroianni, ("MASTROIANNI"), is Fake Judge on the United

        States District Court for the District of Massachusetts. MASTROIANNI is sued in his

        individual capacity and in his official capacity as Fake Judge of the United States District

        Court for the District of Massachusetts. MASTROJANNI is an attorney admitted to

        practice law in one or more jurisdictions.

120.    The Defendant, Amos Mazzant III, ("MAZZANT"), is a Fake Judge on the United States

        District Court for the Eastern District of Texas, MAZZANT is sued individually and in

        his official capacity as a Fake Judge of the United States District Court for the Eastern

        District of Texas. MAZZANT is an attorney admitted to practice law in one or more

        jurisdictions.

121.    The Defendant, Landya McCafferty, ("MCCAFFERTY"), is Fake Chief Judge on the

        United States District Court for the District of New Hampshire. MCCAFFERTY

        maintains a principal office at the Warren Rudman Federal Courthouse. MCCAFFERTY

        is sued in her individual capacity and in her official capacity as Fake Chief Judge of the

        United States District Court for the District of New Hampshire. MCCAFFERTY is an

        attorney admitted to practice law in one or more jurisdictions.

122.    The Defendant, John J. McConnell, Jr., ("MCCONNELL"), is Fake Judge on the United

        States District Court for the District of Rhode Island. MCCONNELL is sued in his

         individual capacity and in his official capacity as Fake Judge of the United States District
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 48 of 347




        Court for the District of Rhode Island. MCCONNELL is an attorney admitted to practice

        law in one or more jurisdictions.

123.    The Defendant, Carolyn McHugh, ("MCHUGH"), is a Fake Judge on the United States

       Court of Appeals for the Tenth Circuit. MCHUGH is sued individually and in her official

       capacity as a Fake Judge of the Court of Appeals for the Tenth Circuit. MCHUGH is an

       attorney admitted to practice law in one or more jurisdictions.

124.   The Defendant, Amit Mehta, ("MEHTA"), is Fake Judge on the United States District

       Court for the District of Columbia. MEHTA is sued in his individual capacity and in his

       official capacity as Fake Judge of the United States District Court for the District of

       Columbia. MEHTA is an attorney admitted to practice law in one or more jurisdictions.

125.   The Defendant, Patricia Millett, ("MILLETT"), is a Fake Judge on the United States

       Court of Appeals for the District of Columbia Circuit. MILLETT is sued individually

       and in her official capacity as a judge of the Court of Appeals for the District of Columbia

       Circuit. MILLETT is an attorney admitted to practice law in one or more jurisdictions.

126.   The Defendant, Nancy Moritz, ("MORITZ"), is a Fake Judge on the United States Court

       of Appeals for the Tenth Circuit. MORITZ is sued individually and in her official

       capacity as a Fake Judge of the Court of Appeals for the Tenth Circuit. MORJTZ is an

       attorney admitted to practice law in one or more jurisdictions.

127.   The Defendant, Randolph Moss, ("MOSS"), is Fake Judge on the United States District

       Court for the District of Columbia. MOSS is sued in his individual capacity and in his

       official capacity as Fake Judge of the United States District Court for the District of

       Columbia. MOSS is an attorney admitted to practice law in one or more jurisdictions.
        Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20      Page 49 of 347




128.    The Defendant, Mary Murguia, ("MURGUIA"), is a Fake Judge on the United States

                                                                                                   and
        Court of Appeals for the Ninth Circuit. MURGUIA is sued in her individual capacity

        in his official capacity as a Fake Judge of the Court of Appeals for the Ninth Circuit.

        MURGUIA is an attorney admitted to practice law in one or more jurisdictions.

129.    The Defendant, Alison Nathan, ("NATHAN"), is a Fake Judge on the United States

         District Court for the Southern Distric.t of New York. NATHAN is sued in her individual

         capacity and in her official capacity as a Fake Judge of the United States District Court

                                                                                                   law
         for the Southern District of New York. NATHAN is an attorney admitted to practice

         in one or more jurisdictions.

130.     The Defendant, Eric Neyman, ("NEYMAN"), is an associate justice of the Massachusetts

         Appeals Court. NEYMAN is sued individually and in his official capacity as Associate

         Justice of the Massachusetts Appeals Court. NEYMAN maintains a principal office at 1

         Pemberton Square, Boston, County of Suffolk, Commonwealth of Massachusetts.

         NEYMAN is an attorney admitted to practice law in one or more jurisdictions.

 131.    The Defendant, Jacqueline Nguyen, ("NGUYEN"), is a Fake Judge on the United States

         Court of Appeals for the Ninth Circuit. NGUYEN is sued in her individual capacity and

         in his official capacity as a Fake Judge of the Court of Appeals for the Ninth Circuit.

         NGUYEN is an attorney admitted to practice law in one or more jurisdictions.

 132.    The Defendant, George O'Toole, Jr. ("O'TOOLE"), is a senior district judge on the

          United States District Court for the District of Massachusetts. O'TOOLE is sued

          individually and in his official capacity as a judge of the United States District Court for

          the District of Massachusetts. O'TOOLE maintains a principal office at 1
                                                    50
       Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20      Page 50 of 347




       COURTHOUSE WAY. O'TOOLE is an attorney admitted to practice law in one or more

       jurisdictions. O'TOOLE was the district judge in a case in which THE RELATOR was a

       party (the "Rigged O'Toole Action," U.S. District Court for the District of Massachusetts

        case number 14-14303-GAO).

133.    The Defendant, J. Paul Oetken, ("OETKEN"), is a Fake Judge on the United States

        District Court for the Southern District of New York. OETKEN is sued in his individual

        capacity and in his official capacity as a Fake Judge of the United States District Court

        for the Southern District of New York. OETKEN is an attorney admitted to practice law

        in one or more jurisdictions.

134.    The Defendant, William Orrick III, ("ORRICK"), is a Fake Judge on the United States

        District Court for the Northern District of California. ORRICK is sued individually and

        in his official capacity as a Fake Judge of the United States District Court for the

        Northern District of California. ORRICK is an attorney admitted to practice law in one

        or more jurisdictions.

135.    The Defendant, John Owens, ("OWENS"), is a Fake Judge on the United States Court of

        Appeals for the Ninth Circuit. OWENS is sued in his individual capacity and in his

        official capacity as a Fake Judge of the Court of Appeals for the Ninth Circuit. OWENS

        is an attorney admitted to practice law in one or more jurisdictions.

136.    The Defendant, Gregory Phillips, ("PHILLIPS"), is a Fake Judge on the United States

        Court of Appeals for the Tenth Circuit. PHILLIPS is sued individually and in his official

        capacity as a Fake Judge of the Court of Appeals for the Tenth Circuit. PHILLIPS is an

        attorney admitted to practice law in one or more jurisdictions.
                                                  51
        Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 51 of 347




                                                                                 United States
137.    The Defendant, Cornelia Pillard, ("PILLARD"), is a Fake Judge on the

        Court of Appeals for the District of Columbia Circuit. PILLARD is sued individually

        and in her official capacity as a Fake Judge of the Court of Appeals for the District
                                                                                                of

                                                                                         more
        Columbia Circuit. PILLARD is an attorney admitted to practice law in one or

        jurisdictions.

                                                                                       States
138.    The Defendant, Robert Pitman, ("PITMAN"), is a Fake Judge on the United

                                                                                          and in his
        District Court for the Western District of Texas. PITMAN is sued individually

        official capacity as a Fake Judge of the United States District Court for the Western

         District of Texas. PITMAN is an attorney admitted to practice law in one or more

        jurisdictions.

139.     The Defendant, Jill Pryor, ("PRYOR"), is a Fake Judge on the United States Court of

         Appeals for the Eleventh Circuit. PRYOR is sued individually capacity and in her

         official capacity as a Fake Judge of the Court of Appeals for the Eleventh Circuit.

         PRYOR is an attorney admitted to practice law in one or more jurisdictions.

 140.    The Defendant, Edgardo Ramos, ("RAMOS"), is a Fake Judge on the United States

         District Court for the Southern District of New York. RAMOS is sued in his individual

         capacity and in his official capacity as a Fake Judge of the United States District Court

         for the Southern District of New York. RAMOS is an attorney admitted to practice law
                                                                                                          in


         one or more jurisdictions.

 141.    The Defendant, John Robert Blakey, ("ROBERT BLAKEY"), is a Fake Judge on the

          United States District Court for the Northern District of Illinois. ROBERT BLAKEY
                                                                                                     is


          sued individually and in his official capacity as a Fake Judge of the United States
                                                                                                District

                                                   52
        Case 6:20-cv-00362-ADA          Document 1         Filed 05/05/20     Page 52 of 347




                                                                                                  to
        Court for the Northern District of Illinois. ROBERT BLAKEY is an attorney admitted

        practice law in one or more jurisdictions.

142.    The Defendant, John Roberts, ("ROBERTS"), is Chief Justice of the Supreme Court of

        the United States. ROBERTS is sued individually and in his official capacity as Chief

        Justice of the Supreme Court of the United States. ROBERTS is an attorney admitted to

         practice law in one or more jurisdictions.

143.     The Defendant, James Rodney Gilstrap, ("RODNEY GILSTRAP"), is Fake Chief Judge

         on the United States District Court for the Eastern District of Texas. RODNEY

         GILSTRAP is sued individually and in his official capacity as Fake Chief Judge of the

         United States District Court for the Eastern District of Texas. RODNEY GJLSTRAP is

         an attorney admitted to practice law in one or more jurisdictions.

144.     The Defendant, Jose Rolando Olvera, Jr., ("ROLANDO OLVERA"), is a Fake Judge on

         the United States District Court for the Southern District of Texas. ROLANDO

         OLVERA is sued individually and in his official capacity as a Fake Judge of the United

         States District Court for the Southern District of Texas. ROLANDO OLVERA is an

         attorney admitted to practice law in one or more jurisdictions.

 145.    The Defendant, Nelson Roman, ("NELSON ROMAN"), is a Fake Judge on the United

         States District Court for the Southern District of New York. NELSON ROMAN is sued

         in his individual capacity and in his official capacity as a Fake Judge of the United States

         District Court for the Southern District of New York. NELSON ROMAN is an attorney

          admitted to practice law in one or more jurisdictions.



                                                      53
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 53 of 347




146.    The Defendant, Robin Rosenbaum, ("ROSENBAUM"), is a Fake Judge on the United

        States Court of Appeals for the Eleventh Circuit. ROSENBAUM is sued individually

        capacity and in her official capacity as a Fake Judge of the Court of Appeals for the

        Eleventh Circuit. ROSENBAUM is an attorney admitted to practice law in one or more

        jurisdictions.

147.    The Defendant, Robin Rosenberg, ("ROSENBERG"), is a Fake Judge on the United

        States District Court for the Southern District of Florida. ROSENBERG is sued

        individually and in her official capacity as a Fake Judge of the United States District

        Court for the Southern District of Florida. ROSENBERG is an attorney admitted to

        practice law in one or more jurisdictions.

148.    The Defendant, Diana Saldana, ("SALDANA"), is a Fake Judge on the United States

        District Court for the Southern District of Texas. SALDANA is sued individually and in

        her official capacity as a Fake Judge of the United States District Court for the Southern

        District of Texas. SALDANA is an attorney admitted to practice law in one or more

        jurisdictions.

149.    The Defendant, Brenda Sannes, ("SANNES"), is a Fake Judge on the United States

        District Court for the Northern District of New York. SANNES is sued individually and

        in her official capacity as a Fake Judge of the United States District Court for the

        Northern District of New York. SANNES is an attorney admitted to practice law in one

        or more jurisdictions.

150.    The Defendant, Patti Saris ("SARIS") is a Judge of the United States District Court for

        the District of Massachusetts. SARIS sued individually and in her official capacity as a

                                                 54
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 54 of 347




       Judge of the United States District Court for the District of Massachusetts. SARIS

       maintains a principal office at 1 COURTHOUSE WAY.

151.    The Defendant, Lorna Schofeld, ("SCHOFELD"), is a Fake Judge on the United States

        District Court for the Southern District of New York. SCHOFELD is sued in her

        individual capacity and in her official capacity as a Fake Judge of the United States

        District Court for the Southern District of New York. SCHOFELD is an attorney

        admitted to practice law in one or more jurisdictions.

152.    The Defendant, Robert Schroeder III, ("SCHROEDER"), is a Fake Judge on the United

        States District Court for the Eastern District of Texas. SCHROEDER is sued individually

        and in his official capacity as a Fake Judge of the United States District Court for the

        Eastern District of Texas. SCHROEDER is an attorney admitted to practice law in one or

        more jurisdictions.

153.    The Defendant, Robert Scola Jr., ("SCOLA"), is a Fake Judge on the United States

        District Court for the Southern District of Florida. SCOLA is sued individually and in his

        official capacity as a Fake Judge of the United States District Court for the Southern

        District of Florida. SCOLA is an attorney admitted to practice law in one or more

        jurisdictions.

154.    The Defendant, Richard Seeborg, ("SEEI3ORG"), is a Fake Judge on the United States

        District Court for the Northern District of California, SEEBORG is sued individually and

        in his official capacity as a Fake Judge of the United States District Court for the

        Northern District of California. SEEBORG is an attorney admitted to practice law in one

        or more jurisdictions.
                                                  55
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 55 of 347




155.    The Defendant, Manish Shah, ("SHAH"), is a Fake Judge on the United States District

        Court for the Northern District of Illinois. SHAH is sued individually and in his official

        capacity as a Fake Judge of the United States District Court for the Northern District of

        Illinois. SHAH is an attorney admitted to practice law in one or more jurisdictions.

156.    The Defendant, Teagan Snyder, ("SNYDER"), is an Employee of the United States

        District Court for the District of Maine. SNYDER is sued in her individual capacity and

        in her official capacity as an Employee of the United States District Court for the District

        of Maine.

157.    The Defendant, Leo Sorokin ("SOROKIN"), is a Fake Judge on the United States District

        Court for the District of Massachusetts. SOROKIN is sued in his individual capacity and

        in his official capacity as a Fake Judge of the United States District Court for the District

        of Massachusetts. SOROKIN maintains a principal office at 1 COURTHOUSE WAY.

        SOROKIN is an attorney admitted to practice law in one or more jurisdictions.

        SOROKIN resides at 100 DAVIS AVENUE.*

158.    The Defendant, Sonia Sotomayor, ("SOTOMAYOR"), is a Fake Justice on the Supreme

        Court of the United States. SOTOMAYOR is sued individually and in her official

        capacity as a Fake Justice of the Supreme Court of the United States. SOTOMAYOR is

        an attorney admitted to practice law in one or more jurisdictions.

159.    The Defendant, Debra Squires-Lee ("SQUIRES-LEE") is sued individually and in her

        official capacity as Justice of the Superior Court of the Commonwealth of Massachusetts.

        SQUIRES-LEE maintains a principal office at 3 PEMBERTON SQUARE. SQUIRES-



                                                  56
       Case 6:20-cv-00362-ADA           Document 1      Filed 05/05/20       Page 56 of 347




        LEE is an attorney admitted to practice law in one or more jurisdictions. SQUIRES-LEE

        was and/or is an employee of Boston College Law School.

160.    The Defendant, Sri Srinivasan, ("SRINIVASAN"), is Fake Chief Judge on the United

        States Court of Appeals for the District of Columbia Circuit. SRINIVASAN is sued

        individually and in his official capacity as Fake Chief Judge of the Court of Appeals for

        the District of Columbia Circuit. SRINIVASAN is an attorney admitted to practice law

        in one or more jurisdictions.

161.    The Defendant, Eric Storms, ("STORMS"), is Chief Deputy Clerk of the United States

        District Court for the District of Maine. STORMS is sued in his individual capacity and

        in his official capacity as Chief Deputy Clerk of the United States District Court for the

        District of Maine.

162.    The Defendant, Indira Talwani, ("TALWANI"), is a Fake Judge on the United States

        District Court for the District of Massachusetts. TALWANI is sued in her individual

        capacity and in her official capacity as a Fake Judge of the United States District Court

        for the District of Massachusetts. TALWANI is an attorney admitted to practice law in

        one or more jurisdictions.

163.    The Defendant, John Tharp, ("THARP"), is a Fake Judge on the United States District

        Court for the Northern District of Illinois. THARP is sued in his individual capacity and

        in his official capacity as a Fake Judge of the United States District Court for the

        Northern District of Illinois. THARP is an attorney admitted to practice law in one or

        more jurisdictions.



                                                 57
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 57 of 347




164.   The Defendant, 0. Rogeriee Thompson, ("THOMPSON"), is a Fake Judge on the United

       States Court of Appeals for the First Circuit. THOMPSON is sued individually and in

       her official capacity as a Fake Judge of the Court of Appeals for the First Circuit.

       THOMPSON is an attorney admitted to practice law in one or more jurisdictions.

165.   The Defendant, Jon Tigar, ("TIGAR"), is a Fake Judge on the United States District

       Court for the Northern District of California. TIGAR is sued individually and in his

       official capacity as a Fake Judge of the United States District Court for the Northern

       District of California. TIGAR is an attorney admitted to practice law in one or more

       jurisdictions.

166.   The Defendant, Annalisa Tones, ("TORRES"), is a Fake Judge on the United States

       District Court for the Southern District of New York. TORRES is sued in her individual

       capacity and in her official capacity as a Fake Judge of the United States District Court

       for the Southern District of New York. TORRES is an attorney admitted to practice law

       in one or more jurisdictions.

167.   The Defendant, Nancy Torresen, ("TORRESEN"), is a Fake Judge on the United States

       District Court for the District of Maine. TORRESEN is sued in her individual capacity

       and in her official capacity as a Fake Judge of the United States District Court for the

       District of Maine. TORRESEN is an attorney admitted to practice law in one or more

       jurisdictions.

168.   The Defendant, Robert Ullmann ("ULLMANIN"), was and/or is an employee of Boston

       College Law School and is a Justice of the Superior Court of the Commonwealth of

       Massachusetts. ULLMANN is sued individually and in his official capacity as a Justice

                                                58
          Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 58 of 347




           of the Superior Court of the Commonwealth of Massachusetts. ULLMANN maintains a

           principal office at 3 PEMBERTON SQUARE. ULLMANN is an attorney admitted to

           practice law in one or more jurisdictions.

169.       The Defendant, Martin Walsh ("WALSH"), is the Mayor of the City of Boston,

           Massachusetts. WALSH is sued individually and in his official capacity as Mayor of the

           City of Boston.

170.       The Defendant, Paul Watford, ("WATFORD"), is a Fake Judge on the United States

           Court of Appeals for the Ninth Circuit. WATFORD is sued in his individual capacity and

           in his official capacity as a Fake Judge of the Court of Appeals for the Ninth Circuit.

           WATFORD is an attorney admitted to practice law in one or more jurisdictions.

171.       The Defendant, Robert Wilkins, ("WILKINS"), is a Fake Judge on the United States

           Court of Appeals for the District of Columbia Circuit. WILKINS is sued individually

           and in his official capacity as a Fake Judge of the Court of Appeals for the District of

           Columbia Circuit. WILKINS is an attorney admitted to practice law in one or more

           jurisdictions.

1   72.    The Defendant, Kathleen Williams, ("WILLIAMS"), is a Fake Judge on the United States

           District Court for the Southern District of Florida. WILLIAMS is sued individually and

           in her official capacity as a Fake Judge of the United States District Court for the

           Southern District of Florida. WILLIAMS is an attorney admitted to practice law in one

           or more jurisdictions.

173.       The Defendant, Gabrielle Wolohojian ("WOLOHOJIAN"), is a justice of the

           Massachusetts Appeals Court. WOLOHOJIAN is sued individually and in her official
                                                    59
       Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 59 of 347




       capacity as Associate Justice of the Massachusetts Appeals Court. WOLOHOJIAN

       resides at 40 WINTHROP STREET.* WOLOHOJIAN is an attorney admitted to practice

       law in one or more jurisdictions. WOLOHOJIAN worked for approximately 20 years at

       WILMERHALE in Boston, Massachusetts.

174.   The Defendant, Andrea Wood, ("WOOD"), is a Fake Judge on the United States District

       Court for the Northern District of Illinois. WOOD is sued individually and in her offiëial

       capacity as a Fake Judge of the United States District Court for the Northern District of

       Illinois. WOOD is an attorney admitted to practice law in one or more jurisdictions.

175.   The Defendant, Gregory Woods, ("WOODS"), is a Fake Judge on the United States

       District Court for the Southern District of New York. WOODS is sued in his individual

       capacity and in his official capacity as a Fake Judge of the United States District Court

       for the Southern District of New York. WOODS is an attorney admitted to practice law

       in one or more jurisdictions.

176.   The Defendant, Amy Crafts ("CRAFTS"), is sued individually and in her official capacity

       as Assistant Attorney General of the Commonwealth. CRAFTS maintains a principal

       office at One Ashburton Place, Boston, County of Suffolk, Commonwealth of

       Massachusetts. CRAFTS is an attorney admitted to practice law in one or more

       jurisdictions.

177.   The Defendant, Pierce 0. Cray ("CRAY"), is sued individually and in his official

       capacity as Assistant Attorney General of the Commonwealth. CRAY maintains a

       principal office at One Ashburton Place, Boston, County of Suffolk, Commonwealth of
           Case 6:20-cv-00362-ADA           Document 1     Filed 05/05/20     Page 60 of 347




           Massachusetts. CRAY is an attorney admitted to practice law in one or more

           jurisdictions.

178.       The Defendant, Gillian Feiner ("FEINER"), is sued individually and in her official

           capacity as Assistant Attorney General of the Commonwealth. FEINER maintains a

           principal office at One Ashburton Place, Boston, County of Suffolk, Commonwealth of

           Massachusetts. FETNER is an attorney admitted to practice law in one or more

           jurisdictions.

1   79.    The Defendant, Dean Mazzone ("MAZZONE"), is sued individually and in his official

           capacity as Assistant Attorney General of the Commonwealth. MAZZONE maintains a

           principal office at One Ashburton Place, Boston, County of Suffolk, Commonwealth of

            Massachusetts. MAZZONE is an attorney admitted to practice law in one or more

           jurisdictions.

180.        The Defendant, Howard Meshnick ("MESHNICK"), is sued individually and in his

            official capacity as Assistant Attorney General of the Commonwealth. MESHNICK

            maintains a principal office at One Ashburton Place, Boston, County of Suffolk,

            Commonwealth of Massachusetts. MESHNICK is an attorney admitted to practice law

            in one or more jurisdictions.

    181.    The Defendant, James Sweeney ("SWEENEY"), is sued individually and in his official

            capacity as Assistant Attorney General of the Commonwealth. SWEENEY maintains a

            principal office at One Ashburton Place, Boston, County of Suffolk, Commonwealth of

            Massachusetts. SWEENEY is an attorney admitted to practice law in one or more



                                                   61
           Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20    Page 61 of 347




                                                                                                 was
           jurisdictions. SWEENEY is a former student at and graduate of BCLS. SWEENEY

           and/or is employed by BCLS.

1   82,    The Defendant, Lorraine Tarrow ("TARROW"), is sued individually and in her official

           capacity as Assistant Attorney General of the Commonwealth. TARROW maintains a

           principal office at One Ashburton Place, Boston, County of Suffolk, Commonwealth of

           Massachusetts. TARROW is an attorney admitted to practice law in one or more

           jurisdictions.

183.        The Defendant, Jeffrey Walker ("WALKER"), is sued individually and in his official

            capacity as Assistant Attorney General of the Commonwealth. WALKER maintains a

            principal office at One Ashburton Place, Boston, County of Suffolk, Commonwealth of

            Massachusetts. WALKER is an attorney admitted to practice law in one or more

            jurisdictions.

    184.    The Defendant, Thomas J. Murphy ("MURPHY"), is sued individually and in his official

            capacity as State Police Officer of the Commonwealth.

    185.    The Defendant, Jonathan Blodgett (the "ESSEX DA") is sued in his official capacity as

            District Attorney of Essex County. The ESSEX DA maintains a principal office at 10

            Federal Street, 5th Floor, Salem, County of Essex, Commonwealth of Massachusetts.

    186.    The Defendant, Christopher Harding (the "COMMISSIONER") is sued in his official

            capacity as Commissioner of the Massachusetts Department of Revenue. The

            COMMISSIONER maintains a principal office at 100 Cambridge Street, Boston, County

            of Suffolk, Commonwealth of Massachusetts.


                                                    62
       Case 6:20-cv-00362-ADA          Document 1     Filed 05/05/20     Page 62 of 347




187.    The Defendant, Mans Abbene, ("ABBENE"), was and/or is an employee of BCLS.

        ABBENE is a former student at and graduate of BCLS. ABBENE maintains a principal

        office at 885 CENTRE STREET. ABBENE is an attorney admitted to practice law in one

        or more jurisdictions. ABBENE is sued individually.

188.    The Defendant, Naa-Sakle Akuete ("AKUETE"), is a former employee of Lehman

        Brothers Holdings, Inc. and attended the same high school as THE RELATOR at the

        same time as THE RELATOR with the same graduation year as THE RELATOR.

        AKUETE is sued individually.

189.    The Defendant, Tyler Archer ("ARCHER"), is a former student at and graduate of BCLS.

        ARCHER is an attorney admitted to practice law in one or more jurisdictions. ARCHER

        is sued individually.

190.    The Defendant, Robert Bloom ("BLOOM"), is a former student at, graduate of, and

        professor at BCLS. BLOOM is an attorney admitted to practice law in one or more

        jurisdictions. BLOOM is sued individually.

191.    The Defendant, Mark Brodin ("BRODIN"), is a professor at BCLS. BRODIN is an

        attorney admitted to practice law in one or more jurisdictions. BRODIN is sued

        individually.

192.    The Defendant, Theodore Bunzel ("BUNZEL"), is a former employee of Lehman

        Brothers Holdings, Inc. and attended the same high school as THE RELATOR at the

        same time as THE RELATOR with the same graduation year as THE RELATOR.

        BUINZEL is a member of one or more secret societies, including Skull and Bones.*



                                              63
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 63 of 347




       BIJNZEL is a relative of the defendants, George Walker IV, George W. Bush, and John E.

       Bush. BUNZEL is sued individually.

193.   The Defendant, Judd Carhart, ("CARHART"), is a retired associate justice of the

       Massachusetts Appeals Court. CARHART was and/or is an attorney admitted to practice

       law in one or more jurisdictions. CARHART is sued individually and in his official

       capacity as a Justice of the Massachusetts Appeals Court.

194.   The Defendant, R. Michael Cassidy, ("CASSIDY"), was and/or is an employee of BCLS.

       CASSIDY is sued individually. CASSIDY maintains a principal office at 885 CENTRE

       STREET. CASSIDY is an attorney admitted to practice law in one or more

       jurisdictions.*

195.   The Defendant, Martha Coakley, ("COAKLEY"), is the former Attorney General of the

       Commonwealth of Massachusetts. COAKLEY is sued individually and in her former

       official capacity as Attorney General of the Commonwealth. COAKLEY resides at 46

       Coolidge Road, Medford, County of Middlesex, Commonwealth of Massachusetts.*

       Coakley is an attorney admitted to practice law in one or more jurisdictions.

196.   The Defendant, James Cole ("COLE"), is the former Fake Deputy Attorney General of

       the United States. COLE is an attorney licensed to practice law in one or more

       jurisdictions. COLE is sued individually and in his former official capacity as Fake

       Deputy Attorney General of the United States.

197.   The Defendant, John Dawley ("DAWLEY"), was and/or is an assistant district attorney

       for Essex County, Massachusetts and was and/or is an assistant attorney general of the
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 64 of 347




       Commonwealth. DAWLEY is an attorney admitted to practice law in one or more

       jurisdictions.* DAWLEY is sued individually and in his official capacity, if any.

198.   The Defendant, Robert Diamond ("DIAMOND"), is a former executive of Barclays PLC,

        which purchased the North American operations of Lehman Brothers Holdings, Inc.,

        including 745 7TH AVENUE, in September 2008. DIAMOND is sued individually.

199.    The Defendant, Brian Durkin ("BRIAN DURKIN"), is a former student at and graduate

        of BCLS. BRIAN DURKIN resides at 103 Marlborough Street, Apartment 6, Boston,

        County of Suffolk, Commonwealth of Massachusetts.* BRIAN DURKIN is an attorney

        admitted to practice law in one or more jurisdictions. BRIAN DURKIN is the son of the

        defendant, Thomas Durkin. BRIAN DURKIN is sued individually and in his official

        capacity, if any.

200.    The Defendant, Thomas Durkin ("THOMAS DURKIN"), is a former student at and

        graduate of BCLS. THOMAS DURKIN resides at 20 Harbor Street, Manchester, County

        of Essex, Commonwealth of Massachusetts. * THOMAS DURKIN is an attorney

        admitted to practice law in one or more jurisdictions. THOMAS DURKIN is the father

        BRIAN DURKIN. THOMAS DURKIN is sued individually.

201.    The Defendant, Benjamin Flatgard ("FLATGARD"), is a former federal employee who

        worked in or around the White House during some portion of one or more of the years

        2009-20 17. FLATGARD attended the same high school as THE RELATOR at the same

        time as THE RELATOR with a different graduation year than THE RELATOR.

        FLATGARD is sued individually and in his official capacity as a former federal

        employee.
                                                65
       Case 6:20-cv-00362-ADA            Document 1    Filed 05/05/20     Page 65 of 347




202.    The Defendant, Toni Forland ("FORLAND"), is married to the defendant, David

        Lampert and is the mother of the defendants, Thomas Lampert and Henrik Lampert.

        FORLAND was and/or is an intelligence agent or officer of Norway and/or an unknown

        nation or entity.* FORLAND is sued individually.

203.    The Defendant, Javier Gonzalez ("JAVIER GONZALEZ"), was charged with conspiracy

        to distribute five or more kilograms of cocaine as a member and/or associate of an

        international drug cartel known as the "Gulf Cartel." JAVIER GONZALEZ was the

        defendant in a state qui tam action brought by the RELATOR in 2014. JAVIER

        GONZALEZ is sued individually.

204.    The Defendant, Margaret Goodlander ("GOODLANDER"), is a former law clerk to

        GARLAND and BREYER. GOODLANDER is an attorney admitted to practice law in

        one or more jurisdictions. GOODLANDER attended the same high school as THE

        RELATOR at the same time as THE RELATOR with a different graduation year than

        THE RELATOR. GOODLANDER was and/or is an intelligence agent or officer of the

        United States. During some portion of the years 2013 and/or 2014, GOODLANDER was

        a national security staff member for then-Senator John McCain. GOODLANDER is a

        member of one or more secret societies.* GOODLANDER is sued individually and in

        her official capacities as a former federal court law clerk for GARLAND and BREYER

        as well as a federal intelligence officer.

205.    The Defendant, William Hennrikus ("HENNRIKUS"), attended the same high school as

        THE RELATOR at the same time as THE RELATOR with a different graduation year as
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 66 of 347




         THE RELATOR. HENNRIKUS is a member of one or more secret societies.*

         HENNRIKUS is sued individually.

206.     The Defendant, Joseph Herlihy ("JOSEPH HERLIHY"), was and/or is an employee of

         BCLS. JOSEPH HERLIHY is an attorney admitted to practice law in one or more

         jurisdictions.*. JOSEPH HERLIHY is sued individually.

207.     The Defendant, Sarah Herlihy ("SARAH HERLIHY"), is a former student at and

         graduate of BCLS. SARAH HERLIHY is an attorney admitted to practice law in one or

         more jurisdictions.* SARAH HERLIHY is sued individually.

208.     The Defendant, Eric Holder ("HOLDER"), is the former Fake Attorney General of the

         United States. HOLDER is an attorney admitted to practice law in one or more

         jurisdictions. HOLDER is sued individually and in his official capacity as the former

         Fake Attorney General of the United States.

209.     The Defendant,Samuel Hoyle ("HOYLE"), attended the same high school as THE

         RELATOR at the same time as THE RELATOR with the same graduation year as THE

         RELATOR. HOYLE is sued individually. HOYLE was and/or is a resident of

         Manchester-by-the-Sea, Massachusetts or Manchester, Massachusetts.

210.     The Defendant, Lilah Hume ("HUME"), attended the same high school as THE

         RELATOR at the same time as THE RELATOR with the same graduation year as THE

         RELATOR. HUME is an attorney admitted to practice law in one or more jurisdictions.

         HUME is a member of one or more secret societies.* HUME is sued individually.

 211.    The Defendant, Juliette Kayyem ("KAYYEM"), is married to BARRON. KAYYEM is

          sued individually.
                                                 67
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 67 of 347




212.   The Defendant, Elisabeth Keller ("KELLER"), was and/or is an employee of BCLS.

       KELLER resides at 29 Shaw Road, Chestnut Hill, County of Norfolk, Commonwealth of

       Massachusetts.* KELLER is sued individually.

213.   The Defendant, Brooks Kenyon ("KENYON"), is a former student at and graduate of

        BCLS. KENYON was a law clerk for TALWANI and is an attorney admitted to practice

        law in one or more jurisdictions. * KENYON is sued individually and in his official

        capacity, if any. During at least some of the time relevant to this Complaint, KENYON

        resided in

214.    The Defendant, Daniel Koh ("DANIEL KOH"), was the Chief of Staff to Mayor of the

        City of Boston, Massachusetts (the Defendant, Martin Walsh), during some of the time

        relevant to this Complaint. DANIEL KOH was a grade school classmate of THE

        RELATOR at the Pike School. DANIEL KOH is sued individually and in his official

        capacity, if any.

215.    The Defendant, Steven Koh ("STEVEN KOH"), is a professor at BCLS. STEVEN

        KOH was a grade school classmate of THE RELATOR at the Pike School. STEVEN

        KOH is sued individually.

216.    The Defendant, David Lampert ("DAVID LAMPERT"), is married to FORLAND and is

        the father of the defendants, Thomas Lampert and Henrik Lampert. DAVID LAMPERT

        is sued individually. DAVID LAMPERT has previously resided and/or currently resides

        in Manchester-by-the-Sea, Massachusetts or Manchester, Massachusetts.

217.    The Defendant, Fay Lampert Shutzer ("FAY LAMPERT"), is married to the defendant,

        William Shutzer, and is the sister of the defendant, David Lampert. FAY LAMPERT was

                                                68
       Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20    Page 68 of 347




        a teacher at the Dalton School in New York, New York in or around 1974. FAY

        LAMPERT is a former colleague at the Dalton School in New York, New York of Jeffrey

        Epstein ("EPSTEIN"), who is alleged to have committed suicide while incarcerated and

        awaiting trial in federal district court in 2019. FAY LAMPERT is a former associate and!

        or friend of EPSTEIN.* FAY LAMPERT is sued individually.

218.    The Defendant, Henrik Lampert ("HENRIK LAMPERT"), is the son of FORLAND and

        DAVID LAMPERT and is the brother of the defendant, THOMAS LAMPERT. HENRIK

        LAMPERT is a resident of the State of Colorado. HENRIK LAMPERT is sued

        individually. HENRIK LAMPERT has previously resided and/or currently resides in

        Manchester-by-the-Sea, Massachusetts or Manchester, Massachusetts.

219.    The Defendant, Thomas Lampert ("THOMAS LAMPERT"), is a former student at and

        graduate of BCLS. THOMAS LAMPERT is sued individually and in his official capacity

        as a state court law clerk to LOWY and government intern under the defendant, Carmen

        Ortiz. THOMAS LAMPERT resides at 41 Phillips Street, Boston, County of Suffolk.*

        THOMAS LAMPERT is an attorney admitted to practice law in one or more

        jurisdictions. THOMAS LAMPERT has previously resided and/or currently resides in

        Manchester-by-the-Sea, Massachusetts or Manchester, Massachusetts.

220.    The Defendant, Loretta Lynch ("LORETTA LYNCH"), is the former Fake Attorney

        General of the United States. LORETTA LYNCH is sued individually and in her official

        capacity as Fake Attorney General of the United States. LORETTA LYNCH is an

        attorney admitted to practice law in one or more jurisdictions.
       Case 6:20-cv-00362-ADA         Document 1      Filed 05/05/20     Page 69 of 347




221.   The Defendant, John Lysohir ("LYSOHIR"), attended the same high school as THE

       RELATOR at the same time as THE RELATOR with the same graduation year as THE

       RELATOR. LYSOHIR is a member of one or more secret societies.* LYSOHIR is sued

       individually.

222.   The Defendant, David Mackey ("MACKEY"), was and/or is an employee of BCLS.

       MACKEY is an attorney admitted to practice law in one or more jurisdictions.

       MACKEY is a partner in the Boston, Massachusetts office of the law firm, Anderson &

       Kreiger LLP.

223.   The Defendant, Thomas Maffei ("MAFFEI"), Was and/or is an employee of BCLS.

       MAFFEI is sued individually. MAFFEI is a former student at and graduate of BCLS.

       MAFFEI is an attorney admitted to practice law in one or more jurisdictions.

224.   The Defendant, Justin Maloney ("MALONEY"), is a former student at and graduate of

       BCLS. MALONEY is sued individually. MALONEY is an attorney admitted to practice

       law in one or more jurisdictions.

225.   The Defendant, Temba Maqubela ("TEMBA MAQUBELA"), is the headmaster at

       Groton School, which is the same high school from which THE RELATOR graduated.

       TEMBA MAQUBELA became headmaster at Groton School after THE RELATOR

       graduated from Groton School. TEMBA MAQUBELA is married to the defendant,

       Vuyelwa Maqubela, and is the father of the defendant, Sikanyiseiwe-Sipo Maqubela alk!a

       "Kanyi Maqubela." TEMBA MAQUBELA is sued individually.

226.   The Defendant, Vuyelwa Maqubela ("VUYELWA MAQUBELA"), was a teacher at the

       Pike School and taught THE RELATOR during THE RELATOR's time at the Pike

                                              70
       Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20       Page 70 of 347




        School. VUYELWA MAQUBELA is married to TEMBA MAQUBELA. VUYELWA

        MAQUBELA is sued individually.

227.    The Defendant, Ghislaine Maxwell ("MAXWELL"), is a former associate and/or friend

        of EPSTEIN.

228.    The Defendant, Carmen Ortiz ("ORTIZ"), is the former Fake U.S. Attorney for the

        District of Massachusetts. ORTIZ is sued individually and in her official capacity as

        Fake U.S. Attorney for the District of Massachusetts. ORTIZ is an attorney admitted to

        practice law in one or more jurisdictions.

229.    The Defendant, Deval Patrick ("PATRICK"), is the former Governor of the

        Commonwealth of Massachusetts. PATRICK is sued individually and in his official

        capacity as the former Governor of the Commonwealth of Massachusetts. MALONEY is

        an attorney admitted to practice law in one or more jurisdictions.

230.    The Defendant, Ayanna Pressley ("PRESSLEY"), is the Congresswoman for the Seventh

        District of Massachusetts. PRESSLEY hired and was a supervisor of THE RELATOR on

        a presidential campaign during the years 2003 and 2004. PRESSLEY was a staffer for a

        United States Senator and a City Councilor for the City of Boston, Massachusetts during

        some of the times relevant to this Complaint. PRESSLEY is sued individually.

231.    The Defendant, Jamil Roman ("JAMIL ROMAN"), was charged with conspiracy to

        distribute five or more kilograms of cocaine as a member and/or associate of an

        international drug cartel known as the "Gulf Cartel." JAMIL ROMAN was the defendant

        in a state qul tam action brought by the RELATOR in 2014.



                                                 71
       Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20    Page 71 of 347




232.    The Defendant, Vincent Rougeau. ("ROUGEAU"), is the dean of BCLS. ROUGEAU is

        sued individually. ROUGEAU resides at 101 Ash Street, Weston, County of Middlesex,

        Commonwealth of Massachusetts. ROUGEAU was and/or is an attorney admitted to

        practice law in one or more jurisdictions.

233.    The Defendant, Donald Savery ("SAVERY"), was and/or is an employee of BCLS.

        SAVERY is sued individually. SAVERY is a former student at and graduate of BCLS.

        SAVERY was an Assistant United States Attorney under ORTIZ. SAVERY is an attorney

        admitted to practice law in one or more jurisdictions.

234.    The Defendant, Janet Scognamiglio ("SCOGNAMIGLIO") is a former student at and

        graduate of BCLS. SCOGNAMIGLIO is sued individually.

235.    The Defendant, William Shutzer ("SHUTZER"), is a former employee and/or executive

        of the now-defunct investment bank, Lehman Brothers. After leaving his position as an

        employee of Lehman Brothers in 2003, SHUTZER acted as a "financial consultant" to

        Lehman Brothers, according to filings with the Securities and Exchange Commission.

        SHUTZER is the uncle of THOMAS LAMPERT and HENRIK LAMPERT and is

        married to FAY LAMPERT.

236.    The Defendant, David Simas ("SIMAS"), is a former White House employee under

        OBAMA and is the Chief Executive Officer of the Obama Foundation. SIMAS is sued

        individually and in his official capacity a former state and federal employee. SIMAS is a

        former student at and graduate of BCLS.




                                                 72
       Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 72 of 347




237.    The Defendant, John Verner ("VERNER"), was and/or is an assistant attorney general of

        the Commonwealth.* VERNER is sued individually and in his official capacity, if any.

        VERNER is an attorney admitted to practice law in one or more jurisdictions.*

238.    The Defendant, George Walker IV ("WALKER IV"), is a former employee of Lehman

        Brothers Holdings, Inc. and was a member of the Executive Committee at Lehman

        Brothers Holdings, Inc. at the time of that company's bankruptcy. WALKER IV is sued

        individually. WALKER IV is a relative of the defendants, John E. Bush, George W.

        Bush, and BUNZEL.

239.    The Defendant, Sally Yates ("YATES"), is the former Fake Deputy Attorney General of

        the United States. YATES is sued individually and in her official capacity as former Fake

        Deputy Attorney General of the United States. YATES is an attorney admitted to practice

        law in one or more jurisdictions.

240.    The Defendant, George W. Bush, ("GEORGE W. BUSH"), is the former President of the

        United States. GEORGE W. BUSH resides in the State of Td'xas. GEORGE W. BUSH is

        sued individually and in his official capacity as former President of the United States.

        GEORGE W. BUSH is a member of one or more secret societies, including Skull and

        Bones. *

241.    The Defendant, John E. Bush a/k/a "JEB Bush" ("JEB BUSH"), is the former Governor

        of the State of Florida and employee of Lehman Brothers Holdings, Inc. JEB BUSH is

        sued individually.

242.    The Defendant, Omar Mangalji alk/a "Ronnie Bacardi" ("MANGALJI"), attended the

        same high school and college as THE RELATOR at the same times as THE RELATOR

                                                 73
       Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20     Page 73 of 347




        with the same graduation years as THE RELATOR. MANGALJI is a member of one or

        more secret societies.* MANGALJI is sued individually.

243.    The Defendant, Sikanyiselwe-Sipo Maqubela alk!a "Kanyi Maqubela" ("KANYI

        MAQUBELA"), was a grade school classmate of THE RELATOR at the Pike School.

        KANY! MAQUBELA is the son of the defendants, Temba Maqubela and Vuwelya

        Maqubela. KANYI MAQUBELA is sued individually.

244.    The Defendant, Barack Obama, ("OBAMA"), is the former Fake President of the United

        States. OBAMA resides at 2446 Belmont Road, Washington, District of Columbia.

        OBAMA is sued individually and in his official capacity as Fake President of the United

        States. OBAMA has been known as "Barry Soetoro" and/or one or more other aliases.*

245.    The Defendant, Carlos Slim Helu alk/a "Carlos Slim" ("SLIM"), is a Mexican national.

        According to press reports, SLIM is one of the world's wealthiest men and, according to

        publicly-available information from the intelligence company, Stratfor, SLIM is involved

        in the narcotics trade with Mexican drug cartels.

246.    The Defendant, United States, is the federal government of the United States of America.

        The United States is a defendant and qui tam plaintiff in this Complaint.

247.    The Defendant, U.S. Department of Justice, is a federal law enforcement agency with its

        principal office at 950 Pennsylvania Avenue, N.W., Washington, District of Columbia.

248.    The Defendant, United States District Court for the District of Colorado ("U.S.

        DISTRICT COURT FOR THE DISTRICT OF COLORADO"), is the federal district

        court for the District of Colorado having its principal office at 9011 9TH STREET.



                                                74
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20       Page 74 of 347




249.    The Defendant, United States District Court for the District of Maine ("U.S. DISTRICT

        COURT FOR THE DISTRICT OF MAINE"), is the federal district court for the District

        of Maine having its principal office at 156 FEDERAL STREET.

250.    The Defendant, United States District Court for the District of Massachusetts ("U.S.

        DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS"), is the federal

        district court for the District of Massachusetts having its principal office at 1

        COURTHOUSE WAY.

251.    The Defendant, U.S. District Court for the District of New Hampshire ("U.S. DISTRICT

        COURT FOR THE DISTRICT OF NEW HAMPSHIRE"), is the federal district court for

        the District of New Hampshire having its principal office at 55 PLEASANT STREET.

252.    The Defendant, U.S. Court of Appeals for the First Circuit ("U.S. COURT OF APPEALS

        FOR THE FIRST CIRCUIT"), is the federal appeals court for the First Circuit having its

        principal office at 1 COURTHOUSE WAY.

253.    The Defendant, U.S. Tax Court ("U.S. TAX COURT"), is a federal court with jurisdiction

        over certain cases concerning IRS having its principal office in Washington, District of

        Columbia.

254.    The Defendant, Commonwealth of Massachusetts (the "Commonwealth"), is the

        sovereign state of Massachusetts.

255.    The Defendant, Massachusetts Appeals Court, is the intermediate appellate court of the

        Commonwealth having its principal office at 1 Pemberton Square, Boston, County of

        Suffolk, Commonwealth of Massachusetts.



                                                  75
       Case 6:20-cv-00362-ADA           Document 1        Filed 05/05/20      Page 75 of 347




256.    The Defendant, Suffolk Superior Court ("SUFFOLK SUPERIOR COURT"), is a trial

        court of the Commonwealth having its principal office at 3 PEMBERTON SQUARE.

257.    The Defendant, Massachusetts Department of Revenue or DOR, is a department, agency,

        and/or entity of the Commonwealth of Massachusetts, having its headquarters at 100

        Cambridge Street, Boston, County of Suffolk, Commonwealth of Massachusetts. DOR is

        a defendant and qué tarn plaintiff in this Complaint.

258.    The Defendant, American Bar Association ("ABA"), is the national association for

        lawyers and is the world's largest professional association. It is organized as a State of

        Illinois not-for-profit corporation with its principal place of business in Chicago, Illinois.

        The ABA is headquartered at 321 North Clark Street, Chicago, Illinois. The ABA was

        and/or is subject to one or more federal court orders in connection with one or more

        alleged violations of federal antitrust laws. The ABA promulgates and enforces standards

        for law schools throughout the United States. The ABA directs its activities to all 50

        states of the United States.

259.    The Defendant, Law School Admissions Council ("LSAC"), is a State of Delaware not-

        for-profit corporation headquartered at 662 Penn Street, Newtown, Pennsylvania. LSAC

        provides a number of services to its member law schools and to persons seeking

        admission to law school, including the administration of the LSAT, which is an

        examination related to applications for post-secondary education purposes. Among other

        things, LSAC administers, manages, and proctors the LSAT multiple times each year at

        approximately 1,400 law schools, universities, and other venues across the United States,

        organizes and holds open invitation forums at hotels and universities for prospective law

                                                  76
       Case 6:20-cv-00362-ADA          Document 1           Filed 05/05/20   Page 76 of 347




        students, and conducts educational conferences at hotels and universities for law school

        professionals. LSAC directs its activities to all 50 states of the United States.

260.    The Defendant, Trustees of Boston College ("TRUSTEES OF BOSTON COLLEGE" or

        "BOSTON COLLEGE"), is a not-for-profit corporation or organization pursuant to the

        laws of the Commonwealth of Massachusetts. BOSTON COLLEGE owns and/or

        operates 885 CENTRE STREET. BOSTON COLLEGE owns and/or operates BCLS at

        885 CENTRE STREET. BCLS is an ABA-approved law school. Through LSAC and/or

        its own internal practices, BCLS solicits and/or accepts applications from law school

        applicants in all 50 states of the United States.

261.    The Defendant, Rectors and Visitors of the University of Virginia ("UVA"), is a not-for-

        profit corporation or organization pursuant to the laws of the State of Virginia. UVA

        owns and/or operates University of Virginia Law School, an ABA-approved law school,

        in Charlottesville, Virginia. Through LSAC and/or its own internal practices, University

        of Virginia Law School solicits and/or accepts applications from law school applicants in

        all 50 states of the United States.

262.    The Defendant, Trustees of Columbia University in the City of New York

        ("COLUMBIA"), is a not-for-profit corporation or organization pursuant to the laws of

        the State of New York. COLUMBIA owns and/or operates Columbia Law School, an

        ABA-approved law school, in New York, New York. Through LSAC and/or its own

        internal practices, Columbia Law School solicits and/or accepts applications from law

        school applicants in all 50 states of the United States.



                                                  77
        Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20       Page 77 of 347




 263.    The Defendant, Cornell University ("CORNELL"), is a not-for-profit corporation or

         organization pursuant to the laws of the State of New York. Cornell University owns

         and/or operates a variety of nationally-accredited educational institutions, including

         Cornell Law School, an ABA-approved law school, in Ithaca, New York. Through LSAC

         and/or its own internal practices, Cornell Law School solicits and/or accepts applications

         from law school applicants in all 50 states of the United States. Cornell Law School is

         located at Myron Taylor Hall, Ithaca, County of Tompkins, State of New York. Cornell

        Law School is located on real property provided by the United States to the State of New

        York pursuant to the Morrill Land Grant Acts (7 U.S.C. § 301).

264.    The Defendant, Northwestern University ("NORTHWESTERN"), is a not-for-profit

        corporation or organization pursuant to the laws of the State of Illinois.

        NORTHWESTERN owns and/or operates Northwestern Law School, an ABA-approved

        law school, in Chicago, Jllinois. Through LSAC and/or its own internal practices,

        Northwestern Law School solicits and/or accepts applications from law school applicants

        in all 50 states of the United States.

265.    The Defendant, the University of Chicago ("UNIVERSITY OF CHICAGO"), is a not-

        for-profit corporation or organization pursuant to the laws of the State of Illinois.

        UNIVERSITY OF CHICAGO owns and/or operates University of Chicago Law School,

        an ABA-approved law school, in Chicago, Illinois. Through LSAC and/or its own

        internal practices, University of Chicago Law School solicits and/or accepts applications

        from law school applicants in all 50 states of the United States.



                                                 ":1
       Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20      Page 78 of 347




266.    The Defendant, University of Denver ("UNIVERSITY OF DENVER"), is a not-for-profit

        corporation or organization pursuant to the laws of the State of Colorado. UNIVERSITY

        OF DENVER owns and/or operates University of Denver Sturm College of Law, an

        ABA-approved law school, in Denver, Colorado. Through LSAC and/or its own internal

        practices, University of Denver Sturm College of Law solicits and/or accepts applications

        from law school applicants in all 50 states of the United States.

267.    The Defendant, New York Times Company ("NEW YORK TIMES COMPANY"), is a

        global media organization focused on creating, collecting, and distributing information

        both online and in print. NEW YORK TIMES COMPANY is a publicly-traded, for-profit

        corporation organized under the laws of the State of New York having its principal place

        of business at 620 Eighth Avenue, New York, County of New York, State of New York.

        SLIM is the largest or one of the largest shareholders of NEW YORK TIMES

        COMPANY.

268.    The Defendant, Wilmer Cutler Pickering Hale and Dorr LLP ("WILMERHALE") is a

        law firm with offices in, among other places, Washington, District of Columbia; Denver,

        Colorado; and Boston, Massachusetts. WILMERHALE is a limited liability partnership

        organized under the laws of the State of Delaware.




269.    This Court has jurisdiction pursuant to 18 U.S.C. § 1964(a), 31 U.S.C. § 3732(b), and 28

        U.S.C. §   1331, 1343.

270.    This Court has supplemental jurisdiction over state law claims pursuant to 28 U.S.C. §

        1367.

                                                 79
          Case 6:20-cv-00362-ADA           Document 1         Filed 05/05/20      Page 79 of 347




                                                                 1965(a), 31 U.S.C. § 3732(a), and
271..     Venue is proper in this Court pursuant to 18 U.S.0 §

          28 U.S.C. § 1391.




                                                          Test ("LSAT") to approximately 150,000
272.      LSAC administers the Law School Admissions

          people annually.

                                                                  are required to take the LSAT in
273.      Applicants to all or most ABA-approved law schools

          order to be eligible for admission to law school.

                                                                     per year at approximately 650 test
 274.     LSAC administers the LSAT approximately four times

                                                                    approximately $160 per applicant,
           centers throughout the United States at a base cost of

                                                                     and law schools.
           with test centers including, among others, universities

                                                                    take the LSAT each year.
 275.      Multiple LSAT examinees travel across state lines to
                                                                  consisting of five 35-minute sections
 276.      The LSAT was and/or is a half-day standardized test

                                                                      with a 35-minute unscored writing
           of multiple-choice questions, four of which are scored,

           sample also administered.

           LSAC offers a "Credential Assembly Service," in
                                                                which an applicant to one or more
  277.

                                                                  to collect his or her transcripts, letters
           ABA-approved law schools is required to pay a fee
                                                                                 which LSAC
            of recommendation, evaluations, and other application materials,
                                                                           to ABA-approved law schools
            disseminates, along with an applicant's LSAT score report,

            applied to by the applicant.

                                                                         2015, 2017, and/or 2018.
  278.      THE RELATOR paid one or more fees to LSAC in 2014,

                                                                       law schools require the use of the
   279.     Nearly all ABA-approved law schools and many other

            Credential Assembly Service for law school applicants.
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 80 of 347




280.   LSAC charges each of the approximately 84,000 annual applicants using its website a

       base cost of approximately $155 to participate in the Credential Assembly Service.

281.   LSAC organizes and hosts open invitation forums at hotels and universities nationwide

       for nearly 10,000 prospective law students annually to meet with representatives of over

       200 LSAC-member law schools to learn about LSAC and the LSAT.

282.   LSAC organizes and hosts educational conferences for law school administrators at

       ABA-approved law schools to learn about LSAC and the law school admissions process.

283.   THE RELATOR has paid fees in excess of $300 in connection with use of the official

       website of LSAC.

                  IS13 (SliXti] I   tNU         [[IIS]      1110 [SAl t1.0

284.   The tuition rate at Boston College Law School was approximately $1,500 in 1966.

285.   The tuition rate at Boston College Law School was approximately $2,650 in 1974.

286.   The tuition rate at Boston College Law School was approximately $2,800 in 1975.

287.   The tuition rate at Boston College Law School was approximately $2,950 in 1976.

288.   The tuition rate at Boston College Law School was approximately $3,200 in 1977.

289.   The tuition rate at Boston College Law School was approximately $3,500 in 1978.

290.   The tuition rate at Boston College Law School was approximately $3,810 in 1979.

291.   The tuition rate at Boston College Law School was approximately $4,200 in 1980.

292.   The tuition rate at Boston College Law School was approximately $4,900 in 1981.

293.   The tuition rate at Boston College Law School was approximately $5,625 in 1982

294.   The tuition rate at Boston College Law School was approximately $6,575 in 1983.

295.   The tuition rate at Boston College Law School was approximately $7,450 in 1984.

                                               81
         Case 6:20-cv-00362-ADA        Document 1      Filed 05/05/20       Page 81 of 347




                                                                           $8,200 in 1985.
296.     The tuition rate at Boston College Law School was approximately

                                                                           $8,920 in 1986.
297.     The tuition rate at Boston College Law School was approximately

                                                                           $9,820 in 1987.
298.     The tuition rate at Boston College Law School was approximately

                                                                           $10,560 in 1988.
299.     The tuition rate at Boston College Law School was approximately

                                                                            $11,460 in 1989.
300.     The tuition rate at Boston College Law School was approximately

                                                                            $12,510 in 1990.
301.     The tuition rate at Boston College Law School was approximately

                                                                            $13,670 in 1991.
302.     The tuition rate at Boston College Law School was approximately

                                                                            $15,570 in 1992.
 303.    The tuition rate at Boston College Law School was approximately

                                                                            $16,590 in 1993.
 304.    The tuition rate at Boston College Law School was approximately

                                                                            $17,720 in 1994.
 305.    The tuition rate at Boston College Law School was approximately

                                                                            $18,940 in 1995.
 306.    The tuition rate at Boston College Law School was approximately

                                                                            $20,180 in 1996.
 307.     The tuition rate at Boston College Law School was approximately
                                                                                     in 1997.
 308.     The tuition rate at Boston College Law School was approximately $21,230
                                                                                     in 1998.
 309.     The tuition rate at Boston College Law School was approximately $22,300

                                                                                     in 1999.
 310.     The tuition rate at Boston College Law School was approximately $23,420

                                                                                     in 2000.
 311.     The tuition rate at Boston College Law School was approximately $24,480

                                                                             $25,790 in 2001.
 312.     The tuition rate at Boston College Law School was approximately
                                                                                     in 2002.
  313.    The tuition rate at Boston College Law School was approximately $27,080

                                                                                     in 2003.
  314.    The tuition rate at Boston College Law School was approximately $28,440
                                                                                      in 2004.
  315.    The tuition rate at Boston College Law School was approximately $29,720
                                                                                      in 2005.
  316.     The tuition rate at Boston College Law School was approximately $31,520

                                                                                      in 2006.
  317.     The tuition rate at Boston College Law School was approximately $33,110
                                                 82
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 82 of 347




318.   The tuition rate at Boston College Law School was approximately $36,510 in 2007.

319.   The tuition rate at Boston College Law School was approximately $38,340 in 2008.

320.   The tuition rate at Boston College Law School was approximately $39,490 in 2009.

321.   The tuition rate at Boston College Law School was approximately $40,770 in 2010.

322.   The tuition rate at Boston College Law School was approximately $41,590 in 2011.

323.   The tuition rate at Boston College Law School was approximately $43,170 in 2012.

324.   The tuition rate at Boston College Law School was approximately $44,860 in 2013.

325.   The tuition rate at Boston College Law School was approximately $46,790 in 2014.

326.   The tuition rate at Boston College Law School was approximately $48,670 in 2015.

327.   The tuition rate at Boston College Law School was approximately $50,620 in 2016.

328.   The tuition rate at Boston College Law School was approximately $52,640 in 2017

329.   The tuition rate at Boston College Law School was approximately $54,750 in 2018.

330.   The tuition rate at Boston College Law School adjusted for inflation in 2016 dollars

       increased by approximately 355% from 1966 to 2016.

331.   The tuition rate at Boston College Law School adjusted for inflation in 2016 dollars

       increased by approximately 307% from 1976 to 2016.

332.   The tuition rate at Boston College Law School adjusted for inflation in 2016 dollars

       increased by approximately 159% from 1986 to 2016.

333.   The tuition rate at Boston College Law School adjusted for inflation in 2016 dollars

       increased by approximately 64% from 1996 to 2016.

334.   The tuition rate at Boston College Law School adjusted for inflation in 2016 dollars

       increased by approximately 28% from 2006 to 2016.

                                               83
        Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20    Page 83 of 347




335.    The tuition rate at Cornell Law School was approximately $22,100 in 1996.

336.    The tuition rate at Cornell Law School was approximately $23,100 in 1997.

337.    The tuition rate at Cornell Law School was approximately $24,100 in 1998.

338.    The tuition rate at Cornell Law School was approximately $25,548 in 1999.

339.    The tuition rate at Cornell Law School was approximately $27,350 in 2000.

340.    The tuition rate at Cornell Law School was approximately $29,250 in 2001.

341,    The tuition rate at Cornell Law School was approximately $31,250 in 2002.

342.    The tuition rate at Cornell Law School was approximately $32,970 in 2003.

343.    The tuition rate at Cornell Law School was approximately $35,342 in 2004.

344.     The tuition rate at Cornell Law School was approximately $37,812 in 2005.

 345.    The tuition rate at Cornell Law School was approximately $40,648 in 2006.

 346.    The tuition rate at Cornell Law School was approximately $43,688 in 2007.

 347.    The tuition rate at Cornell Law School was approximately $45,803 in 2008.

 348.    The tuition rate at Cornell Law School was approximately $49,020 in 2009.

 349.    The tuition rate at Cornell Law School was approximately $51,150 in 2010.

 350.    The tuition rate at Cornell Law School was approximately $53,226 in 2011.

 351.    The tuition rate at Cornell Law School was approximately $55,301 in 2012.

 352.    The tuition rate at Cornell Law School was approximately $57,351 in 2013.

 353.    The tuition rate at Cornell Law School was approximately $59,360 in 2014.

 354.    The tuition rate at Cornell Law School was approximately $59,900 in 2015.

 355.    The tuition rate at Cornell Law School was approximately $61,400 in 2016.
        Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20     Page 84 of 347




356.    The tuition rate at Cornell Law School was approximately $63,342 in 2017.

357.    The tuition rate at Cornell Law School was approximately $65,456 in 2018.

                                                                                                  by
358.    The tuition rate at Cornell Law School adjusted for inflation in 2016 dollars increased

        approximately 82% from 1996 to 2016.

359.    The tuition rate at Cornell Law School adjusted for inflation in 2016 dollars increased by

         approximately 27% from 2006 to 2016.




360.     The deans of ABA-approved law schools send and receive electronic messages to each

         other on a group list (the "Deans' LISTSERV")

361.     The Deans' LISTSERV was and/or is used to communicate law school tuition rates by

         deans from ABA-approved law schools.*

362.     The Deans' LISTSERV was and/or is used to communicate law school tuition rates by the

         deans at BCLS and Cornell Law School during the time periods relevant to this

         Complaint. *

 363.    Email or another method of electronic communication was and/or is used to communicate

         law school tuition rates and related information between two or more deans at ABA-

         approved law schools during the time period relevant to this Complaint.*

 364.    Email or another method of electronic communication was and/or is used to communicate

         law school tuition rates and related information by the deans at BCLS and Cornell Law

         School during the time periods relevant to this Complaint.*




                                                  85
        Case 6:20-cv-00362-ADA           Document 1        Filed 05/05/20       Page 85 of 347




365.    The deans at ABA-approved law schools meet each other in person at events on a regular

        basis during which they communicate law school tuition rates and related information

        with each other.

366.    ABA-approved law schools have agreed and/or continue to agree to fix, stabilize, or raise

        the cost of tuition by exchanging tuition rates, admission, and related information with

        other ABA-approved law schools in person, in writing, and/or by electronic

        communication. *

367.    LSAC provides electronic communications platforms or services to ABA-approved law

         schools, including BCLS and Cornell Law School, through which ABA-approved law

         schools communicate competitive information with each other and LSAC.

368.     The ABA provides electronic communications platforms or services to ABA-approved

         law schools, including BCLS and Cornell Law School, through which ABA-approved

         law schools communicate competitive information with each other and the ABA.

369.     LSAC provides electronic communications platforms or services to ABA-approved law

         schools, including BCLS and Cornell Law School, through which ABA-approved law

         schools agree to fix, stabilize, or raise the cost of tuition by exchanging tuition rates,

         admissions, and/or related information with each other.*

 370.    The ABA provides electronic communications platforms or services to ABA-approved

         law schools, including BCLS and Cornell Law School, through which ABA-approved

         law schools agree to fix, stabilize, or raise the cost of tuition by exchanging tuition rates,

         admissions, and/or related information with each other.*
        Case 6:20-cv-00362-ADA          Document 1          Filed 05/05/20   Page 86 of 347




        The contract, combination, and/or conspiracy between ABA-approved law schools
                                                                                              is so
371.

        powerful that all or almost all of them continued to raise tuition rates even during multi-

        year periods of significant application declines.

372.    Cornell Law School continued to raise its tuition rates even during multi-year periods of

        decline in the number of applicants.*

373.     Boston College Law School continued to raise its tuition rates even during multi-year

         periods of decline in the number of applicants.

374.     By and through the services provided by the ABA, LSAC, and/or by and through direct

         communications, Cornell Law School and Boston College Law School have agreed with

         each other and other ABA-approved law schools to raise their respective rates of tuition

         each year.*

375,     Cornell Law School and Boston College Law School raised their respective rates of

         tuition each year over a period lasting more than twenty years.




 376.    18 U.S.C. § 1963(a) holds that

                        Whoever violates any provision of section 1962 of this chapter shall be
                        fined under this title or imprisoned not more than 20 years (or for life if
                        the violation is based on a racketeering activity for which the maximum
                        penalty includes life imprisonment), or both, and shall forfeit to the United
                        States, irrespective of any provision of State law
                                (1) any interest the person has acquired or maintained in violation
                                of section 1962;

                                (2) any-


                                                   87
       Case 6:20-cv-00362-ADA             Document 1        Filed 05/05/20     Page 87 of 347




                                         (A) interest in;

                                         (B) security ot

                                         (C) claim against; or

                                         (D) property or contractual right of any kind affording a
                                         source of influence over;

                                         any enterprise which the person has established, operated,
                                         controlled, conducted, or participated in the conduct of, in
                                         violation of section 1962; and

                                (3) any property constituting, or derived from, any proceeds which
                                the person obtained, directly or indirectly, from racketeering
                                activity or unlawful debt collection in violation of section 1962.


377.   I8   U.S.C. § 963(c) holds that "[all! right, title, and interest in property described in
                      1




       subsection (a) vests in the United States upon the commission of the act giving rise to

       forfeiture under this section."

378.   The right, title, and interest in the real and personal property for which forfeiture is

       sought in this Complaint have already vested in the United States upon commission of the

       act or acts giving rise to forfeiture pursuant to RICO.

379.   31 U.S.C. § 3729(a)(1)(G) holds that "[amy person who ... knowingly conceals or


       knowingly and improperly avoids or decreases an obligation to pay or transmit money or

       property to the Government ... is liable to the United States Government for a civil

       penalty of not less than $5,000 and not more than $10,000 [...J."

380.   As a matter of law, any person who knowingly conceals or knowingly and improperly

       avoids an obligation to transmit money or property to the United States that was forfeited
       Case 6:20-cv-00362-ADA           Document 1        Filed 05/05/20      Page 88 of 347




       pursuant to 18 U.S.C. § 1963(c) or any other applicable federal forfeiture statute has

       committed a reverse false claim actionable under 31 U.S.C. § 3729(a)(1 )(G).2

381.   The United States owned all right, title, and interest in any property named in this

       Complaint and forfeited pursuant to RICO or any other relevant federal criminal offense

        providing for forfeiture upon commission of the violation of federal law.

382.    As set forth in this Complaint, one or more of the defendants knowingly concealed or

        knowingly and improperly avoided an obligation to transmit the property in question to

        the United States government.

                                        ii
381     THE RELATOR has been injured in his business and/or property directly and

        proximately by two or more RICO predicates, including, but not limited to, the conduct

        of an association-in-fact enterprise (the "ENTERPRISE") within the meaning of 18

        U.S.C. § 1961(4) and/or one or more other enterprises within the meaning of 18 U.S.C. §

        196 1(4).

384.    The purpose of the ENTERPRISE is to:

            a.   Distribute narcotics in the United States, including, but not limited to, cocaine;

            b. Commit major financial crimes, including, but not limited to, money laundering

                 of narcotics proceeds, bankruptcy fraud, and securities fraud;

            c.   Protect and advance the political, financial, and legal interests of its members by

                 rigging state and federal court systems throughout the United States;


2
  The knowing failure to convey money or property forfeited to the United States pursuant to 18
U.S.C. § 1963(c) and/or another applicable federal forfeiture statute is an actionable reverse false
claim.
       Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20        Page 89 of 347




          d.    Protect and advance the political, financial, and legal interests of its members

                through blackmail, murder, bribes, gratuities, extortion, mail fraud, wire fraud,

                and other racketeering acts;

          e.    Preserving and protecting the power, territory, and profits of the ENTERPRISE

                through blackmail, harassment, intimidation, and threats and acts of violence,

                including, but not limited to, murder and assault3;

           f.   Promoting and enhancing the activities of the ENTERPRISE and the members

                and/or associates of the ENTERPRISE; and

           g.   Keeping one or more victims in fear of the ENTERPRISE and in fear of its

                members through blackmail, harassment, intimidation, and threats and acts of

                violence, including, but not limited to, murder and assault.

385.   To achieve its purpose, the ENTERPRISE rigs the court systems in state and federal

       courts at all levels nationwide by blackmail, bribery, gratuities, extortion, threats and acts

       of violence, and other racketeering acts while using state and federal courts, homes,

       schools, and automobiles, among other properties, to carry out unlawful activities.

386.   Members of the ENTERPRISE include, but may not be limited to, JOHN DOE l-X, the

       FAKE FEDERAL JUDGES, current state and federal government officials, private

       individuals, at least one law firm, at least one newspaper company, and multiple

       universities.


3Assault under Massachusetts tort law is defined as intentionally causing a reasonable
apprehension of an imminent harmful or offensive contact. Conley v. Romeri, 60 Mass. App. Ct.
799, 805 n.6 (2004) ("Assault is a separate tort involving an act which puts another in reasonable
apprehension of imminent harmful or offensive contact, that is, an attempted battery or an
immediately threatened battery.").
                                                 90
       Case 6:20-cv-00362-ADA      Document 1      Filed 05/05/20   Page 90 of 347




387.   Members of the ENTERPRISE include, but may not be limited to (the "RICO

       ASSOCIATES"):

       I)      ABBENE;

       2)      AKUETE;

       3)      ARCHER;

       4)      BARBADORO;

        5)     BERRY;

        6)     BLOOM;

        7)     BREYER;

        8)     BRODIN;

        9)     BUNZEL;

        10)    GEORGE W. BUSH;

        II)    JEB BUSH;

        12)    CASSIDY;

        13)    COLE;

        14)    COL WELL;

         15)   C OAKLEY;

         16)   CRAFTS;

         17)   CRAY;

         18)   CURTIN;

         19)   DAWLEY;

         20)    DIAMOND;
                                             91
Case 6:20-cv-00362-ADA   Document 1   Filed 05/05/20   Page 91 of 347




21)   BRIAN DURKIN;

22)   THOMAS DURKIN;

23)   EPSTEIN;

24)   FATALE;

25)   FEINER;

26)   FLATGARD;

27)   TORIL FORLAND;

28)   GANTS;

29)   GARLAND;

30)   GILES;

31)   JAVIER GONZALEZ;

32)   GOODLANDER;

33)   GREEN;

34)   HEALEY;

35)   HENNRIKUS;

36)   JOSEPH HERLIHY;

37)   SARAH HERLIHY;

38)   HOLDER;

39)   HOYLE;

40)   HUME;

41)   KATZMANN;

42)   KAYYEM;

                               92
Case 6:20-cv-00362-ADA   Document 1   Filed 05/05/20   Page 92 of 347




 43)   KELLER;

 44)   KENYON;

 45)   DANIEL KOH;

 46)   STEVEN KOH;

 47)   DAVID LAMPERT;

 48)   FAY LAMPERT;

 49)   HENRIK LAMPERT;

 50)   THOMAS LAMPERT;

 51)   LOWY;

 52)   LORETTA LYNCH;

 53)   LYSOHIR;

 54)   MACKEY;

 55)   MAFFEI;

56)    MALONEY;

57)    MANGALJI;

58)    KANYI MAQUBELA;

59)    TEMBA MAQUBELA;

60)    VUYELWA MAQUBELA;

61)    MAXWELL;

62)    MAZZONE;

63)    MESHNICK;

64)    MURPHY;

                               93
Case 6:20-cv-00362-ADA   Document 1   Filed 05/05/20   Page 93 of 347




 65)   NEYMAN;

 66)   OBAMA;

 67)   O'TOOLE;

 68)   ORTIZ;

 69)   PATRICK;

 70)   PRESSLEY;

 71)   ROBERTS;

 72)   JAMIL ROMAN;

 73)   ROUGEAU;

 74)   SAVERY;

 75)   SCOGNAMIGLIO;

 76)   SHUTZER;

 77)   SIMAS;

 78)   SLIM;

 79)   SNYDER;

 80)   SQUIRES-LEE;

 81)   STORMS;

 82)   SWEENEY;

 83)   TARROW;

 84)   ULLMANN;

85)    VERNER;

86)    WALKER;

                               94
       Case 6:20-cv-00362-ADA       Document 1     Filed 05/05/20     Page 94 of 347




       87)    WALKER IV;

       88)    WOLOHOJIAN;

       89)    WILMERHALE;

       90)    NEW YORK TIMES COMPANY;

       91)    BOSTON COLLEGE;

       92)    CORNELL;

       93)    UNIVERSITY OF DENVER;

       94)    FAKE FEDERAL JUDGES; and

       95)    JOHN DOE l-X.

388.   RICO ASSOCIATES who received income from WILMERHALE and used that income

       in the operation of the ENTERPRISE, include, but may not be limited to THOMAS

       LAMPERT.

389.   RICO ASSOCIATES who were involved with payments under the Equitable Sharing

       Program and/or THE RELATOR's litigation include, but may not be limited to (the "DOJ

       PAID ASSOCIATES"):

        1)   COAKLEY;

       2) CRAFTS;

        3) CRAY;

       4) DAWLEY;

        5) FEINER;

        6) HEALEY;

        7) MAZZONE;

                                            95
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 95 of 347




        8) MESHNICK;

        9) MURPHY;

        10) SWEENEY;

        11) TARROW;

        12) VERNER; and

        13) WALKER.

219.   One or more of the RICO ASSOCIATES and/or one or more individuals employed by the

       OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH personally

       benefitted from money deposited in EQUITABLE SHARING ACCOUNTS I -X. *

220.   By virtue of their physical presence at 885 CENTRE STREET or association with any

       person who was present at 885 CENTRE STREET at times relevant to this Complaint,

       each and every one of the RICO ASSOCIATES was in a position to acquire Privileged

       Information,

221.   OBAMA was and/or is a leader of the ENTERPRISE at the White House in Washington,

       District of Columbia.

222.   OBAMA directed one or more RICO ASSOCIATES in carrying out unlawful and other

       activities in furtherance of the conduct of the ENTERPRISE's affairs.

223.   OBAMA also operated through SIMAS, who visited the Boston, Massachusetts area,

       including 885 CENTRE STREET, during and after OBAMA's tenure as president.

224.   OBAMA utilized powers of the executive branch of the United States in order to advance

       the objectives of the ENTERPRISE during at least some of the times relevant to the

       matters herein in connection with carrying on the conduct of the ENTERPRISE.
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 96 of 347




225.    HEALEY was and/or is a leader of the ENTERPRISE at 40 WINTHROP STREET and

        MAG BOSTON.

226.    HEALEY visited the White House on multiple occasions during the time period relevant

        to this Complaint.

227.    HEALEY travelled to 885 CENTRE STREET at least one time during the time period

        relevant to this Complaint.

228.    HEALEY directed one or more RICO ASSOCIATES in carrying out unlawful and other

        activities in furtherance of the conduct of the ENTERPRISE's affairs.

229.    ORTIZ was and/or is a leader of the ENTERPRISE at I COURTHOUSE WAY and 885

        CENTRE STREET who travelled to the White House on multiple occasions and was a

        visiting professor at BCLS during the time period relevant to this Complaint.

230.    ORTIZ directed one or more RICO ASSOCIATES in carrying out unlawful and other

        activities in furtherance of the conduct of the ENTERPRISE's affairs.

231,    ROUGEAU was and/or is a leader of the ENTERPRISE at 885 CENTRE STREET.

232.    ROUGEAU travelled to the White House during KATZMANN's 100-day wait to become

        a federal judge.

233.    ROUGEAU directed one or more RICO ASSOCIATES in carrying out unlawful and

        other activities in furtherance of the conduct of the ENTERPRISE's affairs.

234.    BOSTON COLLEGE was and/or is a leader of the ENTERPRISE and directed one or

        more RICO ASSOCIATES in carrying out unlawful and other activities in furtherance of

        the conduct of the ENTERPRISE's affairs.



                                                97
       Case 6:20-cv-00362-ADA       Document 1       Filed 05/05/20    Page 97 of 347




235.   WILMERHALE was and/or is a leader of the ENTERPRISE and directed one or more

       RICO ASSOCIATES in carrying out unlawful and other activities in furtherance of the

       conduct of the ENTERPRISE's affairs.

236.   MAFFEI participated in the conduct of the ENTERPRISE's affairs at 885 CENTRE

       STREET and travelled to the White House prior to KATZMANN's 100-day wait to

       become a federal judge.

237.   STEVEN KOH participated in the conduct of the ENTERPRISE's affairs at the White

       House and 885 CENTRE STREET.

238.   DANIEL KOH participated in the conduct of the ENTERPRISE's affairs at the White

       House.

239.   GOODLANDER participated in the conduct of the ENTERPRISE's affairs at the White

       House.

240.   FLATGARD participated in the conduct of the ENTERPRISE's affairs at the White

       House.

24!.   SIMAS participated in the conduct of the ENTERPRISE's affairs at the White House and

       885 CENTRE STREET.

242.   SAVERY participated in the conduct of the ENTERPRISE's affairs at 885 CENTRE

       STREET.

243.   BRIAN DURKIN participated in the conduct of the ENTERPRISE's affairs at 885

       CENTRE STREET.

244.   THOMAS LAMPERT participated in the conduct of the ENTERPRISE's affairs at 885

       CENTRE STREET.
       Case 6:20-cv-00362-ADA       Document 1      Filed 05/05/20     Page 98 of 347




245.    PATRICK participated in the conduct of the ENTERPRISE's affairs at the White House.

246.    WALSH participated in the conduct of the ENTERPRISE's affairs at the White House.

247.    O'TOOLE, ORTIZ, SARIS, and BARRON participated in the conduct of the

        ENTERPRISE's affairs at 885 CENTRE STREET and at 1 COURTHOUSE WAY.

248.    SWEENEY participated in the conduct of the ENTERPRISE's affairs at the OFFICE OF

        THE ATTORNEY GENERAL OF THE COMMONWEALTH and at 885 CENTRE

        STREET.

249.    CRAFTS participated in the conduct of the ENTERPRISE's affairs at the OFFICE OF

        THE ATTORNEY GENERAL OF THE COMMONWEALTH and at 3 PEMBERTON

        SQUARE.

250.    SOROKIN participated in the conduct of the ENTERPRISE's affairs at 885 CENTRE

        STREET and at I COURTHOUSE WAY.

251.    SOROKIN participated in the conduct of the ENTERPRISE's affairs at 100 DAVIS

        AVENUE. *

252.    SQUIRES-LEE and ULLMANN participated in the conduct of the ENTERPRISE's

        affairs at 885 CENTRE STREET and at 3 PEMBERTON SQUARE.

253.    GILES participated in the conduct of the ENTERPRISE's affairs at 3 PEMBERTON

        SQUARE.

254.    For purposes of this Complaint and pending discovery of the identities of JOHN DOE 1-

        X, RiCO ASSOCIAT'ES include JOHN DOE I -X.
        Case 6:20-cv-00362-ADA             Document 1      Filed 05/05/20    Page 99 of 347




                                          Iiiii
 255.       In or about the year 1967, O'TOOLE and MAFFEI were both undergraduate students at

            Boston College at the same time.

 256.       In or about the year 1986, ABBENE, CURTJN, and THOMAS DURKIN were all

            students at BCLS at the same time.

 257.       In 1996, NEYMAN was an Assistant District Attorney ("ADA") in Suffolk County,

            Massachusetts, where he prosecuted narcotics cases.

 258.       NEYMAN and LOWY were colleagues in the District Attorney's Office in Suffolk

            County, Massachusetts in or about 1998.*

 259.       On or about November 19, 1998, the Massachusetts Supreme Judicial Court, applying

            Dep't of Revenue of Montana v. Kurth Ranch, 511 U.S. 767 (1994), issued its opinion in

            the case of COMMISSIONER of Revenue v. Mullins, 428 Mass 406 (1998), which found

            that a DOR assessment pursuant to Mass, Gen. Laws. ch. 64K       1-14 (the
                                                                         §

         "Massachusetts Controlled Substances Tax" or the "CST") constituted punishment within

         the meaning of the Double Jeopardy Clause of the Fifth Amendment to the U.S.

         Constitution.

260.    CRAY was counsel for the COMMISSIONER before the Supreme Judicial Court
                                                                                          in

        Mullins.

261.    Violation of the CST is a felony.

262.    After Muflins, NEYMAN, as an ADA, declined to bring charges in 100% of cases

        pursuant to the CST in favor of bringing charges pursuant to Mass.Gen.Laws ch. 94C
                                                                                               §

        I   el seq.   (the "Massachusetts Controlled Substances Act")

                                                   100
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 100 of 347




263.    On or about April 29, 1999, more than five months after Mullins, NEYMAN, as an ADA

        in Suffolk County, signed an indictment against a defendant in a crack cocaine

        distribution case (the "Crack Cocaine Case") pursuant to Mass.Gen.Laws ch. 94C §

        32A(c).

264.    The indictment in the Crack Cocaine Case could have alleged one or more violations of

        the CST instead of one or more violations of the Massachusetts Controlled Substances

        Act.

265.    GEORGE W. BUSH was a personal friend of the chief executive officer of Enron Corp.,

        Kenneth Lay, who served on GEORGE W. BUSH's presidential transition team.

266.    Enron Corp. and its executives contributed in excess of $2 million to the gubernatorial

        and presidential campaigns of GEORGE W. BUSH.

267.    Enron Corp. was pursuing a gas pipeline in Afghanistan at or around the time of the

        September 11, 2001 attacks.

268.    Enron Corp. employed and/or hired as contractors a number of individuals affiliated with

        the Central Intelligence Agency ("CIA")

269.    Enron Corp. declared bankruptcy in or around November 2001.

270.    The bankruptcy of Enron Corp. was the largest bankruptcy in the history of the United

        States.

271.    In the years after the CIA launched operations in Afghanistan following the September

        11, 2001 attacks, Afghanistan's practice of"bacha bazi" or "boy play," which is a form of

        child sexual slavery and/or child prostitution, became widespread after having been

        banned by the Taliban.

                                                101
       Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 101 of 347




272.   In the years after the CIA launched operations in Afghanistan following the September

       11, 2001 attacks, Afghanistan's production of opium, the raw ingredient for heroin, rose


       to historic levels after opium cultivation was banned and virtually eradicated by the

       Taliban.

273.   Lehman Brothers Holdings, Inc. was a financial services firm headquartered in New

       York, New York.

274.   There was a coordinated scheme to force Lehman Brothers Holdings, Inc. to collapse

       multiple RICO ASSOCIATES.*

275.   SHUTZER was an employee of Lehman Brothers Inc. (the predecessor company to

       Lehman Brothers Holdings, Inc.) during some portion of the years 2000, 2001, 2002, and/

       or 2003.

276.   According to one or more filings made with the Securities and Exchange Commission,

       after leaving the firm in 2003, SHUTZER continued to serve as a "consultant" to Lehman

       Brothers Holdings, Inc. and/or Lehman Brothers Inc.

277.   THE RELATOR was an employee of Lehman Brothers Holdings, Inc. during the years

       2007 and 2008 at 745 7TH AVENUE.

278.   THE RELATOR was and/or is a shareholder of Lehman Brothers Holdings, Inc.

       beginning in or about the year 2007.

279.   BUNZEL was an employee of Lehman Brothers Holdings, Inc. during the year 2007 at

       745 7TH AVENUE.

280.    AKUETE was an employee of Lehman Brothers Holdings, Inc. during the years 2007

        and 2008 at 745 7TH AVENUE.

                                                102
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20    Page 102 of 347




281.     JEB BUSH was an employee of Lehman Brothers Holdings, Inc. during the years 2007

         and/or 2008 at 745 7TH AVENUE.

282.     WALKER IV was an employee of Lehman Brothers Holdings, Inc. during the years

         2006, 2007, and/or 2008 at 745 7TH AVENUE.

283.     JEB BUSH met with SLIM in Mexico in or around July 2008 regarding the deteriorating

         financial situation of Lehman Brothers Holdings, Inc.

284.     JEB BUSH communicated with GEORGE W. BUSH regarding the financial position of

         Lehman Brothers Holdings, Inc. during his tenure at that firm.*

285.     The bankruptcy of Lehman Brothers Holdings, Inc. was, at the time, the largest corporate

         bankruptcy in American history.

286.     On or about September 10, 2008, SLIM purchased approximately six percent of all

         outstanding shares of NEW YORK TIMES COMPANY.

287.     On or about September 11, 2008, MANGALJI sent an email to THE RELATOR stating

         to the effect that Lehman Brothers Holdings, Inc. would not be able to consummate a deal

         to avert a bankruptcy filing and/or collapse.

288.     As of September 11,2008, executives of Lehman Brothers Holdings, Inc. were still

         negotiating deals with multiple parties in order to avert a bankruptcy, including with

         Barclays PLC and DIAMOND.

289.     As of September 13, 2008, executives of Lehman Brothers Holdings, Inc. were still

         negotiating deals with multiple parties in order to avert a bankruptcy, including with

         Barclays PLC and DIAMOND.

290.     Lehman Brothers Holdings, Inc. filed for bankruptcy on or about September 15, 2008.

                                                 103
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20   Page 103 of 347




291.     Despite widespread knowledge in the financial markets that Lehman Brothers Holdings,

         Inc. required additional equity capital investment throughout some of the year 2007 and

         most of the year 2008, executives at Lehman Brothers Holdings, Inc. failed to raise

         adequate equity capital prior to the company's bankruptcy filing in September 2008.

292.     The bankruptcy of Lehman Brothers Holdings, Inc. caused significant economic turmoil

         prior to the presidential election of 2008.

293.     JEB BUSH retained employment at 745 7TH AVENUE after the bankruptcy of Lehman

         Brothers, Inc. with Barclays PLC.

294.     WALKER retained after the bankruptcy of Lehman Brothers, Inc. with Barclays PLC.

295.     On or about September 24, 2008, then-Senator John McCain announced a suspension of

         his presidential campaign.

296.     The bankruptcy of Lehman Brothers Holdings, Inc. and the ensuing financial crisis

         obfuscated the issue of OBAMA's ineligibility to be President of the United States.

297.     The bankruptcy of Lehman Brothers Holdings, Inc. and the ensuing financial crisis

         obfuscated the issue that many banks in the United States launder proceeds from the

         illegal narcotics trade.

298.     According to the news agency, Reuters, Antonio Maria Costa, Executive Director of the

         United Nations Office on Drugs and Crime, stated in late 2008 or early 2009 that "[i]n

         many instances, drug money is currently the only liquid investment capital."

299.     According to the news agency, Reuters, Antonio Maria Costa, Executive Director of the

         United Nations Office on Drugs and Crime, stated in late 2008 or early 2009 that



                                                   104
       Case 6:20-cv-00362-ADA             Document 1    Filed 05/05/20      Page 104 of 347




        "interbank loans were funded by money that originated from the drug trade and other

        illegal activities," and that "[there were] signs that some banks were rescued in that way."

300.    According to FORTUNE Maganize, SLIM was worth approximately $2.8 billion in 1992.

301.    According to the magazine, Latin Trade, SLIM was worth approximately $7.2 billion in

        1999.

302.    According to FORTUNE Magazine, SLIM was worth approximately $60 billionin 2008.

303.    OBAMA was not born in the United States of America.

304.    OBAMA is not a natural born citizen of the United States of America.

305.    OBAMA has used a variety of fraudulent documents throughout his life, including one or

        more different aliases.

306.    During the presidential inauguration on or about January 20, 2009, OBAMA and

        ROBERTS misstated the presidential oath of office.

307.    THE RELATOR incorporates by reference each and every paragraph of the Affidavit of

        Michael Zullo (attached hereto at EXHIBIT 1) as if fully set forth herein.

308.    Because OBAMA was and is not a natural born citizen, he has never been eligible to be

        President of the United States.

309.    OBAMA conspired with JOHN DOE 1 -X to create and disseminate a false birth

        certificate on the official website of the White House.

310.    On or about April 27, 2011, OBAMA released a fraudulent birth certificate on the official

        website of the White House.

311.    By conspiring with JOHN DOE I -X to create and disseminate a false birth certificate on

       the official website of the White House, (attached hereto at EXHIBIT 2), OBAMA

                                                105
       Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 105 of 347




       violated one or more subsections of 18 U.S.C. § 1028 and/or one or more other federal

       laws.

312.   The federal government is in possession of dispositive evidence as to the question of

       OBAMA's eligibility to be President of the United States.

313.   Because OBAMA was and is ineligible to be President of the United States, each and

       every judicial commission signed by OBAMA was and is void.

314.   Due to the nationwide scope of the events alleged herein, this Complaint could have been

       brought in a number of judicial districts in the United States: All of the Fake Federal

       Judges in these judicial districts are defendants in the above-captioned action.

315.   Each of the FAKE FEDERAL JUDGES in federal courts who have participated in THE

       RELATOR's litigation or could participate based on the facts alleged herein is listed in

       the caption of this Complaint as "Fake Judge" or "Fake Justice."

316.   In or about April 2009, THE RELATOR authored a published letter to the editor of the

       student newspaper at Emory University (the "Emory Letter") that called for investigation

       of activities on Wall Street following the bankruptcy of Lehman Brothers Holdings, Inc.

       and the ensuing financial crisis.

317.    Despite one or more internet archive services displaying the existence of the Emory

        Letter (see Exhibit 3), the text of the Emory Letter is no longer accessible on the website

        of the student newspaper at Emory University or on internet archive services.

318.    Between the years 2009 to 2019, both years being approximate, one or more of the RICO

        ASSOCIATES was made aware of, participated in, and/or approved electronic and/or

        human surveillance of THE RELATOR.*
                                                106
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 106 of 347




 319.    Between the years 2009 to 2019, both years being approximate, one or more of the RICO

         ASSOCIATES was made aware of, participated in, and/or approved unlawful electronic

         and/or human surveillance of THE RELATOR.*

 320.    Intelligence agencies as well as non-state actors have been and are engaged in widespread

         attempts to obtain blackmail against individuals in compromising positions, including,

         but not limited to, sexual blackmail using so-called "honeypots," which are sexual

         blackmail traps setup in order to ensnare particular individuals in compromising

         positions.

321.     EPSTEIN and/or MAXWELL possessed photographs and videos of prominent

         individuals in compromising positions that EPSTEIN and/or MAXWELL, themselves or

         through one or more other individuals, used and/or intended to use for blackmail,

         leverage, and/or other purposes.

322.    One or more of the RICO ASSOCIATES possessed information, photographs, and/or

        videos of THE RELATOR's private, personal life (the "Compromising Information") that

        was used and/or was intended to be used for blackmail and/or leverage against THE

        RELATOR. *

323.    One or more of the RICO ASSOCIATES was and/or is in possession of electronic and/or

        human surveillance information concerning THE RELATOR.

324.    Monies paid, seized, or otherwise deposited by the Commonwealth pursuant to the CST

        are deposited in the Commonwealth's general fund.




                                               107
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 107 of 347




 325.    At all times relevant to this Complaint, the Massachusetts Controlled Substances Act

         provided a means for forfeiture of assets to law enforcement agencies of the

         Commonwealth in connection with a criminal narcotics case.

 326.    At all times relevant to this Complaint, federal law provided a means for forfeiture of

         assets to law enforcement agencies of the federal government and/or to the the

         Commonwealth or a law enforcement agency thereof in connection with a narcotics case.

327.     Monies forfeited pursuant to the Massachusetts Controlled Substances Act are deposited

         and/or kept in bank accounts segregated from taxpayer funds.

328.     Monies forfeited pursuant to federal narcotics laws are deposited and/or kept in bank

         accounts segregated from taxpayer funds.

329.     Through the Equitable Sharing Program (the "Equitable Sharing Program"), the U.S.

         Department of Justice ("DOJ") and the U.S. Department of Treasury distribute a share of

         property and cash forfeited pursuant to federal law, such as the Controlled Substances Act

        (21 U.S.C. §   801 et seq.), to state and local law enforcement agencies.

330.    One or more Massachusetts law enforcement agencies have been receiving cash proceeds

        and/or property from the Equitable Sharing Program since January 1, 1996 or earlier.

331.    Pursuant to the rules and regulations of the Equitable Sharing Program, payments made

        to state and local law enforcement agencies are deposited and/or kept in bank accounts

        segregated from taxpayer funds.

332.    Since at least January 1, 2012, the COMMISSIONER has disseminated Form CST-1 for

        the purchase of marijuana and controlled substance tax stamps pursuant to the CST on the

        official website of the Commonwealth of Massachusetts.

                                                108
       Case 6:20-cv-00362-ADA        Document 1      Filed 05/05/20     Page 108 of 347




333.    Form CST-1 contains no statement regarding a non-enforcement directive or policy as to

        the CST.

334.    Form CST-1 requires payments of $3.50 for each 1-gram marijuana tax stamp, $200 for

        each 1-gram controlled substance tax stamp, and $2,000 for 50 dosage unit tax stamps of

        a controlled substance not sold by weight.

335.    Cocaine and marijuana are subject to and/or regulated by the CST.

336.    Tax stamp purchases using Form CST-1 are non-refundable.

337.    Between approximately the years 2003 to 2005, SQUIRES-LEE, WOLOHOJIAN. and/or

        HEALEY worked at the same law firm, WILMERHALE, in Boston, Massachusetts.

338.    White House visitor logs show that MANGALJI met with FLATGARD at the White

        House on or about January 16, 2010.

339.    During the years 2013 to 2019, both years being inclusive, GEORGE W. BUSH met with

        the brother of THE RELATOR on one or more occasions.

340.    During the years 2013 to 2019, both years being inclusive, JEB BUSH met with the

        brother of THE RELATOR on one or more occasions.

341.    In or about January 2013, THE RELATOR made an online posting stating to the effect

        that Massachusetts had a major heroin problem and that PATRICK was responsible in

        part for this problem.

342.    White House visitor logs show that PATRICK visited the White House on or about

        January 21, 2013.

343.    In or about February 2013, THE RELATOR made a statement at a public meeting of the

        Cambridge, Massachusetts Police Department to the effect that Massachusetts had a

                                               109
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20   Page 109 of 347




        major narcotics problem and that the CST should be enforced to mitigate the narcotics

        problem in Massachusetts.

344.    On or about February 1, 2013, THE RELATOR received a notice of an audit or other

        inquiry by the Internal Revenue Service.

345.    On or about February 15, 2013, the Twitter account belonging to OBAMA issued a tweet

        (attached hereto at Exhibit 4) stating: "I spy..."

346.    In or about March 2013, all of the computers at the medical office operated by the parents

        of THE RELATOR were infected with maiware.

347.    White House visitor logs show that PATRICK visited the White House on or about

        February 24, 2013.

348.    White House visitor logs show that PATRICK visited the White House on or about

        February 25, 2013.

349.    White House visitor logs show that PATRICK visited the White House on or about April

        1,2013.

350.    On April 15, 2013, two bombers were detonated at the Boston Marathon in Boston,

        Massachusetts.

351.    White House visitor logs show that GOODLANDER visited the White House on or about

        April 16, 2013.

352.   White House visitor logs show that GOODLANDER visited the White House on or about

       June 21, 2013.

353.   White House visitor logs show that GOODLANDER visited the White House on or about

       August 13, 2013.

                                                 110
        Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20     Page 110 of 347




 354.    White House visitor logs show that GOODLANDER visited the White House on or about

         September 5, 2013.

 355.    A number of law enforcement agencies of the Commonwealth of Massachusetts,

         including the OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH,

         accepted approximately $7,719,173 through the Equitable Sharing Program in federal

         Fiscal Year 2014, during which time the same agencies declined to bring any criminal

         prosecutions pursuant to the CST in 100% of cases.

356.     Federal Fiscal Year 2014 was October 1, 2013 to September 30, 2014.

357.     ORTIZ was responsible for the administration of the Equitable Sharing Program in the

         District of Massachusetts pursuant to the Controlled Substances Act and/or Equitable

         Sharing Program rules and regulations for judicial forfeitures amounting to less than $1

         million during the years 2009-2017, or some portion thereof.

358.     COLE was responsible for the administration of the Equitable Sharing Program in the

        District of Massachusetts pursuant to the Controlled Substances Act and/or Equitable

        Sharing Program rules and regulations for judicial forfeitures amounting to more than $1

        million during the years 2011-2015, or some portion thereof.

359.    YATES was responsible for the administration of the Equitable Sharing Program in the

        District of Massachusetts pursuant to the Controlled Substances Act and/or Equitable

        Sharing Program rules and regulations for judicial forfeitures amounting to more than $1

        million during the years 2015-2017, or some portion thereof.

360.    White House visitor logs show that HOYLE visited the White House on or about

        November 7, 2013.
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20   Page 111 of 347




361.    On or about November 19, 2013, SQUIRES-LEE donated approximately $150 to

        HEALEY's campaign for Attorney General of the Commonwealth of Massachusetts.

362.    On or about November 19, 2013, MAFFEI donated approximately $250 to HEALEY's

        campaign for Attorney General of the Commonwealth of Massachusetts.

363.    On or about November 19, 2013, GREEN donated approximately $500 to HEALEY's

        campaign for Attorney General of the Commonwealth of Massachusetts.

364.    MAFFEI and SQUIRES-LEE both worked at Sherin and Lodgen LLP prior to

        SQUIRES-LEE becoming a state court judge at SUFFOLK SUPERIOR COURT.

365.    In or about 2013 or 2014, SQUIRES-LEE hosted and/or participated in a fundraiser for

        HEALEY's campaign for Attorney General of the Commonwealth of Massachusetts at

        the office of the law firm, Sherin and Lodgen LLP.

366.    White House visitor logs show that GOODLANDER visited the White House on or about

        December 14, 2013.

367.    White House visitor logs show that GOODLANDER visited the White House on or about

        December 16, 2013.

368.    White House visitor logs show that GOODLANDER visited the White House on or about

        January 31, 2014.

369.    White House visitor logs show that PATRICK visited the White House on or about

        February 23, 2014.

370.    White House visitor logs show that PATRICK visited the White House on or about

        February 24, 2014.



                                               112
       Case 6:20-cv-00362-ADA       Document 1      Filed 05/05/20     Page 112 of 347




371      White House visitor logs show that SARIS visited the White House on or about February

         26, 2014.

372.     SQUIRES-LEE hosted a fundraiser at her home for HEALEY's campaign for the

         OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH in or about

         March 2014

373.     White House visitor logs show that LYSOHIR visited the WHITE HOUSE on or about

         March 11,2014.

374.     White House visitor logs show that GOODLANDER visited the White House on or about

         March 13, 2014.

375.     White House visitor logs show that GOODLANDER visited the White House on or about

         March 14, 2014.

376.     White House visitor logs show that GOODLANDER visited the White House on or about

         March 15, 2014.

377.     On or about March 18, 2014, SQUIRES-LEE donated approximately $300 to HEALEY's

         campaign for Attorney General of the Commonwealth of Massachusetts.

378.     On or about March 20, 2014, GREEN donated approximately $500 to HEALEY's

         campaign for Attorney General of the Commonwealth of Massachusetts.

379.     SQUIRES-LEE, HEALEY, GREEN, and/or WOLOHOJIAN are former colleagues at

         WILMERHALE.

380.     SQUIRES-LEE is a friend of HEALEY and/or WOLOHOJIAN.

381.     GREEN is a friend of HEALEY and/or WOLOHOJIAN.



                                              113
        Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 113 of 347




 382.     On or about March 26, 2014, the defendants in the Qui Tam Action, JAVIER

          GONZALEZ and JAMIL ROMAN were charged in a federal criminal complaint (the

          "Federal Criminal Complaint") with conspiracy to distribute and distribution of more

          than five kilograms of cocaine in the U.S. DISTRICT COURT FOR THE DISTRICT OF

          MASSACHUSETTS.

383.      The Federal Criminal Complaint alleged that JAV1ER GONZALEZ and JAMIL ROMAN

          imported illegal narcotics from Mexico to Massachusetts in collaboration with the "Gulf

          Cartel," which is an international narcotics trafficking organization operating primarily

          between Mexico and the United States.

384.     The Federal Criminal Complaint against JAVIER GONZALEZ and JAMIL ROMAN

         included an affidavit (the "Affidavit of Scott P. Smith," attached hereto at EXHIBIT 5)

         with factual representations to the Court that 1) three kilograms of cocaine seized in

         Massachusetts from the confidential informant were procured by the confidential

         informant from JAVIER GONZALEZ and JAMIL ROMAN 2) more than $1.5 million in

         cash was seized by agents of the U.S. government from JAVIER GONZALEZ and

         JAMIL ROMAN at the time of their arrest pursuant to the Federal Criminal Complaint;

         and 3) JAVIER GONZALEZ travelled by truck to MeAllen, Texas on one or more

         occasions to pick up large quantities of cocaine for distribution in and around Holyoke,

         Massachusetts.

385.     THE RELATOR incorporates by reference each and every paragraph of the Affidavit of

         Scott P. Smith (attached hereto at EXHIBIT 5) as if fully set forth herein.



                                                 114
       Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20     Page 114 of 347




386.     The U.S. Department of Justice sought forfeiture of more than $1.5 million in cash seized

         from JAVIER GONZALEZ and JAMIL ROMAN pursuant to the federal Controlled

         Substances Act (the "Federal Controlled Substances Act," or 21 U.S.C. § 801 et seq.) in

         the U.S. DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS.

387.     White House visitor logs show that LYSOHIR visited the WHITE HOUSE on or about

         April 9, 2014.

388.     On or about April 30, 2014, MAFFEI donated approximately $250 to HEALEY's

         campaign for Attorney General of the Commonwealth of Massachusetts.

389.     White House visitor logs show that PATRICK visited the White House on or about May

         16, 2014.

390.     On or about May 23, 2014, the U.S. Department of Justice charged multiple individuals

         in a federal criminal complaint (the "Marijuana Federal Criminal Complaint") with

         conspiracy to distribute marijuana in the U.S. DISTRICT COURT FOR THE DISTRICT

        OF MASSACHUSETTS.

391.    The Marijuana Federal Criminal Complaint alleged that multiple individuals shipped

        marijuana from California to Massachusetts and Rhode Island.

392.    The Marijuana Federal Criminal Complaint included an affidavit signed by an agent of

        the Drug Enforcement Administration wherein the agent estimated that the individuals

        charged in the Marijuana Federal Criminal Complaint shipped approximately 1,932

        kilograms of marijuana from California into Massachusetts and Rhode Island.




                                               115
       Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20     Page 115 of 347




393.     On or before June 1, 2014, THE RELATOR acquired more than forty marijuana tax

         stamps (the "Tax Stamps") at a price of $3.50 each pursuant to the CST from the

         Massachusetts Department of Revenue.

394.     The CST imposes a penalty of $3.50 per gram of marijuana payable to DOR by purchase

         of marijuana tax stamps.

395.    As a matter of law, violation of the CST is penalized by imposing the original tax stamp

        rate and adding a 100% nonpayment penalty.

396.    Under the economic laws of supply and demand, widespread voluntary compliance with

        the CST would significantly increase the price for marijuana or a controlled substance

        such as heroin, thereby destroying demand by reducing purchasing power.

397.    Under the economic laws of supply and demand, a zero tolerance policy for offenders

        under the CST would significantly increase the price for marijuana or a controlled

        substance such as heroin, thereby destroying demand by reducing purchasing power.

398.    White House visitor logs show that SARIS visited the White House on or about May 6,

        2014.

399.    White House visitor logs show that SARIS visited the White House on or about June 11,

        2014.

400.    White House visitor logs show that GOODLANDER visited the White House on or about

        June 25, 2014.

401.    On or about June 27, 2014, THE RELATOR brought the Qui Tam Action pursuant to

        Mass.Gen.Laws ch. 12 § 5A-50 (the "Massachusetts False Claims Act" or "MFCA") in

        SUFFOLK SUPERIOR COURT and alleged that JAVIER GONZALEZ and JAMIL

                                               116
       Case 6:20-cv-00362-ADA        Document 1      Filed 05/05/20     Page 116 of 347




       ROMAN had failed to purchase and affix tax stamps on three kilograms of cocaine

       acquired or possessed in the Commonwealth as required pursuant to the CST.4

402.   PATRICK, as governor of Massachusetts, was served with a copy of the complaint in the

       Qui Tam Action.

403.   White House visitor logs show that GOODLANDER visited the White House on or about

       June 28, 2014.

404.   HOLDER was the Fake Attorney General of the United States when the Qui Tam Action

       commenced.

405.   THE RELATOR paid the full filing fee to SUFFOLK SUPERIOR COURT for the

       commencement of the Qui Tam Action.

406.    In the Qui Tam Action, THE RELATOR submitted evidence in the form of THE

        RELATOR's tax stamp purchases from the COMMISSIONER to SUFFOLK SUPERIOR

        COURT demonstrating that JAVIER GONZALEZ and JAMIL ROMAN had not

        purchased tax stamps in the amount of $600,000 as required pursuant to the CST upon

        acquisition or possession of three kilograms of cocaine in the Commonwealth of

        Massachusetts.

407.    In the Qui Tam Action, THE RELATOR alleged that, pursuant to the CST's 100% non-

        payment penalty, JAVIER GONZALEZ and JAMIL ROMAN had a financial obligation

        to the Commonwealth in the amount of$l,200,000 and that JAVIER GONZALEZ and




  THE RELATOR filed an amended complaint as to the Qui Tam Action in SUFFOLK
 SUPERIOR COURT at 3 PEMBERTON SQUARE on or about July 9, 2014.
                                              117
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 117 of 347




       JAMIL ROMAN had violated the MFCA as to the financial obligation to the

        Commonwealth in the amount of $1,200,000.

408.    If the Qui Tam Action proceeded, JAVIER GONZALEZ and JAMIL ROMAN would

        have been subject, upon a finding of liability, to at least a $1.2 million penalty payable to

        the general fund of the Commonwealth of Massachusetts.

409.    If the Qui Tam Action proceeded, the U.S. Department of Justice may have lost custody

        of or have been forced into litigation concerning at least $1 .2 million in cash seized from

        JAVIER GONZALEZ and JAMIL ROMAN.

410.    If the Second Qui Tam Action proceeded, THE RELATOR could have earned a bounty of

        $1.2 million.

411.    On or about July 16, 2014, THE RELATOR brought a qui tam action (the "Second Qui

        Tam Action") based on the Marijuana Federal Criminal Complaint pursuant to the MFCA

        in SUFFOLK SUPERIOR COURT with DOR as the qui tam plaintiff and alleged that the

        defendants in the Second Qui Tam Action had, failed to purchase and affix tax stamps on

        1,932 kilograms of marijuana acquired or possessed in the Commonwealth as required

        pursuant to the CST.

412.    THE RELATOR paid the full filing fee to SUFFOLK SUPERIOR COURT for the

        commencement of the Second Qui Tam Action.

413.    In the Second Qui Tam Action, THE RELATOR submitted evidence in the form of THE

        RELATOR's tax stamp purchases from the COMMISSIONER to SUFFOLK SUPERIOR

        COURT demonstrating that the defendants in the Second Qui Tam Action had not

        purchased tax stamps in the amount of $6,762,000 as required pursuant to the CST upon
                                                 118
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 118 of 347




         acquisition or possession of 1,932 kilograms of marijuana in the Commonwealth of

         Massachusetts based on the Marijuana Federal Criminal Complaint.

414.     In the Second Qui Tam Action, THE RELATOR alleged that, pursuant to the CST's 100%

         non-payment penalty, the defendants in the Second Qui Tam Action had a financial

         obligation to the Commonwealth in the amount of $13,524,000 and that the defendants in

         the Second Qul Tam Action had violated the MFCA as to the financial obligation to the

         Commonwealth in the amount of $13,524,000 based on the Marijuana Federal Criminal

         Complaint.

415.     If the Second Qul Tam Action proceeded, the defendants in the Second Qui Tam Action

         would have been subject to, upon a finding of liability, at least a $13,524,000 penalty

         payable to the general fund of the Commonwealth of Massachusetts.

416.     If the Second Qui Tam Action proceeded, the U.S. Department of Justice may have lost

         custody of or have been forced into litigation concerning any cash or property seized and!

         or intended to be seized from the defendants in the Second Qui Tam Action.

417.     If the Second Qui Tam Action proceeded, THE RELATOR could have earned a bounty of

         over $4 million.

 418.     White House visitor logs show that GOODLANDER visited the White House on or about

         July 10, 2014.

 419.     White House visitor logs show that WALSH visited the White House on or about July 21,

          2014.

 420.     White House visitor logs show that STEVEN KOH visited the White House on or about

          July 30, 2014.
                                                  119
        Case 6:20-cv-00362-ADA        Document 1      Filed 05/05/20    Page 119 of 347




42 L    White House visitor logs show that GOODLANDER visited the White House on or about

        August 13, 2014

422.    White House visitor logs show that ORTIZ visited the White House on or about August

         13, 2014.

423.    White House visitor logs show that FLATGARD visited the White House on or about

        August 18, 2014

424.     White House visitor logs show that GOODLANDER visited the White House on or about

         August 27, 2014

425.     White House visitor logs show that FLATGARD visited the White House on or about

         September 12, 2014.

426.     White House visitor logs show that SARIS visited the White House on or about

         September 15, 2014.

427.     White House visitor logs show that FLATGARD visited the White House on or about

         September 15, 2014.

428.     White House visitor logs show that FLATGARD visited the White House on or about

         September 24, 2014.

429.     On or about October 3, 2014, the OFFICE OF THE ATTORNEY GENERAL OF THE

         COMMONWEALTH served on THE RELATOR a motion to dismiss and a

         memorandum of law in support of its motion to dismiss both the Qui Tam Action and the

         Second Qui Tam Action (the "Dismissal Papers") in SUFFOLK SUPERIOR COURT.

 430.    A number of law enforcement agencies of the Commonwealth of Massachusetts,

         including the OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH,
                                               120
       Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20     Page 120 of 347




       accepted approximately $6,209,584 through the Equitable Sharing Program in federal

       Fiscal Year 2015, during which time the same agencies declined to bring any criminal

       prosecutions pursuant to the CST in 100% of cases.

431.    Federal Fiscal Year 2015 was October 1,2014 to September 30, 2015.

432.    On or about October 3, 2014, COAKLEY, CRAFTS, and/or an employee of the OFFICE

        OF THE ATTORNEY GENERAL OF THE COMMONWEALTH mailed the Dismissal

        Papers through the United States Postal Service to THE RELATOR.

433.    The Dismissal Papers show COAKLEY, as Attorney General of the Commonwealth, and

        CRAFTS, as Assistant Attorney General of the Commonwealth, on the signature line.

434.    In the Dismissal Papers, the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH represented in writing to SUFFOLK SUPERIOR COURT that

                      The arguments relied on by the Commonwealth in support of this Motion
                      represent the type of "non-merits, non-jurisdictional rules of dismissal"
                      which properly precede resolution of subject matter jurisdiction questions.


435.    In the Dismissal Papers, the Attorney General represented in writing to SUFFOLK

        SUPERIOR COURT that "[f]ollowing the Mullins decision, the COMMISSIONER [of

        the Massachusetts Department of Revenue] directed DOR to abstain from enforcing the

        Controlled Substances Tax" (the "Secret CST Suspension Directive")

436.    The COMMISSIONER did not direct DOR to abstain from enforcing the CST before the

        commencement of the Qué Tam Action as stated in writing by the OFFICE OF THE

        ATTORNEY GENERAL OF THE COMMON WEALTH.*




                                               121
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20    Page 121 of 347




 437.    In the Dismissal Papers, the Attorney General represented in writing to SUFFOLK

         SUPERIOR COURT that, as to the CST, "[t]he COMMISSIONER determined that

         enforcement of this statute would result in an administrative burden for DOR and would

         jeopardize potential criminal prosecutions in the Commonwealth, and that "{t]his

         instruction was appropriate and within the discretion of the COMMISSIONER."

438.     The COMMISSIONER publishes all Department of Revenue rules, regulations,

         directives, and determinations on the official website of the Commonwealth of

         Massachusetts. *

439.     There was no evidence of the existence of the Secret CST Suspension Directive when the

         Qui Tam Action commenced.*

440.     There was no evidence of the existence Secret CST Suspension Directive when the

         Dismissal Papers were mailed, except for representations made by the OFFICE OF THE

         ATTORNEY GENERAL OF THE COMMONWEALTH in the Dismissal Papers or in

         connection with the preparation of the Dismissal Papers.*

441.     Since the Qui Tam Action commenced, the OFFICE OF THE ATTORNEY GENERAL

        OF THE COMMONWEALTH and the COMMISSIONER have not provided THE

        RELATOR with any document or documents setting forth the text, date, and/or manner of

        dissemination of the Secret CST Suspension Directive.

442.    One or more of the DOJ PAID ASSOCIATES authored or contributed to authoring the

        Dismissal Papers.

443.    In the Dismissal Papers, there was no information concerning one or more payments

        accepted or intended to be accepted from the Equitable Sharing Program.

                                               122
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 122 of 347




444.    In the Dismissal Papers, there was no information concerning any financial interest of

        one or more employees of the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH and/or the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH as an institution.

445.    In the Dismissal Papers, there was no information concerning money accepted by the

        OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH and/or one or

        more employees of the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH from the Equitable Sharing Program.

446.    In the Dismissal Papers, there was no information concerning the forfeiture of assets to

        law enforcement agencies of the Commonwealth pursuant to state and/or federal

        narcotics laws.

447.    One or more of the RICO ASSOCIATES and/or one or more employees of the OFFICE

        OF THE ATTORNEY GENERAL OF THE COMMONWEALTH fabricated the Secret

        CST Suspension Directive in the Dismissal Papers.*

448.    One or more of the RICO ASSOCIATES and/or one or more employees of the OFFICE

        OF THE ATTORNEY GENERAL OF THE COMMONWEALTH fabricated the Secret

       CST Suspension Directive in the Dismissal Papers in order to use the Secret CST

       Suspension Directive to hide, conceal, and/or obscure an agreement or agreements to

       accept money from the Equitable Sharing Program in exchange for moving to dismiss the

       Qué Tam Action.*

449.   One or more of the RICO ASSOCIATES and/or one or more employees of the OFFICE

       OF THE ATTORNEY GENERAL OF THE COMMONWEALTH fabricated the Secret

                                               123
       Case 6:20-cv-00362-ADA        Document 1      Filed 05/05/20     Page 123 of 347




        CST Suspension Directive in the Dismissal Papers in order to use the Secret CST

        Suspension Directive to hide, conceal, and/or obscure an agreement or agreements to

        accept money from the Equitable Sharing Program in exchange for moving to dismiss the

        Second Qui Tam Action or for not prosecuting the defendants in the Second Qui Tam

        Action.

450.    White House visitor logs show that PATRICK visited the White House on or about

        October 18, 2014,

451.    White House visitor logs show that YATES visited the White House on or about October

        22, 2014.

452.    On or about October 23, 2014, CRAFTS and/or an employee of the OFFICE OF THE

        ATTORNEY GENERAL OF THE COMMONWEALTH filed the Dismissal Papers and

        THE RELATOR's opposition thereto with SUFFOLK SUPERIOR COURT pursuant to

        Massachusetts Superior Court Rule 9A.

453.    White House visitor logs show that YATES visited the White House on or about October

       23, 2014.

454.   White House visitor logs show that YATES visited the White House on or about October

       27, 2014.

455.   On or about November 17, 2014, SUFFOLK SUPERIOR COURT held oral argument

       (the "Superior Court Oral Argument") concerning the Dismissal Papers.

456.   White House visitor logs show that PATRICK visited the White House on or about

       November 18, 2014.



                                             124
       Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20      Page 124 of 347




457.    White House visitor logs show that HOLDER visited the White House on or about

       November 23, 2014.

458.    On or about November 18, 2014, an employee of the Commonwealth signed and/or

        submitted electronically or by mail one or more requests to the Equitable Sharing

        Program at the U.S. Department of Justice in connection with activities of the OFFICE

        OF THE ATTORNEY GENERAL OF THE COMMONWEALTH.

459.    At the Superior Court Oral Argument, CRAFTS and CRAY, along with Joe Tierney from

        the Massachusetts Department of Revenue, appeared for the Commonwealth.

460.    At the Superior Court Oral Argument, CRAFTS represented to SUFFOLK SUPERIOR

        COURT that

                       [Tihe COMMISSIONER of Revenue, after the 1998 Mullins decision,
                       directed DOR not to enforce the Controlled Substances Tax. People have
                       voluntarily complied with the tax since then but very, very few. And the
                       instruction, the COMMISSIONER's instruction was appropriate and it's
                       something that as he was delegated that authority by the legislature so it's
                       in his power to decide which laws to enforce or not to enforce.



461.    On or about December 1, 2014, THE RELATOR commenced the Rigged O'Toole Action

        against the COMMISSIONER, DOJ, and the United States.

462.    On or about December 1, 2014, O'TOOLE was assigned to the Rigged O'Toole Action

        by FARRELL and/or an employee supervised by FARRELL.

463.    White House visitor logs show that WALSH visited the White House on or about

        December 1, 2014.

464.    White House visitor logs show that YATES visited the White House on or about

        December 3, 2014.
                                                125
       Case 6:20-cv-00362-ADA        Document 1      Filed 05/05/20    Page 125 of 347




465.   On or about December 10, 2014, SUFFOLK SUPERIOR COURT allowed the Attorney

       General's motion to dismiss the Qui Tam Action and the Second Qui Tam Action.

466.   White House visitor logs show that YATES visited the White House on or about

       December 12, 2014

467.    White House visitor logs show that FLATGARD visited the White House on or about

       December 15, 2014.

468.    White House visitor logs show that WALSH visited the White House on or about

        December 16, 2014.

469.    White House visitor logs show that FLATGARD visited the White House on or about

        December 17, 2014.

470.    On or about December 18, 2014, the OFFICE OF THE ATTORNEY GENERAL OF

        THE COMMONWEALTH received an email regarding an electronic payment ("DOJ

        Wire #1") from the Equitable Sharing Program from the U.S. Marshals Service,

        Massachusetts in the amount of $69,364.57 to the OFFICE OF THE ATTORNEY

        GENERAL OF THE COMMONWEALTH.

471.    White House visitor logs show that FLATGARD visited the White House on or about

        December 19, 2014.

472.    On or about December 31, 2014, THE RELATOR filed a notice of appeal of SUFFOLK

        SUPERIOR COURT's dismissal of the Qu! Tam Action.

473.    White House visitor logs show that YATES visited the White House on or about January

        6,2015.



                                             126
       Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20      Page 126 of 347




474,    On or about January 10, 2015, YATES became Deputy Attorney General of the United

        States.

475.    On or about January 14, 2015, VERNER signed and/or submitted electronically or by

        mail one or more requests to the Equitable Sharing Program at the U.S. Department of

        Justice in connection with activities of the OFFICE OF THE ATTORNEY GENERAL

        OF THE COMMONWEALTH.

476.    White House visitor logs show that WALSH visited the White House on or about January

        14, 2015.

477.    White House visitor logs show that YATES visited the White House on or about January

        14, 2015.

478.    On or about January 16, 2015, HOLDER, as Attorney General of the United States,

       issued an order setting forth a new policy prohibiting federal agency forfeiture, or

       "adoptions," of assets seized by state and local law enforcement agencies, with a limited

       public safety exception (altogether, the "Equitable Sharing Program Order")

479.   On or about January 16, 2015, HOLDER, as Attorney General of the United States,

       released a public statement concerning the Equitable Sharing Program Order in which

       HOLDER stated that "{t]his new policy will ensure that these authorities can continue to

       be used to take the profit out of crime and return assets to victims, while safeguarding

       civil liberties"

480.   On or about January 16, 2015, DOJ released a statement on its official website

       concerning the Equitable Sharing Order in which DOJ stated that "[sjince 2000, the



                                               127
       Case 6:20-cv-00362-ADA         Document 1         Filed 05/05/20   Page 127 of 347




        Justice Department has returned approximately $4 billion in forfeited funds to victims of

        federal crime."

481.    White House visitor logs show that YATES visited the White House on or about January

        21, 2015.

482.    White House visitor logs show that WALSH visited the White House on or about January

        23, 2015.

483.    On or about February 11, 2015, an employee of the Commonwealth received a check (the

        "Equitable Sharing Check") under the Equitable Sharing Program from IRS in the

        amount of $949,919.10.

484.    The ESSEX DA deposited some portion of the Equitable Sharing Check into

        EQUITABLE SHARING ACCOUNTS l-X.

485.    The ESSEX DA mailed some portion of the Equitable Sharing Check to the OFFICE OF

        THE ATTORNEY GENERAL OF THE COMMONWEALTH.

486.    DAWLEY was and/or is an employee of the ESSEX DA.

487.    DAWLEY, MAZZONE, MURPHY, and/or VERNER sent and/or received one or more

        emails concerning the Equitable Sharing Check.

488.    DAWLEY, MAZZONE, MURPHY, and/or VERNER worked with JOFTh DOE 1-X in

        order to acquire the Equitable Sharing Check.*

489.    White House visitor logs show that YATES visited the White House on or about February

        3,2015.

490.    White House visitor logs show that YATES visited the White House on or about February

        6,2015.
                                                128
        Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20     Page 128 of 347




491.    White House visitor logs show that YATES visited the White House on or about February

        11,2015.

492.    White House visitor logs show that YATES visited the White House on or about February

         13, 2015.

493.     White House visitor logs show that ORTIZ visited the White House on or about February

         17, 2015.

494.     White House visitor logs show that ORTIZ visited the White House on or about February

         18, 2015.

495.     White House visitor logs show that YATES visited the White House on or about February

         18, 2015.


496.     White House visitor logs show that BUNZEL visited the White House on or about

         February 23, 2015.

497.     In or about February 2015, THE RELATOR took the LSAT examination.

498.     White House visitor logs show that HEALEY met with SIMAS on or about March 3,

         2015 at the White House.

 499.    On or about March 13, 2015, the U.S. Department of Justice published on its official

         website the statistics for federal Fiscal Year 2014 Equitable Sharing Program payments of

         cash and sale proceeds to law enforcement agencies of the Commonwealth of

         Massachusetts.

 500.    White House visitor logs show that KATZMANN visited the White House on or about

         March 17, 2015.



                                                129
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 129 of 347




501.    Either IRS or some other agency or department within the U.S. Department of Treasury,

        or both, made one or more payments to the OFFICE OF THE ATTORNEY GENERAL

        OF THE COMMONWEALTH during 2014, 2015, and/or 2016 under the Equitable

        Sharing Program.

502.    As federal agent(s), JOHN DOE 1 -x was or were involved with one or more payments

        made to the OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH

        by IRS.*

503.    As federal agent(s), JOHN DOE 1-X were involved with multiple payments made to the

        OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH by DOJ.*

504.    The U.S. Department of Justice made no disclosure as to the statistics for Equitable

        Sharing Program payments of cash and sale proceeds to law enforcement agencies of the

        Commonwealth of Massachusetts during federal Fiscal Year 2014 up until the disclosure

        on its official website on or about March 13, 2015.

505.    The U.S. Department of Justice made no disclosure as to statistics of Equitable Sharing

        Program payments of cash and sale proceeds during federal Fiscal Year 2014 in any state

        or federal case in which THE RELATOR was and/or is a party and in which the U.S.

         Department of Justice was and/or is a party and/or acted as counsel.

506.     The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH made no

         disclosure as to receipt of Equitable Sharing Program payments of cash and sale proceeds

         during federal Fiscal Year 2014 in multiple federal court cases in which THE RELATOR

         was and/or is a party and in which the OFFICE OF THE ATTORNEY GENERAL OF

         THE COMMONWEALTH was and/or is a party and/or acted as counsel.
                                                 130
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 130 of 347




507.    Absent a voluntary or court-ordered disclosure, THE RELATOR had no way of

        ascertaining the statistics for federal Fiscal Year 2014 Equitable Sharing Program

        payments of cash and sale proceeds from the U.S. Department of Justice to law

        enforcement agencies of the Commonwealth of Massachusetts until after the U.S.

        Department of Justice published such statistics on or about March 13, 2015.

508.    On or about March 29, 2015, THE RELATOR paid a fee and submitted an application for

        the juris doctor program at Boston College Law School through a website operated by

        LSAC.

509.    On or about March 29, 2015, THE RELATOR paid a fee and submitted an application for

        the juris doctor program at Cornell Law School through a website operated by LSAC.

510.    On or about March 29, 2015, THE RELATOR paid a fee and submitted an application for

        the juris doctor program at University of Pennsylvania Law School through a website

        operated by LSAC.

511.    On or about March 29, 2015, THE RELATOR paid a fee and submitted an application for

        the juris doctor program at University of Virginia Law School through a website operated

        by LSAC.

512.    On or about March 29, 2015, THE RELATOR paid a fee and submitted an application for

       the juris doctor program at Northwestern Law School through a website operated by

       LSAC.

513.   On or about March 29, 2015, THE RELATOR paid a fee and submitted an application for

       the juris doctor program at University of Chicago Law School through a website operated

       by LSAC.

                                               131
       Case 6:20-cv-00362-ADA         Document 1      Filed 05/05/20     Page 131 of 347




514.    On or about March 29, 2015, THE RELATOR paid a fee and submitted an application for

        the juris doctor program at Columbia Law School through a website operated by LSAC.

515.    In his personal statement in his applications to Boston College Law School and Cornell

        Law School, THE RELATOR wrote about being a pro se litigant in litigation concerning

        the CST.

516.    On or about April 7, 2015, the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH deposited and/or made an accounting record of an electronic or

        check payment (the "April 2015 Payment") from the Equitable Sharing Program in the

        amount of $12,543.00

517.    On or about April 8,2015, the appeal of the dismissal of the Qui Tam Action was entered

        in the Massachusetts Appeals Court.

518.    White House visitor logs show that PATRICK visited the White House on or about April

        10, 2015.

519.    On or about April 13, 2015, THE RELATOR received a phone call from an employee of

        Boston College Law School notifying THE RELATOR that he had been accepted for the

       juris doctor program at Boston College Law School.

520.    On or about April 13, 2015, THE RELATOR received a phone call from an employee of

        Boston College Law School notifying THE RELATOR that he had one week to accept

        the offer of admission to Boston College Law School by paying a deposit of

        approximately $500 and that if THE RELATOR did not accept the offer of admission

        within one week by paying a deposit of approximately $500, then Boston College Law

        School would rescind THE RELATOR's acceptance to Boston College Law School.

                                               132
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 132 of 347




521.    On or about April 13, 2015, THE RELATOR received an email from Boston College Law

         School notifying him that he had been accepted for the juris doctor program at Boston

         College Law School.

522.     On or about April 15, 2015, THE RELATOR mailed a deposit of approximately $500 to

         attend the juris doctor program at Boston College Law School.

523.     White House visitor logs show that FLATGARD visited the White House on or about

         April 15, 2015.

524.     White House visitor logs show that FLATGARD visited the White House on or about

         April 17, 2015.

525.     On or about April 20, 2015, LSAC was made aware that THE RELATOR sent a deposit

         to attend the juris doctor program at Boston College Law School.*

526.     On or about April 20, 2015, one or more employees of Cornell Law School was made

         aware that THE RELATOR sent a deposit to attend the juris doctor program at Boston

         College Law SchooL*

527.     On or about April 20, 2015, one or more employees of Cornell Law School was made

         aware that THE RELATOR sent a deposit to attend the juris doctor program at Boston

         College Law School by one or more employees of Boston College Law School and/or

         through LSAC.*

 528.     On or about April 27, 2015, THE RELATOR received an email from Cornell Law School

          notifying him that he had been denied admission to the juris doctor program at Cornell

          Law School.



                                                 133
       Case 6:20-cv-00362-ADA         Document 1         Filed 05/05/20    Page 133 of 347




529.    The decision by Cornell Law School to deny admission to THE RELATOR for the juris

        doctor program at Cornell Law School was made after one or more employees at Cornell

        Law School became aware that THE RELATOR had sent a deposit to attend the juris

        doctor program at Boston College Law School through the LSAC website and/or by an

        employee of Boston College Law School and/or LSAC.*

530.    LSAC provides participating law schools, including, but not limited to, Cornell Law

        Schdol and Boston College Law School, with a website through which application

        information for a particular applicant can be viewed.*

531.    Cornell Law School, Boston College Law School, and/or other participating law schools

        use a website provided by LSAC to avoid providing admission to students who have

        already decided to attend or provided a deposit to attend a different law school, thereby

        lowering the percentage of students admitted.*

532.    On or about April 27, 2015, HOLDER resigned as the Attorney General of the United

        States.

533.    On or about April 27, 2015, LORETTA LYNCH became the Attorney General of the

        United States.

534.    White House visitor logs show that FLATGARD visited the White House on or about

        April 29, 2015.

535.    White House visitor logs show that SARIS visited the White House on or about May 1,

        2015.

536.    White House visitor logs show that FLATGARD visited the White House on or about

        May 11, 2015.

                                                134
       Case 6:20-cv-00362-ADA       Document 1      Filed 05/05/20    Page 134 of 347




537.    White House visitor logs show that FLATGARD visited the White House on or about

        May 12, 2015.

538.    White House visitor logs show that FLATGARD visited the White House on or about

        May 13, 2015.

539.    In or about May 2015, SAVERY donated approximately $500 to HEALEY's campaign

        for the OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH.

540.    On or about May 21, 2015, DAWLEY mailed or otherwise transferred a portion of the

        Equitable Sharing Check to the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH in the amount of $316,870.75.

541.    On or about May 22, 2015, SIMAS was introduced by ROUGEAU as the

        commencement speaker to the Class of 2015 at Boston College Law School.

542.    On or about May 28, 2015, MAZZONE submitted a form to the Budget Office of the

        OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH for the

        portion of the Equitable Sharing Check that was sent to the OFFICE OF THE

        ATTORNEY GENERAL OF THE COMMONWEALTH in the amount of $316,870.75.

543.    On or about June 2, 2015, the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH deposited and/or made an accounting record of an electronic or

        check payment (the "June 2, 2015 Payment") from the Equitable Sharing Program in the

        amount of $316,870.75.

544.    On or about June 4, 2015, THE RELATOR served his opening brief in the Massachusetts

        Appeals Court in the appeal of the dismissal of the Qui Tam Action by SUFFOLK

        SUPERIOR COURT.

                                             135
       Case 6:20-cv-00362-ADA         Document 1         Filed 05/05/20   Page 135 of 347




545.    On or about June 22, 2015, the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH deposited and/or made one or more accounting records of multiple

        check and/or electronic payments (the "June 22, 2015 Payments") from the Equitable

        Sharing Program totaling in excess of $30,000.

546.    The June 2, 2015 Payment and the June 22, 2015 Payments (altogether, the "June 2015

        Payments") exceeded approximately $345,000.

547.    On or about June 25, 2015, CRAFTS filed a motion for summary disposition and for

        leave to file a memorandum in lieu of a brief (the "Summary Disposition Memorandum")

        in the appeal of the dismissal of the Qui Tam Action by SUFFOLK SUPERIOR COURT

        in   te Massachusetts Appeals Court.
548.    The Summary Disposition Memorandum stated that the COMMISSIONER issued the

        Secret CST Suspension Directive.

549.    The Summary Disposition Memorandum stated that after Mullins, the COMMISSIONER

        suspended enforcement of the CST.

550.    The Summary Disposition Memorandum did not mention payments received by one or

        more employees of the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH through the Equitable Sharing Program from the U.S. Department

        of Justice and/or the U.S. Department of Treasury.

551.    The Summary Disposition Memorandum did not mention any conflict of interest as to

        representation of the Commonwealth by the OFFICE OF THE ATTORNEY GENERAL

        OF THE COMMONWEALTH in any action involving THE RELATOR and/or the CST.



                                               136
       Case 6:20-cv-00362-ADA          Document 1      Filed 05/05/20     Page 136 of 347




552.   The Dismissal Papers show HEALEY, as Attorney General of the Commonwealth, and

       CRAFTS, as Assistant Attorney General of the Commonwealth, on the signature line.

553.   On or about June 25, 2015, CRAFTS mailed the Summary Disposition Memorandum

       through the United States Postal Service to THE RELATOR.

554.   On or about July 6, 2015, CARHART entered an order which referred the Summary

       Disposition Memorandum to the panel designated to decide the appeal.

555.   40 WINTHROP STREET was and/or is being used to carry on or advance the purpose of

       the ENTERPRISE by WOLOHOJIAN and HEALEY.

556.   In or about July 2015, WOLOHOJIAN and HEALEY discussed KATZMANN's

       participation in the appeal of the dismissal of the Qui Tam Action in the Massachusetts

       Appeals Court at 40 WINTHROP STREET. *

557.   White House visitor logs show that AKUETE visited the White House on or about July

       22, 2015.

558.    White House visitor logs show that HOLDER visited the White House on or about July

        23, 2015.

559.    On or about July 30, 2015, OBAMA nominated Jennifer Choe Groves to be a judge of the

        United States Court of International Trade.

560.    On or about July 30, 2015, OBAMA nominated KATZMANN to be a judge of the United

        States Court of International Trade.

561.    In or about July 2015, O'TOOLE entered an opinion and/or order dismissing the Rigged

        O'Toole Action.



                                               137
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 137 of 347




562.    O'TOOLE is a former employee of the law firm, Hale & Dorr, which is now known as

        and/or become part of WILMERHALE.

563.    OBAMA intended to offer KATZMANN a judgeship on the United States Court of

        International Trade because of or in exchange for a favorable ruling and/or to influence

        the outcome in the appeal of the dismissal of the Qul Tam Action.*

564.    On or about August 20, 2015, THE RELATOR electronically transferred approximately

        $24,705 to BOSTON COLLEGE and BOSTON COLLEGE ACCOUNTS 1-X using a

        BOSTON COLLEGE electronic payment website.

565.    THOMAS DURKIN provided BRIAN DURKIN with money to carry on the affairs of

        the ENTERPRISE during the years of 2015, 2016, 2017 and/or 2018.*

566.    TORIL FORLAND and DAVID LAMPERT provided THOMAS LAMPERT with money

        to carry on the affairs of the ENTERPRISE during the years of 2015, 2016, 2017 and/or

        2018.*

567.    During the years of 2015, 2016, 2017, 2018, and/or 2019 TORIL FORLAND, DAVID

        LAMPERT, HENRIK LAMPERT, and THOMAS LAMPERT travelled to Nicaragua

        together on one or more occasions.

568.    During the years of 2015, 2016, 2017, 2018, and/or 2019 HENRIK LAMPERT travelled

        to Nicaragua on multiple occasions.

569.    The CIA website describes Nicaragua as a "transshipment point for cocaine destined for

        the US and transshipment point for arms-for-drugs dealing."

570.    BRIAN DURKIN, THOMAS DURKIN, THOMAS LAMPERT, DAVID LAMPERT,

        HENRIK LAMPERT, and TORIL FORLAND knew each other prior to BRIAN

                                                138
        Case 6:20-cv-00362-ADA         Document 1         Filed 05/05/20   Page 138 of 347




        DURKIN and THOMAS LAMPERT attending classes at BCLS at 885 CENTRE

        STREET.

571.    THOMAS LAMPERT and BRIAN DURKIN lived in the same residence during some or

        all of the years 2015, 2016, 2017, and/or 2018.

572.    THOMAS LAMPERT and BRIAN DURKIN attended the same high school at the same

        time.

573.     One or more of the RICO ASSOCIATES, one or more employees of WILMERHALE,

         and/or one or more employees of BOSTON COLLEGE monitored THE RELATOR's

         Boston College email account ("the "BC Email Account") during some or all of the time

         that THE RELATOR was a student at BCLS at 885 CENTRE STREET.*

574.     One or more of the RICO ASSOCIATES, one or more employees of WILMERHALE,

         one or more employees of the Commonwealth of Massachusetts, and/or one or more

         employees of BOSTON COLLEGE monitored and/or performed human surveillance of

         THE RELATOR during some or all of the time that THE RELATOR was a student at

         BCLS at 885 CENTRE STREET.*

575.     One or more of the RICO ASSOCIATES, one or more employees of WILMERHALE,

         one or more employees of the Commonwealth of Massachusetts, and/or one or more

         employees of BOSTON COLLEGE monitored and/or performed electronic surveillance

         of THE RELATOR during some or all of the time that THE RELATOR was a student at

         BCLS at 885 CENTRE STREET.*

 576.    On at least one occasion during a class at BCLS at 885 CENTRE STREET in which THE

         RELATOR was a student and BRODIN was the professor, BRODIN made comments
                                                 139
       Case 6:20-cv-00362-ADA        Document 1      Filed 05/05/20     Page 139 of 347




       corresponding to information that had been recently transmitted through the BC EMAIL

       ACCOUNT regarding OBAMA's place of birth.

577.   During the years 2015 to 2018, both years being inclusive and approximate, ROUGEAU

       was aware of and tolerated cocaine distribution and use at 885 CENTRE STREET.

578.   Beginning on or about August 21, 2015 and at various times when THE RELATOR

       attended classes at BCLS at 885 CENTRE STREET, one or more of the RICO

       ASSOCIATES, one or more employees of WILMERHALE, and/or one or more

       employees of BOSTON COLLEGE shared and/or communicated information from the

       BC Email Account.*

579.   On or about August 24, 2015, THE RELATOR began attending classes at BCLS at 885

       CENTRE STREET as a first-year law student.

580.   On or about September 1, 2015, THE RELATOR obtained accounts (the "Legal Research

       Accounts") for legal research services from WestLaw and LexisNexis through BOSTON

       COLLEGE.

581.   One or more of the RICO ASSOCIATES, one or more employees of WILMERHALE,

       and/or one or more employees of BOSTON COLLEGE sent, received, or otherwise

       obtained information from the Legal Research Accounts on one or more occasions while

       or after THE RELATOR was a student at BCLS at 885 CENTRE STREET.*

582.   Beginning on September 1, 2015 to and including October 31, 2018, both dates being

       approximate, THE RELATOR used the BC Email Account to store, obtain, or otherwise

       transmit privileged legal information (the "Privileged Information") concerning THE

       RELATOR's litigation.

                                             140
       Case 6:20-cv-00362-ADA        Document 1      Filed 05/05/20     Page 140 of 347




583.    Beginning on September 1, 2015 to and including January 7, 2020, both dates being

        approximate, THE RELATOR used the Legal Research Accounts to store, obtain, or

        otherwise transmit Privileged Information concerning THE RELATOR's litigation.

584.    One or more of the RICO ASSOCIATES, one or more employees of WILMERHALE,

        and/or one or more employees of BOSTON COLLEGE acquired, possessed, and/or

        communicated Privileged Information during some time between September 1, 2015 to

        and including January 7, 2020, both dates being approximate.*

585.    On or about September 7, 2015, OBAMA and HEALEY met in or around Boston,

        Massachusetts.

586.    On or about September 11,2015, KAGAN attended an event at BCLS at 885 CENTRE

        STREET.

587.    White House visitor logs show that HOLDER visited the White House on or about

        September 18, 2015

588.    White House visitor logs show that WALSH visited the White House on or about

        September 23, 2015.

589.    On or about October 2, 2015, LORETTA LYNCH, ORTIZ, and HEALEY met in or

        around Waltham, Massachusetts.

590.    White House visitor logs show that HOLDER visited the White House on or about

        October 7, 2015.

591.    White House visitor logs show that HOLDER visited the White House on or about

        October 8, 2015.



                                              141
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 141 of 347




592.    White House visitor logs show that BARRON visited the White House on or about

         October 10, 2015.

593.     On or about October 18, 2015, O'TOOLE entered an opinion and/or order (the "October

         2015 Opinion") in which O'TOOLE found that "[t]he plaintiff's change in nomenclature

         [between voluntary election and voluntary compliance] does not alter the underlying

         situation; the COMMISSIONER does not take any active steps to enforce the CST."

594.     In finding no distinction between voluntary compliance and a voluntary election in the

         October 2015 Opinion, O'TOOLE made a legally frivolous finding: O'TOOLE's finding

         that THE RELATOR's "change in nomenclature does not alter the underlying situation"

         was frivolous because voluntary compliance and voluntary election are mutually

         exclusive terms of art. See McKeown v. Comm'r, 49 T.C.M. (CCH) 781, 1985 WL

         14709, at *1(1985) (holding "concept of voluntary compliance does not refer to whether

         one volunteers to be liable for tax."); Donelin v. Comm'r, 47 T.C.M. (IIJ) 1286, 1984 WL

         15453, at *1(1984) (holding interpretation of "voluntary compliance" to mean

         "voluntary" was frivolous and imposing sanctions of $500 for frivolous argument).

595.     White House visitor logs show that WALSH visited the White House on or about October

         23, 2015

596.     White House visitor logs show that HOLDER visited the White House on or about

         November 2, 2015.

 597.    White House visitor logs show that DIAMOND visited the White House on or about

         November 3, 2015.



                                                 142
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 142 of 347




598.    On or about November 5, 2015, ROUGEAU, SIMAS, MAZZONE, and/or CURTIN

        attended the same event at or around 885 CENTRE STREET.

599.    White House visitor logs show that SARIS visited the White House on or about

        November 6, 2015.

600.    On or about November 9, 2015, the Massachusetts Appeals Court sent a notice seeking

        information on unavailability for oral argument in January 2016 as to the appeal of the

        dismissal of the Qui Tam Action.

601.    On or about November 23, 2015, the OFFICE OF THE ATTORNEY GENERAL OF

        THE COMMONWEALTH received an electronic or check payment (the "November 23

        Payment") from the Equitable Sharing Program in the amount of$127,378.80.

602.    White House visitor logs show that HOLDER visited the White House on or about

       November 24, 2015

603.    White House visitor logs show that YATES visited the White House on or about

        December 10, 2015.

604.    On or about December 18, 2015, the OFFICE OF THE ATTORNEY GENERAL OF

       THE COMMONWEALTH received an email regarding an electronic payment ("DOJ

        Wire #2") from the Equitable Sharing Program in the amount of $22,298.53 to the

       OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH.

605.    White House visitor logs show that WALSH visited the White House on or about January

       5,2016.




                                               143
       Case 6:20-cv-00362-ADA           Document 1         Filed 05/05/20       Page 143 of 347




606.    On or about January 10, 2016, THE RELATOR electronically transferred approximately

        $25,990 to BOSTON COLLEGE and BOSTON COLLEGE ACCOUNTS l-X using a

        BOSTON COLLEGE electronic payment website.

607.    On or about January 11, 2016, the Massachusetts Appeals Court held oral argument (the

        "Appeals Court Oral Argument") at the John Adams Courthouse as to THE RELATOR's

        appeal of SUFFOLK SUPERIOR COURT's allowance of the Attorney General's motion

        to dismiss the Qui Tam Action.

608.    White House visitor logs show that HOLDER visited the White House on or about

        January 11,2016.

609.    At the Appeals Court Oral Argument, THE RELATOR quoted from the opinion of

        Associate Justice of the Supreme Court of the United States, Antonin Scalia ("Scalia"), in

        the case of Dep't of Revenue of Montana v. Kurth Ranch, 511 U.S. 767 (1994) and

        specifically mentioned Scalia by name.

610.    At the Appeals Court Oral Argument, CRAFTS stated (the "CRAFTS Statement") that,

        "[slince the Mullins decision came down, the COMMISSIONER of Revenue determined

        that there would be absolutely no enforcement of the Controlled Substances Tax either

        with respect to referrals from law enforcement or otherwise."

611.    At the Appeals Court Oral Argument and in response to the CRAFTS Statement,

        KATZMANN asked CRAFTS (the "Gotcha Question"), "Where is that in the record, that

        the COMMISSIONER has made that determination?"

612.     At the Appeals Court Oral Argument, CRAFTS responded to the Gotcha Question by

         stating that, "[i]t's in the brief. There's no support for it in the record."
                                                    144
       Case 6:20-cv-00362-ADA           Document 1     Filed 05/05/20      Page 144 of 347




613.   At the Appeals Court Oral Argument and excluding THE RELATOR, one or more Boston

       College Law School students was present in the courtroom and/or at the courthouse.

614.   On or about January 11,2016, KELLER was made aware of THE RELATOR's

       participation in and the course of events at the Appeals Court Oral Argument by one or

       more BCLS students who was present at the Appeals Court Oral Argument.*

615.   White House visitor logs show that HEALEY visited the White House on or about

       January 12, 2016.

616.   On or about January 13, 2016, LORETTA LYNCH and HEALEY met in or around

       Boston, Massachusetts.

617.    White House visitor logs show that YATES visited the White House on or about January

        13, 2016.

618.    On or about January 20, 2016, LORETTA LYNCH, ORTIZ, and HEALEY met in or

        around Boston, Massachusetts.

619.    White House visitor logs show that WALSH visited the White House on or about January

        21, 2016.

620.    White House visitor logs show that HENNRIKUS visited the White House on or about

        January 21, 2016.

621.    On or about January 27, 2016, the U.S. Department of Justice published on its official

        website the statistics for federal Fiscal Year 2015 Equitable Sharing Program payments of

        cash and sale proceeds to law enforcement agencies of the Commonwealth of

        Massachusetts.



                                               145
       Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20     Page 145 of 347




622.    The U.S. Department of Justice made no public disclosure as to the statistics for

        Equitable Sharing Program payments of cash and sale proceeds to law enforcement

        agencies of the Commonwealth of Massachusetts during federal Fiscal Year 2015 up until

       the disclosure on its official website on or about January 27, 2016.*

623.    The U.S. Department of Justice made no public disclosure as to statistics of Equitable

        Sharing Program payments of cash and sale proceeds during federal Fiscal Year 2015 in

        any state or federal court case in which THE RELATOR was and/or is a party and in

       which the U.S. Department of Justice was and/or is a party and/or acted as counsel.*

624.   The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH made no

       disclosure as to receipt of Equitable Sharing Program payments of cash and sale proceeds

       during federal Fiscal Year 2015 in any state or federal court case in which THE

       RELATOR was and/or is a party and in which the OFFICE OF THE ATTORNEY

       GENERAL OF THE COMMONWEALTH was and/or is a party and/or acted as counsel.

625.   Absent disclosure from DOJ or the OFFICE OF THE ATTORNEY GENERAL OF THE

       COMMONWEALTH, THE RELATOR had no way of ascertaining the statistics for

       federal Fiscal Year 2015 Equitable Sharing Program payments of cash and sale proceeds

       from the U.S. Department of Justice to law enforcement agencies of the Commonwealth

       of Massachusetts until after the U.S. Department of Justice published such statistics on or

       about January 27, 2016.

626.   On or about January 27, 2016, the Committee on the Judiciary of the United States

       Senate held a hearing to consider the nominations of KATZMANN and Jennifer Choe

       Groves to be judges on the U.S. Court of International Trade.

                                               146
       Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20    Page 146 of 347




627.    On or about January 27, 2016, KATZMANN and Jennifer Choe Groves both testified

        during the same hearing before the Committee on the Judiciary of the United States

        Senate.

628.    White House visitor logs show that HEALEY visited the White House on or about

        January 29, 2016.

629.    In or about January 2016, a student at BCLS stated to THE RELATOR during a class at

        885 CENTRE STREET: "I love cocaine."

630.    White House visitor logs show that HOLDER visited the White House on or about

        February 2, 2016.

631.    On or about February 4, 2016, MCCAFFERTY attended an event at 885 CENTRE

        STREET along with two other federal judges with all three federal judges in attendance

        having been appointed by OBAMA.

632.    White House visitor logs show that BARBADORO and GARLAND visited the White

        House on or about February 12, 2016.

633.    During his visit to the White House on or about February 12, 2016, BARBADORO

        discussed a potential vacancy on the Supreme Court of the United States.*

634.    During his visit to the White House on or about February 12, 2016, GARLAND

       discussed a potential vacancy on the Supreme Court of the United States.*

635.   On or about February 12, 2016, Scalia travelled to the State of Texas without his United

        States Marshal Service security detail.

636.   On or about February 13, 2016, Scalia died in or around Marfa, Texas, which is

       approximately sixty miles from the United States-Mexico border.

                                                  147
       Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 147 of 347




637.    No autopsy was performed on Scalia's body after Scalia's body was found unresponsive

        in or around Marfa, Texas.

638.    On or about February 13, 2016, a justice of the peace in the State of Texas certified that

        Scalia died from natural causes without examining Scalia's body.*

639.    On or about February 13, 2016, ajustice of the peace in the State of Texas certified that

        Scalia died from natural causes based on a phone conversation.*

640.    On or about February 13, 2016, Scalia was murdered in or around Marfa, Texas.*

641.    OBAMA previously made public his desire to replace Scalia on the Supreme Court of the

        United States.

642.    OBAMA, BRODIN, KELLER, BARBADORO, GARLAND, and/or one or more other

        RICO ASSOCIATES have knowledge regarding Scalia's murder.*

643.    On or about February 13, 2016, OBAMA made televised remarks regarding Scalia's

        death, during which remarks OBAMA stated his intent to nominate a justice to replace

        Scalia. *

644.    On or about February 23, 2016, the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH deposited and/or made one or more accounting records of multiple

        check and/or electronic payments (the "February 23 Payments") from the Equitable

        Sharing Program totaling in excess of $15,000.

645.    On or about February 24, 2016, the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH deposited and/or made one or more accounting records of multiple

        check and/or electronic payments (the "February 24 Payments") from the Equitable

         Sharing Program totaling in excess of $15,000.
                                                 148
        Case 6:20-cv-00362-ADA        Document 1          Filed 05/05/20   Page 148 of 347




646.     On or about February 24, 2016, WOLOHOJIAN served on one or more appellate panels

         hearing oral argument with NEYMAN at the John Adams Courthouse.

647.     On or about February 25, 2016, the OFFICE OF THE ATTORNEY GENERAL OF THE

         COMMONWEALTH deposited and/or made one or more accounting records of multiple

         check and/or electronic payments (the "February 25 Payments") from the Equitable

         Sharing Program totaling in excess of $60,000.

648.     The February 23 Payments, February 24 Payments, and February 25 Payments

         (altogether, the "February 2016 Payments) totaled in excess of $90,000.

649.     On or about March 1, 2016, THE RELATOR sent KELLER an email (the "First

         KELLER Email") from the BC Email Account requesting help for a brief due before the

         U.S. COURT OF APPEALS FOR THE FIRST CIRCUIT in the appeal of the Rigged

         O'Toole Action.

650.     KELLER did not send a response to the First KELLER Email.

651.     Prior to a class at 885 CENTRE STREET in or about March 2016, KELLER stated that

         she would attempt to find THE RELATOR legal assistance.

652.     On or about March 3, 2016, WOLOHOJIAN served on one or more appellate panels

         hearing oral argument with CARHART and KINDER at the John Adams Courthouse.

 653.    On or about March 23, 2016, an email (the "Two Federal Judges Email") was sent to all

         Boston College Law School students stating that "I wanted to make sure you are aware

          that two Federal judges are coming to campus for major events in the next couple of

          weeks."



                                                 149
        Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20      Page 149 of 347




654.     The Two Federal Judges Email noted that BARRON and O'TOOLE would be appearing

         at events at 885 CENTRE STREET.

655.     On or about March 28, 2016, WOLOHOJIAN served on one or more appellate panels

         hearing oral argument with CARHART and KINDER at the John Adams Courthouse.

656.     White House visitor logs show that HEALEY visited the White House on or about March

         28, 2016.

657.     On or about March 29, 2016, BARRON attended an event at 885 CENTRE STREET.

658.     BARRON received information regarding the then-pending appeal of the Rigged O'Toole

         Action when BARRON visited BCLS at 885 CENTRE STREET on or about March 29,

         201 6.*

659.     BARRON's attendance at an event at BCLS at 885 CENTRE STREET on or about

         March 29, 2016. was sponsored in whole or in part by the Office of the Dean, or

         ROUGEAU. *

660.     THE RELATOR attended all or part of the public event in which BARRON participated

         on or about March 29, 2016 at BCLS at 885 CENTRE STREET.

661.     At his speech at 885 CENTRE STREET on or about March 29, 2016, BARRON made a

         statement implying and/or to the effect that losing litigants should be concerned with how

         they lose.

 662.    At his speech at 885 CENTRE STREET on or about March 29, 2016, BARRON was

         aware that THE RELATOR had a case pending before the U.S. COURT OF APPEALS

         FOR THE FIRST CIRCUIT.*



                                                150
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 150 of 347




663.    In or about April 2016, during a class at 885 CENTRE STREET in which alcohol was

        being offered to students by the professor, a student at BCLS who was intoxicated from

        alcohol asked to borrow $20 from THE RELATOR for the purpose of purchasing cocaine

        from another individual.

664.    On or about April 6, 2016, O'TOOLE attended an event at BCLS at 885 CENTRE

        STREET.

665,    White House visitor logs show that KAYYEM visited the White House on or about April

        7,2016.

666.    White House visitor logs show that PRESSLEY visited the White House on or about

        April 11, 2016.

667.    On or about April 13, 2016, WOLOHOJIAN served on one or more appellate panels

        hearing oral argument with NEYMAN and/or KINDER at the John Adams Courthouse.

668.    White House visitor logs show that HOLDER visited the White House on or about April

        19, 2016.

669.    On or about April 20, 2016, WOLOHOJIAN served on one or more appellate panels

        hearing oral argument with CARHART and KINDER at the John Adams Courthouse.

670.    On or about April 21, 2016, THE RELATOR filed a motion for an extension of time to

        file his opening brief in the appeal of the dismissal of the Rigged O'Toole Action where

        such brief was due to be filed on April 20, 2016.

671.    White House visitor logs show that MAFFEI visited the White House on or about April

        22, 2016.



                                                151
        Case 6:20-cv-00362-ADA          Document 1     Filed 05/05/20    Page 151 of 347




672.    White House visitor logs show that WALSH visited the White House on or about April

        23, 2016.

673.    On or about April 25, 2016, THE RELATOR filed his brief in the appeal of the dismissal

        of the Rigged O'Toole Action in the U.S. COURT OF APPEALS FOR THE FIRST

        CIRCUIT.

674.    On or about April 27, 2016, WOLOHOJIAN served on one or more appellate panels

        hearing oral argument with CARHART and KINDER at the John Adams Courthouse.

675.    White House visitor logs show that HOLDER visited the White House on or about April

        29, 2016.

676.     During the summer of 2016, THOMAS LAMPERT was an intern in the Office of the

         U.S. Attorney for the District of Massachusetts under ORTIZ.*

677.     During some time in the years of 2016 and/or 2017, THOMAS LAMPERT was a law

         clerk for LOWY.*

678.     During some time in the years of 2016 and/or 2017, BRIAN DURKIN was a law clerk

         for a judge of the U.S. DISTRICT COURT FOR THE DISTRICT OF

         MASSACHUSETTS at 1 COURTHOUSE WAY.*

679.     During some time in the years of 2016 and/or 2017, BRIAN DURKIN was a law clerk

         for a judge of the U.S. DISTRICT COURT FOR THE DISTRICT OF

         MASSACHUSETTS at 1 COURTHOUSE WAY hearing a case involving the Marijuana

         Federal Criminal Complaint.*

 680.    White House visitor logs show that COLE visited the White House on or about May 12,

         2016.
                                                152
       Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20   Page 152 of 347




681.    White House visitor logs show that COLE visited the White House on or about May 13,

        2016.

682.    White House visitor logs show that YATES visited the White House on or about May 13,

        2016.

683.    White House visitor logs show that HEALEY visited the White House on or about May

        24, 2016.

684.    White House visitor logs show that WALSH visited the White House on or about May

        24, 2016.

685.    On or about June 6, 2016, the United States Senate confirmed KATZMANN as a judge

        for the United States Court of International Trade.

686.    On or about June 6, 2016, the United States Senate confirmed Jennifer Choe Groves as a

        judge for the United States Court of International Trade.

687.    On or about June 8, 2016, Jennifer Choe Groves received her commission to be a judge

        for the United States Court of International Trade from OBAMA.

688.    White House visitor logs show that STEVEN KOH visited the White House on or about

        June 8, 2016.

689.    White House visitor logs show that YATES visited the White House on or about June 12,

        2016.

690.    White House visitor logs show that YATES visited the White House on or about June 13,

        2016.

691.    White House visitor logs show that HUME visited the White House on or about June 13,

        2016.
                                                 153
       Case 6:20-cv-00362-ADA        Document 1      Filed 05/05/20    Page 153 of 347




692.    White House visitor logs show that FLATGARD visited the White House on or about

        June 28, 2016.

693.    White House visitor logs show that KOH visited the White House on or about June 28,

        2016.

694.    White House visitor logs show that KOH met with SIMAS during his visit to the White

        House on or about June 28, 2016.

695.    White House visitor logs show that KANYT MAQUBELA visited the White House on or

        about June 28, 2016.

696.    White House visitor logs show that TEMBA MAQUBELA visited the White House on or

        about June 28, 2016.

697.    White House visitor logs show that VUYELWA MAQUBELA visited the White House

        on or about June 28, 2016.

698.    White House visitor logs show that GOODLANDER visited the White House on or about

        June 29, 2016,

699.    White House visitor logs show that FLATGARD visited the White House on or about

        July 3, 2016.

700.    White House visitor logs show that FLATGARD visited the White House on or about

        July 4, 2016.

701.    On or about July 9, 2016, ROBERTS appointed BARBADORO to serve as chair of the

        Executive Committee of the Judicial Conference of the United States

702.    White House visitor logs show that ROUGEAU visited the White House on or about July

        26, 2016.

                                              154
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 154 of 347




703.    White House visitor logs show that ORTIZ visited the White House on or about July 27,

        2016.

704.    On or about August 9, 2016, THE RELATOR's appeal of the dismissal of the Rigged

        O'Toole Action was submitted to an appellate panel (the "First Circuit Panel") in the U.S.

        COURT OF APPEALS FOR THE FIRST CIRCUIT comprised of SANDRA LYNCH,

        KAYATTA, and BARRON.

705.    On or about August 18, 2016, THE RELATOR electronically transferred approximately

        $26,761 to BOSTON COLLEGE and BOSTON COLLEGE ACCOUNTS l-X using a

         BOSTON COLLEGE electronic payment website.

706.     On or about August 22, 2016, in an order signed by KATZMANN, CARHART, and

         KINDER, the Massachusetts Appeals Court issued an unpublished memorandum and

         order pursuant to Appeals Court Rule 1:28 (the "Appeals Court Opinion") affirming

         SUFFOLK SUPERIOR COURT's dismissal of the Qui Tam Action.

 707.    White House visitor logs show that YATES visited the White House on or about August

         27, 2016.

 708.    White House visitor logs show that YATES visited the White House on or about August

         28, 2016.

 709.    On or about September 9, 2016, THE RELATOR filed in the Massachusetts Appeals

         Court (1) a motion to disqualify the Attorney General alleging that the Attorney General

         had a financial conflict of interest and was acting in apparent contravention of

         Mass.Gen.Laws ch. 268 § 36; (2) a petition for rehearing; and (3) a motion requesting



                                                 155
           Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 155 of 347




            judicial notice5 of adjudicative facts (the "Judicial Notice Motion"), including, but not

            limited to, evidence of the Attorney General's receipt of payments totaling $360,755 in

            seized cash and property from the U.S. Department of JUstice's Equitable Sharing

            Program in federal Fiscal Years 2014 and 2015, including $291,390 in FY2014 and

            $69,365 in FY20 15 (altogether, the "Rehearing Papers")

    710.    HOLDER, LORETTA LYNCH, YATES, COLE, and ORTIZ were involved in the

            approval process for payments made under the Equitable Sharing Program during federal

            Fiscal Years 2014 and/or 2015.

711.        The Judicial Notice Motion included a printed copy from DOJ's official website of

            Equitable Sharing Program payments to law enforcement agencies of the

            Commonwealth, including the OFFICE OF THE ATTORNEY GENERAL OF THE

            COMMONWEALTH, for federal Fiscal Years 2014 and 2015

712.        As THE RELATOR pursuant to the MFCA, THE RELATOR's maximum potential

            bounty in the Qui Tam Action is statutorily limited to $360,000 (30% of $1,200,000).6

713.       The difference between THE RELATOR's maximum potential bounty upon prevailing in

           the Qui Tam Action and the amount accepted from the U.S. Department of Justice

           through the Equitable Sharing Program by the OFFICE OF THE ATTORNEY

           GENERAL OF THE COMMONWEALTH during federal Fiscal Years 2014 and 2015 is

           $755, or approximately two-tenths of one percent.


 The motion requesting judicial notice was docketed on September 12, 2016 in the
Massachusetts Appeals Court.
6
 Because the CST has a criminal law component, the civil penalty multiplier of the MFCA (or
any other civil law) cannot apply as a matter of law to the penalty calculation in the Qui Tam
Action.
                                                156
        Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20     Page 156 of 347




714.    Federal Fiscal Years 2014 and 2015 coincide with the commencement, dismissal, and/or

        appeal of the Qui Tam Action.

715.    On or about September 13, 2016, in an order signed by KATZMANN, CARHART, and

        KINDER, the Massachusetts Appeals Court ordered that "[t]he Commonwealth is to

        respond to [the Rehearing Papers] on or before September 22, 2016" (the "Initial

        Rehearing Order")

716.    On or about September 13, 2016, KELLER approached THE RELATOR in the computer

        lab of the law library of BCLS and asked THE RELATOR to visit her office.

717.    During the fall 2016 semester at BCLS, THE RELATOR was not a student in any class

        taught or instructed by KELLER.

718.     The Initial Rehearing Order caused one or more of the RICO ASSOCIATES to seek the

         removal of KATZMANN and/or the inclusion of NEYMAN from the Massachusetts

         Appeals Court due to fear of an unfavorable ruling in the appeal of the dismissal of the

         Qui Tam Action and/or fear of disclosures concerning wrongdoing associated with the

         dismissal of the Qui Tam Action and the Second Qui Tam Action, concerning non-

         enforcement of the CST, and/or concerning payments from the Equitable Sharing

         Program. *

 719.    On or about September 14, 2016, one or more of the RICO ASSOCIATES and/or one or

         more employees of the OFFICE OF THE ATTORNEY GENERAL OF THE

         COMMONWEALTH called or otherwise communicated with OBAMA, SIMAS, and/or

         JOHN DOE I -x to urge the signing of KATZMANN's commission to be a judge on the



                                                  157
        Case 6:20-cv-00362-ADA         Document 1           Filed 05/05/20     Page 157 of 347




        U.S. Court of International Trade so as to provide a pretext and/or opportunity for

        NEYMAN to rule on the Rehearing Papers.*

        In order to influence, obstruct, and/or corrupt the appeal of the dismissal of the Qul
                                                                                                 Tam
720.

        Action, OBAMA waited approximately one hundred days to sign the commission for

        KATZMANN to be a judge of the U.S. Court of International Trade after KATZMANN

         was confirmed by the United States Senate to be a judge on the U.S. Court of

         International Trade. *

721.     On September 15, 2016, KATZMANN resigned as ajustice of the Massachusetts Appeals

         Court.

722.     On September 15, 2016, OBAMA signed the commission for KATZMANN to be ajudge

         of the U.S. Court of International Trade.

723.     OBAMA signed the commission for KATZMANN to be a judge of the U.S. Court of

         International Trade on September 15, 2016 in order to remove KATZMANN from the

         panel deciding the Rehearing Papers and/or to provide a pretext and/or opportunity for

         NEYMAN to rule on the Rehearing Papers.*

724.     On or about September 15, 2016, BARRON, SANDRA LYNCH, and/or KAYATTA

         became aware that OBAMA signed the commission for KATZMANN to be a judge of the

          U.S. Court of International Trade and/or potential issues for the ENTERPRISE

          concerning the Rehearing Papers.

 725.     Jennifer Choe Groves and KATZMANN were nominated by OBAMA and confirmed by

          the United States Senate on the same days        July 30, 2015 and June 8, 2016, respectively

            to be judges on the U.S. Court of International Trade.
                                                     158
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 158 of 347




726.   Jennifer Choe Groves received her commission for a judgeship on the U.S. Court of

       International Trade from OBAMA within two days while KATZMANN received his

       commission for a judgeship on the U.S. Court of International Trade from OBAMA after

       approximately 100 days had elapsed.

727.   On or about September 15, 2016, NEYMAN joined a new Massachusetts Appeals Court

       panel reviewing the Rehearing Papers.

728.   Rule 27 of the Massachusetts Rules of Appellate Procedure holds in part that "[a] petition

       for rehearing shall be decided by the quorum or panel which decided the appeal."

729.   On or about September 22, 2016, the OFFICE OF THE ATTORNEY GENERAL OF

       THE COMMONWEALTH filed an omnibus opposition memorandum (the "Omnibus

       Opposition") in response to the Petition for Rehearing.

730.   HEALEY and FEINER appear on the signature line of the Omnibus Opposition.

731,   FEINER mailed or caused to be mailed the Omnibus Opposition to THE RELATOR

       through the United States Postal Service on or about September 22, 2016.

732.   In the Onmibus Opposition, HEALEY and/or FEINER did not provide any additional

       information beyond the publicly available information from DOJ concerning the

       acceptance of money from the Equitable Sharing Program during federal Fiscal Years

       2014 and 2015 beyond what THE RELATOR asserted in the Rehearing Papers.

733.   In the Omnibus Opposition, HEALEY and/or FEINER stated that "[t]he Equitable

       Sharing Program described by Relator does not compromise the Attorney General's

       Office" (emphasis added).



                                               159
        Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20     Page 159 of 347




734.    in the Omnibus Opposition, HEALEY and/or FEINER stated that "here, there is nothing

        about the Equitable Sharing Program described by Relator that compromises the

         Attorney General's Office from responsibly and impartially exercising the ample

         discretion afforded by the Legislature to dismiss qui tam actions and exercise

         prosecutorial discretion" (emphasis added).

735.     In the Omnibus Opposition, HEALEY and/or FEINER did not state that, as to the appeal

         of the dismissal of the Qul Tam Action, there was or is nothing about the Equitable

         Sharing Program that inflict compromises or compromised the OFFICE OF THE

         ATTORNEY GENERAL OF THE COMMONWEALTH from responsibly and

         impartially exercising the discretion afforded by the Massachusetts Legislature to dismiss

         qui tam actions and exercise prosecutorial discretion.

736.     Equitable Sharing Program payments from the U.S. Department of Justice to law

         enforcement agencies in the Commonwealth of Massachusetts were contingent, expressly

         or impliedly, upon the non-enforcement of the CST during all times relevant to this

         Complaint. *

737.     The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH's

         acceptance of money and/or property from the Equitable Sharing Program during federal

         Fiscal Years 2014, 2015, and/or 2016 was, in whole or in part, in exchange for the non-

         prosecution of JAVIER GONZALEZ and JAMIL ROMAN pursuant to the CST in

         connection with the Qui Tam Action.*

 738.    One or more of the RICO ASSOCIATES and/or one or more employees of the OFFICE

         OF THE ATTORNEY GENERAL OF THE COMMONWEALTH accepted money and/or
                                                 IE1
       Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20     Page 160 of 347




       property from the Equitable Sharing Program in exchange for the non-prosecution of

       JAVIER GONZALEZ and JAMIL ROMAN pursuant to the CST in connection with the

       Qui Tam Action.*

739.   The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH was and

       is required to keep payments accepted from the Equitable Sharing Program segregated

       from any state taxpayer funds and/or funds from the state treasury of the Commonwealth.

740.   The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH keeps the

       payments from the Equitable Sharing Program in EQUITABLE SHARING ACCOUNTS

       l-x.*


741.   DOJ and/or U.S. Department of Treasury ("Treasury") regulations and/or agreements

       with DOJ and/or Treasury govern the custody and expenditure of payments made under

       the Equitable Sharing Program to the OFFICE OF THE ATTORNEY GENERAL OF

       THE COMMONWEALTH.

742.   No person from the OFFICE OF THE ATTORNEY GENERAL OF THE

       COMMONWEALTH, individually or in his or her respective official capacity, notified

       SUFFOLK SUPERIOR COURT, the Massachusetts Appeals Court, the Massachusetts

       Supreme Judicial Court, or any federal court of the acceptance of money from the

       Equitable Sharing Program in the years 2014, 2015, and 2016 by the OFFICE OF THE

       ATTORNEY GENERAL OF THE COMMONWEALTH and/or one or more employees

       of that Office.

743.   After being sued by THE RELATOR under the Massachusetts Public Records Act for

       public records concerning the Equitable Sharing Program, the OFFICE OF THE

                                              161
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20     Page 161 of 347




        ATTORNEY GENERAL OF THE COMMONWEALTH withheld and/or continues to

        withhold public records as to payments made under the Equitable Sharing Program.

744.    HEALEY, TARROW, and/or one or more other attorneys in the OFFICE OF THE

        ATTORNEY GENERAL OF THE COMMONWEALTH worked together and continue to

        work together to prevent the release of public records to THE RELATOR. *

745.    On or about September 28, 2016, the U.S. COURT OF APPEALS FOR THE FIRST

        CIRCUIT entered a judgment (the "First Circuit Judgment") in THE RELATOR's appeal

        of the dismissal of the Rigged O'Toole Action.

746.    The First Circuit Judgment found that "[THE RELATOR] is of the view that the state's

        policy of non-enforcement is wrongheaded in light of the opioid crisis, but, as the district

        court concluded, this contention does not create a legally-cognizable injury remediable

        with declaratory relief."

747.    In his appeal of the dismissal of the Rigged O'Toole Action to the U.S. COURT OF

        APPEALS FOR THE FIRST CIRCUIT, THE RELATOR submitted papers with his brief

        that had previously been filed in the Rigged O'Toole Action and which stated that it

        would be "misleading" to characterize any of THE RELATOR's alleged injuries as

        deriving from the opioid crisis (emphasis as in original).

748.    On or about October 6, 2016, in an order signed by CARHART, KINDER, and

        NEYMAN, the Massachusetts Appeals Court denied THE RELATOR's petition for

        rehearing in the appeal of the dismissal of the Qui Tam Action.




                                                162
       Case 6:20-cv-00362-ADA         Document 1      Filed 05/05/20     Page 162 of 347




749.   The fact that NEYMAN was ruling on the appeal of the dismissal of the Qui Tam Action

       was revealed for the first time by the Massachusetts Appeals Court on or about October 6,

       2016.

750.   On or about October 15, 2016, HEALEY promoted CRAFTS to a position with higher

       pay and/or a more senior title.*

751.   On or about October 15, 2016, HEALEY promoted CRAFTS to Deputy Chief of the

       False Claims Division of the OFFICE OF THE ATTORNEY GENERAL OF THE

       COMMONWEALTH. *

752.   HEALEY promoted CRAFTS in exchange and/or because of CRAFTS's involvement in

       one or more violations of law in connection with the acceptance of payments from the

        Equitable Sharing Program and/or the disposition of the Qui Tam Action and the Second

        Qui Tam Action by the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH. *

753.    HEALEY promoted CRAFTS in exchange and/or as a reward for CRAFTS's association

        with the ENTERPRISE, including acts taken in connection with THE RELATOR's

        litigation.*

754.    On or about October 22, 2016, HOLDER attended and spoke at an event at BOSTON

        COLLEGE in and/or around Chestnut Hill, Massachusetts.*

755.    On or about November 6, 2016, SIMAS met with ROUGEAU and/or MAFFEI in or

        around 885 CENTRE STREET.*

756.    On or about December 6, 2016, THE RELATOR filed a motion for recusal of NEYMAN

        from participation in THE RELATOR's appeal of the dismissal of the Qui Tam Action.
                                               163
       Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20     Page 163 of 347




757.   On or about December 13, 2016, in an order (the "NEYMAN Recusal Denial") signed by

       CARHART, KINDER, and NEYMAN, the Massachusetts Appeals Court denied THE

       RELATOR's motion for recusal of NEYMAN from participation in THE RELATOR's

       appeal of the dismissal of the Qui Tam Action.

758.   The NEYMAN Recusal Denial included no statement at all beyond denial of the motion

       for recusal of NEYMAN.

759.   On or about January 15, 2017, THE RELATOR electronically transferred approximately

       $26,992 to BOSTON COLLEGE and BOSTON COLLEGE ACCOUNTS 1-X using a

       BOSTON COLLEGE electronic payment website.

760.   On or about January 15, 2017, HEALEY hired an attorney from WILMERHALE for a

       position at the OFFICE OF THE ATTORNEY GENERAL OF THE

       COMMONWEALTH.

761.   SQUIRES-LEE taught a course during the spring 2017 semester at BCLS at 885

       CENTRE STREET.

762.    SARAH HERLIHY was a teaching assistant for SQUIRES-LEE when SQUIRES-LEE

       taught a course during the spring 2017 semester at BCLS at 885 CENTRE STREET.

763.    BOSTON COLLEGE paid SARAH HERLIHY through one or more teaching assistant

        positions during 2017 and/or 2018.*




7
 When faced with a question of his capacity to rule fairly, the judge must first consult his own
emotions and conscience. If he passes the internal test of freedom from disabling prejudice, he
must next attempt an objective appraisal of whether this is a proceeding in which his impartiality
might reasonably be questioned. Commonwealth v. Eddington, 71 Mass. App. Ct. 138, 143
(2008).
                                               164
       Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20    Page 164 of 347




764.   SQUIRES-LEE was aware or became aware of some or all of THE RELATOR's

       litigation while teaching at BCLS at 885 CENTRE STREET during the spring 2017

       semester. *

765.   In or about February 2017, an email (the "White Powder Email," attached here at Exhibit

        ) was sent to the student body of BCLS describing how a bag of "[a]n unidentified
                                                                                            white

       powder exploded over the third floor" during an event known as "law prom" organized

       for BCLS students.

766.   THE RELATOR incorporates by reference the contents of the White Powder Email

       (attached hereto at EXHIBIT 6) as if fully set forth herein.

767.   On or about February 1, 2017, the U.S. Department of Justice published on its official

       website the statistics for federal Fiscal Year 2016 Equitable Sharing Program payments of

       cash and sale proceeds to law enforcement agencies of the Commonwealth of

        Massachusetts.

768.    On or about February 21, 2017, GANTS visited BCLS at 885 CENTRE STREET.

769.    In or about February 2017, during a class in which THE RELATOR was a student and

        BLOOM was the professor, BLOOM made a statement directed to THE RELATOR to

        the effect that THE RELATOR should avoid being involved in any legal cases concerning

        narcotics.

770.    On or about March 1, 2017, THE RELATOR brought a civil action in the nature of

        mandamus (the "Mandamus Action") in the Supreme Judicial Court for Suffolk County

        seeking to compel the recusal of NEYMAN from the appeal of the dismissal of the Qui

        Tam Action in the Massachusetts Appeals Court.

                                                165
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 165 of 347




771.   On or about March 23, 2017, SAVERY donated approximately $500 to HEALEY's

       campaign for Attorney General of the Commonwealth of Massachusetts.

772.   On or about April 19, 2017, BARBADORO, GARLAND, and SARIS attended an event

       at BCLS at 885 CENTRE STREET.

773.   KENYON and ROUGEAU met with BARBADORO, GARLAND, and SARIS on or

       about April 19, 2017 at BCLS at 885 CENTRE STREET.

774.   On or about April 20, 2017, THE RELATOR released an app on the Apple App Store,

       Omnibus U.S. Code ("Omnibus U.S. Code"), by and through the company, Omnibus,

       LLC.

775.   Omnibus, LLC is organized under the laws of the State of New Hampshire.

776.   THOMAS LAMPERT became aware that Omnibus, LLC was registered in the State of

       New Hampshire in or around the time that THE RELATOR released Omnibus U.S. Code.

777.   THOMAS LAMPERT and one or more other RICO ASSOCIATES came to an agreement

       to sabotage Omnibus U.S. Code and Omnibus, LLC.*

778.    On or about April 25, 2017, HEALEY attended and participated in an event at BCLS at

        885 CENTRE STREET.

779.    On or about April 28, 2017, HEALEY, CRAFTS, and/or WALKER represented in writing

        (the "First SJC Statement") to the Supreme Judicial Court for Suffolk County that,

        "[a]fter Mullins, the DOR resolved internally not to enforce compliance with the CST in

        light of the serious concerns the case raised for both the Commonwealth's administration

        of criminal justice through its criminal prosecutors and the constitutional rights of drug

        defendants."
        Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20      Page 166 of 347




780.     On or about April 28, 2017, HEALEY, CRAFTS, and/or WALKER represented in writing

         (the "Second SJC Statement") to the Supreme Judicial Court for Suffolk County that

                       [THE RELATOR] makes much of the closeness of the amount the
                       Attorney General allegedly received from the 'Equitable Sharing' program
                       in fiscal years 2014 and 2015 ($360,755) and the amount to which he
                       claims entitlement pursuant to the Gonzalez Qui Tam action ($360,000,
                       see Amended Complaint ¶ 32). See, e.g., Amended Complaint ¶ 53, 84.
                       However, the closeness ofthe two numbers appears to be purely
                       coincidental. (emphasis added).


781.     On or about April 28, 2017, WALKER mailed papers (the "SJC Papers") containing the

         First SJC Statement and the Second SJC Statement to THE RELATOR by United States

         Postal Service.

782.     HEALEY, CRAFTS, and/or WALKER appear on the signature line of the SJC Papers.

783.     The SJC Papers did not discuss the Equitable Sharing Program beyond the First SJC

         Statement and the Second SJC Statement.

784.     The SJC Papers included over one hundred pages of exhibits.

785.     The SJC Papers did not include the Judicial Notice Motion.

786.     HEALEY, CRAFTS, and/or WALKER chose not to include the Judicial Notice Motion or

         reference its contents in order to hide, conceal, and/or obscure the acceptance of money

         from the Equitable Sharing Program by the OFFICE OF THE ATTORNEY GENERAL

          OF THE COMMON WEALTH.*

 787.     On or about May 1, 2017, ROUGEAU hiredor offered to hire ORTIZ as a visiting

          professor for the fall 2017 semester atBCLS at 885 CENTRE STREET.




                                                 167
       Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20      Page 167 of 347




788.   ROUGEAU hired or offered to hire ORTIZ as a visiting professor for the fall 2017

       semester at BCLS in exchange and/or as a reward for ORTIZ's participation in the

       ENTERPRISE and/or for ORTIZ's actions in connection with THE RELATOR's

       litigation during ORTIZ's tenure as U.S. Attorney for the District of Massachusetts.*

789.    On or about May 7, 2017, OBAMA travelled interstate to an event in or around Boston,

        Massachusetts.

790.    On or about May 7, 2017, OBAMA and HEALEY attended the same event in or around

        Boston, Massachusetts.

791.    OBAMA spent and/or transferred money from OBAMA FOUNDATION ACCOUNTS 1-

        X while OBAMA was visiting Boston, Massachusetts on or about May 7, 2017.*

792.    On or about May 17, 2017, WOLOHOJIAN and NEYMAN attended and provided

        remarks at a networking reception in or around Boston, Massachusetts that was publicly

        advertised as a "Law Reception with Gabrielle Wolohojian '78 & Eric Neyman '86,

        Associate Justices of the Massachusetts Appeals Court."

793.    During the summer of 2017, THOMAS LAMPERT was employed by the law firm,




794.    On or about May 26, 2017, THE RELATOR delivered by hand a request pursuant to the

        Massachusetts Public Records Law (Mass.Gen.Laws ch. 66 § 10, IOA) to the OFFICE

        OF THE ATTORNEY GENERAL OF THE COMMONWEALTH seeking "{a}ll records

        pertaining to Equitable Sharing Program payments accepted by the Attorney General in

        fiscal years 2012, 2013, 2014, 2015, and 2016" (altogether, the "Equitable Sharing

        Records Request")
                                               168
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 168 of 347




795.   On or about June 7, 2017, THE RELATOR mailed a request (the "DOR Request") to the

       Massachusetts Department of Revenue pursuant to the Massachusetts Public Records

       Law seeking "[a]ny directives, memoranda, or other records pertaining to DOR policies

       and procedures regarding enforcement of G. L. c. 64K."

796.   On or about June 12, 2017, the OFFICE OF THE ATTORNEY GENERAL OF THE

       COMMONWEALTH, by and through TARROW, responded by letter (the "First

       TARROW Letter") to the Equitable Sharing Records Request and stated that "[w}e

       expect to be able to provide a further response accounting for any such records on or

       before June 19."

797.   On or about June 15, 2017, THE RELATOR mailed a request pursuant to the Freedom of

       Information Act (5 U.S.C. § 552) to the U.S. Department of Justice seeking records

       pertaining to payments made under the Equitable Sharing Program by DOJ to the

       OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH during

       federal Fiscal Years 2014 and 2015 (altogether, the "June 2017 FOIA")

798.   The June 2017 FOJA asserted that the records requested could pertain to one or more

       criminal offenses.

799.   On or about June 19, 2017, TARROW followed up to the First TARROW Letter by

       sending a follow-up letter (the "Second TARROW Letter") to THE RELATOR in which

       TARROW declined to provide "[ajil records pertaining to Equitable Sharing Program

       payments accepted by the Attorney General in fiscal years 2012, 2013, 2014, 2015, and

       2016," because, according to TARROW, "[t]o have provided you with the underlying

       payment records would have been very time consuming."

                                              169
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 169 of 347




800.     In the Second TARROW Letter, TARROW stated that, instead of providing THE

         RELATOR with the requested public records, the OFFICE OF THE ATTORNEY

         GENERAL OF THE COMMONWEALTH would "provid[e] you with a record

         delineating the cases associated with the relevant payments under the [Equitable Sharing

         Program]" for a fee of $50.00.

801.     In the Second TARROW Letter, TARROW stated that, "[o}n June 12, we indicated that

         we were still the process of searching for records that may be responsive to your request

         and subject to disclosure under the public records law," and that "[t]oday, we have

         completed that process and enclose such a record, one (1) page in length."

802.     The one-page record (the "One-Page Record") enclosed with the Second TARROW

         Letter was created or produced on or after May 30, 201 7*

803.     The public records sought by or that could be produced in connection with the Equitable

         Sharing Records Request constitute prima facie evidence of one or more crimes under

         state and/or federal law. *

804.     TARROW mailed the One-Page Record in order to hinder, delay, or otherwise prevent

         THE RELATOR from obtaining the public records sought in the Equitable Sharing

         Records Request.*

 805.    On or about June 25, 2017, THE RELATOR sent an email from the BC Email Account to

         ABBENE questioning whether THE RELATOR could be a visiting student at a different

         law school.




                                                  170
       Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 170 of 347




806.   ABBENE, as an assistant dean at BCLS at 885 CENTRE STREET, reported to

       ROUGEAU during the time when THE RELATOR was a student at BCLS at 885

       CENTRE STREET.

807.   ABBENE was a subordinate of ROUGEAU during the time when THE RELATOR was a

       student at BCLS at 885 CENTRE STREET.

808.   On or about June 26, 2017, ABBENE sent an email to the BC Email Account stating that

       allowance of visiting student status was granted under "very special circumstances."

809.   On or about June 26, 2017, THE RELATOR sent an email from the BC Email Account to

       ABBENE stating that he was interested in studying "marijuana regulation" in Colorado.

810.   On or about June 26, 2017, ABBENE sent an email to the BC Email Account stating that

       the study of "marijuana regulation" did not qualify for visiting student status.

811.   On or about June 27, 2017, THE RELATOR brought a civil action pursuant to the

       Massachusetts Public Records Law (the "Public Records Action") in SUFFOLK

       SUPERIOR COURT against the Massachusetts Department of Revenue and HEALEY, in

       her official capacity as Attorney General of the Commonwealth, wherein THE

       RELATOR sought to compel production of public records concerning the CST and the

       Equitable Sharing Program.

812.   Up to and including the day on which the Public Records Action commenced, THE

       RELATOR received no public records within the meaning of the Massachusetts Public

       Records Law from the OFFICE OF THE ATTORNEY GENERAL OF THE

       COMMONWEALTH or any employee thereof in response to the Equitable Sharing

       Records Request excluding the One-Page Record.

                                                171
        Case 6:20-cv-00362-ADA          Document 1      Filed 05/05/20   Page 171 of 347




813.    On or about August 4, 2017, in the Supreme Court of the United States, THE RELATOR

        filed a petition for a writ of certiorari to the U.S. COURT OF APPEALS FOR THE

        FIRST CIRCUIT in the appeal of the dismissal of the Rigged O'Toole Action in which

        THE RELATOR asserted that there appeared to be a violation of 18 U.S.C. 666 in

         connection with the dismissal of the Qui Tam Action.

814.     BREYER, SOTOMAYOR, and KAGAN considered the RELATOR's August 4, 2017

         certiorari petition.

815.     GOODLANDER was clerking for BREYER when the RELATOR's August 4, 2017

         certiorari petition was under consideration.

816.     On or about August 9, 2017, THE RELATOR electronically transferred approximately

         $27,813 to BOSTON COLLEGE and BOSTON COLLEGE ACCOUNTS I -X using a

         BOSTON COLLEGE electronic payment website.

817.     On or about August 21, 2017, ORTIZ began teaching as a visiting professor at BCLS at

         885 CENTRE STREET.

818.     In or about the years 2017, 2018, and/or 2019, MAXWELL resided in Manchester-by-

         the-Sea, Massachusetts or Manchester, Massachusetts during some portion of one or

         more of those years.

 819.    While residing in Manchester-by-the-Sea, Massachusetts and/or Manchester,

         Massachusetts, MAXWELL was in communication with HOYLE, TORIL FORLAND,

         THOMAS LAMPERT, DAVID LAMPERT, HENRIK LAMPERT, THOMAS DURKIN,

         BRIAN DURKIN, SHUTZER, FAY LAMPERT, and/or one or more other RICO

          ASSOCIATES.*

                                                  172
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 172 of 347




820.    While residing in Manchester-by-the-Sea, Massachusetts and/or Manchester,

                                                                                to HOYLE,
        Massachusetts, MAXWELL communicated Compromising Information
                                                                                   LAMPERT,
        TORIL FORLAND, THOMAS LAMPERT, DAVID LAMPERT, HENRIK

                                                                                       one or
        THOMAS DURKIN, BRIAN DURKIN, SHUTZER, FAY LAMPERT, and/or

        more other RICO ASSOCIATES.*

                                                                                  LAMPERT
821.    THE RELATOR has never been knowingly in the presence of THOMAS

        except at 885 CENTRE STREET.
                                                                                          and
822.     From approximately August 2017 to December 2017, both dates being inclusive

                                                                                      "Sexual
         approximate, THOMAS LAMPERT made physical and verbal advances (the
                                                                                          classes,
         Advances") towards THE RELATOR at 885 CENTRE STREET during multiple

         including 1) standing up in the aisle of a classroom and performing two 360-degree
                                                                                              in
         rotations of his body as if to simulate a fashion model on a runway while standing

                                                                                 body against
         front of and looking at THE RELATOR; 2) rubbing and/or bumping his
                                                                                         his
         THE RELATOR's body; 3) exposing his chest to THE RELATOR; 4) exposing
                                                                                       in a lisp;
         underarm to THE RELATOR on at least three distinct occasions; 5) speaking

         and 6) during a classroom simulation where THE RELATOR's fictitious
                                                                                  client had

                                                                                        asking
         engaged in sexual improprieties with THOMAS LAMPERT's fictitious client,

         THE RELATOR, "are you like your client?"

 823.    KENYON was watching THE RELATOR and/or communicating with THOMAS

         LAMPERT during one or more of the Sexual Advances.
                                                                                              one or
 824.     MALONEY was watching THOMAS LAMPERT and/or THE RELATOR during

          more of the Sexual Advances.
                                                 173
        Case 6:20-cv-00362-ADA          Document 1      Filed 05/05/20      Page 173 of 347




825.    THOMAS LAMPERT was attempting to entice THE RELATOR into a compromising

        position through the Sexual Advances in order to obtain blackmail and/or leverage

        against THE RELATOR.

826.    On or about October 2, 2017, THE RELATOR filed a lawsuit in SUFFOLK SUPERIOR

        COURT (the "Parallel State Action") against the Commonwealth of Massachusetts and

        HEALEY, in her official capacity as the Attorney General of the Commonwealth,

         wherein THE RELATOR alleged that the OFFICE OF THE ATTORNEY GENERAL OF

         THE COMMONWEALTH purloined THE RELATOR's whistleblower bounty in the Qué

         Tam Action by accepting money from the Equitable Sharing Program in exchange
                                                                                            for


         moving to dismiss the Qué Tam Action.

827.     GILES was and/or is the judge in the Parallel State Action.

828.     GREEN was and/or is the judge in the Parallel State Action.

 829.    The Parallel State Action includes and/or included federal causes of action that could

         have been brought in federal court.

 830.    Because the Parallel State Action includes and/or included federal causes of action

         pursuant to the concurrent jurisdiction of SUFFOLK SUPERIOR COURT, the Parallel

         State Action was a federal proceeding within the meaning of federal law.
                                                                                          other.*
 831.    GIL ES, KATZMANN, HEALEY, and/or WOLOHOJIAN are friends with each

 832.    GILES was a colleague of KATZMANN and/or WOLOHOJIAN on a bar association

         journal's board of editors.*

 833.    On or about October 3, 2017, TARROW and/or one or more employees of the OFFICE

         OF THE ATTORNEY GENERAL OF THE COMMONWEALTH mailed THE
                                                 174
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 174 of 347




       RELATOR a letter and 231 pages of public records (the "October 3 Disclosure")

       responsive to the Equitable Sharing Records Request.

834.   TARROW waited until October 3, 2017 to mail the October 3 Disclosure because of her

       belief that the statute of limitations8 had run to its conclusion on any claim or claims

       made by THE RELATOR against the OFFICE OF THE ATTORNEY GENERAL OF

       THE COMMONWEALTH and/or one or more employees of that Office for moving to

       dismiss the Qui Tam Action and Second Qul Tam Action.*

835.   On or about October 27, 2017, SARIS attended an event at BCLS at 885 CENTRE

       STREET.

836.   On or about October 27, 2017, HOLDER and HEALEY attended the same event in or

       around Boston, Massachusetts.

837.   From about November 2017 through about April 2018, both dates inclusive and

       approximate, CRAFTS worked as a special assistant district attorney in the Office of the

       District Attorney of Suffolk County, Massachusetts.

838.   CRAFTS used her position as a special assistant district attorney in the Office of the

       District Attorney of Suffolk County, Massachusetts in order to investigate THE

       RELATOR, to subvert THE RELATOR's litigation, and/or to obtain Privileged

       Information. *




8
 The statute of limitations runs from the date when THE RELATOR discovered or should have
discovered the wrongful nature of the dismissal of the Qui Tam Action. That date is January 27,
2016, which is the date that DOJ published Equitable Sharing Program statistics for federal fiscal
year 2015, or some date thereafter in view of the deliberate concealment of public records by one
or more of the defendants.
                                                175
       Case 6:20-cv-00362-ADA        Document 1      Filed 05/05/20     Page 175 of 347




839.     On or about November 10, 2017, THE RELATOR sent an email from the BC Email

         Account to ABBENE stating that THE RELATOR was engaged in numerous coi.irt cases

         and that moving to a new jurisdiction, Colorado, was required as a consequence of THE

         RELATOR's litigation.

840.     On or about November 10, 2017, ABBENE sent an email to the BC Email Account

         stating that ABBENE would discuss THE RELATOR's request to be a visiting student in

         Colorado with ROUGEAU.

841.     On or about November 14, 2017, KENYON called THE RELATOR "a rat" during a class

         at 885 CENTRE STREET.

842.     On or about November 15, 2017, SOROKIN attended and spoke at an event at BCLS at

         885 CENTRE STREET concerning the opioid epidemic that was organized in whole or in

        part by CASSIDY.

843.    On or about November 15, 2017, CASSIDY called SOROKIN a "friend of the law

        school" during an event concerning the opioid epidemic at BCLS at 885 CENTRE

         flt1EP
844.    SOROKIN was aware of THE RELATOR's identity during the November 15, 2017 event

        at BCLS at 885 CENTRE STREET where SOROKIN and THE RELATOR were in

        attendance.

845.    BRODIN was present at the November 15, 2017 event at BCLS at 885 CENTRE

        STREET where SOROKIN and THE RELATOR were in attendance.

846.    SOROKIN's spouse was and/or is an adjunct professor at BOSTON COLLEGE.*

847.    SOROKIN's spouse was and/or is paid by BOSTON COLLEGE.*

                                               176
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20     Page 176 of 347




848.    In connection with an event at BCLS on or about November 15, 2017, one or more

        employees of BOSTON COLLEGE directly or indirectly offered or promised to

        SOROKIN that BOSTON COLLEGE would create, establish, continue, provide a raise in

        pay for, and/or resume a teaching or other position for SOROKIN's spouse in order to

        influence one or more judicial decisions by SOROKIN in any future proceeding

         involving THE RELATOR.*

849.     In connection with an event at BCLS on or about November 15, 2017, SOROKIN agreed

        to be influenced by one or more employees of BOSTON COLLEGE in any future

        proceeding involving THE RELATOR in exchange or in return for BOSTON COLLEGE

         creating, establishing, continuing, providing a raise in pay for, and/or resuming a teaching

         or other position for SOROKIN's spouse at or in connection with BOSTON COLLEGE.*

850.     In connection with an event at BCLS at 885 CENTRE STREET on or about November

         15, 2017, SOROKIN, directly and/or indirectly, accepted money from BOSTON

         COLLEGE. *

851.     THE RELATOR attended all or part of the event in which SOROKIN participated on or

         about November 15, 2017 at BCLS at 885 CENTRE STREET.

852.     SOROKIN and SOROKIN's spouse communicated at 100 DAVIS AVENUE regarding

         the agreement with BOSTON COLLEGE involving compensation to SOROKIN and/or

         SOROKIN's spouse from BOSTON COLLEGE.*

853.     On or about November 20, 2017, ABBENE sent an email to the BC Email Account

         stating that ROUGEAU and ABBENE had discussed and denied THE RELATOR's

         request to be a visiting student in Colorado.

                                                  177
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 177 of 347




854.    On or about November 22, 2017, THE RELATOR delivered or caused to be delivered a

        letter to MESHNICK and SUFFOLK SUPERIOR COURT listing a number of potential

        offenses pursuant to 18 U.S.C. § 1961(1) in connection with the Parallel State Action.

855.    On or about November 28, 2017, THE RELATOR and CURTIN shook hands, during

        which handshake CURTIN turned his head and looked in a different direction so as to

        avoid looking at THE RELATOR.

856.    On or about November 30, 2017, THE RELATOR sent an email (the "FBI Email") from

        the BC Email Account in which he stated that "I'm fairly certain there was/is some sort of

        FBI intelligence operation going on against me" and that "[hots of weird shit is going

        down."

857.    On or about November 30, 2017, within one hour of sending the FBI Email, THE

        RELATOR encountered ROUGEAU (the "ROUGEAU Stairwell Encounter") in one of

        the stairwells at BCLS at 885 CENTRE STREET.

858.    ROUGEAU attempted to encounter and/or speak with THE RELATOR during the

        ROUGEAU Stairwell Encounter because ROUGEAU had read the FBI Email.*

859.    THE RELATOR avoided ROUGEAU during the ROUGEAU Stairwell Encounter.

860.    On or about December 15, 2017, THE RELATOR sent an email from the BC Email

        Account to ABBENE stating that THE RELATOR had submitted a visiting application to

        Sturm College of Law at the University of Denver and that THE RELATOR was

        requesting permission to be a visiting student in Colorado.




                                                178
       Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 178 of 347




861.    On or about December 18, 2017, ABBENE sent an email to the BC Email Account

        stating that THE RELATOR's request to be a visiting student at Sturm College of Law at

        the University of Denver had been denied.

862.    On or about December 20, 2017, THE RELATOR sent an email (the "JOSEPH

        HERLIHY Email") from the BC Email Account to JOSEPH HERLIHY in which THE

        RELATOR informed JOSEPH HERLIHY regarding his repeated attempts to be a visiting

        student in Colorado and potential litigation as a consequence of the conduct of BCLS.

863.    JOSEPH HERLIHY did not respond to the JOSEPH HERLIHY Email in any email to the

        BC Email Account.

864.    On or about December 23, 2017, THE RELATOR electronically submitted a "Boston

        College Bias-Related Incident Report Form" (the "Anti-Asian Report") to one or more

        employees of BOSTON COLLEGE.

865.    The Anti-Asian Report stated that "[a]t one point during his speech, the guest speaker

        said something to the effect that observing cultural niceties with Asians was not as

        important, because 1) no one really cares what Asians think; and 2) Asians won't stand up

        for themselves."

866.    The Anti-Asian Report stated that "[a]lthough I do not remember the precise words

        chosen by the guest speaker, I know that I confirmed his the [sic] bias of his comments

        both in real time and after the class with at least two students."

867.    On or about December 27, 2017, THE RELATOR sent an email (the "Farewell Email")

        to multiple students and multiple faculty members at BCLS at 885 CENTRE STREET

        with the subject line, "Farewell," in which THE RELATOR stated that "Monday of last

                                                 179
       Case 6:20-cv-00362-ADA        Document 1        Filed 05/05/20     Page 179 of 347




        week was my final day at Boston College Law School," that "I am currently a litigant in

        the Supreme Judicial Court," and that "I am moving to a different jurisdiction in the new

        year to avoid a conflict."

868.    Excluding ABBENE, no faculty member at BCLS responded to the Farewell Email.

869.    THE RELATOR did not send the Farewell Email to THOMAS LAMPERT or BRIAN

        DURKIN.

870.    On or about January 2, 2018, THE RELATOR filed a motion for appointment of a special

        prosecutor (the "Special Prosecutor Motion") in the Mandamus Action.

871.    There were no docket entries in the Mandamus Action for approximately 82 days until

        the Special Prosecutor Motion.

872.    In the Special Prosecutor Motion, THE RELATOR alleged that there was reasonable

        suspicion of a violation of Mass.Gen.Laws ch. 268 § 36 by one or more individuals in the

        OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH.

873.    On or about January 11,2018, THE RELATOR sent a letter (the "93A Demand Letter")

        by facsimile and/or first class mail to ROUGEAU at 885 CENTRE STREET.

874.    On or about January 11, 2018, a copy of the 93A Demand Letter was sent to the Federal

        Trade Commission and/or DOJ.

875.     In the 93A Demand Letter, THE RELATOR demanded permission from BCLS to be a

        visiting student at Sturm College of Law at the University of Denver or for a full refund

         of all tuition payments made by THE RELATOR to BCLS.

876.     The 93A Demand Letter stated that there might be a potential violation of law by BCLS

         and/or ROUGEAU with respect to the Sherman Antitrust Act.

                                                180
       Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20     Page 180 of 347




877.    Between approximately January 11, 2018 and January 22, 2018, THE RELATOR

        corresponded by email with ABBENE (the "January Correspondence")

878.    In the January Correspondence and/or before the January Correspondence, THE

        RELATOR informed ABBENE that one or more individuals employed by the OFFICE

        OF THE ATTORNEY GENERAL OF THE COMMONWEALTH may have committed a

        crime.

879.    In the January Correspondence, ABBENE repeatedly communicated that BCLS denied

        THE RELATOR's request to visit at a different law school.

880.    In the January Correspondence, ABBENE repeatedly communicated that THE

        RELATOR's litigation in Massachusetts courts did not qualify under the BCLS visiting

        student policy.

881.    In the January Correspondence or in any correspondence with THE RELATOR,

        ABBENE did not state, expressly or impliedly, that one or more employees of BCLS had

        an interest and/or was serving in some capacity as an attorney in any of the cases in

        which THE RELATOR was and/or is a party.

882.    In the January Correspondence or in any previous correspondence with THE RELATOR,

        ABBENE did not mention that one or more employees of BCLS had been

        communicating and/or continued to communicate Privileged Information obtained from

        the BC Email Account or the Legal Research Accounts.

883.    On or about January 17, 2018, SUFFOLK SUPERIOR COURT held a hearing (the

        "Reasonable Suspicion Hearing") regarding multiple motions filed by THE RELATOR.



                                                181
       Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20      Page 181 of 347




884.    During the Reasonable Suspicion Hearing, THE RELATOR alleged that there was

        reasonable suspicion of a violation of Mass.Gen.Laws ch. 268 § 36 by one or more

        individuals employed by the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH.

885.    MESHNICK represented the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH during the Reasonable Suspicion Hearing.

886.    GREEN was the presiding judge for the Reasonable Suspicion Hearing.

887.    On or about January 23, 2018, THE RELATOR communicated to ABBENE that he

        would return to BCLS at a reduced load of credits for the full rate of tuition.

888.    On or about January 24, 2018, THE RELATOR electronically transferred approximately

        $28,205 to BOSTON COLLEGE and BOSTON COLLEGE ACCOUNTS 1 -X using a

        BOSTON COLLEGE electronic payment website.

889.    Based on tuition costs at BCLS and Sturm College of Law at the University of Denver for

        the spring 2018 semester, THE RELATOR would have saved in excess of $10,000 if he

        had been a visiting student at Sturm College of Law at the University of Denver for ten

        credits during the spring 2018 semester.

890.    On or about January 24, 2018, after having missed approximately one week of classes,

        THE RELATOR attended his first class of the spring 2018 semester at BCLS at 885

        CENTRE STREET.

891.    On or about January 24, 2018, THE RELATOR and BRIAN DURKIN attended a

        constitutional law seminar (the "Seminar") which met once per week for approximately

        one to two hours on each Wednesday of the semester.

                                                 182
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 182 of 347




892.    The first class that THE RELATOR attended during the spring 2018 semester at BCLS at

        885 CENTRE STREET was the Seminar.

893.    The professor teaching the Seminar (the "Seminar Professor") sat with his back facing

        the entrance to the classroom in each class that THE RELATOR attended.

894.    Because of where the Seminar Professor sat in each class attended by THE RELATOR,

        there was a space behind the Seminar Professor with the result that the Seminar Professor

        could not see unless he turned around to look at that space.

895.    On or about January 24, 2018 during the Seminar, THE RELATOR sat next to the

        Seminar Professor and was located in front of and to the left of the Seminar Professor.

896.    ARCHER sat directly next to THE RELATOR on THE RELATOR's left during the

        Seminar on or about January 24, 2018.

897.    THE RELATOR and BRIAN DURKIN did not speak with each other or otherwise

        interact during the Seminar on or about January 24, 2018.

898.    On or about January 29, 2018, the U.S. Department of Justice published on its official

        website the statistics for federal Fiscal Year 2017 Equitable Sharing Program payments of

        cash and sale proceeds to law enforcement agencies of the Commonwealth of

        Massachusetts.

899.    On or about January 31, 2018, THE RELATOR and BRIAN DURKIN attended the

        Seminar.

900.    On or about January 31, 2018 during the Seminar, THE RELATOR sat next to the

        Seminar Professor and was located in front of and to the left of the Seminar Professor.



                                                183
       Case 6:20-cv-00362-ADA           Document 1     Filed 05/05/20      Page 183 of 347




901.    ARCHER sat directly next to THE RELATOR on THE RELATOR's left during the

        Seminar on or about January 31, 2018.

902.    THE RELATOR and BRIAN DURKIN did not speak with each other or otherwise

        interact during the Seminar on or about January 31, 2018.

903.    On or about February 5, 2018, ROUGEAU sent by mail a response to the 93A Demand

        Letter (the "93 A Response").

904.    In the 93A Response, ROUGEAU denied that any of the provisions of Mass.Gen.Laws

        ch. 93A applied to Boston College Law School's denial of THE RELATOR's request for

        permission to be a visiting student at Sturm College of Law at the University of Denver.

905.    In the 93A Response, ROUGEAU did not mention the Sherman Antitrust Act or any

        other antitrust law.

906.    On or about February 7, 2018, THE RELATOR and BRIAN DURKIN attended the

        Seminar.

907.    THE RELATOR and BRIAN DURKIN did not speak with each other or otherwise

        interact during the Seminar on or about February 7, 2018.

908.    On or about February 7, 2018 during the Seminar, THE RELATOR sat next to the

        Seminar Professor and was located in front of and to the left of the Seminar Professor.

909.    ARCHER sat directly next to THE RELATOR on THE RELATOR's left during the

        Seminar on or about February 7, 2018, if ARCHER was present for that class.

910.    On or about February 7, 2018, the Mandamus Action was listed as under advisement by

        LOWY of the Massachusetts Supreme Judicial Court.



                                                184
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 184 of 347




911.    On or about February 7, 2018, HEALEY approved a deal (the "Art Deal") in which the

        Berkshire Art Museum in Berkshire County, Massachusetts could sell up to $55 million

        in art using the authority of the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH.

912.    One or more WILMERHALE clients obtained money from or in connection with the Art

        Deal. *

913.    WILMERHALE obtained one or more payments from or in connection with the Art

        Deal.*

914.    The Art Deal was subject to litigation in the Supreme Judicial Court for the County of

        Suffolk (the "LOWY Litigation"), where LOWY entered an order or judgment allowing

        the Art Deal to proceed.9

915.    The Massachusetts Cultural Council prepared an amicus brief (the "Art Brief") opposing

        the Art Deal to be filed in the LOWY Litigation in or about February 2018.

916.    The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH sent a

        letter or other communication to the Massachusetts Cultural Council cautioning against

        filing the Art Brief.

917.    The Massachusetts Cultural Council did not file the Art Brief despite having fully

        prepared the Art Brief.

918.    HEALEY, THOMAS LAMPERT, WILMERHALE, and/or one or more other members of

        the ENTERPRISE possess and/or possessed blackmail or other embarrassing information

        against LOWY.*


 On or about April 5, 2018, LOWY entered a judgment allowing the Art Deal to proceed.
                                               185
       Case 6:20-cv-00362-ADA        Document 1      Filed 05/05/20       Page 185 of 347




919.    As of about February 2018 and based on all campaign donations to HEALEY for the

        OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH,

        WILMERHALE employees gave the most to HEALEY's political campaigns of any of

        the employees at the top ten law firms by number of attorneys in Boston, Massachusetts.

920.    As of about February 2018 and based on all campaign donations to HEALEY for the

        OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH,

        WILMERHALE employees gave approximately $555 per attorney at WILMERHALE to

        HEALEY's political campaigns.

921.    As of about February 2018 and based on all campaign donations to HEALEY for the

        OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH, the

        employees of the top ten law firms by size in Boston, Massachusetts excluding

        WILMERHALE gave approximately $86 per attorney to HEALEY's political campaigns.

922.    On or about February 13, 2018, WALKER, on behalf of the OFFICE OF THE

        ATTORNEY GENERAL OF THE COMMONWEALTH, submitted an opposition to the

        Special Prosecutor Motion (the "Special Prosecutor Opposition")

923.    The Special Prosecutor Opposition did not deny that one or more individuals in the

        OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH accepted

        something of value in exchange for the non-prosecution of JAVIER GONZALEZ and

        JAMIL ROMAN.

924.    The Special Prosecutor Opposition did not deny that one or more individuals in the

        OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH personally



                                               186
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 186 of 347




        benefitted from that Office's acceptance of payments from the Equitable Sharing

        Program.

925.    On or about February 14, 2018, THE RELATOR visited the Supreme Judicial Court for

        the County of Suffolk in order to obtain a copy of the Special Prosecutor Opposition, but

        the Clerk's Office of that court denied his request for a a copy of the Special Prosecutor

        Opposition.

926.    On or about February 14, 2018, THE RELATOR and BRIAN DURKIN attended the

        Seminar.

927.    On or about February 14, 2018 during the Seminar, THE RELATOR sat next to the

        Seminar Professor and was located in front of and to the left of the Seminar Professor.

928.    ARCHER sat directly next to THE RELATOR on THE RELATOR's left during the

        Seminar on or about February 14, 2018, if ARCHER was present at that class.

929.    THE RELATOR and BRIAN DURKIN did not speak with each other or otherwise

        interact during the Seminar on or about February 14, 2018.

930.    On or about February 15, 2018, LOWY entered a judgment (the "LOWY Judgment")

        dismissing the Mandamus Action.

931.    THE RELATOR did not receive or otherwise obtain a copy of the Special Prosecutor

        Opposition prior to the LOWY Judgment.

932.    On or about February 15, 2018, THOMAS LAMPERT became aware of the LOWY

        Judgment from one or more of the RICO ASSOCIATES.*

933.    The Supreme Judicial Court for the Commonwealth of Massachusetts, the Supreme

        Judicial Court for the County of Suffolk, and the Massachusetts Appeals Court provide a

                                                 187
       Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20     Page 187 of 347




       website located at http ://www.ma-appellatecourts .org (the "Public Case Website") that

       provides public case information concerning cases before those courts.

934.   The Public Case Website updates after approximately 9:00 PM Eastern Standard Time

       with the latest case information inputted on that day.

935.   The Public Case Website did not provide the latest case information for a day on which

       the courts are open until or after 9:00 PM.

936.   On February 15, 2018, the only ways to obtain public case information entered on a

       specific day concerning the Supreme Judicial Court for the Commonwealth of

       Massachusetts, the Supreme Judicial Court for the County of Suffolk, and/or the

       Massachusetts Appeals Court were to 1) visit the relevant court in person; 2) call the

       relevant court; 3) communicate with someone with knowledge; or 4) visit the Public Case

       Website after approximately 9:00 PM.

937.   On or about February 15, 2018, THE RELATOR arrived at approximately 5:00 PM for a

       class (the "Judgment Class") that was taught by SAVERY.

938.   Before and during the Judgment Class, THE RELATOR had no knowledge that the

       LOWY Judgment had been entered earlier that day.

939.   THOMAS LAMPERT was present at the Judgment Class.

940.   During some portion of the years 2017, 2018, and/or 2019, THOMAS LAMPERT was an

       employee of WILMERHALE. *

941.   Prior to the Judgment Class, SAVERY became aware of the 93A Letter.*

942.   Prior to the Judgment Class, SAVERY and/or THOMAS LAMPERT became aware of the

       LOWY Judgment,*

                                                188
       Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20     Page 188 of 347




943.    THE RELATOR first learned of the LOWY Judgment at some time after approximately

        9:00 PM on February 15, 2018 when THE RELATOR checked the Public Case Website.

944.    During the Judgment Class and excluding THE RELATOR, multiple students attending

        the Judgment Class were aware of the LOWY Judgment.*

945.    On or about February 15, 2018, one or more of the RICO ASSOCIATES communicated

        information concerning the LOWY Judgment among the students and/or faculty of BCLS

        in order to cause embarrassment to, harassment of, and/or retaliation against THE

        RELATOR, to dissuade THE RELATOR from pursuing further litigation, and/or to cause

        damage to THE RELATOR's reputation.*

946.    On or about February 19, 2018, THE RELATOR faxed and/or mailed a notice of appeal

        of the LOWY Judgment to the Supreme Judicial Court for the County of Suffolk.

947.    On or about February 21, 2018, THE RELATOR and BRIAN DURKIN attended the

        Seminar.

948.    On or about February 21, 2018 during the Seminar, THE RELATOR sat next to the

        Seminar Professor and was located in front of and to the left of the Seminar Professor.

949.    ARCHER sat directly next to THE RELATOR on THE RELATOR's left during the

        Seminar on or about February 21, 2018, if ARCHER was present at that class.

950.   THE RELATOR and BRIAN DURKIN did not speak with each other or otherwise

        interact during the Seminar on or about February 21, 2018.

951.    MAFFEI and ROUGEAU discussed THE RELATOR and/or THE RELATOR's litigation

       prior to one or more classes in which THE RELATOR was a student and in which

       MAFFEI was an instructor.*

                                               189
       Case 6:20-cv-00362-ADA         Document 1         Filed 05/05/20   Page 189 of 347




952.    MAFFET and ROUGEAU discussed THE RELATOR and/or THE RELATOR's litigation

        by email and/or in person at 885 CENTRE STREET.*

953.    MAFFEI and MALONEY discussed THE RELATOR and/or THE RELATOR's litigation

        prior to one or more classes in which THE RELATOR was a student and in which

        MAFFEI was an instructor. *

954.    MAFFEI and MALONEY discussed THE RELATOR and/or THE RELATOR's litigation

        by email and/or in person at 885 CENTRE STREET.*

955.    MALONEY provided surveillance of THE RELATOR for MAFFEI and/or one or more

        other members of the ENTERPRISE.

956.    On or about February 26, 2018 and during a class concerning Professional Responsibility

        (the "Pro Se Class") in which THE RELATOR was a student, MAFFEI showed a video

        of a lawyer representing himself (the "Pro Se Lawyer Video") during oral argument

        before the Supreme Judicial Court for the Commonwealth.

957.    During the Pro Se Class, MAFFEI mocked the pro se litigant shown in the Pro Se

        Lawyer Video.

958.    During the Pro Se Class, MAFFEI stated or attempted to state the adage, "[a] man who is

        his own lawyer has a fool for a client."

959.    MAFFEI's actions as to the Pro Se Lawyer Video were directed at THE RELATOR.

960.    MAFFEI's actions as to the Pro Se Lawyer Video were intended to harass, dissuade, or

        otherwise influence THE RELATOR into abandoning his appeal of the dismissal of the

        Mandamus Action and/or any plans to pursue litigation in federal court.



                                                   190
       Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20     Page 190 of 347




961.    On or about February 28, 2018, THE RELATOR and BRIAN DURKIN attended the

        Seminar.

962.    On or about February 28, 2018 during the Seminar, THE RELATOR sat next to the

        Seminar Professor and was located in front of and to the left of the Seminar Professor.

963.    ARCHER sat directly next to THE RELATOR on THE RELATOR's left during the

        Seminar on or about February 28, 2018, if ARCHER was present at that class.

964.    THE RELATOR and BRIAN DURKIN did not speak with each other or otherwise

        interact during the Seminar on or about February 28, 2018.

965.    On or about March 14, 2018, THE RELATOR and BRIAN DURKIN attended the

        Seminar.

966.    On or about March 14, 2018 during the Seminar, THE RELATOR sat next to the Seminar

        Professor and was located in front of and to the left of the Seminar Professor.

967.    On or about March 14, 2018, while THE RELATOR was waiting for the Seminar to

        begin, BRIAN DURKIN arrived in the classroom in the area behind the Seminar

        Professor.

968.    On or about March 14, 2018, after arriving in the classroom for the Seminar and standing

        behind where the Seminar Professor was sitting, BRIAN DURKIN made a threatening

        motion towards THE RELATOR (the "BRIAN DURKIN Assault") while THE

        RELATOR was seated in his regular seat for the Seminar.

969.    BRIAN DURKIN did not speak to THE RELATOR before, during, or after the BRIAN

        DURKIN Assault or at any time on the day of the BRIAN DURKIN Assault.



                                                 191
        Case 6:20-cv-00362-ADA       Document 1      Filed 05/05/20     Page 191 of 347




970.     During the BRIAN DURKIN Assault, BRIAN DURKIN, without forewarning, moved in

         the direction of THE RELATOR while remaining behind the Seminar Professor.

971.     During the BRIAN DURKIN Assault, BRIAN DURKIN leaned towards where THE

         RELATOR was seated.

972.     During the BRIAN DURKIN Assault, BRIAN DURKIN glared directly at THE

         RELATOR with a menacing, crazed, and/or enraged look.

973.     During the BRIAN DURKIN Assault, BRIAN DURKIN appeared to THE RELATOR to

         be positioning himself to throw a punch at THE RELATOR.

974.     During the BRIAN DURKIN Assault, BRIAN DURKIN appeared to THE RELATOR to

         be positioning himself to lunge at THE RELATOR.

975.     During the BRIAN DURKIN Assault, BRIAN DURKIN appeared to THE RELATOR to

         be positioning himself to physically contact and/or attack THE RELATOR.

976.     During the BRIAN DURKIN Assault, THE RELATOR believed that BRIAN DURKIN

         was maneuvering in order to physically and imminently contact and/or attack THE

         RELATOR.

977.     During and in response to the BRIAN DURKIN Assault, THE RELATOR moved

         backwards in his chair and away from BRIAN DURKIN.

978.     THE RELATOR was shocked by the BRIAN DURKIN Assault.

 979.    THE RELATOR was frightened by the BRIAN DURKIN Assault.

 980.    After the BRIAN DURKIN Assault ended, ARCHER entered the classroom.




                                               192
       Case 6:20-cv-00362-ADA         Document 1      Filed 05/05/20    Page 192 of 347




981.    After the BRIAN DURKIN Assault ended, ARCHER glanced at THE RELATOR upon

        entering the classroom and then walked in the direction of where BRIAN DURKIN was

        sitting and/or usually sat.

982.    After the BRIAN DURKIN Assault ended, ARCHER did not sit next to THE RELATOR.

983.    Because of where he was sitting and because he did not turn around, the Seminar

        Professor could not see the BRIAN DURKIN Assault.

984.    THE RELATOR was not notified in any manner beforehand by any person of the

        possibility or likelihood of the BRIAN DURKIN Assault.

985.    BRIAN DURKIN did not communicate in any manner with THE RELATOR during the

        year 2018 prior to or after the BRIAN DURKIN Assault.

986.    SARAH HERLIHY witnessed the BRIAN DURKIN Assault.*

987.    SARAH HERLIHY was aware that the BRIAN DURKIN Assault had occurred, but did

        not report the BRIAN DURKIN Assault to any authority.

988.   THOMAS LAMPERT was aware that the BRIAN DURKIN Assault had occurred, but

       did not report the BRIAN DURKIN Assault to any authority.

989.   KENYON was aware that the BRIAN DURKIN Assault had occurred, but did not report

       the BRIAN DURKIN Assault to any authority.

990.   ARCHER was aware that the BRIAN DURKIN Assault had occurred, but did not report

       the BRIAN DURKIN Assault to any authority.

991.   SCOGNAMIGLIO was aware that the BRIAN DURKIN Assault had occurred, but did

       not report the BRIAN DURKIN Assault to any authority.



                                              193
         Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20    Page 193 of 347




992.     On or about March 21, 2018, THE RELATOR booked a hotel room at the Extended Stay

         America in Nashua, New Hampshire ("ESA Nashua")

993.     During March, April, and May 2018, THE RELATOR booked numerous stays at ESA

         Nashua and stayed overnight at ESA Nashua in excess of thirty non-consecutive nights.

994.     THE RELATOR missed all classes at BCLS at 885 CENTRE STREET after the day of

          the BRIAN DURKIN Assault until March 22, 2018.

995.      On or about March 22, 2018, THE RELATOR filed a complaint against the

          COMMISSIONER, the United States, and DOJ in the U.S. DISTRICT COURT FOR

          THE DISTRICT OF NEW HAMPSHIRE (the "Rigged Sorokin Action").

996.      At the time of the filing of the Rigged Sorokin Action, SWEENEY was an attorney

          admitted to practice law in the State of New Hampshire.

997.      On or about March 22, 2018, THE RELATOR attended a class (the "March 22nd Class")

          at BCLS at 885 CENTRE STREET for the first time after the day of the BRIAN

          DURKIN Assault.

998.      On or about March 22, 2018, ROUGEAU was waiting for THE RELATOR in the

          hallway in a building at BCLS at 885 CENTRE STREET as THE RELATOR was

          proceeding to the March 22nd Class.

 999.     On or about March 22, 2018, THE RELATOR avoided ROUGEAU in the hallway in a

          building at BCLS at 885 CENTRE STREET as THE RELATOR made his way to the

          March 22nd Class.

 1000.    MAFFEI became aware that THE RELATOR had filed the Rigged Sorokin Action on or

          about March 26, 2018.*
                                                 194
     Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20     Page 194 of 347




1001. On or about March 26, 2018 during the final class attended by THE RELATOR at BCLS

      at 885 CENTRE STREET (the "Final Class"), MAFFET spoke to the class about how it

      was unusual for a junior person at a law firm to launch a lawsuit without proceeding

      through multiple layers of authority prior to filing the lawsuit.

1002. During the Final Class, MAFFET used the word "deadly" in a discussion with THE

      RELATOR.

1003. During the Final Class, MAFFEI asked a question (the "Deadly Question") to THE

      RELATOR about his prior employment at Lehman Brothers Holdings, Inc.: "Was it

      deadly?"

1004. During the Final Class, MAFFEI issued a threat to THE RELATOR by insinuating that

      THE RELATOR was engaging in a "deadly" course of conduct and/or that the filing of

      the Rigged Sorokin Action was "deadly."

1005. During the Final Class, MAFFEI's use of the word, "deadly," bore no connection to any

      topic being discussed by MAFFEI, THE RELATOR, or any other person in the

      classroom.

1006. On or about March 28, 2018, THE RELATOR sent an email from the BC Email Account

      to ABBENE in which THE RELATOR inquired about taking a leave of absence from

      BCLS.

1007. On or about March 28, 2018, ABBENE sent an email to the BC Email Account in which

      ABBENE encouraged THE RELATOR to return to BCLS and stated that a leave of

      absence was a possibility.



                                               195
        Case 6:20-cv-00362-ADA       Document 1       Filed 05/05/20    Page 195 of 347




1008. On or about March 28, 2018, THE RELATOR stopped regularly checking the BC Email

         Account.

1009. In or about April 2018, HEALEY cancelled an appearance to speak on the campus of

         BOSTON COLLEGE.

1010. On or about April 6, 2018, THOMAS LAMPERT wrote an email (the "THOMAS

         LAMPERT Email") to the BC Email Account in which THOMAS LAMPERT stated that

         THOMAS LAMPERT hoped to see THE RELATOR at 885 CENTRE STREET.

1011.    LAMPERT did not send any emails to THE RELATOR in the year 2018 prior to the

         THOMAS LAMPERT Email.

1012. On or about April 16, 2018, ULLMANN wrote an email to the BC Email Account with

         the subject line of "Prof. Ullmann here, hoping to talk to you" (the "ULLMANN Email").

1013. In the ULLMANN Email, ULLMANN encouraged THE RELATOR to return to 885

         CENTRE STREET.

1014. On or about April 18, 2018, ABBENE wrote an email (the "ULLMANN Follow-Up

         Email") to the BC Email Account following up to the ULLMANN Email.

1015. In the ULLMANN Follow-Up Email, ABBENE encouraged THE RELATOR to return to

         885 CENTRE STREET and referenced the ULLMANN Email.

1016. On or about April 18, 2018, an individual (the "Massachusetts Photographer") driving an

         automobile with Massachusetts license plates took one or more photographs of THE

         RELATOR while THE RELATOR was sitting in his vehicle in the parking lot of the ESA

         Nashua.



                                               196
     Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20     Page 196 of 347




1017. The Massachusetts Photographer was and/or is an employee of the Commonwealth of

      Massachusetts and/or a member of the ENTERPRISE.*

1018. One or more members of the ENTERPRISE conducted surveillance of THE RELATOR

      while THE RELATOR was staying at the ESA Nashua in order to develop grounds for

      seeking a court order to transfer the Rigged Sorokin Action to the District of

      Massachusetts. *

1019. On or about April 13, 2018, SWEENEY electronically filed a motion to extend the time

      to respond to the Rigged Sorokin Action in the U.S. DISTRICT COURT FOR THE

      DISTRICT OF NEW HAMPSHIRE.

1020. On or about April 22, 2018, SAVERY wrote an email (the "SAVERY Email") to the BC

       Email Account in which SAVERY encouraged THE RELATOR to return to 885

       CENTRE STREET.

1021. On or about April 26, 2018, THE RELATOR filed a motion to disqualify the entire

       OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH (the "Motion

       to Disqualify") from participation in the Rigged Sorokin Action in the U.S. DISTRICT

       COURT FOR THE DISTRICT OF NEW HAMPSHIRE.

1022. On or about May 10, 2018, SWEENEY electronically filed an objection (the

       "Disqualification Objection") to the Motion to Disqualify in the U.S. DISTRICT COURT

       FOR THE DISTRICT OF NEW HAMPSHIRE.

1023. In the Disqualification Objection, SWEENEY stated that "[g]iven the fact that the

       Mullins Double Jeopardy decision provides a perfectly reasonable explanation for why

       no state criminal prosecutor has brought a CST enforcement prosecution since its

                                               197
    Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 197 of 347




      issuance, Chawla's empty and inflammatory conjecture about the Attorney General's

      motivation in dismissing Gonzalez could not be more easily refuted."

1024. In the Disqualification Objection, SWEENEY addressed the acceptance of one or more

      payments from the Equitable Sharing Program by the OFFICE OF THE ATTORNEY

      GENERAL OF THE COMMONWEALTH during the pendency of the Qui Tam Action

      by stating that "[a]s a point of reference, that number represents .002% of the Attorney

      General's $149,748,467 unrestricted budget during those years."

1025. In the Disqualification Objection, SWEENEY made no statement denying that one or

      more payments from the Equitable Sharing Program influenced the decisions by the

      OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH to move to

       dismiss the Qui Tam Action or the Second Qui Tam Action.

1026. In or about May 2008, THE RELATOR encountered JEB BUSH at an airport terminal in

       New York City (the "JEB BUSH Encounter").

1027. JEB BUSH was aware of THE RELATOR's identity prior to the JEB BUSH Encounter.

1028. On or about June 2, 2018, THE RELATOR emailed a request to the Committee on

       Financial Disclosure of the Administrative Office of the U.S. Courts seeking the financial

       disclosure records (the "Judicial Financial Records Request") of, among others,

       BARRON, O'TOOLE, and SOROKIN.

1029. The Judicial Financial Records Request did not seek the financial disclosure records of

       any judges on the U.S. DISTRICT COURT FOR THE DISTRICT OF

       MASSACHUSETTS except O'TOOLE and SOROKIN.



                                               198
        Case 6:20-cv-00362-ADA        Document 1        Filed 05/05/20    Page 198 of 347




1030.    On or about June 4,2018, THE RELATOR filed a motion for leave to amend the

         complaint in the Rigged Sorokin Action in order to, among other things, change the

         statute governing venue to 18 U.S.C. § 1965.

1031. On or about June 4, 2018, ABBENE sent an email to the BC Email Account inquiring

         about whether THE RELATOR would be withdrawing from BCLS.

1032. On or about June 7, 2018, SWEENEY electronically filed a motion to dismiss the Rigged

         Sorokin Action (the "Motion to Dismiss the Rigged Sorokin Action")

1033. In the Motion to Dismiss the Rigged Sorokin Action, SWEENEY made no statement

         specifically denying that one or more payments from the Equitable Sharing Program

         influenced the decisions by the OFFICE OF THE ATTORNEY GENERAL OF THE

         COMMONWEALTH to move to dismiss the Qui Tam Action or the Second Qui Tam

         Action.

1034. On or about June 22, 2018, THE RELATOR visited the United States Court of

         International Trade in New York, New York and inquired with the United States Marshals

         Service and one or more employees of that court regarding how to communicate with

         KATZMANN concerning the appeal of the dismissal of the Qui Tam Action.

1035. On or about June 26, 2018, one or more family members of THE RELATOR was visited

         and questioned by the United States Marshals Service in or around New York, New York.

1036.    On or about June 28, 2018, the Rigged Sorokin Action was transferred from the U.S.

        DISTRICT COURT FOR THE DISTRICT OF NEW HAMPSHIRE to the U.S.

        DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS.



                                               199
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 199 of 347




1037. On or about June 29, 2018, THE RELATOR communicated by telephone with more than

         one employee in the Clerk's Office of the U.S. DISTRICT COURT FOR THE DISTRICT

         OF MASSACHUSETTS in Boston, Massachusetts in order to alert that Office to

         preserve all records relevant to the assignment of a judge in the Rigged Sorokin Action.

1038. On or about June 29, 2018, an individual in the Clerk's Office of the U.S. DISTRICT

         COURT FOR THE DISTRICT OF MASSACHUSETTS in Boston, Massachusetts stated

         by telephone to THE RELATOR that the assignment of a judge in the Rigged Sorokin

         Action would be carried out by computer.

1039. On or about June 29, 2018, an individual in the Clerk's Office of the U.S. DISTRICT

         COURT FOR THE DISTRICT OF MASSACHUSETTS in Boston, Massachusetts stated

         by telephone to THE RELATOR that the assignment of a judge in the Rigged Sorokin

         Action would be "random."

1040. As of July 2, 2018, there were a total of fourteen judges and senior judges serving in the

         U.S. DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS in Boston,

         Massachusetts.

1041.    If the judge selection process for the U.S. DISTRICT COURT FOR THE DISTRICT OF

         MASSACHUSETTS at 1 COURTHOUSE WAY were random, there would be a chance

         of approximately 7% (one in fourteen) of correctly guessing which one judge would be

         randomly assigned to a civil case on July 2, 2018 in the U.S. DISTRICT COURT FOR

         THE DISTRICT OF MASSACHUSETTS if all of the district judges and senior district

        judges at 1 COURTHOUSE WAY were counted.
    Case 6:20-cv-00362-ADA         Document 1      Filed 05/05/20     Page 200 of 347




1042. If the judge selection process for the U.S. DISTRICT COURT FOR THE DISTRICT OF

      MASSACHUSETTS at I COURTHOUSE WAY were random, there would be a chance

      of approximately 10% (one in ten) of correctly guessing which one judge would be

      randomly assigned to a civil case on July 2, 2018 in the U.S. DISTRICT COURT FOR

      THE DISTRICT OF MASSACHUSETTS if all of the district judges (excluding senior

      district judges) at 1 COURTHOUSE WAY were counted.

1043. As of July 2, 2018, FARRELL managed the Clerk's Office of the U.S. DISTRICT

      COURT FOR THE DISTRICT OF MASSACHUSETTS in Boston, Massachusetts.

1044. On or about July 2,2018, SOROKIN was assigned to the Rigged Sorokin Action by

      FARRELL and/or one or more agents, employees, or assigns of FARRELL and/or the

      U.S. DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS.

1045. On or about July 2, 2018, SOROKIN was deliberately assigned (the "Non-Random

      Assignment") to the Rigged Sorokin Action by FARRELL and/or JOT-IN DOE 1 -X. *

1046. On or about July 13, 2018, THE RELATOR mailed a notice in the Rigged Sorokin Action

      to the U.S. DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS stating

      that 1) THE RELATOR intended to file a motion for recusal of SOROKIN; and 2) THE

      RELATOR had requested the financial records of SOROKIN on June 2, 2018 due at least

      in part to THE RELATOR's belief that the judge selection process at the John J. Moakley

      Federal Courthouse at 1 COURTHOUSE WAY was and/or is rigged.

1047. The judge selection process at the John J. Moakley Federal Courthouse at 1

      COURTHOUSE WAY was, is, and/or can be rigged to predetermine judge selection.*



                                             201
    Case 6:20-cv-00362-ADA             Document 1     Filed 05/05/20      Page 201 of 347




1048. SARIS, who in 2018 was Chief Judge of the U.S. DISTRICT COURT FOR THE

        DISTRICT OF MASSACHUSETTS, had legal authority and/or control over the manner

        in which judge selection occurs at the U.S. DISTRICT COURT FOR THE DISTRICT

        OF MASSACHUSETTS.*

1049. FARRELL, as Clerk of the U.S. DISTRICT COURT FOR THE DISTRICT OF

        MASSACHUSETTS, has legal authority and/or control over the manner in which judge

        selection occurs at the U.S. DISTRICT COURT FOR THE DISTRICT OF

        MASSACHUSETTS.*

1050. SARIS and/or FARRELL were aware of the Non-Random Assignment before the Non-

        Random Assignment was made.*

1051.   On or about August 10, 2018, Cornell Law School refused to allow THE RELATOR to

        apply as a transfer student.

1052. On or about August 17, 2018, THE RELATOR received in the mail partial production

        (the "Partial Production") of the Judicial Financial Records Request from the Committee

        on Financial Disclosure of the Administrative Office of the United States Courts.

1053. The Partial Production included the financial disclosure report for O'TOOLE for the year

        2017.

1054. The Partial Production did not include the financial disclosure report for SOROKIN for

        the year 2017.

1055. On or about September 21, 2018, SIMAS visited the campus of BCLS at 885 CENTRE

        STREET.



                                               202
        Case 6:20-cv-00362-ADA         Document 1      Filed 05/05/20      Page 202 of 347




1056.    On or about September 21, 2018, ROUGEAU, CURTIN, and SIMAS were present at 885

         CENTRE STREET.

1057. In or around September 2018, THE RELATOR submitted a FOJA request to DOJ in

         which THE RELATOR requested records requested in the June 2017 FOIA and

         additional, related records (altogether, the "September 2018 FOIA").

1058. SIMAS used funds from OBAMA FOUNDATION ACCOUNTS 1-X during his interstate

         travel to and/or from 885 CENTRE STREET on or about September 21, 2018.*

1059. On or about September 25, 2018, THE RELATOR notified SUFFOLK SUPERIOR

         COURT at 3 PEMBERTON SQUARE and the Supreme Judicial Court for the

         Commonwealth in writing that there was probable cause such that a reasonable person

         could conclude that HEALEY had violated Mass.Gen.Laws ch. 268 § 36 in connection

         with the Qui Tam Action.

1060. On or about September 26, 2018, GILES presided as ajudge in a hearing in which THE

         RELATOR and MESHNICK participated in SUFFOLK SUPERIOR COURT concerning

         the Parallel State Action.

1061. On or about September 26, 2018, during oral argument, in response to a statement by

         THE RELATOR that GILES had already determined the outcome of the Parallel State

         Action, GILES denied that she had already made a decision as to the disposition the

         Parallel State Action.

1062. On or about October 6, 2018, SQUIRES-LEE denied a recusal motion filed by THE

         RELATOR in the Public Records Action in SUFFOLK SUPERIOR COURT.
    Case 6:20-cv-00362-ADA             Document 1      Filed 05/05/20     Page 203 of 347




1063. On or about October 10, 2018, THE RELATOR served MESHNICK with a motion for

        leave to file a supplemental memorandum of law addressing claim preclusion (the "Claim

        Preclusion Papers") in the Parallel State Action.

1064. On or about October 15, 2018, MESHNICK mailed an emergency motion to strike (the

        "Motion to Strike") the Claim Preclusion Papers in the Parallel State Action by United

        States Postal Service on grounds that THE RELATOR had improperly mailed the Claim

        Preclusion Papers to GILES as a judge at SUFFOLK SUPERIOR COURT.

1065. On or about October 15, 2018, MESHNICK intentionally mailed the Motion to Strike in

        the Parallel State Action by United States Postal Service to the incorrect mailing address

        of THE RELATOR so as to preclude THE RELATOR from ascertaining its contents

        before a ruling from SUFFOLK SUPERIOR COURT at 3 PEMBERTON SQUARE.*

1066. The Motion to Strike requested that SUFFOLK SUPERIOR COURT at 3 PEMBERTON

        SQUARE strike the Claim Preclusion Papers.

1067. THE RELATOR never filed the original, signed versions of the Claim Preclusion Papers

        with Suffolk Superior Court.

1068.   MESHNICK filed the Motion to Strike in order to preclude THE RELATOR from

        preserving certain arguments as to claim preclusion on appeal.*

1069. THE RELATOR never mailed, delivered, or otherwise caused the filing of the original

        versions or copies of the Claim Preclusion Papers to GILES or SUFFOLK SUPERIOR

        COURT at 3 PEMBERTON SQUARE.




                                                204
         Case 6:20-cv-00362-ADA            Document 1    Filed 05/05/20        Page 204 of 347




                                                         spoke with BUCKLEY, an assistant
1070, On or about October 19, 2018, THE RELATOR

                                                                     "BUCKLEY Phone Call")
         clerk-magistrate in Suffolk Superior Court, by phone (the

         regarding the Motion to Strike.

                                             was             informed by THE RELATOR that
1071. During the BUCKLEY Phone Call, BUCKLEY

                                                                           the filing of the Claim
         THE RELATOR had not mailed, delivered, or otherwise caused
                                                                                COURT at 3
         Preclusion Papers to Judge Linda GILES or SUFFOLK SUPERIOR

         PEMBERTON SQUARE.

                                             advised             THE RELATOR to file the
1072. During the BUCKLEY Phone Call, BUCKLEY

                                                                         SUPERIOR COURT at 3
          Claim Preclusion Papers but did not mention that SUFFOLK

                                                                        Motion to Strike on October
          PEMBERTON SQUARE had enteredan order allowing the

          18, 2018.

                                                                         "Undocketed Order")
 1073.    On or about October 22, 2018, GILES prepared an order (the

                                                                        Parallel State Action.*
          allowing the motion to dismiss filed by MESI-[NICK in the

                                                       issue         the Undoeketed Order allowing
 1074. On or about October 22, 2018, GILES intended to
                                                                            Action.*
          the motion to dismiss filed by MESHNICK in the Parallel State

                                                    or about         October 22, 2018 allowing a
 1075. GILES intended to issue the Undocketed Order

                                                                                in order to preclude
           motion to dismiss filed by MESHNICK in the Parallel State Action

                                                                          preclusion on appeal.*
           THE RELATOR from preserving legal arguments as to claim

                                                        2018, while          THE RELATOR was
 1076. At approximately 3:30 PM on or about October 22,

           waiting for BUCKLEY to make a copy of GILES's allowance
                                                                           of the Motion to Strike,

                                                                          the Undocketed Order from
           BUCKLEY removed or instructed another person to remove



                                                  205
     Case 6:20-cv-00362-ADA              Document 1     Filed 05/05/20      Page 205 of 347




          the Civil Clerk's Office of SUFFOLK SUPERIOR COURT at 3
                                                                           PEMBERTON

          SQUARE. *

 1077. On or about October 23, 2018, THE RELATOR flied an affidavit in
                                                                                 SUFFOLK

          SUPERIOR COURT at 3 PEMBERTON SQUARE in the Parallel State Action setting

          forth one or more facts as to deceptive or false statements by MESHNICK
                                                                                        and/or

          BUCKLEY.

 1078.    As of November 15, 2018, no attorney from the OFFICE OF THE
                                                                             ATTORNEY

          GENERAL OF THE COMMONWEALTH had made any correction to any
                                                                                         statement
         made in the Motion to Strike.

1079. As of November 15, 2018, no attorney from the OFFICE OF THE
                                                                             ATTORNEY

         GENERAL OF THE COMMONWEALTH had taken any reasonable remedial
                                                                                           measures
         or made any disclosure to a tribunal as to any criminal or fraudulent
                                                                                 conduct related to

         the Motion to Strike.

1080. On or about November 30, 2018, THOMAS DURKIN, BRIAN
                                                                          DURKIN, and/or

         THOMAS LAMPERT agreed to conduct surveillance of or attempt to intimidate
                                                                                             THE
         RELATOR in or around courts in Massachusetts and/or New Hampshire.*

1081. On November 30, 2018, THE RELATOR visited the U.S.
                                                         DISTRICT                 COURT FOR THE

         DISTRICT OF NEW HAMPSHIRE in Concord, New Hampshire.

1082. THOMAS DURKIN and/or one or more relatives or associates
                                                               of BRIAN               DURKIN was
         present in the DURKIN CAR in the State of New Hampshire on November 30,
                                                                                           2018.




                                                206
      Case 6:20-cv-00362-ADA         Document 1      Filed 05/05/20         Page 206 of 347




                                                       within 20 feet of a car in which THE
1083. On November 30, 2018, the DURKIN CAR came

                                                               the State of New Hampshire in
      RELATOR was traveling on Interstate 93 Southbound in

      or around Concord, New Hampshire.

                                                   2018, the   DURKIN CAR was used by
1084. During at least some portion of November 30,

                                                                    family members or
      BRIAN DURKIN, THOMAS DURKIN, and/or one or more

                                                                harass, intimidate, or coerce
      associates of BRIAN DURKIN in order to surveil and/or

                                                               THE DISTRICT OF NEW
       THE RELATOR near the U.S. DISTRICT COURT FOR

       HAMPSHIRE.*

                                                                     and/or New Hampshire, the
1085. On or about November 30, 2018, in or around Massachusetts

                                                                     or coerce THE RELATOR
       DURKIN CAR was used to surveil and/or harass, intimidate,

       and/or another person associated with THE RELATOR.

                                                               or otherwise closed the case in the
 1086. On or about December 12, 2018, SOROKIN dismissed

       Rigged Sorokin Action in a written order.

                                                    a motion       to dismiss (the "Prejudged
 1087. On or about December 20, 2018, GILES allowed

                                                                      THE ATTORNEY
        Opinion") filed by MESHNICK on behalf of the OFFICE OF

        GENERAL OF THE COMMONWEALTH.

                                                        dismiss   filed on behalf of the Appeals
 1088. The Prejudged Opinion stated that "[a] motion to

        Court on August ii, 2017 is still pending [in the Mandamus Action]."

                                                             Court   on August 11, 2017" referred
 1089. The "motion to dismiss filed on behalf of the Appeals

                                                                            2018 because it had
        to in the Prejudged Opinion was not pending as of December 20,

        been disposed of on February 15, 2018 by LOWY.

                                                          15,     201 8.*
  1090. The Prejudged Opinion was written before February
                                               207
        Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20      Page 207 of 347




1091. GILES, BUCKLEY, and/or another person changed the date on the Prejudged Opinion to

        December 20, 2018 without updating the statement regarding the "motion to dismiss filed

        on behalf of the Appeals Court on August 11, 2017."*

1092. On or about December 24, 2018, THE RELATOR received public records in the mail

        responsive to the DOR Request from DOR.

1093. On or about December 27, 2018, judgment entered in SUFFOLK SUPERIOR COURT as

        to the dismissal of the Parallel State Action by GILES based on claim preclusion.

1094. In or about December 2018, IRS sent THE RELATOR a notice claiming that THE

        RELATOR owed money to the United States government.

1095. In or about January 2019, DOR sent THE RELATOR a notice claiming that THE

        RELATOR owed money to the Commonwealth of Massachusetts.

1096. In or about January 2019, IRS and/or the U.S. TAX COURT were closed or partially

         closed due to a government shutdown.

1097. In or about January 2019, THE RELATOR filed a petition with the U.S. TAX COURT.

1098. On or about January 2, 2019, THE RELATOR commenced a lawsuit (the "Rigged New

         Hampshire Lawsuit") in the U.S. DISTRJCT COURT FOR THE DISTICT OF NEW

         HAMPSHIRE.

1099. On or about January 3, 2019, the Rigged New Hampshire Lawsuit was assigned to

         BARBADORO.

1100.    On or about January 3,2019, MCCAFFERTY assigned the Rigged New Hampshire

         Lawsuit to BARBADORO.*



                                                208
         Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20      Page 208 of 347




1101.    On or about February 7, 2019, SAVERY donated approximately $500 to HEALEY's

         campaign for the OFFICE OF THE ATTORNEY GENERAL OF THE

         COMMONWEALTH.

1102. In or about March 2019, GANTS presided over oral argument over an appeal of the

         dismissal of the Mandamus Action at the Supreme Judicial Court for the Commonwealth

         of Massachusetts.

1103.     In or about April 2019, the Supreme Judicial Court for the Commonwealth of

          Massachusetts affirmed the dismissal of the Mandamus Action.

1104.     On or about June 13, 2019, the Chief Judge of the U.S. COURT OF APPEALS FOR THE

          FIRST CIRCUIT designated TORRESEN as the presiding judge in the Rigged New

          Hampshire Lawsuit.

1105. In or about the second half of the year 2019, STEVEN KOH became a professor at BCLS

          at 885 CENTRE STREET.

1106.     In or about the second half of the year 2019, despite lacking jurisdiction over False

          Claims Act cases, a judge on the U.S. TAX COURT ordered THE RELATOR to provide

          that court with a copy of the complaint in the Rigged New Hampshire Action while the

          same complaint was under seal.

 1107.    On or about January 13, 2020, THE RELATOR filed a complaint (the "Rigged Colorado

          Action") based on some, but not all of the same facts and causes of action as those set

          forth in this Complaint that was initially assigned to MARTINEZ (who was a defendant

          in the Rigged Colorado Action) and was subsequently disposed of by BROOKE



                                                  209
        Case 6:20-cv-00362-ADA        Document 1      Filed 05/05/20    Page 209 of 347




         JACKSON despite the fact that BROOKE JACKSON was also a defendant in the Rigged

         Colorado Action.

1108.    According to the Clerk's Office of the UNITED STATES DISTRICT COURT FOR THE

         DISTRICT OF COLORADO, both MARTINEZ and BROOKE JACKSON were

         assigned to the Rigged Colorado Action according to a random draw (despite both being

         defendants in the Rigged Colorado Action).

1109. Including the senior judges at the UNITED STATES DISTRICT COURT FOR THE

         DISTRICT OF COLORADO, the odds of being randomly and consecutively assigned

         two judges appointed by OBAMA in January 2020 for the same case were one in eight,

         or 12.5%.

1110.    Excluding the senior judges at the UNITED STATES DISTRICT COURT FOR THE

         DISTRICT OF COLORADO, the odds of being randomly and consecutively assigned

         two judges appointed by OBAMA in January 2020 for the same case were one in four, or

         25%

1111.    COLWELL and/or JOHN DOE 1 -x rigged the judge selection process in the Rigged

         Colorado Action.*

1112.    In or about January 2020, BROOKE JACKSON dismissed the Rigged Colorado Action

         with prejudice (the "Colorado Judgment").

1113. In or about January 2020, the Clerk's Office of the UNITED STATES DISTRICT

         COURT FOR THE DISTRICT OF COLORADO mailed a copy (the "Stolen Judgment

          Copy") of the Colorado Judgment to THE RELATOR, but the Stolen Judgment Copy was



                                               210
        Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20   Page 210 of 347




         removed from the envelope prior to THE RELATOR obtaining possession of the

         envelope containing the Stolen Judgment Copy.

1114.    In or about February 2020, THE RELATOR notified the Federal Bureau of Investigation

         and the United States Postal Service that his mail appeared to have been tampered with

         and/or opened prior to reaching the destination mailbox.

1115.    Mail sent by the UNITED STATES DISTRICT COURT FOR THE DISTRICT OF

         COLORADO to THE RELATOR in January 2020 in connection with the Rigged

         Colorado Action was opened by JOHN DOE 1 -x prior to THE RELATOR obtaining

         possession of that mail.

1116. The United States was never served with the Rigged Colorado Action by THE

         RELATOR.

1117.    The Rigged New Hampshire Lawsuit was based on some, but not all of the same facts

         and causes of action as those set forth in this Complaint.

1118. TORRESEN dismissed the Rigged New Hampshire Lawsuit with prejudice on or about

         January 17, 2020 for failure to serve the defendants with a copy of the complaint and

         summons.

1119.    On or about February 5, 2020, SAVERY donated approximately $500 to HEALEY's

         campaign for Attorney General of the Commonwealth of Massachusetts.

1120. On February 9, 2020, THE RELATOR sent a series of emails (the "February 9 Emails,"

         attached hereto at Exhibit 7) to a number of the RICO ASSOCIATES.

1121. THE RELATOR incorporates by reference the contents of the February 9 Emails

         (attached hereto at EXHIBIT 7) as if fully set forth herein.
                                                  211
        Case 6:20-cv-00362-ADA         Document 1          Filed 05/05/20   Page 211 of 347




1122. The February 9 Emails included an image file (the "Image File") posted online by one or

         more individuals operating under the pseudonym, "Q" and/or "QAnon."

1123. The image file displays a paragraph in a federal indictment stating that reference to

         "cheese pizza" is a code for child pornography.

1124. At approximately 7:00 PM on February 9, 2020, NEW YORK TIMES COMPANY

         published an article (the "Coordinated Media Response") on its website entitled: "What

         Happens When QAnon Seeps From the Web to the Offline World."

1125.    THE RELATOR incorporates by reference the contents of the Coordinated Media

         Response (attached hereto at EXHIBIT 8) as if fully set forth herein.

1126.    The title and/or text of the Coordinated Media Response mimics the style and syntax of

         many of the questions posed by THE RELATOR in the February 9 Emails, including the

         words: "What happens when [...]."

1127. NEW YORK TIMES COMPANY coordinated with one or more other RICO

         ASSOCIATES in a scheme to discredit THE RELATOR and/or communicate information

         to one or more other RICO ASSOCIATES.

1128. At approximately 7:00 PM on February 9, 2020, a rental car being used by the parents of

         THE RELATOR was damaged and/or defaced (the "Rental Car Damage") in or around

         Fort Lauderdale, Florida.

1129.    One or more of the RICO ASSOCIATES initiated or was otherwise involved with the

         Rental Car Damage.*




                                                212
        Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20        Page 212 of 347




1130. One or more of the RICO ASSOCIATES initiated or was otherwise involved with the

        Rental Car Damage in order to retaliate against THE RELATOR for the February 9

         Emails. *

1131.    On February 13, 2020, THE RELATOR mailed by first class mail with email receipt a

         motion pursuant to Fed. R. Civ. P. 59(e) (the "TORRESEN Mailing") to alter or amend

         the judgment in the Rigged New Hampshire Lawsuit.

1132. The TORRESEN Mailing included an affidavit alleging that OBAMA had disseminated a

         forged birth certificate on the official website of the White House.

1133. The TORRESEN Mailing was delivered to the UNITED STATES DISTRICT COURT

         FOR THE DISTRICT OF MAINE on either February 15, 2020 or February 18, 2020.

1134.    February 17, 2020 was a federal holiday (President's Day).

1135.    TORRESEN, SNYDER, BERRY, and/or STORMS became aware of the TORRESEN

         Mailing on or before February 18, 2020.

1136. As of February 19, 2020 at approximately 3:00 PM, the TORRESEN Mailing did not

         appear on the docket of the Rigged New Hampshire Lawsuit.

1137. On February 19, 2020 at approximately 3:00 PM EST, THE RELATOR phoned

         SNYDER (the "SNYDER Call") regarding receipt of the TORRESEN Mailing.

1138. During the SNYDER Call, SNYDER repeatedly denied that the UNITED STATES

         DISTRICT COURT FOR THE DISTRICT OF MAINE received the TORRESEN

         Mailing.

1139.    During the SNYDER Call, after Snyder repeatedly denied that the UNITED STATES

         DISTRICT COURT FOR THE DISTRICT OF MAINE received the TORRESEN
                                                  213
        Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20    Page 213 of 347




         Mailing, THE RELATOR informed SNYDER that THE RELATOR had received an

         email message (the "Email Receipt") from the United States Postal Service concerning

         the TORRESEN Mailing.

1140.    After being informed regarding the Email Receipt, SNYDER placed THE RELATOR on

         hold for approximately one minute and after returning to the SNYDER call, SNYDER

         confirmed that the UNITED STATES DISTRICT COURT FOR THE DISTRICT OF

         MAINE had received the TORRESEN Mailing.

1141.    TORRESEN, SNYDER, BERRY, and/or STORMS attempted to suppress the

         TORRESEN Mailing based on a belief that THE RELATOR could not prove delivery to

         and/or timely filing with the UNITED STATES DISTRICT COURT FOR THE

         DISTRICT OF MAINE.

1142.    SNYDER conferred with TORRESEN, BERRY, and/or STORMS during the SNYDER

         Call, at which time SNYDER, TORRESEN, BERRY, and/or STORMS decided to admit

         receipt and possession of the TORRESEN Mailing.

1143.    In or about March 2020, THE RELATOR sent a letter to the Clerk's Office of the

         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLORADO

         requesting a copy of the judgment in the Rigged Colorado Action be sent to THE

         RELATOR by email and regular mail.

1144.    As of the date of filing this Complaint, THE RELATOR had not received a copy of the

        judgment in the Rigged Colorado Action.

1145.    As of the date of filing of this Complaint, THE RELATOR had not received any records

         in response to the June 2017 FOJA from DOJ.

                                               214
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 214 of 347




1146. As of the date of filing of this Complaint, THE RELATOR had not received any records

        in response to the September 2018 FOIA from DOJ.

                             IUfl11*'J (II JJI)IP        I)J1JtI)


1147.   THE RELATOR sustained injuries in excess of $500 in connection with purchase of tax

        stamps pursuant to Mass.Gen.Laws ch. 64K by reason and as a proximate cause of the

        conduct of one or more of the defendants

1148. THE RELATOR sustained injuries at or in excess of $160,000 in connection with tuition

        payments made to BCLS by reason and as a proximate cause of the conduct of one or

        more of the defendants.

1149. THE RELATOR sustained injuries in excess of $300 in connection with use of the

        official website of LSAC by reason and as a proximate cause of the conduct of one or

         more of the defendants.

1150. THE RELATOR sustained injuries at or in excess of $4,000 in connection with filing fees

        paid in court cases by reason and as a proximate cause of the conduct of one or more of

        the defendants.

1151. THE RELATOR sustained injuries at or in excess of $1,000 in connection with costs

         incurred in connection with court cases by reason and as a proximate cause of the

         conduct of one or more of the defendants.

1152. By reason and as a proximate cause of the conduct of one or more of the defendants, THE

         RELATOR's Apple app company, Omnibus, LLC, a New Hampshire limited liability

         company, is no longer operating.



                                                215
        Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20      Page 215 of 347




1153.   By reason and as a proximate cause of the conduct of one or more of the defendants, THE

        RELATOR sustained injuries at or in excess of $360,000 in connection with his

        whistleblower bounty as a relator in the Qué Tam Action.'°

1154. By reason and as a proximate cause of the conduct of the ENTERPRISE, THE

         RELATOR sustained injuries at or in excess of $4,057,200 in connection with his

         whistleblower bounty as a relator in the Second Qué Tam Action.11




1155. As set forth herein, there were two or more acts that constitute "racketeering activity"

         within the meaning of 18 U.S.C. § 1961(l) carried out by the RICO ASSOCIATES.12

                              OBAMA IDENTIFICATION FRAUD

1156. Racketeering Act I       Fraud in connection with Identification Documents (18 U.S.C. §

         1028). OBAMA and JOHN DOE 1 -X conspired to produce and disseminate one or more

         unlawful identification documents, including a false birth certificate disseminated on the

         official website of the White House.




'° The calculation for the bounty in the Qué Tam Action is: $200.00 per gram of cocaine
multiplied by 3 kilograms of cocaine at issue in the Qué Tam Action equals $600,000; $600,000
doubled for the 100% nonpayment penalty equals $1,200,000, multiplied by 30% for the
whistleblower bounty, equals $360,000.

  The calculation for the bounty in the Second Qué Tam Action is: $3.50 per gram of marijuana
multiplied by 1,932 kilograms of marijuana at issue in the Second Qué Tam Action equals
$6,762,000; $6,762,000 doubled for the 100% nonpayment penalty equals $13,524,000,
multiplied by 30% for the whistleblower bounty, equals $4,057,200.
12Enumeration of particular statutes in this section is not intended to be exhaustive or exclusive
of other statutes.
                                                216
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 216 of 347




   PERSONAL BENEFIT FROM EQUITABLE SHARING PROGRAM PAYMENTS

1157. Racketeering Act 2      State Law Bribery (Mass.Gen.Laws. ch. 268A § 2). JOHN DOE 1-

         X, OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, LORETTA

         LYNCH, WALSH, DANIEL KOH, STEVEN KOH, COLE, YATES, HOLDER, ORTIZ,

         and the DOJ PAID ASSOCIATES conspired to offer or accept and offered or accepted

         one or more payments from the Equitable Sharing Program in whole or in part for

         personal benefit in exchange for the non-prosecution of JAVIER GONZALEZ and

         JAMIL ROMAN pursuant to the CST, thereby purloining some or all of THE

         RELATOR's whistleblower bounty.

1158.    Racketeering Act 3   18 U.S.C. § 1951 (Hobbs Act Extortion Under Color of Official


         Right) ("Whoever in any way or degree obstructs, delays, or affects commerce or the

         movement of any article or commodity in commerce, by ... extortion or attempts or

         conspires to do so."). JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE,

         GOODLANDER, FLATGARD, LORETTA LYNCH, WALSH, DANIEL KOH,

         STEVEN KOH, COLE, YATES, HOLDER, ORTIZ, and the DOJ PAID ASSOCIATES,

         under color of official right, conspired to obtain and obtained one or more payments from

         the Equitable Sharing Program in or around December 2014.

1159. Racketeering Act 4      State Law Bribery (Mass.Gen.Laws. ch. 268A § 2). JOT-IN DOE 1-

         X, OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, LORETTA

         LYNCH, WALSH, DANIEL KOH, STEVEN KOH, COLE, YATES, HOLDER, ORTIZ,

         and the DOJ PAID ASSOCIATES conspired to accept and accepted one or more

         payments from the Equitable Sharing Program in whole or in part for personal benefit in

                                                217
        Case 6:20-cv-00362-ADA       Document 1       Filed 05/05/20     Page 217 of 347




        exchange for the dismissal of the Qui Tam Action, thereby purloined some or all of THE

        RELATOR's whistleblower bounty.

1160.   Racketeering Act 5    Mail Fraud (18 U.S.C. § 1341). JOHN DOE 1-X, OBAMA,

        PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, LORETTA LYNCH,

        WALSH, DANIEL KOH, STEVEN KOH, COLE, YATES, HOLDER, ORTIZ, and the

        DOJ PAID ASSOCIATES conspired to carry out and carried out a scheme to defraud

        THE RELATOR utilizing the mail for Equitable Sharing Program payments, namely

        funds from or in connection with the Equitable Sharing Check. JOHN DOE 1 -X,

        OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, LORETTA

        LYNCH, WALSH, DANIEL KOH, STEVEN KOH, COLE, YATES, HOLDER, ORTIZ,

        and the DOJ PAID ASSOCIATES had a duty to disclose payments made or received and

        payments intended to be made or received from the Equitable Sharing Program pursuant

        to the Rules of Professional Conduct of the Commonwealth and the Due Process Clause

        of the U.S. Constitution.

1161. Racketeering Act 6      Wire Fraud (18 U.S.C. § 1343). JOHN DOE 1 -X, OBAMA,

        PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, LORETTA LYNCH,

        WALSH, DANIEL KOH, STEVEN KOH, COLE, YATES, HOLDER, ORTIZ, and the

        DOJ PAID ASSOCIATES conspired to carry out and carried out a scheme to defraud

        THE RELATOR utilizing electronic communications for Equitable Sharing Program

        payments, including the DOJ Wires #1-2; the April 2015 Payment; the June 2015

        Payments; and the February 2016 Payments. JOHN DOE 1-X, OBAMA, PATRICK,

        SARIS, O'TOOLE, GOODLANDER, FLATGARD, LORETTA LYNCH, WALSH,

                                              218
     Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 218 of 347




      DANIEL KOH, STEVEN KOH, COLE, YATES, HOLDER, ORTIZ, and the DOJ PAID

      ASSOCIATES had a duty to disclose payments made or received and payments intended

      to be made or received from the Equitable Sharing Program pursuant to the Rules of

      Professional Conduct of the Commonwealth and the Due Process Clause of the U.S.

      Constitution.

1162. Racketeering Act 7-18 U.S.C. § 1956. JOT-IN DOE 1-X, OBAMA, PATRICK, SARIS,

      O'TOOLE, GOODLANDER, FLATGARD, LORETTA LYNCH, WALSH, DANIEL

      KOH, STEVEN KOH, COLE, YATES, HOLDER, ORTIZ, and the DOJ PAID

      ASSOCIATES conspired to conduct and conducted one or more financial transactions

      which in fact involved the proceeds of racketeering activity with intent to carry on the

      conduct of the ENTERPRISE, including the deposit of funds from or in connection with

      the Equitable Sharing Check. The Equitable Sharing Check involves a racketeering act

      and/or a violation of 18 U.S.C. § 666, which is a prerequisite for "specified unlawful

      activity" pursuant to 18 U.S.C. § 1956.

1163. Racketeering Act 8-18 U.S.C. § 1957. JOHN DOE l-X, OBAMA, PATRICK, SARIS,

      O'TOOLE, GOODLANDER, FLATGARD, LORETTA LYNCH, WALSH, DANIEL

      KOH, STEVEN KOH, COLE, YATES, HOLDER, ORTIZ, and the DOJ PAID

      ASSOCIATES conspired to conduct and conducted one or more financial transactions in

      excess of $10,000 which in fact involved the proceeds of racketeering activity with intent

     to carry on the conduct of the ENTERPRISE, including the deposit of funds from or in

      connection with the Equitable Sharing Check. The Equitable Sharing Check involves a



                                                219
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 219 of 347




          violation of 18 U.S.C. § 666, which is a prerequisite for "specified unlawful activity"

          pursuant to 18 U.S.C. § 1957.

 1164. Racketeering Act     9   18 U.S.C. § 2314. JOHN DOE l-X, OBAMA, PATRICK, SARIS,

          O'TOOLE, GOODLANDER, FLATGARD, LORETTA LYNCH, WALSH, DANIEL

          KOH, STEVEN KOH, COLE, YATES, HOLDER, ORTIZ, and the DOJ PAID

          ASSOCIATES conspired to transport, transmit, or transfer and transported, transmitted,

          or transferred in interstate commerce securities or money of the value of $5,000 or more,

          namely the deposit of funds from or in connection with the Equitable Sharing Check,

         knowing the same to have been stolen, converted, or taken by fraud.

1165. Racketeering Act     10 18 U.S.C. § 2315. JOHN DOE 1-X, OBAMA, PATRICK, SARIS,
         O'TOOLE, GOODLANDER, FLATGARD, LORETTA LYNCH, WALSH, DANIEL

         KOH, STEVEN KOH, COLE, YATES, HOLDER, ORTIZ, and the DOJ PAID

         ASSOCIATES conspired to receive and received, possessed, concealed, or stored

         securities or money of the value of $5,000 or more from the Equitable Sharing Program,

         namely the deposit of funds from or in connection with the Equitable Sharing Check,

         knowing the same to have been stolen, converted, or taken by fraud.

1166.    Racketeering Act 11    18 U.S.C. § 1951 (Hobbs Act Extortion Under Color of Official

         Right) ("Whoever in any way or degree obstructs, delays, or affects commerce or the

         movement of any article or commodity in commerce, by ... extortion or attempts or

         conspires to do so."). JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE,

         GOODLANDER, FLATGARD, LORETTA LYNCH, WALSH, DANIEL KOH,

         STEVEN KOH, COLE, YATES, HOLDER, ORTIZ, and the DOJ PAID ASSOCIATES,

                                                220
     Case 6:20-cv-00362-ADA         Document 1         Filed 05/05/20   Page 220 of 347




      under color of official right, conspired to obtain and obtained one or more payments from

      the Equitable Sharing Program in whole or in part for personal benefit in or around

      February 2015 to which they were not entitled.

1167. Racketeering Act 12   Mail Fraud (18 U.S .C. § 1341). HEALEY, CRAFTS, and/or

      WALKER mailed documents setting forth the First SJC Statement and Second SJC

      Statement, where such documents contained false statements and/or material omissions in

      violation of the Rules of Professional Conduct of the Commonwealth and the Due

      Process Clause in order to cover-up unlawful activity in connection with the Equitable

      Sharing Program, including one or more violations 18 U.S.C. § 666.

                    MORE THAN $150,000 TO BOSTON COLLEGE

1168. Racketeering Act 13    18 U.S.C. § 1951 (Hobbs Act Extortion Using Fear) ("Whoever in


      any way or degree obstructs, delays, or affects commerce or the movement of any article

      or commodity in commerce, by ... extortion or attempts or conspires to do so."). The

      RICO ASSOCIATES using economic fear, conspired to obtain and obtained payment

      from THE RELATOR in the amount of approximately $500 in or about April 2015.

1169. Racketeering Act 14   Mail Fraud (18 U.S.C. § 1341). The RICO ASSOCIATES

      conspired to obtain and obtained payment from THE RELATOR in the amount of

      approximately $500 in April 2015, where each had an obligation to disclose their

      respective roles in any litigation involving THE RELATOR under the Rules of

      Professional Conduct of the Commonwealth and under the Due Process Clause of the

      U.S. Constitution.



                                             221
         Case 6:20-cv-00362-ADA         Document 1         Filed 05/05/20     Page 221 of 347




1170. Racketeering Act 15       Wire Fraud (18 U.S.C. § 1343). The RICO ASSOCIATES

                                                                            RELATOR by sending
         conspired to carry out and carried out a scheme to defraud THE
                                                                            electronic funds
         and receiving electronic communications, including six separate

                                                                        THE RELATOR's
         transfers from THE RELATOR for tuition, in connection with
                                                                                      STREET.
         attendance of classes and use of online services at BCLS at 885 CENTRE

                                                                               or is an attorney, to
         Each of the RICO ASSOCIATES had a duty, to the extent each was

                                                                                had obtained or
         notify THE RELATOR that one or more of the RICO ASSOCIATES
                                                                                         Conduct of
         could obtain Privileged Information in violation of the Rules of Professional

         the Commonwealth and the Due Process Clause of the U.S. Constitution.
                                                                                                       to
1171. Racketeering Act 16        18 U.S.C. § 1956. Through THE RELATOR's tuition payments

                                                                                fact involved the
          BCLS, the RICO ASSOCIATES conspired to send money which in

          proceeds of specified unlawful activity.

                                 18 U.S.C. § 1957. Through THE RELATOR's tuition payments
                                                                                                       to
 1172.    Racketeering Act 17

                                                                                   fact involved the
          BCLS, the RICO ASSOCIATES conspired to receive money which in

          proceeds of specified unlawful activity.

                                KATZMANN'S TIMELY ELEVATION

                                                            corruptly           ... otherwise
 1173. Racketeering Act 18-18 U.S.C. § 1512(c)(2) ("Whoever

                                                                                     do so.").
          obstructs, influences, or impedes any official proceeding or attempts to
                                                                                               O'Toole
          OBAMA influenced and/or obstructed THE RELATOR's appeal of the Rigged
                                                                                                  of the
          Action with the timing of removing KATZMANN from the appeal of the dismissal

          Qui Tam Action. BARRON had been aware of THE RELATOR's
                                                                               then pending-litigation

                                                                                          O'Toole
           months before his purported random assignment to the appeal of the Rigged
                                                     222
        Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 222 of 347




         Action. BARRON received extrajudicial information regarding the appeal of the Rigged

         O'Toole Action when BARRON visited BCLS.* BARRON, SANDRA LYNCH, and

         KAYATTA issued a judgment in the Rigged O'Toole Action 13 days after KATZMANN

         was elevated, where such judgment found that THE RELATOR had alleged a general

         injury from the opioid epidemic, where THE RELATOR had previously asserted in

         writing that the general injury from the opioid epidemic was a "misleading" argument

         improperly made by ORTIZ and HEALEY.

1174.    Racketeering Act 19     State Law Bribery (Mass.Gen.Laws ch. 268A § 2(a). ("Whoever,

         directly or indirectly, corruptly gives, offers or promises anything of value ... to any

         member of the judiciary, ... with intent (1) to influence any official act or any act within

         the official responsibility of such ... member of the judiciary ... or (2) to influence such

            member of the judiciary ... to commit or aid in committing, or collude in, or allow,

         any fraud, or make opportunity for the commission of any fraud on the commonwealth or

         a state, county or municipal agency, or (3) to induce such ... member of the judiciary

         to do or omit to do any act in violation of his lawful duty."). The RICO ASSOCIATES

         conspired to offer and offered KATZMANN a federal judgeship in exchange for a

         favorable ruling or in order to otherwise influence the appeal of the dismissal of the Qui

         Tam Action. The offer became apparent when OBAMA, two days after Senate

         confirmation of both KATZMANN and Jennifer Choe Groves, signed the commission for

         the U.S. Court of International Trade for only Jennifer Choe Groves, who was nominated,

         had a hearing, and was confirmed all on the same days as KATZMANN. OBAMA

         waited approximately 100 days after Senate confirmation before signing KATZMANN's

                                                  223
        Case 6:20-cv-00362-ADA            Document 1       Filed 05/05/20     Page 223 of 347




        commission for the U.S. Court of International Trade. OBAMA waited just two days to

        sign KATZMANN's commission after KATZMANN entered an order seeking a response

        to the Rehearing Papers from the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH in the appeal of the dismissal of the Qui Tam Action.

1175. Racketeering Act 20       State Law Bribery (Mass.Gen.Laws ch. 268A § 2(b)) Under

         section 2(b), "[w}hoever, being ... a member of the judiciary ... directly or indirectly,

         corruptly asks, demands, exacts, solicits, seeks, accepts, receives or agrees to receive

         anything of value for himself or for any other person or entity, in return for being

         influenced in his performance of any official act or any act within his official

         responsibility."). KATZMANN accepted the offer from OBAMA and others to become a

         judge on the U.S. Court of International Trade on or about September 15, 2016 knowing

         what the offer entailed.

1176.    Racketeering Act 21        18 U.S.C. § 1951 (Hobbs Act Extortion Under Color of Official


         Right) ("Whoever in any way or degree obstructs, delays, or affects commerce or the

         movement of any article or commodity in commerce, by ... extortion or attempts or

         conspires to do so."). KATZMANN obtained money from the U.S. government through

         OBAMA in connection with one or more official acts taken by KATZMANN as a justice

         of the Massachusetts Appeals Court, namely his resignation after making a ruling adverse

         to the ENTERPRISE.




                                                    224
        Case 6:20-cv-00362-ADA          Document 1          Filed 05/05/20    Page 224 of 347




               INTERSTATE TRAVEL TO AND FROM THE WHITE HOUSE
                  IN CONNECTION WITH KATZMANN'S ELEVATION

1177. Racketeering Act 22        18 U.S.C. § 1 952(a)(3) ("Whoever travels in interstate


         commerce ... with intent to ... otherwise promote, manage, establish, carry on, or

         facilitate the promotion, management, establishment, or carrying on, of any unlawful

         activity and thereafter [does] or attempts to ... [promote, manage, establish, carry on, or

         facilitate the promotion, management, establishment, or carrying on, of any unlawful

         activity]."). In May 2015, SIMAS travelled interstate to 885 CENTRE STREET and/or

         Boston, Massachusetts to carry on the affairs of the ENTERPRISE with one or more of

         the RICO ASSOCIATES. In November 2015, SIMAS travelled interstate to 885

         CENTRE STREET and/or Boston, Massachusetts to carry on the affairs of the

         ENTERPRISE with one or more of the RICO ASSOCIATES. SIMAS travelled interstate

         to 885 CENTRE STREET and/or in or around Boston, Massachusetts in November 2016

         after KATZMANN was elevated to a federal judgeship.

1178.    Racketeering Act 23     18 U.S.C. § 1 952(a)(3). OBAMA travelled interstate and met with

         HEALEY at a location in or around Boston, Massachusetts in September 2015 after

         KATZMANN was nominated to a federal judgeship.

1179. Racketeering Act 24        18 U.S.C. § I 952(a)(3).   LYNCH travelled interstate and met with

         HEALEY and ORTIZ at a location in or around Boston, Massachusetts in September

         2015 after KATZMANN was nominated to a federal judgeship.




                                                  225
         Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 225 of 347




1180.    Racketeering Act 25    18 U.S.C. § 1 952(a)(3). As set forth herein, MAFFEI travelled


         interstate to Washington, DC to carry on the affairs of the ENTERPRISE with OBAMA,

         SIMAS, and/or JOHN DOE 1 -X, including a visit to the White House.

1181.    Racketeering Act   26 18 U.S.C. § 1952(a)(3). As set forth herein, ORTIZ travelled
         interstate to Washington, DC to carry on the affairs of the ENTERPRISE with OBAMA,

         SIMAS, and/or JOHN DOE 1-X, including multiple visits to the White House.

1182. Racketeering Act 27        18 U.S.C. § 1 952(a)(3). As set forth herein, ROUGEAU travelled


         interstate to Washington, DC to carry on the affairs of the ENTERPRISE with OBAMA,

         SIMAS, and/or JOHN DOE I -X, including a visit to the White House.

1183. Racketeering Act 28-18 U.S.C. § 1952(a)(3). On multiple occasions as set forth herein,

         HEALEY travelled interstate to Washington, DC to carry on the affairs of the

         ENTERPRISE with OBAMA, SIMAS, and/or JOHN DOE 1-X, including multiple visits

         to the White House.

                    WITHHOLDING PUBLIC RECORDS TO COVER UP
                          VIOLATIONS OF FEDERAL LAW

11 84.   Racketeering Act 29     18 U.S.C. § 151 2(c)(2) ("Whoever corruptly ... otherwise


         obstructs, influences, or impedes any official proceeding or attempts to do so."). The

         DOJ PAID ASSOCIATES conspired to obstruct and obstructed the due administration of

         justice by precluding THE RELATOR from obtaining public records concerning the

         Equitable Sharing Records Request. The obstruction was carried out in order to hinder,

         delay, or prevent THE RELATOR from pursuing a federal civil action or from amending

         his then-pending federal civil action.


                                                  226
        Case 6:20-cv-00362-ADA           Document 1        Filed 05/05/20      Page 226 of 347




1185.    Racketeering Act 30     18 U.S.C. § 151 2(b)(3) ("Whoever knowingly ... engages in


         misleading conduct toward another person, with intent to ... hinder, delay, or prevent the

         communication to a law enforcement officer or judge of the United States of information

         relating to the commission or possible commission of a Federal offense."). The DOJ

         PAID ASSOCIATES engaged in misleading conduct towards THE RELATOR

         concerning the Equitable Sharing Records Request in order to hinder, delay, or prevent

         THE RELATOR from reporting one or more violations of federal law by any member of

         the ENTERPRISE to a federal judge or law enforcement official.

1186. Racketeering Act 31        18 U.S.C. § 1512(c) ("Whoever corruptly (1) alters ... or conceals


         a record, document, or other object, or attempts to do so, with the intent to impair the

         object's integrity or availability for use in an official proceeding; or (2) otherwise

         obstructs, influences, or impedes any official proceeding or attempts to do so."). The

         DOJ PAID ASSOCIATES conspired to conceal and did conceal records responsive to the

         Equitable Sharing Records Request in order to hinder, delay, or prevent THE RELATOR

         from reporting one or more violations of federal law by any member of the

         ENTERPRISE to a federal judge or law enforcement official.

                                CRAFTS'S TIMELY PROMOTION

1187. Racketeering Act 32        State Law Bribery (Mass.Gen.Laws ch. 268A § 2(a)) ("Whoever,

         directly or indirectly, corruptly gives, offers or promises anything of value to any state

         employee, ... with intent (1) to influence any official act or any act within the official

         responsibility of such employee ... or (2) to influence such an employee ... to commit or

         aid in committing, or collude in, or allow, any fraud, or make opportunity for the

                                                   227
        Case 6:20-cv-00362-ADA           Document 1        Filed 05/05/20      Page 227 of 347




         commission of any fraud on the commonwealth or a state, county or municipal agency, or

         (3) to induce such an employee ... to do or omit to do any act in violation of his lawful

         duty."). In or about October 2016, HEALEY offered CRAFTS a promotion to Deputy

         Chief of the False Claims Division of the OFFICE OF THE ATTORNEY GENERAL OF

         THE COMMONWEALTH in exchange for CRAFTS's role in the ENTERPRISE,

         including as the attorney appearing in most of the proceedings in the Qui Tam Action,

         where CRAFTS made false statements in writing and during oral argument.

1188.    Racketeering Act 33     State Law Bribery (Mass.Gen.Laws ch. 268A § 2(b)) ("Whoever,

         being a state ... employee ... directly or indirectly, corruptly asks, demands, exacts,

         solicits, seeks, accepts, receives or agrees to receive anything of value for [herself] ... in

         return for (1) being influenced in [her] performance of any official act or any act within

         [her] official responsibility, or (2) being influenced to commit or aid in committing, or to

         collude in, or allow any fraud, or make opportunity for the commission of any fraud, on

         the commonwealth or on a state, county or municipal agency, or (3) being induced to do

         or omit to do any acts in violation of [her] official duty."). In or about October 2016,

         CRAFTS accepted a promotion to Deputy Chief of the False Claims Division of the

         OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH from

         HEALEY in exchange for CRAFTS's role in the ENTERPRISE, including as the attorney

         appearing in most of the proceedings in the Qui Tam Action, where CRAFTS made false

         statements in writing and during oral argument.

1189. Racketeering Act 34-18 U.S.C. § 1951 (Hobbs Act Extortion Under Color of Official

         Right) ("Whoever in any way or degree obstructs, delays, or affects commerce or the
                                                   228
        Case 6:20-cv-00362-ADA           Document 1        Filed 05/05/20      Page 228 of 347




        movement of any article or commodity in commerce, by ... extortion or attempts or

        conspires to do so."). CRAFTS obtained money from the OFFICE OF THE ATTORNEY

        GENERAL OF THE COMMONWEALTH through HEALEY in connection with one or

        more official acts before the DOJ PAID ASSOCIATES.

                        HEALEY'S FUNDRAISER IS HIRED BY BCLS

1190. Racketeering Act 35       State Law Bribery (Mass.Gen.Laws. ch. 268A § 2(b)) ("Whoever,

        being a state .., employee ... directly or indirectly, corruptly asks, demands, exacts,

        solicits, seeks, accepts, receives or agrees to receive anything of value for [herself] ... in

        return for (1) being influenced in [her] performance of any official act or any act within

        [her] official responsibility, or (2) being influenced to commit or aid in committing, or to

        collude in, or allow any fraud, or make opportunity for the commission of any fraud, on

        the commonwealth or on a state, county or municipal agency, or (3) being induced to do

        or omit to do any acts in violation of [her] official duty."). SQUIRES-LEE accepted one

        or more payments from BOSTON COLLEGE through one or more of the RICO

        ASSOCIATES in exchange for a favorable ruling or rulings as to any future proceeding

         involving THE RELATOR before SQUIRES-LEE as a judge.

1191.    Racketeering Act 36     State Law Bribery (Mass.Gen.Laws. ch. 268A § 2(a)). ("Whoever,

         directly or indirectly, corruptly gives, offers or promises anything of value to any state

         employee, ... with intent (1) to influence any official act or any act within the official

         responsibility of such employee ... or (2) to influence such an employee ... to commit or

         aid in committing, or collude in, or allow, any fraud, or make opportunity for the

         commission of any fraud on the commonwealth or a state, county or municipal agency, or
                                                  229
        Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 229 of 347




         (3) to induce such an employee ... to do or omit to do any act in violation of his lawful

         duty."). One or more of the RICO ASSOCIATES offered one or more payments from

         BOSTON COLLEGE to SQUIRES-LEE in exchange for a favorable ruling or rulings as

         to any future proceeding involving THE RELATOR before SQUIRES-LEE as a judge.

1192.    Racketeering Act 37     18 U.S.C. § 1951 (Hobbs Act Extortion Under Color of Official

         Right) ("Whoever in any way or degree obstructs, delays, or affects commerce or the

         movement of any article or commodity in commerce, by ... extortion or attempts or

         conspires to do so."). SQUIRES-LEE obtained money from BOSTON COLLEGE

         through one or more of the RICO ASSOCIATES in connection with one or more official

         acts before SQUIRES-LEE as a judge.

                           OBAMA TRAVELS AND MEETS HEALEY

1193.    Racketeering Act 38     18 U.S.C. § 1952(a)(3) ("Whoever travels in interstate


         commerce ... with intent to ... otherwise promote, manage, establish, carry on, or

         facilitate the promotion, management, establishment, or carrying on, of any unlawful

         activity and thereafter [does] or attempts to ... [promote, manage, establish, carry on, or

         facilitate the promotion, management, establishment, or carrying on, of any unlawful

        activity]."). On or about May 7, 2017 as set forth herein, OBAMA travelled to Boston,

        Massachusetts and/or the surrounding area to carry on the affairs of the ENTERPRISE

        with HEALEY using funds from the OBAMA FOUNDATION ACCOUNTS -X while               1




        traveling to and/or from Washington, District of Columbia.




                                                 230
        Case 6:20-cv-00362-ADA           Document 1        Filed 05/05/20      Page 230 of 347




                        TWO JOBS FOR ORTIZ: BCLS & PARTNER

1194.   Racketeering Act   39 18 U.S.C. § 201(b)(1) (bribery) ("Whoever ... directly or
        indirectly, corruptly gives, offers or promises anything of value to any public official (A)

        to influence any official act; or (B) to influence such public official ... to commit or aid

        in committing, or collude in, or allow any fraud, or make opportunity for the commission

        of any fraud, on the United States; or (C) to induce such public official ... to do or omit

        to do any act in violation of the lawful duty of such official or person."). One or more of

         the RICO ASSOCIATES offered something of value to ORTIZ, namely a professorship at

         BCLS at 885 CENTRE STREET, in exchange for making or agreeing to make payments

         under the Equitable Sharing Program to the EQUITABLE SHARING ACCOUNTS 1 -x

         and/or for decisions made in connection with THE RELATOR's litigation in federal

         courts.

1195.    Racketeering Act 40     18 U.S.C. § 201 (b)(2) (bribery) ("Whoever ... being a public


         official, ... directly or indirectly, corruptly demands, seeks, receives, accepts, or agrees to

         receive or accept anything of value personally or for any other person or entity, in return

         for: (A) being influenced in the performance of any official act; or (B) being influenced

         to commit or aid in committing, or collude in, or allow any fraud, or make opportunity

         for the commission of any fraud, on the United States; or (C) being induced to do or omit

         to any act in violation of the lawful duty of such official or person."). ORTIZ accepted

         something of value from one or more of the RICO ASSOCIATES, namely a

         professorship at BCLS at 885 CENTRE STREET, in exchange for making or agreeing to

         make payments under the Equitable Sharing Program to the EQUITABLE SHARING
                                                   231
     Case 6:20-cv-00362-ADA            Document 1         Filed 05/05/20        Page 231 of 347




      ACCOUNTS 1 -X and/or for decisions made in connection with THE RELATOR's

      litigation in federal courts.

1196. Racketeering Act 41      18 U.S.C. § 201(c)(1)(A) (gratuity) ("Whoever ... otherwise than


      as provided by law for the proper discharge of official duty ... directly or indirectly gives,

      offers, or promises anything of value to any public official."). In the alternative of a

      bribe, one or more of the RICO ASSOCIATES offered compensation to ORTIZ through a

      professorship at BCLS at 885 CENTRE STREET as a gratuity to ORTIZ because of

      making or agreeing to make payments under the Equitable Sharing Program to the

      EQUITABLE SHARING ACCOUNTS 1-X and/or for decisions made in connection with

      THE RELATOR's litigation in federal courts.

1197. Racketeering Act 42      18 U.S .C. § 201 (c)( 1 )(B) (gratuity).   ("Whoever ... being a public

      official, former public official, or person selected to be a public official, otherwise than as

      provided by law for the proper discharge of official duty, directly or indirectly demands,

      seeks, receives, accepts, or agrees to receive or accept anything of value personally for or

      because of any official act performed or to be performed by such official or person."). In

      the alternative of a bribe, ORTIZ accepted compensation from one or more of the RICO

      ASSOCIATES through a teaching or other position at 885 CENTRE STREET as a

      gratuity to ORTIZ because of making or agreeing to make payments under the Equitable

      Sharing Program and/or for decisions made in connection with THE RELATOR's

      litigation in federal courts.

1198. Racketeering Act 43      18 U.S.C. § 201(b)(l) (bribery). MACKEY offered compensation


      to ORTIZ through a job at the law firm, Anderson & Kreiger LLP in Boston,

                                                 232
        Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20     Page 232 of 347




         Massachusetts, in exchange for ORTJZ making or agreeing to make payments under the

         Equitable Sharing Program and/or for decisions made in connection with THE

         RELATOR's litigation in federal courts.

1199. Racketeering Act 44      18 U.S.C. § 201(b)(2) (bribery). ORTIZ accepted something of


         value from MACKEY, namely a job at the law firm, Anderson & Kreiger LLP in Boston,

         Massachusetts, in exchange for making or agreeing to make payments under the

         Equitable Sharing Program and/or for decisions made in connection with THE

         RELATOR's litigation in federal courts.

1200. Racketeering Act    45 18 U.S.C. § 201(c)(1)(A) (gratuity). In the alternative of a bribe,
         MACKEY offered compensation to ORTIZ through a job at the law firm, Anderson &

         Kreiger LLP in Boston, Massachusetts, as a gratuity to ORTTZ because of making or

         agreeing to make payments under the Equitable Sharing Program and/or for decisions

         made in connection with THE RELATOR's litigation in federal courts.

1201.    Racketeering Act 46    18 U.S.C. § 201(c)(1)(B) (gratuity). In the alternative of a bribe,


         ORTIZ accepted compensation from MACKEY through a job at the law firm, Anderson

         & Kreiger LLP in Boston, Massachusetts, as a gratuity to ORTIZ because of making or

         agreeing to make payments under the Equitable Sharing Program and/or for decisions

         made in connection with THE RELATOR's litigation in federal courts.

1202. Racketeering Act 47       18 U.S.C. § 1951 (Hobbs Act Extortion Under Color of Official


         Right) ("Whoever in any way or degree obstructs, delays, or affects commerce or the

         movement of any article or commodity in commerce, by ... extortion or attempts or

         conspires to do so."). ORTIZ accepted a payment to which she was not entitled from one
                                                   233
    Case 6:20-cv-00362-ADA            Document 1       Filed 05/05/20       Page 233 of 347




      or more of the RICO ASSOCIATES through a teaching or other position at 885 CENTRE

      STREET because of making or agreeing to make payments under the Equitable Sharing

      Program and/or for decisions made in connection with THE RELATOR's litigation in

      federal courts.

1203. Racketeering Act 48     18 U.S.C. § 1951 (Hobbs Act Extortion Under Color of Official


      Right). ORTIZ accepted a payment to which she was not entitled from MACKEY

      through a job at the law firm Anderson & Kreiger LLP in Boston, Massachusetts in

      connection with making or agreeing to make payments under the Equitable Sharing

      Program and/or for decisions made in connection with THE RELATOR's litigation in

      federal courts.

                        HOLDER AND HEALEY MEET IN BOSTON

1204. Racketeering Act 49      18 U.S.C. § 1952(a)(3) ("Whoever travels in interstate


      commerce ... with intent to ... otherwise promote, manage, establish, carry on, or

      facilitate the promotion, management, establishment, or carrying on, of any unlawful

      activity and thereafter [does] or attempts to ... [promote, manage, establish, carry on, or

      facilitate the promotion, management, establishment, or carrying on, of any unlawful

       activity]."). HOLDER travelled interstate to Boston, Massachusetts in October 2017 to

       attend an event where HEALEY was present.

        SOROKJN VISITS BCLS AND COLLECTS FROM BOSTON COLLEGE

1205. Racketeering Act 50      18 U.S.C. § 201(b)(l) (bribery) ("Whoever ... directly or


       indirectly, corruptly gives, offers or promises anything of value to any public official (A)

       to influence any official act; or (B) to influence such public official ... to commit or aid
                                                234
        Case 6:20-cv-00362-ADA           Document 1        Filed 05/05/20      Page 234 of 347




         in committing, or collude in, or allow any fraud, or make opportunity for the commission

         of any fraud, on the United States; or (C) to induce such public official ... to do or omit

         to do any act in violation of the lawful duty of such official or person."). One or more of

         the RICO ASSOCIATES offered something of value to SOROKIN through a conference

         on opioids and/or a teaching or other position for SOROKIN's spouse in exchange for a

         favorable ruling or rulings as to any future proceeding involving THE RELATOR before

         SOROKIN as a judge.

1206. Racketeering Act 51        18 U.S.C. § 201(b)(2) (bribery) ("Whoever ... being a public

         official, ... directly or indirectly, corruptly demands, seeks, receives, accepts, or agrees to

         receive or accept anything of value personally or for any other person or entity, in return

         for: (A) being influenced in the performance of any official act; or (B) being influenced

         to commit or aid in committing, or collude in, or allow any fraud, or make opportunity

         for the commission of any fraud, on the United States; or (C) being induced to do or omit

         to any act in violation of the lawful duty of such official or person."). SOROKIN,

         through a conference on opioids and/or teaching or other position for SOROKIN's

         spouse, accepted something of value from one or more of the RICO ASSOCIATES in

         exchange for a favorable ruling or rulings as to any future proceeding involving THE

         RELATOR before SOROKIN as a judge.

1207.    Racketeering Act   52 18 U.S.C. § 201(c)(1)(A) (gratuity) ("Whoever ... otherwise than
        as provided by law for the proper discharge of official duty .. directly or indirectly gives,

        offers, or promises anything of value to any public official."). In the alternative of a

        bribe, one or more of the RICO ASSOCIATES offered compensation to SOROKIN or

                                                  235
     Case 6:20-cv-00362-ADA           Document 1        Filed 05/05/20      Page 235 of 347




      SOROKIN's spouse through a conference on opioids and/or a teaching or other position

      as a gratuity to SOROKIN because of a favorable ruling or rulings to be made in any

      future proceeding involving THE RELATOR before SOROKIN as a judge.

1208. Racketeering Act 53     18 U.S.C. § 201(c(fl(B) (gratuity). ("Whoever ... being a public

      official, former public official, or person selected to be a public official, otherwise than as

      provided by law for the proper discharge of official duty, directly or indirectly demands,

      seeks, receives, accepts, or agrees to receive or accept anything of value personally for or

      because of any official act performed or to be performed by such official or person."). In

      the alternative of a bribe, SOROKIN and/or SOROKIN's spouse accepted compensation

      from one or more of the RICO ASSOCIATES through a conference on opioids and/or a

      teaching or other position as a gratuity to SOROKIN because of a favorable ruling or

      rulings to be made in any future proceeding involving THE RELATOR before SOROKIN

      as a judge.

1209. Racketeering Act 54     18 U.S.C. § 1951 (Hobbs Act Extortion Under Color of Official


      Right) ("Whoever in any way or degree obstructs, delays, or affects commerce or the

      movement of any article or commodity in commerce, by ... extortion or attempts or

      conspires to do so."). SOROKIN and/or SOROKIN's spouse accepted a payment to

      which he and/or she was not entitled from one or more of the RICO ASSOCIATES

      through a conference on opioids and/or a teaching or other position in connection with

      conduct in future federal proceedings involving THE RELATOR before SOROKIN.
     Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 236 of 347




              PURPOSEFUL OBSTRUCTION OF A CHANGE OF VENUE

1210. Racketeering Act 55    18 U.S.C. § 1951 (Hobbs Act Extortion Using Fear) ("Whoever in


      any way or degree obstructs, delays, or affects commerce or the movement of any article

      or commodity in commerce, by ... extortion or attempts or conspires to do so."). The

      RICO ASSOCIATES, using economic fear, conspired to obtain and obtained payment

      from THE RELATOR in the amount of approximately $28,205 in January 2018.

1211. Racketeering Act 56    Wire Fraud (18 U.S.C. § 1343). The RICO ASSOCIATES

      intended to carry out and carried out a scheme using interstate electronic communications

      to defraud THE RELATOR by denying THE RELATOR's visiting application to the

      University of Denver Sturm College of Law by engaging in and failing to disclose

      physical and electronic surveillance of and information sharing concerning THE

      RELATOR at BCLS at 885 CENTRE STREET to the benefit of THE RELATOR's legal

      adversaries and/or the ENTERPRISE. The RICO ASSOCIATES had a duty to 1)

      immediately cease information sharing of Privileged Information concerning THE

      RELATOR's litigation; and 2) disclose the occurrence of information sharing concerning

      THE RELATOR's litigation pursuant to the Rules of Professional Conduct of the

      Commonwealth and the Due Process Clause of the U.S. Constitution.

1212. Racketeering Act 57Mail Fraud (18 U.S.C. § 1343). The RICO ASSOCIATES

       conspired to carry out and carried out a scheme using the mail to defraud THE

       RELATOR by denying THE RELATOR's visiting application to the University of Denver

       Sturm College of Law by engaging in and failing to disclose physical and electronic

       surveillance of and information sharing concerning THE RELATOR at BCLS at 885
                                              237
        Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 237 of 347




         CENTRE STREET to the benefit of THE RELATOR's legal adversaries and the

         ENTERPRISE. The RICO ASSOCIATES each had a duty to 1) immediately cease

         information sharing of Privileged Information concerning THE RELATOR's litigation;

         and 2) disclose the occurrence information sharing concerning THE RELATOR's

         litigation pursuant to the Rules of Professional Conduct of the Commonwealth and the

         Due Process Clause.

1213. Racketeering Act 58       18 U.S.C. § 1512(b)(3) ("Whoever ... knowingly ... engages in


         misleading conduct toward another person, with intent to ... hinder, delay, or prevent the

         communication to a law enforcement officer or judge of the United States of information

         relating to the commission or possible commission of a Federal offense."). The RICO

         ASSOCIATES each engaged in misleading conduct towards THE RELATOR concerning

         THE RELATOR's visiting application to the University of Denver Sturm College of Law

         in order to hinder, delay, or prevent THE RELATOR from making any report to a federal

         official in Colorado and from filing any case in the United States District Court for the

         District of Colorado concerning one or more violations of federal law by any member of

         the ENTERPRISE.

1214.    Racketeering Act   59 18 U.S.C. § 1512(c)(2) ("Whoever corruptly ... otherwise
         obstructs, influences, or impedes any official proceeding or attempts to do so."). The

         RICO ASSOCIATES each precluded THE RELATOR from attending the University of

         Denver Sturm College of Law in order to hinder, delay, or prevent THE RELATOR from

         filing any case in the United States District Court for the District of Colorado concerning

         one or more violations of federal law by any member of the ENTERPRISE.

                                                 238
     Case 6:20-cv-00362-ADA         Document 1      Filed 05/05/20     Page 238 of 347




             HEALEY'S STREAM OF BENEFITS WITH WILMERHALE

1215. Racketeering Act 60   State Law Bribery (Mass.Gen.Laws. ch. 268A § 2). HEALEY and

      WILMERHALE collaborate in a sophisticated system amounting to a stream of benefits

      wherein WILMERHALE sends money to and performs other acts for HEALEY in

      exchange for or because of official acts taken or to be taken by HEALEY. An official act

      taken to benefit WILMERHALE by HEALEY includes the approval of approximately

      $55 million in art sales through the Art Deal by the OFFICE OF THE ATTORNEY

      GENERAL OF THE COMMONWEALTH to the benefit of a WILMERHALE client.

      Benefits to HEALEY from WILMERHALE include 1) campaign contributions from

      WILMERHALE that amounted to several times more than campaign contributions at

      each of the other top 10 law firms in Boston, Massachusetts; 2) use of WILMERHALE

      and its employees, including THOMAS LAMPERT, as a conduit for Privileged

       Information, for communication with and/or blackmail of LOWY, and to advance the

       interests of the ENTERPRISE.

1216. Racketeering Act 61    18 U.S.C. § 1951 (Hobbs Act Extortion Under Color of Official


       Right) ("Whoever in any way or degree obstructs, delays, or affects commerce or the

       movement of any article or commodity in commerce, by ... extortion or attempts or

       conspires to do so."). In exchange for or because of the Art Deal, HEALEY obtained

       valuable services and money from WILMERHALE, while WILMERHALE benefitted

       from an official action taken by HEALEY through the Art Deal.




                                             239
     Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 239 of 347




                                  THE JUDGMENT CLASS

1217. Racketeering Act 62     18 U.S.C. § 15 12(b) and (d).   During the Judgment class,

       WILMERHALE, BOSTON COLLEGE, OBAMA, LOWY, BRIAN DURKIN,

      THOMAS LAMPERT, KENYON, ROUGEAU, HEALEY, NEYMAN, and SAVERY

       sought to harass THE RELATOR in order to hinder, delay, prevent, or dissuade THE

      RELATOR from communicating information concerning a potential federal criminal

      offense to a federal judge or law enforcement officer.

1218. Racketeering Act 63     18 U.S.C. § 1513(e) ("Whoever knowingly, with the intent to

      retaliate, takes any action harmful to any person, including interference with the lawful

      employment or livelihood of any person, for providing to a law enforcement officer any

      truthful information relating to the commission or possible commission of any Federal

      offense."). During the Judgment Class, WILMERHALE, BOSTON COLLEGE,

      OBAMA, LOWY, BRIAN DURKIN, THOMAS LAMPERT, KENYON, ROUGEAU,

      HEALEY, NEYMAN, and SAVERY sought to retaliate against THE RELATOR by

      harassing and/or embarrassing THE RELATOR in connection with THE RELATOR's

      legal training because THE RELATOR had communicated truthful information

      concerning a potential federal criminal offense to a federal judge or law enforcement

      officer through the 93A Demand Letter and/or through THE RELATOR's litigation.

                             THE BRIAN DURKIN ASSAULT

1219. Racketeering Act 64-18 U.S.C. § 1512(c)(2) ("Whoever corruptly ... otherwise

      obstructs, influences, or impedes any official proceeding or attempts to do so.")

      BOSTON COLLEGE, BRIAN DURKIN, THOMAS LAMPERT, ARCHER,

                                              240
     Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 240 of 347




      SCOGNAMIGLIO, KENYON, and SARAH HERLIHY carried out the BRIAN

      DURKIN Assault in order to hinder, delay, or prevent THE RELATOR from pursuing a

      federal civil action.

1220. RacketeeringAct 65-18 U.S.C. §        1512(a)(2). 1512(b). and 1512(d). BOSTON

      COLLEGE, BRIAN DURKIN, THOMAS LAMPERT, ARCHER, SCOGNAMIGUO,

      KENYON, and SARAH HERLIHY sought to hinder, delay, prevent, or dissuade, by

      means of the BRIAN DURKIN Assault, THE RELATOR from communicating truthful

      information concerning a potential federal criminal offense to a federal judge or law

      enforcement officer.

1221. Racketeering Act 66-18 U.S.C. § 1513(b)(2) ("Whoever knowingly engages in any

      conduct and thereby causes bodily injury to another person ... or threatens to do so, with

      intent to retaliate against any person for ... any information relating to the commission or

      possible commission of a Federal offense ... given by a person to a law enforcement

      officer."). BOSTON COLLEGE, BRIAN DURKIN, THOMAS LAMPERT, ARCHER,

      SCOGNAMIGLIO, KENYON, and SARAH HERLIHY sought to retaliate against THE

      RELATOR with the BRIAN DURKIN Assault because THE RELATOR was

      communicating truthful information concerning a potential federal criminal offense to a

      federal judge or law enforcement officer through the 93A Demand Letter and/or through

      THE RELATOR's litigation.

1222. Racketeering Act 67     18 U.S.C. § 1513(e) ("Whoever knowingly, with the intent to

      retaliate, takes any action harmful to any person, including interference with the lawful

      employment or livelihood of any person, for providing to a law enforcement officer any

                                              241
     Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20      Page 241 of 347




      truthful information relating to the commission or possible commission of any Federal

      offense."). BOSTON COLLEGE, BRIAN DURKIN, THOMAS LAMPERT, ARCHER,

      SCOGNAMIGLIO, KENYON, and SARAH HERLIHY sought to retaliate against THE

      RELATOR with the BRIAN DURKIN Assault because THE RELATOR was

      communicating truthful information concerning a potential federal criminal offense to a

      federal judge or law enforcement officer through the 93A Demand Letter and/or through

      THE RELATOR's litigation.

1223. Racketeering Act 68   - 18 U.S.C. § 1961(1) ("any... threat involving ... bribery,
      extortion, ... or dealing in a controlled substance or listed chemical (as defined in section

      102 of the Controlled Substances Act), which is chargeable under State law and

      punishable by imprisonment for more than one year."). BOSTON COLLEGE, BRIAN

      DURKIN, THOMAS LAMPERT, ARCHER, SCOGNAMIGLIO, KENYON, and

      SARAH HERLIHY committed the BRIAN DURKIN Assault because THE RELATOR

      was engaged in litigation that, at the time of the BRIAN DURKIN Assault, involved

      bribery, extortion, and/or dealing in a controlled substance chargeable under state law.

                                  THE DEADLY QUESTION

1224. Racketeering Act   69 18 U.S.C. § 1512(c)(2) ("Whoever corruptly ... otherwise
      obstructs, influences, or impedes any official proceeding or attempts to do so."). MAFFEI

       asked the Deadly Question in order to hinder, delay, and/or prevent THE RELATOR from

       pursuing a federal civil action.

1225. RacketeeringAct    70 18 U.S.C. § l5l2(a)(2. 1512(b). and 1512(d). MAFFEI sought
       to hinder, delay, prevent, and/or dissuade, by means of the Deadly Question, THE
                                               242
     Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 242 of 347




      RELATOR from communicating truthful information concerning a potential federal

      criminal offense to a federal judge or law enforcement officer.

1226. Racketeering Act   71 18 U.S.C. § 1513(b)(2) ("Whoever knowingly engages in any
      conduct and thereby causes bodily injury to another person ... or threatens to do so, with

      intent to retaliate against any person for ... any information relating to the commission or

      possible commission of a Federal offense ... given by a person to a law enforcement

      officer."). MAFFEI sought to retaliate against THE RELATOR with the Deadly Question

      because THE RELATOR had communicated truthful information concerning a potential

      federal criminal offense to a federal judge or law enforcement officer through the 93A

      Demand Letter and the Rigged Sorokin Action.

1227. Racketeering Act 72     18 U.S.C. § 1961(1) ("any... threat involving murder, ... bribery,


      extortion, ... or dealing in a controlled substance or listed chemical (as defined in section

       102 of the Controlled Substances Act), which is chargeable under State law and

      punishable by imprisonment for more than one year."). MAFFET asked the Deadly

      Question because THE RELATOR was engaged in litigation that, at the time of the

      Deadly Question, involved bribery, extortion, and/or dealing in a controlled substance

      chargeable under state law concerning MAFFEI and other RICO ASSOCIATES. The

       Deadly Question itself was a death threat and/or a threat involving murder.

         ATTEMPTING TO INDUCE THE RELATOR TO RETURN TO BCLS

1228. Racketeering Act 73     18 U.S.C. § 15 12(c)(2) ("Whoever corruptly ... otherwise


       obstructs, influences, or impedes any official proceeding or attempts to do so.").

       SAVERY, ULLMANN, ABBENE, and THOMAS LAMPERT each sent an email to the

                                               243
     Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20      Page 243 of 347




      BC Email Account in an attempt to induce THE RELATOR to return to 885 CENTRE

      STREET, where the ENTERPRISE could further injure THE RELATOR and obstruct his

      federal litigation.

1229. Racketeering Act 74     18 U.S.C. § 1512(b)(3) and (c)(2). As set forth herein, SAVERY,
      ULLMANN, ABBENE, and THOMAS LAMPERT each sent an email to the BC Email

      Account in an attempt to induce THE RELATOR to return to 885 CENTRE STREET,

      where the ENTERPRISE could further injure THE RELATOR and obstruct his state and

      federal litigation.

        MAILING THE EMERGENCY MOTION TO THE WRONG ADDRESS

1230. Racketeering Act 75-18 U.S.C. § 1341. 1343 (mail and wire fraud). MESI-INICK

      knowingly mailed the Motion to Strike to the wrong address for THE RELATOR, while

      BUCKLEY withheld information and gave improper instructions by telephone to THE

      RELATOR regarding the Motion to Strike in an attempt to preclude filings by THE

      RELATOR in the Parallel State Action involving damages for the $360,000 bounty in the

      Qui Tam Action. MES1-flJTCK intended to deprive THE RELATOR of his legal interest

      in damages for the $360,000 bounty in the Qul Tam Action.

                            INCIDENT #1 WITH THE DURKIN CAR

1231. Racketeering Act 76      18 U.S.C. § 1 952(a)(3) ("Whoever travels in interstate

      commerce ... with intent to ... otherwise promote, manage, establish, carry on, or

      facilitate the promotion, management, establishment, or carrying on, of any unlawful

      activity and thereafter [does] or attempts to ... [promote, manage, establish, carry on, or

      facilitate the promotion, management, establishment, or carrying on, of any unlawful
    Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20      Page 244 of 347




      activity]."). On November 30, 2018, THOMAS DURKIN and BRIAN DURKIN agreed

      to use the DURKIN CAR to surveil and to intimidate THE RELATOR in connection with

      THE RELATOR's activities at the U.S. District Court for the District of New Hampshire.

      The DURKIN CAR was transported interstate between Massachusetts and New

      Hampshire on November 30, 2018.

1232. RacketeeringAct    77 18 U.S.C.   §   1512(a)(2). 1512(b). and 1512(d). The DURKIN

      CAR was used by THOMAS DURKIN and BRIAN DURKIN to surveil and to

      intimidate THE RELATOR in order to preclude THE RELATOR from communicating

      truthful information concerning a potential federal criminal offense to a federal judge or

      law enforcement officer.

1233. Racketeering Act   78 18 U.S.C. § 1513(b)(2) ("Whoever knowingly engages in any
      conduct and thereby causes bodily injury to another person ... or threatens to do so, with

      intent to retaliate against any person for ... any information relating to the commission or

      possible commission of a Federal offense ... given by a person to a law enforcement

      officer."). The DURKIN CARwas used by THOMAS DURKIN and BRIAN DURKIN

      to surveil and to intimidate THE RELATOR in order to preclude THE RELATOR from

      communicating truthful information concerning a potential federal criminal offense to a

      federal judge or law enforcement officer.

1234. Racketeering Act 79     18 U.S.C. § 1961(1) ("any... threat involving murder, ... bribery,


      extortion, ... or dealing in a controlled substance or listed chemical (as defined in section

       102 of the Controlled Substances Act), which is chargeable under State law and

      punishable by imprisonment for more than one year."). On November 30, 2018,
     Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 245 of 347




      THOMAS DURKIN and BRIAN DURKIN agreed to use the DURKIN CAR to surveil

      and to intimidate THE RELATOR in connection with THE RELATOR's activities at the

      U.S. DISTRICT COURT FOR THE DISTRICT OF NEW HAMPSHIRE.

                         INCIDENT #2 WITH THE DURKIN CAR

1235. Racketeering Act   80 18 U.S.C. § 1952(a)(3) ("Whoever travels in interstate
      commerce ... with intent to ... otherwise promote, manage, establish, carry on, or

      facilitate the promotion, management, establishment, or carrying on, of any unlawful

      activity and thereafter [does] or attempts to ... [promote, manage, establish, carry on, or

      facilitate the promotion, management, establishment, or carrying on, of any unlawful

      activity]."). On or about November 30, 2018, THOMAS DURKIN and BRIAN

      DURKIN agreed to use the DURKIN CAR to surveil and to intimidate a person

      associated with THE RELATOR and THE RELATOR in connection with THE

      RELATOR's litigation. The DURKIN CAR was transported using an interstate highway

      in or around Massachusetts on or about November 30, 2018.

1236. Racketeering Act 81   18 U.S.C. § 1512(a)(2). 1512(b). and 15 12(d). The DURKIN
      CAR was used by THOMAS DURKIN and BRIAN DURKIN to surveil and to

      intimidate a person associated with THE RELATOR and to intimidate THE RELATOR in

      connection with THE RELATOR's litigation and providing information to a federal

      official about a potential federal crime. The DURKIN CAR was transported using in or

      around Massachusetts on or about November 30, 2018.

1237. Racketeering Act 82    18 U.S.C. § 1513(b)(2) ("Whoever knowingly engages in any

      conduct and thereby causes bodily injury to another person ... or threatens to do so, with

                                              246
     Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 246 of 347




      intent to retaliate against any person for ... any information relating to the commission or

      possible commission of a Federal offense ... given by a person to a law enforcement

      officer."). The DURKIN CAR was used by THOMAS DURKIN and BRIAN DURKIN

      to surveil and to intimidate a person associated with THE RELATOR and THE

      RELATOR in connection with THE RELATOR's litigation and providing information to

      a federal official about a potential federal crime. The DURKIN CAR was transported in

      or around Massachusetts on or about November 30, 2018.

1238. Racketeering Act 83-18 U.S.C. § 1961(1) ("any... threat involving murder, ... bribery,

      extortion, ... or dealing in a controlled substance or listed chemical (as defined in section

       102 of the Controlled Substances Act), which is chargeable under State law and

       punishable by imprisonment for more than one year."). The DURKIN CAR was used by

       THOMAS DURKIN and BRIAN DURKIN to surveil and to intimidate one other person

       associated with THE RELATOR and THE RELATOR concerning THE RELATOR's

       litigation and communication of truthful information concerning a potential federal

       criminal offense to a federal judge or law enforcement officer. The DURKIN CAR was

       transported using an interstate highway in or around New Hampshire and/or

       Massachusetts on or about November 30, 2018.

                   THE NON-RANDOM ASSIGNMENT OF SOROKIN

1239. Racketeering Act   84 18 U.S.C. § 1512(c)(2) ("Whoever corruptly ... otherwise
       obstructs, influences, or impedes any official proceeding or attempts to do so."). The

       Non-Random Assignment of SOROKIN to the Rigged Sorokin Action was a corruption



                                               247
     Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 247 of 347




      of the judicial process in the U.S. DISTRICT COURT FOR THE DISTRICT OF

      MASSACHUSETTS by FARRELL and/or one more other RICO ASSOCIATES.

                                SIMAS RETURNS TO BCLS

1240. Racketeering Act 85     18 U.S.C. § 1952(a)(3) ("Whoever travels in interstate


      commerce ... with intent to ... otherwise promote, manage, establish, carry on, or

      facilitate the promotion, management, establishment, or carrying on, of any unlawful

      activity and thereafter [does] or attempts to ... [promote, manage, establish, carry on, or

      facilitate the promotion, management, establishment, or carrying on, of any unlawful

      activity]."). SIMAS travelled interstate to 885 CENTRE STREET in September 2018

      after SOROKIN was assigned to the Rigged Sorokin Action.

                    SOROKIN PERFORMS FOR THE ENTERPRISE

1241. Racketeering Act 86     18 U.S.C. § 1512(c)(2) ("Whoever corruptly ... otherwise


      obstructs, influences, or impedes any official proceeding or attempts to do so."). As set

      forth herein, after having been deliberately assigned to the Rigged Sorokin Action and

      having accepted a bribe, gratuity, and/or payment in violation of the Hobbs Act,

      SOROKIN entered a judgment knowing that the judgement was in exchange for, because

      of, or otherwise influenced by BOSTON COLLEGE and ROUGEAU.

                GILES PREJUDGES THE PARALLEL STATE ACTION

1242. Racketeering Act   87 18 U.S.C. § 1512(c)(2) ("Whoever corruptly ... otherwise
      obstructs, influences, or impedes any official proceeding or attempts to do so."). GILES

      entered a written memorandum on December 20, 2018 allowing a motion to dismiss one

      or more federal causes of action pursuant to 42 U.S.C. § 1983 brought in SUFFOLK

                                               248
     Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 248 of 347




      SUPERIOR COURT in the Parallel State Action knowing that the memorandum in

      question had been authored before February 15, 2018, or at least seven months before a

      hearing on the motion to dismiss occurred and at least ten months before the

      memorandum was put on the record with GILES' signature.

              OBSTRUCTION OF JUSTICE AT THE UNITED STATES
              DISTRICT COURT FOR THE DISTRICT OF COLORADO

1243. Racketeering Act   88 18 U.S.C. § 1512(c)(2) ("Whoever corruptly ... otherwise
      obstructs, influences, or impedes any official proceeding or attempts to do so.").

      COLWELL and/or JOHN DOE 1 -X obstructed justice by intentionally assigning the

      Rigged Colorado Action to MARTINEZ and BROOKE JACKSON and claiming that

      those assignments were random.

1244. Racketeering Act 89    18 U.S.C. § 151 2(c)(2) ("Whoever corruptly ... otherwise

      obstructs, influences, or impedes any official proceeding or attempts to do so."). Despite

      being a defendant in the Rigged Colorado Action, BROOKE JACKSON obstructed

      justice by purporting to act as a United States District Judge, when confronted with

      evidence that his judicial appointment was and is invalid.

               OBSTRUCTION OF JUSTICE AT THE UNITED STATES
                DISTRICT COURT FOR THE DISTRICT OF MAINE

1245. Racketeering Act 90    18 U.S.C. § 1512(c)(2) ("Whoever corruptly ... otherwise

      obstructs, influences, or impedes any official proceeding or attempts to do so.").

      TORRESEN, BERRY, STORMS, and/or SNYDER conspired to obstruct justice by

      attempting to conceal the TORRESEN Filing and denying receipt of the TORRESEN

      Filing until confronted with the existence of an email receipt by THE RELATOR.
                                              249
     Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 249 of 347




1246. Racketeering Act 91    18 U .S.C. § 151 2(c)(2) ("Whoever corruptly ... otherwise


      obstructs, influences, or impedes any official proceeding or attempts to do so.").

      TORRESEN obstructed justice by purporting to act as a United States District Judge,

      when confronted with evidence that her judicial appointment was and is invalid.

             RETALIATION AGAINST THE PARENTS OF THE RELATOR

1247. Racketeering Act 92    18 U.S.C. § 1513(b)(2) ("Whoever knowingly engages in any

      conduct and thereby causes bodily injury to another person ... or threatens to do so, with

      intent to retaliate against any person for ... any information relating to the commission or

      possible commission of a Federal offense ... given by a person to a law enforcement

       officer."). One or more of the RICO ASSOCIATES retaliated against the parents of THE

       RELATOR by damaging their rental car immediately after THE RELATOR sent one or

       more of the February 9 Emails.

                                COCAINE DISTRIBUTION

1248. Racketeering Act 93    Conspiracy to Distribute and Distribution of Cocaine (21 U.S.C.

       §   841. 846; Conspiracy to violate the Massachusetts CST). THOMAS LAMPERT,

       HENRIK LAMPERT, DAVID LAMPERT, TORIL FORLAND, and/or other RICO

       ASSOCIATES engaged in a conspiracy to distribute and distribution of cocaine at 885

       CENTRE STREET.

1249. Racketeering Act 94     Conspiracy to Distribute and Distribution of Five or More

       Kilograms of Cocaine (21 U.S.C. § § 841. 846: Conspiracy to Violate the Massachusetts

       CST). JAVIER GONZALEZ and JAMIL ROMAN distributed five or more kilograms of

       cocaine using their international drug smuggling network. Through corruption of the
                                               250
     Case 6:20-cv-00362-ADA          Document 1            Filed 05/05/20   Page 250 of 347




      judicial process and other racketeering acts, the ENTERPRISE has to this point

       succeeded in precluding collection for the obligation owed by JAVIER GONZALEZ and

      JAMIL ROMAN to the Commonwealth of Massachusetts.

                                          MURDER

1250. Racketeering Act 95     Conspiracy to Murder and Murder. The RICO ASSOCIATES

       engaged in a conspiracy to murder and did murder of cocaine former Associate Justice of

       the Supreme Court of the United States, Antonin Scalia. The RICO ASSOCIATES used

       885 CENTRE STREET in coimection with carrying out and covering up the murder of

       Scalia.

                                                    tu1j1jz,rwI   hAl

1251. Each and every count herein which raises a claim against multiple defendants also alleges

       in the alternative that the claim consisted of some combination(s) of the remaining

      defendants or the remaining defendant if one or more defendants were removed.




                  (Claim for Violation of FOIA, 5 U.S.C. § 552 against the
                           U.S. DEPARTMENT OF JUSTICE)

1252. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

      forth herein.

1253. The U.S. Department of Justice has violated FOIA by refusing to produce any and/or all

      non-exempt records responsive to the June 2017 FOIA.




                                              251
     Case 6:20-cv-00362-ADA          Document 1      Filed 05/05/20     Page 251 of 347




1254. THE RELATOR is being irreparably harmed by DOJ's violation of FOIA, and THE

      RELATOR will continue to be irreparably harmed unless DOJ is compelled to comply

      with FOJA.

1255. THE RELATOR is entitled to injunctive relief as to production of records pursuant to the

       June 2017 FOJA.




                    (Claim for Violation of FOIA, 5 U.S.C. § 552 against the
                             U.S. DEPARTMENT OF JUSTICE)

1256. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1257. The U.S. Department of Justice has violated FOIA by refusing to produce any and/or all

       non-exempt records responsive to the September 2018 FOJA.

1258. THE RELATOR is being irreparably harmed by DOJ's violation of FOIA, and THE

       RELATOR will continue to be irreparably harmed unless DOJ is compelled to comply

       with FOIA.

1259. THE RELATOR is entitled to injunctive relief as to production of records pursuant to the

       September 2018 FOIA.

                                           COUNT 3

      (Claim for Declaratory Judgment pursuant to 28 U.S.C. § 2201, 2202 against the
                  MASSACHUSETTS DEPARTMENT OF REVENUE)

1260. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.



                                              252
     Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20    Page 252 of 347




1261. An actual controversy has arisen between THE RELATOR and the Massachusetts

      Department of Revenue as to whether DOR failed to comply with the Massachusetts

      Public Records Law by refusing to provide responsive documents within 10 business

      days of receiving the DOR Request.

1262. DOR is an agency, department, or other entity of the Commonwealth of Massachusetts

      and is required to respond in compliance with the Massachusetts Public Records Law

      within 10 business days of receiving a public records request.

1263. Any and all records in existence concerning the Secret DOR Directive fall within the

       purview of the DOR Request.

1264. DOR has failed to produce any records specifying the contents of the Secret DOR

       Directive.

1265. DOR has produced no documents that either confirm or deny the existence of the Secret

       DOR Directive.

1266. Non-production of the records in question concerns the due administration ofjustice

       within the meaning of federal law.

1267. For these reasons, this Court should declare that DOR violated the Massachusetts Public

       Records Law.

                                            COUNT 4

 (Claim for Violation of Mass.Gen.Laws ch. 66 § 10 and Mass.Gen.Laws ch. 4 § 7, Twenty-
         Sixth, against the MASSACHUSETTS DEPARTMENT OF REVENUE)

1268. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.


                                              253
     Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 253 of 347




1269. DOR failed to comply with the Massachusetts Public Records Law with respect to the

       DOR Request.

1270. The Massachusetts Public Records Law provides that "[a] records access officer

       appointed pursuant to section 6A, or a designee, shall at reasonable times and without

       unreasonable delay permit inspection or furnish a copy of any public record as defined in

       clause twenty-sixth of section 7 of chapter 4, or any segregable portion of a public record,

       not later than 10 business days following the receipt of the Request." Mass.Gen.Laws ch.

       66 § 10(a).

1271. By refusing to provide all of the public records requested by THE RELATOR within 10

       business days after receipt of the DOR Request, DOR violated the Massachusetts Public

       Records Law.

1272. THE RELATOR is entitled to preliminary and permanent injunctive relief ordering

       DOR's compliance with the Massachusetts Public Records Law concerning the DOR

      Request.




(Claim for Declaratory Judgment pursuant to 28 U.S.C. § 2201, 2202 against the OFFICE
           OF THE ATTORNEY GENERAL OF THE COMMONWEALTH)

1273. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

      forth herein.

1274. An actual controversy has arisen between THE RELATOR and the OFFICE OF THE

      ATTORNEY GENERAL OF THE COMMONWEALTH as to whether the OFFICE OF

      THE ATTORNEY GENERAL OF THE COMMONWEALTH failed to comply with the


                                              254
     Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20    Page 254 of 347




      Massachusetts Public Records Law by refusing to provide responsive documents within

      10 business days of receiving the Equitable Sharing Records Request.


1275. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH is

      required to respond in compliance with the Massachusetts Public Records Law within 10

      business days of receiving a public records request.

1276. Any and all records in existence concerning the Equitable Sharing Program payments

      accepted by the OFFICE OF THE ATTORNEY GENERAL OF THE

      COMMONWEALTH fall within the purview of the Equitable Sharing Records Request.

1277. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH has

      failed to produce documents pertaining to expenditures made from money paid to the

      OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH through the

      Equitable Sharing Program.

1278. Non-production of the records in question concerns the due administration of justice

      within the meaning of federal law.

1279. For these reasons, this Court should declare that OFFICE OF THE ATTORNEY

       GENERAL OF THE COMMONWEALTH violated the Massachusetts Public Records

       Law.




 (Claim for Violation of Mass.Gen.Laws ch. 66 § 10 and Mass.Gen.Laws ch. 4 § 7, Twenty-
          Sixth, against the OFFICE OF THE ATTORNEY GENERAL OF THE
                                 COMMONWEALTH)

1280. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.
                                              255
     Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20     Page 255 of 347




1281. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH failed to

      comply with the Massachusetts Public Records Law with respect to the Equitable Sharing

      Records Request.

1282. The Massachusetts Public Records Law provides that "[a] records access officer

      appointed pursuant to section 6A, or a designee, shall at reasonable times and without

      unreasonable delay permit inspection or furnish a copy of any public record as defined in

      clause twenty-sixth of section 7 of chapter 4, or any segregable portion of a public record,

      not later than 10 business days following the receipt of the Request." Mass.Gen.Laws ch.

       66 § 10(a).

1283. By refusing to provide all of the public records requested by THE RELATOR within 10

       business days after receipt of the Equitable Sharing Request, the OFFICE OF THE

       ATTORNEY GENERAL OF THE COMMONWEALTH violated the Massachusetts

       Public Records Law.

1284. THE RELATOR is entitled to preliminary and permanent injunctive relief ordering the

       OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH's compliance

       with the Massachusetts Public Records Law concerning the Equitable Sharing Records

       Request.

                                           IEI1IJ*4

         (Claim for Declaratory Judgment and Related Injunctive Relief pursuant
                to 28 U.S.C. § 2201, 2202 against the COMMISSIONER)

1285. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.


                                              256
      Case 6:20-cv-00362-ADA           Document 1          Filed 05/05/20       Page 256 of 347




                                                       and           the COMMISSIONER for
1286. A genuine controversy exists between THE RELATOR

                                                                          to 28 U.S.C. § 2201,
      which THE RELATOR is entitled to declaratory relief pursuant

       2202, where THE RELATOR's legal rights as a relator on behalf
                                                                            of the Commonwealth

                                                                                under the Fifth and
       of Massachusetts continue to be violated by the COMMISSIONER
                                                                            Constitution (the
       Fourteenth Amendments to and the Guarantee Clause of the U.S.
                                                                          nullifying parts of the
       "Guarantee Clause"), where the COMMISSIONER, in secretly

       CST, has acted and is acting as an executive, legislative, and
                                                                        judicial official at the same

                                                                             or equal protection of
       time, depriving THE RELATOR of his property with due process

       the law.

                                                            holds that      "[t]he power of
1287. Article 20 of the Massachusetts Declaration of Rights

                                                                             be exercised but by the
        suspending the laws, or the execution of the laws, ought never to

        legislature, or by authority derived from it, to be exercised in such
                                                                                particular cases only

        as the legislature shall expressly provide for."

                                                                     legislative,    executive, and
 1288. Federalist 47 asserts that "[t]he accumulation of all powers,

                                                                                       hereditary,
        judiciary, in the same hands, whether of one, a few, or many, and whether
                                                                                      of
        selfappointed, or elective, may justly be pronounced the very definition

        tyranny" (emphasis added).

                                                              that "[t]he    United States shall
 1289. Article IV, Section One of the U.S. Constitution holds

        guarantee to every State in this Union a Republican Form of Government."

                                                            Massachusetts             is a republic in
 1290. With respect to state action concerning THE RELATOR,

                                                                                     usurpation of the
         name only, because the Secret DOR Directive is a plain and pernicious



                                                  257
     Case 6:20-cv-00362-ADA            Document 1        Filed 05/05/20       Page 257 of 347




       most basic principles of the Massachusetts Declaration of Rights and the U.S.

       Constitution.

1291. The Secret DOR Directive, whether or not it is a fabrication, plainly violates Article 20 of

       the Massachusetts Declaration of Rights and the U.S. Constitution, because the text of the

       CST does not expressly provide any authority for the suspension of the CST by the

       Commonwealth's executive branch and because, under the Massachusetts Declaration of

       Rights and U.S. Constitution, a state executive official has no occasion to assume the

       powers of the legislative or judicial branches.

1292. This Court should declare that the Secret DOR Directive is contrary to a republican form

       of government and is illegal, or, in the alternative, was just a gigantic lie told by the

       COMMISSIONER and the ENTERPRISE to cover-up and/or avoid accountability for

       plainly criminal acts.

1293. This Court should declare that any suspension of the CST by the executive branch of the

       Commonwealth, whether in secret or in public, is void for violation of Article 20 of the

       Massachusetts Declaration of Rights and the U.S. Constitution.

1294. This Court should declare that the COMMISSIONER is required to immediately update

       the public, in writing, as to the COMMISSIONER's enforcement policies as to the CST

       with respect to both voluntary compliance and assessment for nonpayment by DOR.

1295. This Court should declare that any prior judgment or order concerning or relating to the

       Secret CST Suspension and THE RELATOR is void for violation of the Due Process

       Clauses of the Fifth and Fourteenth Amendments to and the Guarantee Clause of the U.S.

       Constitution.

                                                258
        Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 258 of 347




1296. This Court should issue related injunctive relief to immediately remedy the

        COMMISSIONER's longstanding violations of the Massachusetts Declaration of Rights

        and the U.S. Constitution.

                                             COUNT 8

  (Claim for Violation of the Fourteenth Amendment under 42 U.S.C. § 1983 against the
   OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH and the
    ESSEX DA, as well as the DOJ PAID ASSOCIATES, JOHN DOE 1-X, OBAMA,
     PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, COLE, YATES,
     WALSH, DANIEL KOH, STEVEN KOH, LORETTA LYNCH, HOLDER, and
          ORTIZ, individually and in their respective official capacities, if any)

1297. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

        forth herein.

1298.   The Due Process Clause of the Fourteenth Amendment protects against the deprivation of

        life, liberty, or property without due process of law.

1299. The Equal Protection Clause of the Fourteenth Amendment protects the fundamental

        rights to access state and federal courts in the United States and equal application of the

         law.

1300. Violations of the Fourteenth Amendment under color of state law are redressable at law

        and in equity under 42 U.S.C. § 1983.

1301. THE RELATOR, as a relator in the Qui Tam Action and the Second Qui Tam Action, had

         and continues to have interests cognizable under the Fourteenth Amendment with respect

        to the outcome of both actions, including, but not limited to, his interests in 1) a fair and

         impartial disposition; 2) $360,000, or the maximum potential bounty in the Qui Tam

         Action; 3) $4,057,200, or the maximum potential bounty in the Second Qul Tam Action;


                                                 259
     Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20      Page 259 of 347




     4) the filing fees in the Qui Tam Action and Second Qui Tam Action; and 5) a fair and

     impartial disposition of any future qui tam action undertaken as a relator.

1302. The Commonwealth of Massachusetts, by and through the OFFICE OF THE

      ATTORNEY GENERAL OF THE COMMONWEALTH, was and is acting under color

      of state law with respect to all matters concerning the Qul Tam Action and the Second

      Qui Tam Action.

1303. Actions taken by and through the OFFICE OF THE ATTORNEY GENERAL OF THE

      COMMONWEALTH and the ESSEX DA constitute state action.

1304. While acting through the OFFICE OF THE ATTORNEY GENERAL OF THE

      COMMONWEALTH and the ESSEX DA and under color of state law, JOHN DOE 1-X,

      OBAMA, PATRICK, SARIS, O'TOOLE, 000DLANDER, FLATGARD, LORETTA

      LYNCH, WALSH, DANIEL KOH, STEVEN KOH, COLE, YATES, HOLDER, ORTIZ,

      and the DOJ PAID ASSOCIATES conspired to deprive and did deprive THE RELATOR

      of a fair and impartial disposition of the Qui Tam Action and Second Qui Tam Action,

      which were brought pursuant to the MFCA.

1305. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH

       controlled the ultimate disposition of the Qui Tam Action and Second Qui Tam Action

       despite the OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH

       having a direct and substantial financial interest in the outcome, thereby depriving THE

       RELATOR of 1) his fundamental right to a fair and impartial disposition of the Qué Tam

       Action and the Second Qué Tam Action; 2) $360,000, or the maximum potential bounty in
     Case 6:20-cv-00362-ADA             Document 1        Filed 05/05/20      Page 260 of 347




         the Qui Tam Action; 3) $4,057,200, or the maximum potential bounty in the Second Qui

         Tam Action; and 4) the filing fees in the Qui Tam Action and Second Qul Tam Action.

1306. The deprivations occurred without due process of and/or equal protection under the law

         by virtue of the OFFICE OF THE ATTORNEY GENERAL OF THE

         COMMONWEALTH's bad faith participation in and domination of the Qui Tam Action

         and Second Qui Tam Action.

1307. THE RELATOR will be deprived of his right to a fair and impartial disposition of any

         future qui tam action in which he is the relator by virtue of the OFFICE OF THE

         ATTORNEY GENERAL OF THE COMMONWEALTH's participation in and

         domination of all qul tam actions under the MFCA and the foreseeability of future

         Equitable Sharing Program payments to OFFICE OF THE ATTORNEY GENERAL OF

         THE COMMONWEALTH and other law enforcement agencies in the Commonwealth.

1308. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH, the

         ESSEX DA, JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE,

         GOODLANDER, FLATGARD, LORETTA LYNCH, WALSH, DANIEL KOH,

         STEVEN KOH, COLE, YATES, HOLDER, ORTTZ, and the DOJ PAID ASSOCIATES

         acted with reckless or callous disregard for, or indifference to, the rights and/or safety of

         THE RELATOR.

 1309.    Because they caused the deprivation of THE RELATOR's rights under the Fourteenth

         Amendment, the OFFICE OF THE ATTORNEY GENERAL OF THE

          COMMONWEALTH, the ESSEX DA, JOHN DOE 1-X, OBAMA, PATRICK, SARIS,

          O'TOOLE, GOODLANDER, FLATGARD, LORETTA LYNCH, WALSH, DANIEL
                                                  261
        Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 261 of 347




        KOH, STEVEN KOH, COLE, YATES, HOLDER, ORTIZ, and the DOJ PAID

        ASSOCIATES are required to pay THE RELATOR the bounties from the Qui Tam

        Action and the Second Qui Tam Action from money received from the Equitable Sharing

        Program, EQUITABLE SHARING ACCOUNTS 1-X, and/or other non-taxpayer funds to

        redress the injuries that they have caused THE RELATOR.

1310. Because there is a real risk of a reoccurrence of a controversy related to Equitable

         Sharing Program or other illicit payments, the OFFICE OF THE ATTORNEY

         GENERAL OF THE COMMONWEALTH and the ESSEX DA are required to be

         permanently enjoined from accepting anything of value from the Equitable Sharing

         Program or any other federal program involving seized proceeds or assets from the illegal

         narcotics trade.

                                             COUNT 9

     (Claim for Declaratory Judgment pursuant to 28 U.S.C. § 2201, 2202 against the
    OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH and the
     ESSEX DA, as well as the DOJ PAID ASSOCIATES, JOHN DOE 1-X, OBAMA,
      PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, COLE, YATES,
      WALSH, DANIEL KOH, STEVEN KOH, LORETTA LYNCH, HOLDER, and
           ORTIZ, individually and in their respective official capacities, if any)

1311.    THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

1312. In exercising considerable discretion pursuant to the MFCA, the OFFICE OF THE

         ATTORNEY GENERAL OF THE COMMONWEALTH and its employees were and are

         nonetheless strictly prohibited from acting arbitrarily and capriciously, scandalously, or

         unlawfully.        Sec'y of Admin. and Fin. v. Attorney General, 367 Mass. 154, 165

                                                 262
      Case 6:20-cv-00362-ADA           Document 1        Filed 05/05/20      Page 262 of 347




                                                                                                 or
      (1975) ("we repeat that the Attorney General cannot act arbitrarily and capriciously

      scandalously.").

                                                                       and integral              role as
1313. THE RELATOR has rights to recovery under the MFCA for his direct

      an "original source" in exposing the failure of JAVIER GONZALEZ and JAMIL

                                                                                               to the
      ROMAN and the defendants in the Second Qui Tam Action to pay monies owed

      Commonwealth, while THE RELATOR's efforts have also uncovered a corruption

       scheme between the OFFICE OF THE ATTORNEY GENERAL OF THE

       COMMONWEALTH, the ESSEX DA, JOHN DOE 1-X, OBAMA, PATRICK, SARIS,

       O'TOOLE, GOODLANDER, FLATGARD, LORETTA LYNCH, WALSH, DANIEL

       KOH, STEVEN KOH, COLE, YATES, HOLDER, ORTIZ, and the DOJ PAID

       ASSOCIATES in which DOJ and IRS pay money to law enforcement officials in the

       Commonwealth either expressly or impliedly in exchange for non-enforcement of the

       CST and/or decisions made in litigation in which THE RELATOR was and/or is a party.

                                                                         Tam Action,                  had
1314. THE RELATOR, as a relator in the Qui Tam Action and the Second Qui

       and continues to have interests cognizable under the Fourteenth Amendment with respect

        to the outcome of both actions, including, but not limited to, his interests in 1) a
                                                                                               fair and

        impartial disposition; 2) $360,000, or the maximum potential bounty in the Qui Tam

        Action; 3) $4,057,200, or the maximum potential bounty in the Second Qui Tarn Action;

        4) the filing fees in the Qui Tam Action and Second Qui Tam Action; and 5) a fair and

        impartial disposition of any future qui tam action undertaken as a relator.

 1315. Despite the risks of bringing a false claim action against alleged drug traffickers

        connected to an international drug cartel, THE RELATOR, through his actions, brought
                                                  263
     Case 6:20-cv-00362-ADA            Document 1   Filed 05/05/20     Page 263 of 347




                                                                             JAVIER
      forward non-public information and substantiating documentation that

                                                                                 to the
      GONZALEZ and JAMIL ROMAN had failed to pay a monetary obligation

      Commonwealth in excess of $1 million.

                                                        non-public    information and
1316. THE RELATOR, through his actions, brought forward

                                                                               Action had
      substantiating documentation that the defendants in the Second Qui Tam

      failed to pay a monetary obligation to the Commonwealth in excess of $4
                                                                                million.

                                                                 within      the meaning of the
1317. THE RELATOR has already been adjudicated to be a "relator"

      MFCA.
                                                                                          the
1318. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH,

       ESSEX DA, JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE,

                                                                                KOH,
       GOODLANDER, FLATGARD, LORETTA LYNCH, WALSH, DANIEL

       STEVEN KOH, COLE, YATES, HOLDER, ORTIZ, and the DOJ PAID ASSOCIATES
                                                                                          Action
       purloined THE RELATOR's bounty in the Qui Tam Action and Second Qui Tam

       by making transactions involving the Equitable Sharing Program while
                                                                               the OFFICE OF

                                                                                           both
       THE ATTORNEY GENERAL OF THE COMMONWEALTH moved to dismiss

                                                                                   the
       cases, thereby depriving THE RELATOR of his rights under the MFCA and

       Fourteenth Amendment as well as contravening the fundamental principles of
                                                                                      equity,


       justice, and good conscience.
                                                                                           the
 1319. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH,

       ESSEX DA, JOHN DOE l-X, OBAMA, PATRICK, SARIS, O'TOOLE,

       GOODLANDER, FLATGARD, LORETTA LYNCH, WALSH, DANIEL KOH,

        STEVEN KOH, COLE, YATES, HOLDER, ORTIZ, and the DOJ PAID ASSOCIATES
                                              264
      Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20       Page 264 of 347




                                                                                      involving the
      each participated, directly or indirectly, in one or more of the transactions
                                                                                 and the Second
      Equitable Sharing Program during the pendency of the Qui Tam Action

      Qui Tam Action.

                                                             not yet     made a recovery in the
1320. The fact that the general fund of the Commonwealth has

                                                                                because the
       Qui Tam Action and the Second Qui Tam Action makes rio difference,

                                                                                        the ESSEX
       OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH,

                                                                          GOODLANDER,
       DA, JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE,

                                                                                  KOH, COLE,
       FLATGARD, LORETTA LYNCH, WALSH, DANIEL KOH, STEVEN

       YATES, HOLDER, ORTIZ, and the DOJ PAID ASSOCIATES,
                                                                         acting under color of


       state law, purloined THE RELATOR's bounty in the Qui Tam Action
                                                                               and the Second Qui


       Tam Action and precluded both cases from proceeding in a manner
                                                                             consistent with law.

                                                           rights under          the MFCA to a
1321. Wherefore, a binding declaration as to THE RELATOR's

                                                                                          with
       bounty in the amount. of $360,000 and to all expenses incurred in connection

       proceeding pro se as the relator in the Qui Tam Action is required.

                                                                   under         the MFCA to a
 1322. Wherefore, a binding declaration as to THE RELATOR's rights

                                                                                            with
        bounty in the amount of $4,057,200 and to all expenses incurred in connection

        proceeding pro se as the relator in the Second Qui Tam Action is required.




                                                 265
        Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20      Page 265 of 347




                                            COUNT 10

   (Claim for Recovery, Compensation, and Award pursuant to the MFCA against the
   OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH and the
    ESSEX DA, as well as the DOJ PAID ASSOCIATES, JOHN DOE 1-X, OBAMA,
    PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, COLE, YATES,
     WALSH, DANIEL KOH, STEVEN KOH, LORETTA LYNCH, HOLDER, and
          ORTIZ, individually and in their respective official capacities, if any)

1323. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

        forth herein.

1324. The decision by the OFFICE OF THE ATTORNEY GENERAL OF THE

        COMMONWEALTH and the ESSEX DA, as well as the DOJ PAID ASSOCIATES,

        JOHN DOE l-X, OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER,

        FLATGARD, COLE, YATES, WALSH, DANIEL KOH, STEVEN KOH, LORETTA

        LYNCH, HOLDER, and ORTIZ to dismiss the Qui Tam Action and Second Qui Tam

        Action while making transactions involving the Equitable Sharing Program denied THE

        RELATOR his rights for recovery and compensation under the Massachusetts False

        Claims Act; was arbitrary and capricious; was not in accordance with the MFCA or its

        legislative intent; constitutes an improper and inappropriate exercise of statutory

        authority; was an error of law made upon unlawful procedure against public policy; was

        an abuse of discretion in violation of the MFCA; and contravened state and federal law.

1325.   In addition to being wrongfully deprived of his statutory rights under the MFCA, THE

        RELATOR has suffered damages and incurred expenses by proceeding as the pro se

        relator in the Qui Tam Action and the Second Qui Tam Action to 1) recover money owed

        to the Commonwealth; and 2) expose the corrupt scheme to trade non-enforcement of the


                                                266
     Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 266 of 347




      CST and/or decisions in litigation in which THE RELATOR was and/or is a party in

      exchange for payments from the Equitable Sharing Program.

                                         COUNT 11

     (Claim for Violation of and Conspiracy to Violate 42 U.S.C. § 1983 against the
   OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH and the
    ESSEX DA, as well as the DOJ PAID ASSOCIATES, JOHN DOE 1-X, OBAMA,
    PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, COLE, YATES,
     WALSH, DANIEL KOH, STEVEN KOH, LORETTA LYNCH, HOLDER, and
          ORTIZ, individually and in their respective official capacities, if any)

1326. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

      forth herein.

1327. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH, the

      ESSEX DA, JOHN DOE l-X. OBAMA, PATRICK, SARiS, O'TOOLE,

      GOODLANDER, FLATGARD, LORETTA LYNCH, HOLDER, WALSH, DANIEL

      KOH, STEVEN KOH, COLE, YATES, ORTIZ, and the DOJ PAID ASSOCIATES, while

      acting under color of state law, conspired to violate and did violate THE RELATOR's

      clearly established rights to due process and/or equal protection under the Fourteenth

       Amendment by depriving him of a disinterested prosecutor in the Qui Tam Action and the

       Second Qui Tam Action, where the prosecutor in the Qui Tam Action and the Second Qui

       Tam Action     the OFFICE OF THE ATTORNEY GENERAL OF THE

       COMMONWEALTH           was accepting payments from the Equitable Sharing Program.

1328. As a relator pursuant to the MFCA, THE RELATOR was entitled to a disinterested

       prosecutor in the Qul Tam Action and the Second Qui Tam Action.
     Case 6:20-cv-00362-ADA          Document 1          Filed 05/05/20   Page 267 of 347




1329. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH, the

      ESSEX DA, JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE,

      GOODLANDER, FLATGARD, LORETTA LYNCH, HOLDER, WALSH, DANIEL

      KOH, STEVEN KOH, COLE, YATES, ORTIZ, and the DOJ PAID ASSOCIATES acted

      with reckless or callous disregard of, or indifference to, the rights and/or safety of THE

      RELATOR.

                                          r:t.iui   pi



 (Claim for Restitution against the OFFICE OF THE ATTORNEY GENERAL OF THE
COMMONWEALTH and the ESSEX DA, as well as the DOJ PAID ASSOCIATES, JOHN
  DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD,
COLE, YATES, WALSH, DANIEL KOH, STEVEN KOH, LORETTA LYNCH, HOLDER,
       and ORTIZ, individually and in their respective official capacities, if any)

1330. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

      forth herein.

1331. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH, the

      ESSEX DA, JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE,

      GOODLANDER, FLATGARD, LORETTA LYNCH, HOLDER, WALSH, DANIEL

       KOH, STEVEN KOH, COLE, YATES, ORTIZ, and the DOJ PAID ASSOCIATES have

       been enriched and reaped significant financial gain by purloining THE RELATOR's

       whistleblower bounties in the Qui Tam Action and the Second Qui Tam Action.

1332. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH, the

       ESSEX DA, JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE,

       GOODLANDER, FLATGARD, LORETTA LYNCH, HOLDER, WALSH, DANIEL

       KOH, STEVEN KOH, COLE, YATES, ORTIZ, and the DO.! PAID ASSOCIATES have
     Case 6:20-cv-00362-ADA         Document 1         Filed 05/05/20   Page 268 of 347




      been enriched and reaped significant financial gain at the expense of THE RELATOR,

      who has suffered damages and incurred significant expenses in proceeding as the pro se

      relator in the Qui Tam Action and the Second Qui Tam Action to 1) recover money owed

      to the Commonwealth; and 2) expose the corrupt scheme to trade non-enforcement of the

      CST and/or decisions in litigation in which THE RELATOR was and/or is a party in

      exchange for payments from the Equitable Sharing Program.

1333. To bar recovery, restitution, and compensation to THE RELATOR would produce a

      windfall for the OFFICE OF THE ATTORNEY GENERAL OF THE

      COMMONWEALTH, the ESSEX DA, JOHN DOE 1-X, OBAMA, PATRICK, SARIS,

      O'TOOLE, GOODLANDER, FLATGARD. LORETTA LYNCH, HOLDER, WALSH,

      DANIEL KOH, STEVEN KOH, COLE, YATES, ORTIZ, and the DOJ PAID

      ASSOCIATES that is contrary to the principles of equity and fairness.

                                           II1IJ1S_]

 (Claim for Unjust Enrichment against the OFFICE OF THE ATTORNEY GENERAL OF
  THE COMMONWEALTH and the ESSEX DA, as well as the DOJ PAID ASSOCIATES,
JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD,
COLE, YATES, WALSH, DANIEL KOH, STEVEN KOH, LORETTA LYNCH, HOLDER,
         and ORTIZ, individually and in their respective official capacities, if any)

1334. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

      forth herein.

1335. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH, the

      ESSEX DA, JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE,

      GOODLANDER, FLATGARD, LORETTA LYNCH, HOLDER, WALSH, DANIEL



                                             269
    Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20   Page 269 of 347




     KOH, STEVEN KOH, COLE, YATES, ORTIZ, and the DOJ PAID ASSOCIATES have

      been unjustly enriched and reaped significant financial gain.

1336. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH, the

      ESSEX DA, JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE,

      GOODLANDER, FLATGARD, LORETTA LYNCH, HOLDER, WALSH, DANIEL

      KOH, STEVEN KOH, COLE, YATES, ORTIZ, and the DOJ PAID ASSOCIATES have

      been enriched and reaped significant financial gain at the expense of THE RELATOR,

      who incurred significant expenses in proceeding as apro se relator in the Qui Tam Action

      and the Second Qui Tam Action to 1) recover money owed to the Commonwealth; and 2)

      expose the corrupt scheme to trade non-enforcement of the CST and/or decisions in

      litigation in which THE RELATOR was and/or is a party in exchange for payments from

      the Equitable Sharing Program.

1337. THE RELATOR has suffered cognizable detriment in the form of the sham dismissal of

      the Qul Tam Action in which THE RELATOR had the opportunity to earn a bounty of

      $360,000.

1338. THE RELATOR has suffered cognizable detriment in the form of the sham dismissal of

      the Second Qul Tam Action in which THE RELATOR had the opportunity to earn a

      bounty of $4,057,200.

1339. THE RELATOR ought to receive restitution and compensation from the OFFICE OF

       THE ATTORNEY GENERAL OF THE COMMONWEALTH, the ESSEX DA, JOHN

       DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD,

       LORETTA LYNCH, HOLDER, WALSH, DANIEL KOH, STEVEN KOH, COLE,
                                               270
     Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20   Page 270 of 347




      YATES, ORTJZ, and the DOJ PAID ASSOCIATES under the principles of equity and

      fairness as well as under the doctrine of unjust enrichment.

1340. To bar recovery, restitution, and compensation to THE RELATOR would result in unjust

      enrichment of the OFFICE OF THE ATTORNEY GENERAL OF THE

      COMMONWEALTH, the ESSEX DA, JOHN DOE l-X, OBAMA, PATRICK, SARIS,

      O'TOOLE, GOODLANDER, FLATGARD, LORETTA LYNCH. HOLDER, WALSH.

      DANIEL KOH, STEVEN KOH, COLE, YATES, ORTIZ, and the DOJ PAID

      ASSOCIATES and produce a windfall for them while unjustly impoverishing THE

      RELATOR, who was deprived of his rights under the MFCA, including, but not limited

      to, his opportunity to collect a bounty.




 (Claim for Constructive Trust against the OFFICE OF THE ATTORNEY GENERAL OF
 THE COMMONWEALTH and the ESSEX DA, as well as the DOJ PAID ASSOCIATES,
JOHN DOE I-X, OBAMA, PATRICK, SARIS, O'TOOLE, COODLANDER, FLATGARD,
COLE, YATES, WALSH, DANIEL KOH, STEVEN KOH, LORETTA LYNCH, HOLDER,
        and ORTIZ, individually and in their respective official capacities, if any)

1341. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

      forth herein.

1342. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH, the

      ESSEX DA, JOHN DOE l-X, OBAMA, PATRICK, SARIS, O'TOOLE,

      GOODLANDER, FLATGARD, LORETTA LYNCH, HOLDER, WALSH, DANIEL

      KOH, STEVEN KOH, COLE, YATES, ORTIZ, and the DOJ PAID ASSOCIATES have

      been unjustly enriched and reaped significant financial gain.



                                                 271
     Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20     Page 271 of 347




1343. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH and the

      ESSEX DA retain control as a matter of law over funds accepted from the Equitable

      Sharing Program in EQUITABLE SHARING ACCOUNTS I -X subject to oversight by

      DOJ.

1344. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH, the

      ESSEX DA, JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE,

      GOODLANDER, FLATGARD, LORETTA LYNCH, HOLDER, WALSH, DANIEL

      KOH, STEVEN KOH, COLE, YATES, ORTIZ, and the DOJ PAID ASSOCIATES have

      been enriched and reaped significant financial gain at the expense of THE RELATOR,

      who incurred significant expenses in proceeding as apro se relator in the Qué Tam Action

      and the Second Qué Tam Action to 1) recover money owed to the Commonwealth; and 2)

      expose the corrupt scheme to trade non-enforcement of the CST and/or decisions in

      litigation in which THE RELATOR was and/or is a party in exchange for payments from

      the Equitable Sharing Program.

1345. THE RELATOR has suffered the theft of his bounties through the sham dismissals of the

      Qué Tam Action and Second Qué Tam Action, which were submitted in the name of the

      Commonwealth of Massachusetts by and through the OFFICE OF THE ATTORNEY

      GENERAL OF THE COMMONWEALTH.

1346. The ongoing custody of funds by the OFFICE OF THE ATTORNEY GENERAL OF

       THE COMMONWEALTH, the ESSEX DA, JOHN DOE 1-X, OBAMA, PATRICK,

       SARIS, O'TOOLE, GOODLANDER, FLATGARD, LORETTA LYNCH, HOLDER,

       WALSH, DANIEL KOH, STEVEN KOH, COLE, YATES, ORTIZ, and/or the DOJ PAID
                                             272
        Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20   Page 272 of 347




        ASSOCIATES is contrary to Massachusetts and federal law and THE RELATOR's rights

        under the MFCA.

1347.   THE RELATOR ought to receive restitution and compensation from the OFFICE OF

        THE ATTORNEY GENERAL OF THE COMMONWEALTH, the ESSEX DA, JOHN

         DOE l-X, OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD,

         LORETTA LYNCH, HOLDER, WALSH, DANIEL KOH, STEVEN KOH, COLE,

         YATES, ORTIZ, and the DOJ PAID ASSOCIATES under the principles of equity and

         fairness and under the doctrine of constructive trust.

                                             rij.ri
 (Claim for Fraudulent Concealment against the DOJ PAID ASSOCIATES, JOHN DOE 1-
    X, OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, COLE,
  YATES, WALSH, DANIEL KOH, STEVEN KOH, LORETTA LYNCH, HOLDER, and
           ORTIZ, individually and in their respective official capacities, if any)

1348. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

1349. JOHN DOE l-X, OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER,

         FLATGARD, LORETTA LYNCH, HOLDER, WALSH, DANIEL KOH, STEVEN KOH,

         COLE, YATES, ORTIZ, and the DOJ PAID ASSOCIATES knew about and concealed

         and/or suppressed the fact that the OFFICE OF THE ATTORNEY GENERAL OF THE

         COMMONWEALTH and the ESSEX DA were accepting payments from the Equitable

         Sharing Program while participating in litigation influenced by those payments.

 1350. JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE. GOODLANDER.

         FLATGARD, LORETTA LYNCH, HOLDER, WALSH, DANIEL KOH, STEVEN KOH,


                                                   273
    Case 6:20-cv-00362-ADA         Document 1      Filed 05/05/20    Page 273 of 347




      COLE, YATES, ORTIZ, and the DOJ PAID ASSOCIATES acted with intent to defraud

      THE RELATOR or induce THE RELATOR to act differently than THE RELATOR

      would have if THE RELATOR knew about the concealed and/or suppressed Equitable

      Sharing Program payments.

1351. THE RELATOR was unaware of the concealed and/or suppressed payments from the

      Equitable Sharing Program and would have acted differently with knowledge of the

      concealed and/or suppressed Equitable Sharing Program payments.

1352. To the extent that each is an attorney and officer of the court, JOHN DOE l-X, OBAMA,

      PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, LORETTA LYNCH,

      HOLDER, WALSH, DANIEL KOH, STEVEN KOH, COLE, YATES, ORTIZ, and the

      DOJ PAID ASSOCIATES have had a duty to disclose the payments under the Rules of

      Professional Conduct of the Commonwealth and/or the Due Process Clause since the day

      each became aware of the payments.

1353. As a consequence of the fraudulent concealment committed by JOHN DOE I -X,

       OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, LORETTA

       LYNCH, HOLDER, WALSH, DANIEL KOH, STEVEN KOH, COLE, YATES, ORTIZ,

       and the DOJ PAID ASSOCIATES, THE RELATOR has sustained damages.




                                            274
     Case 6:20-cv-00362-ADA        Document 1            Filed 05/05/20   Page 274 of 347




                                          .iiii     ri



(Claim for Conversion against the DOJ PAID ASSOCIATES, JOHN DOE 1-X, OBAMA,
PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, COLE, YATES, WALSH,
DANIEL KOH, STEVEN KOH, LORETTA LYNCH, HOLDER, and ORTIZ, individually
                   and in their respective official capacities, if any)

1354. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

      forth herein.

1355. THE RELATOR had and has a cognizable interest in the whistleblower bounties from the

      Qui Tarn Action and Second Qui Tarn Action.

1356. JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER,

      FLATGARD, LORETTA LYNCH, HOLDER, WALSH, DANIEL KOH, STEVEN KOH,

      COLE, YATES, ORTIZ, and the DOJ PAID ASSOCIATES, without right or permission

      from THE RELATOR, improperly exercised control over and converted for their own,

      personal use THE RELATOR's whistleblower bounties, or some portion thereof, from the

      Qui Tarn Action and the Second Qui Tarn Action.

1357. THE RELATOR is entitled to an immediate return of the whistleblower bounties in the

      Qui Tarn Action and the Second Qui Tarn Action from JOHN DOE 1 -X, OBAMA,

      PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, LORETTA LYNCH,

      HOLDER, WALSH, DANIEL KOH, STEVEN KOH, COLE, YATES, ORTIZ, and the

      DOJ PAID ASSOCIATES.

1358. THE RELATOR has been damaged by the conversion of the whistleblower bounties in

      the Qui Tarn Action and the Second Qui Tarn Action by JOHN DOE 1-X, OBAMA,

      PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, LORETTA LYNCH,


                                            275
        Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20    Page 275 of 347




        HOLDER, WALSH, DANIEL KOH, STEVEN KOH, COLE, YATES, ORTIZ, and the

        DOJ PAID ASSOCIATES.




(Claim for Trespass to Chattels against the OFFICE OF THE ATTORNEY GENERAL OF
 THE COMMONWEALTH and the ESSEX DA, as well as the DOJ PAID ASSOCIATES,
JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD,
 COLE, YATES, WALSH, DANIEL KOH, STEVEN KOH, LORETTA LYNCH, HOLDER,
        and ORTIZ, individually and in their respective official capacities, if any)

1359.    THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

1360. JOHN DOE l-X, OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER,

         FLATGARD, LORETTA LYNCH, HOLDER, WALSH, DANIEL KOH, STEVEN KOH,

         COLE, YATES, ORTIZ, and the DOJ PAID ASSOCIATES intentionally deprived THE

         RELATOR of the use of his whistleblower bounties for a substantial time, where, as of

         the commencement of this Complaint, more than five years of deprivation have already

         elapsed.

1361. THE RELATOR was damaged by the interference of JOHN DOE 1-X, OBAMA,

         PATRICK. SARIS, O'TOOLE, GOODLANDER, FLATGARD, LORETTA LYNCH,

         HOLDER, WALSH, DANIEL KOH, STEVEN KOH, COLE, YATES, ORTIZ, and the

         DOJ PAID ASSOCIATES.




   (Claim for Civil Conspiracy against the DOJ PAID ASSOCIATES, JOHN DOE 1-X,
 OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, COLE, YATES,
  WALSH, DANIEL KOH, STEVEN KOH, LORETTA LYNCH, HOLDER, and ORTIZ,
               individually and in their respective official capacities, if any)

                                                276
        Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20   Page 276 of 347




1362.    THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

1363. JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER,

         FLATGARD, LORETTA LYNCH, HOLDER, WALSH, DANIEL KOH, STEVEN KOH,

         COLE, YATES, ORTIZ, and the DOJ PAID ASSOCIATES formed a common plan to

         deprive THE RELATOR of his whistleblower bounties by manipulating and/or rigging

         the state and federal courts in Massachusetts.

1364. The plan of JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE,

         GOODLANDER, FLATGARD, LORETTA LYNCH, HOLDER, WALSH, DANIEL

         KOH, STEVEN KOH, COLE, YATES, ORTIZ, and the DOJ PAID ASSOCIATES was

         designed to achieve the wrongful purpose of depriving THE RELATOR of his

         whistleblower bounties.

1365. JOHN DOE 1-X, OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER,

         FLATGARD, LORETTA LYNCH, HOLDER, WALSH, DANIEL KOH, STEVEN KOH,

         COLE, YATES, ORTIZ, and the DOJ PAID ASSOCIATES each took affirmative steps

         and gave each other substantial assistance in order to carry out their common plan.

                                             COUNT 19

   (Claim for Violation of and Conspiracy to Violate 42 U.S.C. § 1983 against the RICO
       ASSOCIATES, individually and in their respective official capacities, if any)

1366. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.




                                                 277
     Case 6:20-cv-00362-ADA         Document 1      Filed 05/05/20     Page 277 of 347




1367. The RICO ASSOCIATES, while acting under color of state law, conspired to violate and

      did violate THE RELATOR's clearly established rights to due process and/or equal

      protection under the Fourteenth Amendment by rigging the Parallel State Action.

1368. The RICO ASSOCIATES acted with reckless or callous disregard of, or indifference to,

       the rights and/or safety of THE RELATOR.

                                         S1i1IJhl


   (Claim for Violation of and Conspiracy to Violate 42 U.S.C. § 1983 against the RICO
       ASSOCIATES, individually and in their respective official capacities, if any)

1369. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1370. The RICO ASSOCIATES, while acting under color of state law, conspired to violate and

       did violate THE RELATOR's clearly established rights to due process and/or equal

       protection under the Fourteenth Amendment by rigging the Public Records Action.

1371. The RICO ASSOCIATES acted with reckless or callous disregard of, or indifference to,

       the rights and/or safety of THE RELATOR.

                                         COUNT 21

    (Claim for Violation of and Conspiracy to Violate 42 U.S.C. § 1983 against the RICO
        ASSOCIATES, individually and in their respective official capacities, if any)

1372. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

 1373. The RICO ASSOCIATES, while acting under color of state law, conspired to violate and

        did violate THE RELATOR's clearly established rights to due process and/or equal



                                              278
     Case 6:20-cv-00362-ADA         Document 1      Filed 05/05/20     Page 278 of 347




      protection under the Fourteenth Amendment by rigging the Mandamus Action and the

      subsequent appeal.

                                                                                           to,
1374. The RICO ASSOCIATES acted with reckless or callous disregard of, or indifference

      the rights and/or safety of THE RELATOR.

                                           1iJ*4l
   (Claim for Violation of and Conspiracy to Violate 42 U.S.C. § 1983 against the RICO
       ASSOCIATES, individually and in their respective official capacities, if any)

1375. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1376. The RICO ASSOCIATES, while acting under color of state law, conspired to violate
                                                                                       and

       did violate THE RELATOR's clearly established rights to due process and/or equal

       protection under the Fourteenth Amendment by surreptitiously acquiring Privileged

       Information while THE RELATOR was a student at BCLS.

1377. The RICO ASSOCIATES, while acting under color of state law, conspired to violate and

       did violate THE RELATOR's clearly established rights to due process and/or equal

       protection under the Fourteenth Amendment by surreptitiously acquiring and/or

       communicating Privileged Information, where THE RELATOR was entitled to keep the

       Privileged Information private.

 1378. The RICO ASSOCIATES had a duty to disclose and cease any acquisition of Privileged

        Information.

                                                                                        to,
 1379. The RICO ASSOCIATES acted with reckless or callous disregard of, or indifference

        the rights and/or safety of THE RELATOR.


                                              279
     Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20      Page 279 of 347




   (Claim for Violation of and Conspiracy to Violate 42 U.S.C. § 1983 against the RICO
       ASSOCIATES, individually and in their respective official capacities, if any)

1380. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1381. Mass. R. App. P. 27 holds in pertinent part that "[a] petition for rehearing shall be decided

       by the quorum or panel which decided the appeal."

1382. The RICO ASSOCIATES, while acting under color of state law, conspired to violate and

       did violate THE RELATOR's clearly established rights to due process and/or equal

       protection under the Fourteenth Amendment by working together to change the appellate

       panel disposing of the Rehearing Papers with a new appellate panel without notice or an

       opportunity to be heard in violation of Mass. R. App. P. 27.

1383. The RICO ASSOCIATES acted with reckless or callous disregard of, or indifference to,

       the rights and/or safety of THE RELATOR.

                                           COUNT 24

(Claim for State Created Danger under 42 U.S.C. § 1983 against the RICO ASSOCIATES,
               individually and in their respective official capacities, if any)

1384. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1385. By failing to disclose human and electronic surveillance of THE RELATOR, the RICO

       ASSOCIATES, while acting under color of state law, violated THE RELATOR's clearly

       established rights to due process and/or equal protection under the Fourteenth

       Amendment by rendering THE RELATOR more vulnerable to harms arising from 1) loss
                                               280
        Case 6:20-cv-00362-ADA         Document 1          Filed 05/05/20    Page 280 of 347




        of Privileged Information; 2) the rigging of multiple state proceedings as alleged herein;

        and/or 3) other wrongful acts as alleged herein.

1386. The harm to THE RELATOR was a foreseeable and direct result of the conduct of
                                                                                    the

        RICO ASSOCIATES.

1387. The RICO ASSOCIATES acted with conscious disregard of great risk of serious harm

        and/or with deliberate indifference to THE RELATOR.

                                             EWI

                          (Claim for Assault against BRIAN DURKIN)

1388. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

1389.    During the BRIAN DURKIN Assault on or about March 14, 2018 and without

         forewarning, BRIAN DURKIN intentionally caused THE RELATOR, like any

         reasonable person, to be put in fear or apprehension of an imminent battery.

1390.    During the BRIAN DURKIN Assault, BRIAN DURKIN threatened imminent physical

         force and/or unwanted physical contact against THE RELATOR.

1391.    THE RELATOR, like any reasonable person, was placed in fear or apprehension of an

         imminent battery by and as a direct and proximate result of the BRIAN DURKIN

         Assault.




                                                  281
        Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20    Page 281 of 347




                                                                                   Act
  (Claim for Conspiracy to Violate and Violation of the Massachusetts Civil Rights
     (Mass.Gen.Laws ch. 12 § 111) against BOSTON COLLEGE, BRIAN DURKIN,
    THOMAS LAMPERT, ARCHER, SCOGNAMIGLIO, KENYON, and SARAH
                                      HERLIHY)

1392. THE RELATOR incorporates the foregoing paragraphs and allegations
                                                                        as      if fully set

        forth herein.

                                                         THOMAS                 LAMPERT,
1393. As set forth herein, BOSTON COLLEGE, BRIAN DURKIN,

                                                                                       with and!
        ARCHER, SCOGNAMIGLIO, KENYON, and SARAH HERLIHY interfered

         or attempted to interfere with THE RELATOR's exercise or enjoyment of rights
                                                                                         secured

                                                                                     12 of the
         by the Fourteenth Amendment to the United States Constitution and Article

         Massachusetts Declaration of Rights, including, but not limited to, THE RELATOR's

         property right to legal training at 885 CENTRE STREET.

1394.    As set forth herein, the interference and/or attempted interference by BOSTON

         COLLEGE, BRIAN DURKIN, THOMAS LAMPERT, ARCHER, SCOGNAMIGLIO,

         KENYON, and SARAH HERLIHY was accomplished via threats, coercion, and/or

         intimidation.

1395. As a direct and proximate result of the conduct of BOSTON COLLEGE,
                                                                         BRIAN

         DURKIN, THOMAS LAMPERT, ARCHER, SCOGNAMIGLJO, KENYON, and

         SARAH HERLIHY, THE RELATOR suffered the damages as set forth herein.




                                                282
     Case 6:20-cv-00362-ADA         Document 1      Filed 05/05/20    Page 282 of 347




                                        COUNT 27

(Claim for Tortious Interference with Advantageous Business Relationship against BRIAN
DURKIN, THOMAS LAMPERT, SARAH HERLIHY, SCOGNAMIGLIO, KENYON, and
                                       ARCHER)

1396. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

      forth herein.

1397. THE RELATOR had a business relationship with BOSTON COLLEGE for an economic

      benefit, namely THE RELATOR's interest in legal training from an ABA-accredited law

      school.

1398. BRIAN DURKIN, THOMAS LAMPERT, SARAH HERLIHY, SCOGNAMIGLIO,

      KENYON, and ARCHER were each aware of THE RELATOR's relationship with

      BOSTON COLLEGE.

1399. BRIAN DURKIN, THOMAS LAMPERT, SARAH HERLIHY, SCOGNAMIGLIO,

      KENYON, and ARCHER interfered with THE RELATOR's relationship with BOSTON

      COLLEGE through improper motive and/or means, namely by assisting with and/or

      carrying out the BRIAN DURKIN Assault.

1400. THE RELATOR's loss of advantage resulted directly from the conduct of BRIAN

      DURKIN, THOMAS LAMPERT, SARAH HERLIHY, SCOGNAMIGLIO, KENYON,

      and ARCHER.




                                            283
     Case 6:20-cv-00362-ADA           Document 1         Filed 05/05/20    Page 283 of 347




                                                  .-;i


                                                                               BOSTON
 (Claim for Conspiracy to Violate and Violation of 42 U.S.C. § 1985(2) against
  COLLEGE, BRIAN DURKIN, THOMAS LAMPERT, ARCHER, SCOGNAMIGLIO,
                          KENYON, and SARAH HERLIHY)

                                                                                as if fully set
1401. THE RELATOR incorporates the foregoing paragraphs and allegations

      forth herein.

                                                                   COLLEGE,                  BRiAN
1402. There was a conspiracy involving an agreement between BOSTON

                                                                                        and
      DURKIN, THOMAS LAMPERT, ARCHER, SCOGNAMIGLIO, KENYON,

       SARAH HERLIHY to early out the BRIAN DURKIN Assault.

1403. BOSTON COLLEGE, BRIAN DURKIN, THOMAS LAMPERT,
                                                    ARCHER,

       SCOGNAMIGLIO, KENYON, and SARAH HERLIHY committed an act in furtherance

       of the conspiracy.
                                                            ARCHER,
1404. Between BOSTON COLLEGE, BRIAN DURKIN, THOMAS LAMPERT,

                                                                                              to
       SCOGNAMIGLIO, KENYON, and SARAH HERLIHY, there was a shared intent
                                                                                                  in
       deter, by force, intimidation, or threat, THE RELATOR from attending federal court

       connection with THE RELATOR's litigation and/or a shared intent to injure THE

       RELATOR in his person or property on account of his having so attended.

                                                                         rights         or
 1405. THE RELATOR was injured by the conspiracy as to one or more legal

       privileges and/or continues to be injured as to one or more legal rights or privileges.




                                                284
        Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20     Page 284 of 347




                                              ISISJ4
         (Claim for Civil Conspiracy against BOSTON COLLEGE, BRIAN DURKIN,
        THOMAS LAMPERT, ARCHER, SCOGNAMIGLIO, KENYON, and SARAH
                                         HERLIHY)

1406. THE RELATOR incorporates the foregoing paragraphs and allegations
                                                                        as if         fully set


         forth herein.

1407. BOSTON COLLEGE, BRIAN DURKIN, THOMAS LAMPERT, ARCHER,

         SCOGNAMIGLIO, KENYON, and SARAH HERLIHY formed a common plan to

         harass, threaten, and/or intimidate THE RELATOR and/or injure THE RELATOR in his

         business and/or property.

1408. The plan of BOSTON COLLEGE, BRIAN DURKIN, THOMAS LAMPERT, ARCHER,

         SCOGNAMIGLIO, KENYON, and SARAH HERLIHY was designed to achieve the

         wrongful purpose of harassing, threatening, and/or intimidating THE RELATOR through

         the BRIAN DURKIN Assault.

1409.     BOSTON COLLEGE, BRIAN DURKIN, THOMAS LAMPERT, ARCHER,

          SCOGNAMIGLIO, KENYON, and SARAH HERLIHY each took affirmative steps and

          gave each other substantial assistance in order to carry out their common plan.




        (Claim for Tortious Interference with Advantageous Business Relationship against
          WILMERHALE, OBAMA, LOWY, BRIAN DURKIN, THOMAS LAMPERT,
                  KENYON, ROUGEAU, HEALEY, NEYMAN, and SAVERY)

 1410. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

          forth herein.



                                                  285
     Case 6:20-cv-00362-ADA            Document 1    Filed 05/05/20     Page 285 of 347




1411. THE RELATOR had a business relationship with BOSTON COLLEGE for an economic

      benefit, namely THE RELATOR's interest in legal training from BCLS at 885 CENTRE

      STREET.

1412. WILMERHALE, OBAMA, LOWY, BRIAN DURKIN, THOMAS LAMPERT,

      KENYON, ROUGEAU, HEALEY, NEYMAN, and SAVERY were each aware of THE

       RELATOR's relationship with BOSTON COLLEGE.

1413. WILMERHALE, OBAMA, LOWY, BRIAN DURKIN, THOMAS LAMPERT,

       KENYON, ROUGEAU, HEALEY, NEYMAN, and SAVERY interfered with THE

       RELATOR's relationship with BOSTON COLLEGE through improper motive and/or

       means, namely by deliberately setting in motion and carrying out the Judgment Class in

       order to harass and/or intimidate THE RELATOR as to THE RELATOR's pending

       litigation in state and federal courts.

1414. THE RELATOR's loss of advantage resulted directly from the conduct of

       WILMERHALE, OBAMA, LOWY, BRIAN DURKIN, THOMAS LAMPERT,

       KENYON, ROUGEAU, HEALEY, NEYMAN, and SAVERY.

                                             COUNT 31

    (Claim for Conspiracy to Violate and Violation of the Massachusetts Civil Rights Act
  (Mass.Gen.Laws ch. 12 § lit) against WILMERHALE, OBAMA, BOSTON COLLEGE,
   LOWY, BRIAN DURKIN, THOMAS LAMPERT, KENYON, ROUGEAU, HEALEY,
                                NEYMAN, and SAVERY)

 1415. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.
     Case 6:20-cv-00362-ADA          Document 1      Filed 05/05/20      Page 286 of 347




1416. By threatening and intimidating THE RELATOR at 885 CENTRE STREET during the

      Judgment Class, WILMERHALE, OBAMA, BOSTON COLLEGE, LOWY, BRIAN

      DURKIN, THOMAS LAMPERT, KENYON, ROUGEAU, HEALEY, NEYMAN, and

      SAVERY interfered with and/or attempted to interfere with THE RELATOR's exercise or

      enjoyment of rights secured by the Fourteenth Amendment to the United States

      Constitution and Article 12 of the Massachusetts Declaration of Rights, including, but not

      limited to, THE RELATOR's property right to his various civil actions for recovery of the

      bounty in the Qui Tam Action and/or Second Qui Tam Action as well as legal training at

      BCLS.

1417. As set forth herein, the interference or attempted interference by WILMERHALE,

      OBAMA, BOSTON COLLEGE, LOWY, BRIAN DURKIN, THOMAS LAMPERT,

      KENYON, ROUGEAU, HEALEY, NEYMAN, and SAVERY was accomplished via

      threats, coercion, and/or intimidation.

1418. As a direct and proximate result of the conduct of WILMERHALE, OBAMA, BOSTON

      COLLEGE, LOWY, BRIAN DURKIN, THOMAS LAMPERT, KENYON, ROUGEAU,

      HEALEY, NEYMAN, and SAVERY, THE RELATOR suffered the damages as set forth

      herein.
     Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 287 of 347




      (Claim for Conspiracy to Violate and Violation of 42 U.S.C. § 1985(2) against
      WILMERHALE, OBAMA, BOSTON COLLEGE, LOWY, BRIAN DURKIN,
       THOMAS LAMPERT, KENYON, ROUGEAU, HEALEY, NEYMAN, and
         SAVERY, individually and in their respective official capacities, if any)

1419. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

      forth herein.

1420. There was a conspiracy involving an agreement between WILMERHALE, OBAMA,

      BOSTON COLLEGE, LOWY, BRIAN DURKIN, THOMAS LAMPERT, KENYON,

      ROUGEAU, HEALEY, NEYMAN, and SAVERY to threaten THE RELATOR during the

       Judgment Class.

1421. WILMERHALE, OBAMA, BOSTON COLLEGE, LOWY, BRIAN DURKIN,

       THOMAS LAMPERT, KENYON, ROUGEAU, HEALEY, NEYMAN, and SAVERY

       committed an act in furtherance of the conspiracy.

1422. Between WILMERHALE, OBAMA, BOSTON COLLEGE, LOWY, BRIAN DURKIN,

       THOMAS LAMPERT, KENYON, ROUGEAU, HEALEY, NEYMAN, and SAVERY,

       there was a shared intent to deter, by force, intimidation, or threat, THE RELATOR from

       attending federal court in connection with THE RELATOR's litigation and/or a shared

       intent to injure THE RELATOR in his person or property on account of his having so

       attended.

1423. THE RELATOR was injured by the conspiracy as to one or more legal rights or

       privileges and/or continues to be injured as to one or more legal rights or privileges.
     Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 288 of 347




                                            I1uJh1


 (Claim for Civil Conspiracy against WILMERHALE, OBAMA, BOSTON COLLEGE,
  LOWY, BRIAN DURKIN, THOMAS LAMPERT, KENYON, ROUGEAU, HEALEY,
                               NEYMAN, and SAVERY)

1424. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

      forth herein.

1425. WILMERHALE, OBAMA, BOSTON COLLEGE, LOWY, BRIAN DURKIN,

      THOMAS LAMPERT, KENYON, ROUGEAU, HEALEY, NEYMAN, and SAVERY

      formed a common plan to harass, threaten, and/or intimidate THE RELATOR and/or

      injure THE RELATOR in his business and/or property.

1426. The plan of WILMERHALE, OBAMA, BOSTON COLLEGE, LOWY. BRIAN

      DURKIN, THOMAS LAMPERT, KENYON, ROUGEAU, HEALEY, NEYMAN, and

       SAVERY was designed to achieve the wrongful purpose of harassing, threatening, and/or

       intimidating THE RELATOR through the Judgment Class.

1427. WILMERHALE, OBAMA, BOSTON COLLEGE, LOWY, BRIAN DURKIN,

       THOMAS LAMPERT, KENYON, ROUGEAU, HEALEY, NEYMAN, and SAVERY

       each took affirmative steps and gave each other substantial assistance in order to carry

       out their common plan.




   (Claim for Conspiracy to Violate and Violation of the Massachusetts Civil Rights Act
 (Mass.Gen.Laws ch. 12 § 111) against BOSTON COLLEGE, MAFFEI, and ROUGEAU)

1428. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.


                                               289
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 289 of 347




1429. By threatening and intimidating THE RELATOR at 885 CENTRE STREET with the

         Deadly Question and during the Pro Se Class, BOSTON COLLEGE, MAFFET, and

         ROUGEAU interfered with and/or attempted to interfere with THE RELATOR's exercise

         or enjoyment of rights secured by the Fourteenth Amendment to the United States

         Constitution and Article 12 of the Massachusetts Declaration of Rights, including, but not

         limited to, THE RELATOR's property right to the bounties in the Qui Tam Action and

         Second Qui Tam Action as well as legal training at BCLS.

1430. As set forth herein, the interference or attempted interference by BOSTON COLLEGE,

         MAFFEI, and ROUGEAU was accomplished via threats, coercion, and/or intimidation.

1431. As a direct and proximate result of the conduct of BOSTON COLLEGE, MAFFEI, and

         ROUGEAU, THE RELATOR suffered the damages as set forth herein.

                                            COUNT 35

         (Claim for Conspiracy to Violate and Violation of 42 U.S.C. § 1985(2) against
                     BOSTON COLLEGE, MAFFEL, and ROUGEAU)

1432. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

1433. There was a conspiracy involving an agreement between BOSTON COLLEGE,

         MAFFEI, and ROUGEAU to intimidate THE RELATOR for bringing the Rigged

         Sorokin Action.

1434.    BOSTON COLLEGE, MAFFEI, and ROUGEAU committed an act in furtherance of the

        conspiracy.




                                                290
        Case 6:20-cv-00362-ADA            Document 1     Filed 05/05/20        Page 290 of 347




                                                   there                     was a shared intent to
1435. Between BOSTON COLLEGE, MAFFEI, and ROUGEAU,

                                                                                   federal court in
        deter, by force, intimidation, or threat, THE RELATOR from attending

                                                                                         THE
        connection with THE RELATOR's litigation and/or a shared intent to injure

        RELATOR in his person or property on account of his having so attended.

                                                          or more            legal rights or
1436. THE RELATOR was injured by the conspiracy as to one

        privileges and/or continues to be injured as to one or more legal
                                                                            rights or privileges.




            (Claim for Conspiracy to Violate and Violation of 42 U.S.C. § 1985(2)
         against BRIAN DURKIN, THOMAS LAMPERT, and THOMAS DURKIN)
                                                                                    as if fully set
1437.    THE RELATOR incorporates the foregoing paragraphs and allegations

         forth herein.

                                                                  DURKIN,                 THOMAS
1438. There was a conspiracy involving an agreement between BRIAN

         LAMPERT, and THOMAS DURKIN to intimidate and/or surveil THE
                                                                                    RELATOR using


         the DURKIN CAR.

                                                       committed                                an act in
 1439. BRIAN DURKIN, THOMAS LAMPERT, and THOMAS DURKIN

         furtherance of the conspiracy,

                                                        DURKIN,                                there was
 1440. Between BRIAN DURKIN, THOMAS LAMPERT, and THOMAS

         a shared intent to deter, by force, intimidation, or threat, THE RELATOR
                                                                                        from attending

                                                                                           intent to
         federal court in connection with THE RELATOR's litigation and/or a shared

                                                                                           attended.
         injure THE RELATOR in his person or property on account of his having so

                                                                   legal            rights or
 1441. THE RELATOR was injured by the conspiracy as to one or more

                                                                                        privileges.
          privileges and/or continues to be injured as to one or more legal rights or

                                                  291
     Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20     Page 291 of 347




                                          COUNT 37

                      (Claim for Civil Conspiracy against BRIAN DURKIN,
                        THOMAS LAMPERT, and THOMAS DURKIN)

1442. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

      forth herein.

1443. BRIAN DURKIN, THOMAS LAMPERT, and THOMAS DURKIN formed a common

      plan to harass, threaten, and/or intimidate THE RELATOR using the DURKIN CAR.

1444. The plan of BRIAN DURKIN, THOMAS LAMPERT, and THOMAS DURKIN was

      designed to achieve the wrongful purpose of harassing, threatening, and/or intimidating

      THE RELATOR using the DURKIN CAR.

1445. BRIAN DURKIN, THOMAS LAMPERT, and THOMAS DURKIN each took

      affirmative steps and gave each other substantial assistance in order to carry out their

      common plan.

                                          [I1iJi     i:I




  (Claim for Conspiracy to Violate and Violation of 42 U.S.C. § 1985(2) against the RICO
       ASSOCIATES, individually and in their respective official capacities, if any)

1446. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1447. There was a conspiracy involving an agreement between the RICO ASSOCIATES.

1448. The RICO ASSOCIATES committed an act in furtherance of the conspiracy.

1449. Between the RICO ASSOCIATES, there was a shared intent to deter, by force,

       intimidation, or threat, THE RELATOR from attending federal court in connection with



                                               292
        Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 292 of 347




         THE RELATOR's litigation and/or a shared intent to injure THE RELATOR in his person

         or property on account of his having so attended.

1450.    THE RELATOR was injured by the conspiracy as to one or more legal rights or

         privileges and/or continues to be injured as to one or more legal rights or privileges.

                                             COUNT 39

        (Claim for Breach of Implied Covenant of Good Faith and Fair Dealing against
                                   BOSTON COLLEGE)

1451.    THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

1452.    THE RELATOR had a contractual relationship with BOSTON COLLEGE for legal

         training at BCLS at 885 CENTRE STREET.

1453.    BOSTON COLLEGE was aware of THE RELATOR's litigation,

1454.    BOSTON COLLEGE enabled, assisted, and/or carried out acts that injured THE

         RELATOR in his rights to the fruits of his contractual relationship with BOSTON

         COLLEGE.

1455.    BOSTON COLLEGE acted with dishonest purpose and engaged in conscious

         wrongdoing, including by assisting in the dissemination of Privileged Information among

         THE RELATOR's legal adversaries and allowing for or participating in intimidation,

          harassment, and/or threats of violence against THE RELATOR at 885 CENTRE

          STREET.




                                                   293
     Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20    Page 293 of 347




         (Claim for Fraudulent Concealment against the RICO ASSOCIATES)

                                                                             as if fully set
1456. THE RELATOR incorporates the foregoing paragraphs and allegations

      forth herein.

                                                                     the fact          that one
1457. The RICO ASSOCIATES knew about and concealed and/or suppressed

      or more employees of BOSTON COLLEGE was participating, directly or indirectly, in

      THE RELATOR's litigation.

                                                                   or induce             THE
1458. The RICO ASSOCIATES acted with intent to defraud THE RELATOR

                                                                                               that
       RELATOR to act differently than THE RELATOR would have acted with knowledge

       one or more employees of BOSTON COLLEGE was participating, directly or indirectly,

       in THE RELATOR's litigation.

                                                                                               was
1459. THE RELATOR was unaware that one or more employees of BOSTON COLLEGE

       participating, directly or indirectly, in THE RELATOR's litigation and would have acted

       differently had he been aware of such participation.

                                                                                        or the
1460. To the extent that each is an attorney and officer of a court of the Commonwealth

       United States, the RICO ASSOCIATES have had a duty to disclose any participation by

       one or more employees of BOSTON COLLEGE in THE RELATOR's litigation under the

       Rules of Professional Conduct of the Commonwealth and/or the Due Process Clause

       since the day each of the RICO ASSOCIATES became aware of such participation or the

       day each of the RICO ASSOCIATES became an attorney and officer of the court,or both.

 1461. As a consequence of the fraudulent concealment committed by the RICO ASSOCIATES,

       THE RELATOR has sustained damages.
                                               294
     Case 6:20-cv-00362-ADA          Document 1         Filed 05/05/20   Page 294 of 347




                                         rIEiII1iwiII

                       (Claim for Fraudulent Concealment against the
                                   RICO ASSOCIATES)

1462. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1463. The RICO ASSOCIATES knew about and concealed and/or suppressed the fact that there

       was an agreement to subvert THE RELATOR's litigation.

1464. The RICO ASSOCIATES acted with intent to defraud THE RELATOR or induce THE

       RELATOR to act differently than THE RELATOR would have had THE RELATOR been

       aware of the concealed or suppressed agreement to subvert THE RELATOR's litigation.

1465. THE RELATOR was unaware of the concealed and/or suppressed agreement to subvert

       THE RELATOR's litigation and would have acted differently if THE RELATOR had

       known about the concealed and/or suppressed agreement.

1466. To the extent that each is an attorney and officer of a court of the Commonwealth or the

       United States, the RICO ASSOCIATES have had a duty to disclose the agreement under

       the Rules of Professional Conduct of the Commonwealth and/or the Due Process Clause

       since the day each of the RICO ASSOCIATES became aware of the agreement or the day

       each of the RICO ASSOCIATES became an attorney and officer of the court, or both.

1467. As a consequence of the fraudulent concealment of the RICO ASSOCIATES, THE

       RELATOR has sustained damages.




                                              295
     Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20     Page 295 of 347




                                        1tS1uJ$LP

        (Claim for Tortious Interference with Advantageous Business Relationship
                             against the RICO ASSOCIATES)

1468. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

      forth herein.

1469. THE RELATOR had a business relationship with the Commonwealth for an economic

      benefit, namely THE RELATOR's interest in the whistleblower bounties from the Qué

       Tam Action and the Second Qué Tam Action.

1470. The RICO ASSOCIATES were aware of THE RELATOR's relationship with the

       Commonwealth as a qui tam relator.

1471. The RICO ASSOCIATES interfered with THE RELATOR's relationship with the

       Commonwealth as a qué tam relator through improper motive and means, namely by

       assisting THE RELATOR's legal adversaries.

1472. THE RELATOR's loss of advantage resulted directly from the conduct of the RICO

       ASSOCIATES.

                                          COUNT 43

               (Claim for Civil Conspiracy against the RICO ASSOCIATES)

1473. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1474. The RICO ASSOCIATES formed a common plan to deprive THE RELATOR of his

       whistleblower bounties by manipulating or rigging the state and federal courts in




                                              296
     Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20      Page 296 of 347




      Massachusetts and/or harassing, threatening, or intimidating THE RELATOR at 885

      CENTRE STREET and other locations.

1475. The plan of the RICO ASSOCIATES was designed to achieve the wrongful
                                                                           purpose         of

      depriving THE RELATOR of his whistleblower bounties, his property right to legal

      training at BCLS, and his civil rights.

1476. The RICO ASSOCIATES each took affirmative steps and gave each other substantial

       assistance in order to carry out their common plan.

                                           COUNT 44

 (Claim for Declaratory Judgment and Related Injunctive Relief pursuant to 28 U.S.C. §
            220 1, 2202 against OBAMA and the FAKE FEDERAL JUDGES)

1477. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully
                                                                                    set


       forth herein.

1478. A genuine controversy exists between THE RELATOR, OBAMA, and each of the
                                                                               FAKE


       FEDERAL JUDGES for which THE RELATOR is entitled to declaratory relief pursuant

       to 28 U.S.C. § 2201, 2202, where there are ongoing violations of the U.S. Constitution

       concerning the ineligibility of OBAMA to be President of the United States.

1479. This Court should declare that OBAMA was never and is not eligible to be President
                                                                                         of

       the United States, because he is not a natural born citizen of the United States.

 1480. This Court should declare that the respective judicial commissions of the FAKE

       FEDERAL JUDGES were void ab in/tb, because OBAMA was never eligible to be

        President of the United States.




                                                297
        Case 6:20-cv-00362-ADA           Document 1         Filed 05/05/20   Page 297 of 347




1481.   This Court should issue related injunctive relief mandating removal of the FAKE

        FEDERAL JUDGES from their respective federal judgeships.

                                              I1IJh     M


(Claim for Violation of 18 U.S.C. § 1962(a) against ROUGEAU and BOSTON COLLEGE)
                                                                        as if         fully set
1482. THE RELATOR incorporates the foregoing paragraphs and allegations

        forth herein.

                                                                                         or
1483. RICO creates a private right of action for "[a]ny person injured in his business

         property by reason of a violation of[18 U.S.C. § 1962]." 18 U.S.C. § 1964(c).

1484. The "enterprise" as defined in 18 U.S.C. § 1961(4) is BCLS.

1485. As set forth herein, the activities of BCLS affect and affected interstate
                                                                                 commerce.

                                                                                              tuition
 1486. ROUGEAU and BOSTON COLLEGE derived income through THE RELATOR's

         payments to BCLS, which were obtained through, among other things, mail and wire

         fraud, obstruction ofjustice, and/or violations of the Hobbs Act, thereby constituting a

         pattern of racketeering activity.

 1487. ROUGEAU and BOSTON COLLEGE used or invested the proceeds of racketeering

         activity in order to host HEALEY, SIMAS, SARIS, BARBADORO, GARLAND,

         GANTS, SOROKIN, BARRON, and O'TOOLE as visiting speakers (the "Visiting

         Speakers") at 885 CENTRE STREET.

                                                                               property             by
 1488. THE RELATOR was directly and proximately injured in his business and/or

         the investment or use of the proceeds of racketeering activity because the investment in

          or use of racketeering proceeds for the Visiting Speakers, who conspired at 885 CENTRE

          STREET to obstruct THE RELATOR's litigation as well as destroy THE RELATOR's
                                                  298
     Case 6:20-cv-00362-ADA         Document 1         Filed 05/05/20    Page 298 of 347




      investment in legal training, his reputation in the legal community, and any professional

      activity in which THE RELATOR was involved, including Omnibus U.S. Code.

1489. Pursuant to 18 U.S.C. § 1964(c), THE RELATOR is entitled to treble damages for the

      injuries to THE RELATOR's business and property as set forth in this Complaint,

      including, but not limited to, the section entitled "INJURIES TO BUSINESS AND

      PROPERTY."

                                            IIUJJ !i

         (Violation of 18 U.S.C. § 1962(a) against WILMERHALE and HEALEY,
                          individually and in her official capacity)

1490. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1491. The "enterprise" as defined in 18 U.S.C. § 1961(4) is WILMERHALE.

1492. As set forth herein, WILMERHALE's activities affect and affected interstate commerce.

1493. HEALEY and WILMERHALE generated income for each other through a pattern of

       racketeering, namely a stream of benefits between HEALEY and WILMERHALE,

       including, among other things, through the Art Deal that involved LOWY, through

       donations to HEALEY's campaigns, and through hiring by HEALEY and

       WILMERI-JALE.

1494. WILMERHALE and HEALEY invested or used the proceeds of racketeering activity by

       making and/or arranging payments, directly and/or indirectly, to each other and to, among

       others, THOMAS LAMPERT, who was a law clerk for LOWY.
        Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20    Page 299 of 347




1495.   Because HEALEY and/or WILMERHALE directly or indirectly invested or used the

        proceeds of racketeering activity in or for THOMAS LAMPERT, the violations of 18

        U.S.C. § 1962(a) by HEALEY and WILMERHALE directly and proximately injured

        THE RELATOR.

1496. THE RELATOR was directly and proximately injured in his business and/or property by

        the investment or use of racketeering income to pay THOMAS LAMPERT, who, as a

        paid employee of WILMERHALE, law clerk for LOWY, and/or law student at BCLS,

        made the Sexual Advances for purposes of embarrassment and/or blackmail and

        subverted THE RELATOR's litigation, THE RELATOR's legal training, and Omnibus

         U.S. Code so as to advance the interests of WILMERHALE.

1497. Pursuant to 18 U.S.C. § 1964(c), THE RELATOR is entitled to treble damages for the

         injuries to THE RELATOR's business and property as set forth in this Complaint,

         including, but not limited to, the section entitled "INJURIES TO BUSINESS AND

         PROPERTY."

                                           COUNT 47

   (Violation of 18 U.S.C. § 1962(a) against DOJ PAID ASSOCIATES, JOHN DOE 1-X,
 OBAMA, PATRICK, SARIS, O'TOOLE, GOODLANDER, FLATGARD, COLE, YATES,
  WALSH, DANIEL KOH, STEVEN KOH, LORETTA LYNCH, HOLDER, and ORTIZ,
              individually and in his or her respective official capacity, if any)

 1498. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

 1499. The "enterprise" as defined in 18 U.S.C. § 1961(4) is the OFFICE OF THE ATTORNEY

         GENERAL OF THE COMMONWEALTH.


                                                300
        Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20    Page 300 of 347




1500. As set forth herein, the activities of the OFFICE OF THE ATTORNEY GENERAL OF

        THE COMMONWEALTH affect and affected interstate commerce.

1501. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH derived

         income through Equitable Sharing Program payments, which were obtained through,

         among other things, mail fraud, obstruction of justice, and/or violations of the Hobbs Act,

         thereby constituting a pattern of racketeering activity.

1502. The DOJ PAID ASSOCIATES, JOHN DOE 1-X, OBAMA, PATRICK, SARIS,

         O'TOOLE, GOODLANDER, FLATGARD, COLE, YATES, WALSH, DANIEL KOH,

         STEVEN KOH, LORETTA LYNCH, HOLDER, and ORTIZ invested the proceeds of

         racketeering activity in the operation of the OFFICE OF THE ATTORNEY GENERAL

         OF THE COMMONWEALTH, including payments from the Equitable Sharing Program.

1503.    THE RELATOR was directly and proximately injured in his business and/or property by

         the investment or use of racketeering income, where the investment or use of racketeering

         income deprived THE RELATOR of his fundamental right to a disinterested prosecutor

         in the disposition of the Qui Tam Action and Second Qui Tam Action.

1504.    Pursuant to 18 U.S.C. § 1964(c), THE RELATOR is entitled to treble damages for the

         injuries to THE RELATOR's business and property as set forth in this Complaint,

         including, but not limited to, the section entitled "INJURIES TO BUSINESS AND

         PROPERTY."




                                                   301
     Case 6:20-cv-00362-ADA              Document 1     Filed 05/05/20     Page 301 of 347




                                            [tI1iJWEL

            (Violation of 18 U.S.C. § 1962(b) against the RICO ASSOCIATES)

1505. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

      forth herein.

1506. The "enterprise{sf' as defined in 18 U.S.C. § 1961(4) are the OFFICE OF THE

       ATTORNEY GENERAL OF THE COMMONWEALTH, Office of the U.S. Attorney for

       the District of Massachusetts, Massachusetts Appeals Court, U.S. DISTRICT COURT

       FOR THE DISTRICT OF MASSACHUSETTS, U.S. DISTRICTCOURT FOR THE

       DISTRICT OF NEW HAMPSHIRE, U.S. COURT OF APPEALS FOR THE FIRST

       CIRCUIT, and SUFFOLK SUPERIOR COURT (altogether, the "Rigged Public

       Enterprises")

1507. As set forth herein, the activities of the Rigged Public Enterprises affect and affected

       interstate commerce.

1508. Through a pattern of racketeering activity, namely through unlawful payments under the

       guise of employment or other agreements to state and federal officials or their relatives at

       or from the RICO ASSOCIATES as set forth herein, the RICO ASSOCIATES acquired

       and/or maintained, directly or indirectly, an interest in or control of the Rigged Public

       Enterprises, which were and are required to maintain the appearance and reality of

       impartiality in all litigation.

1509. Because THE RELATOR was and/or is pursuing qui tam actions with total whistleblower

       bounties potentially exceeding $4 million involving the Rigged Public Enterprises, the

       RICO ASSOCIATES directly and proximately injured THE RELATOR in his business
         Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 302 of 347




         and/or property by the acquisition and/or maintenance of an interest in or control of the

         Rigged Public Enterprises.

1510. Pursuant to 18 U.S.C. § 1964(c), THE RELATOR is entitled to treble damages for the

          injuries to THE RELATOR's business and property as set forth in this Complaint,

          including, but not limited to, the section entitled "INJURIES TO BUSINESS AND

          PROPERTY."

                                              COUNT 49

(Violation of 18 U.S.C. § 1962(c) against OBAMA, SIMAS, SOROKIN, SARIS, O'TOOLE,
           ULLMANN, BARRON, LORETTA LYNCH, HOLDER, ORTIZ, HEALEY,
          SWEENEY, CRAFTS, ROUGEAU, GOODLANDER, FLATGARD, MAFFEI,
         SAVERY, SQUIRES-LEE, BRIAN DURKIN, PATRICK, THOMAS LAMPERT,
       GILES, WALSH, STEVEN KOH, DANIEL KOH, BOSTON COLLEGE, and
          WILMERHALE, individually and in their respective official capacities, if any)

15 11.    THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

          forth herein.

1512. Under 18 U.S.C. § 1962(c), it is "unlawful for any person employed by or associated with

          any enterprise engaged in, or the activities of which affect, interstate or foreign

          commerce, to conduct or participate, directly or indirectly, in the conduct of such

          enterprise's affairs through a pattern of racketeering activity."

1513. As set forth herein, the "enterprise" as defined in 18 U.S.C. § 1961(4) is an association in

           fact, or the ENTERPRISE.

1514. In the alternative, the "enterprise[s]" as defined in 18 U.S.C. § 1961(4) are BCLS and the

           Rigged Public Enterprises.




                                                    303
        Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20         Page 303 of 347




1515. As set forth herein, OBAMA, SIMAS, SOROKIN, SARIS, O'TOOLE, ULLMANN,

        BARRON, LORETTA LYNCH, HOLDER, ORTIZ, HEALEY, SWEENEY, CRAFTS,

        ROUGEAU, GOODLANDER, FLATGARD, MAFFET, SAVERY, SQUIRES-LEE,

        BRIAN DURKIN, PATRICK, THOMAS LAMPERT, GILES, WALSH, STEVEN KOH,

        DANIEL KOH, BOSTON COLLEGE, and WILMERHALE each directed and/or

         participated, directly or indirectly, in the affairs of the ENTERPRISE.

1516. As set forth herein, OBAMA, SIMAS, SOROKIN, SARIS, O'TOOLE, ULLMANN,

         BARRON, LORETTA LYNCH, HOLDER, ORTIZ, HEALEY, SWEENEY, CRAFTS,

         ROUGEAU, GOODLANDER, FLATGARD, MAFFEI, SAVERY, SQUIRES-LEE,

         BRIAN DURKIN, PATRICK, THOMAS LAMPERT, GILES, WALSH, STEVEN KOH,

         DANIEL KOH, BOSTON COLLEGE, and WILMERHALE each violated 18 U.S.C. §

         1962(c) by conducting and/or participating in the ENTERPRISE's affairs through a

         pattern of racketeering activity as defined in 18 U.S.C. § 196 1(5).

1517. As set forth herein, the ENTERPRISE's activities affect and affected interstate

         commerce

1518.    The violations of 18 U.S.C. § 1962(c) by OBAMA, SIMAS, SOROKIN, SARIS,

         O'TOOLE, ULLMANN, BARRON, LORETTA LYNCH, HOLDER, ORTIZ, HEALEY,

         SWEENEY, CRAFTS, ROUGEAU, GOODLANDER, FLATGARD, MAFFEI,

         SAVERY, SQUIRES-LEE, BRIAN DURK1N, PATRICK, THOMAS LAMPERT, GILES,

         WALSH, STEVEN KOH, DANIEL KOH, BOSTON COLLEGE, and WILMERHALE

         directly and proximately injured THE RELATOR in his business and/or property through
     Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20     Page 304 of 347




      the predicate racketeering acts as set forth in the section entitled "RACKETEERING

      ACTS."

                                                                         damages      for the
1519. Pursuant to 18 U.S.C. § 1964(c), THE RELATOR is entitled to treble

      injuries to THE RELATOR's business and/or property as set forth in this Complaint,

      including, but not limited to, the section entitled "INJURIES TO BUSINESS AND

      PROPERTY."

                                              ]Ui*$1

             (Violation of 18 U.S.C. § 1962(d) against the RICO ASSOCIATES,
                individually and in their respective official capacities, if any)

1520. THE RELATOR incorporates the foregoing paragraphs and allegations
                                                                        as if fully set


       forth herein.

1521. The RICO ASSOCIATES conspired to violate 18 U.S.C. § 1962(a), (b), and/or
                                                                                (c).


1522. There is a conspiracy involving one or more agreements among the RICO ASSOCIATES

       in violation of 18 U.S.C. § 1962(d).

1523. Each of the RICO ASSOCIATES adopted the goal of furthering the ENTERPRISE,

       including, but not limited to, 1) agreeing to facilitate the operation of the ENTERPRISE,

       affecting interstate commerce, through a pattern of racketeering activity; and 2) agreeing

       that one or more RICO ASSOCIATES would commit two or more acts defined as

       "racketeering activity" under 18 U.S.C. § 1964(1).

 1524. As a direct and proximate result of the conduct of the RICO ASSOCIATES, THE

        RELATOR has been injured in his business and/or property within the meaning of 18

        U.S.C. § 1964(c).


                                               305
           Case 6:20-cv-00362-ADA        Document 1      Filed 05/05/20     Page 305 of 347




1   525.   Pursuant to 18 U.S.C. § 1964(c), THE RELATOR is entitled to treble damages for the

           injuries to THE RELATOR's business and property as set forth in this Complaint,

           including, but not limited to, the section entitled "INJURIES TO BUSINESS AND




1526. As a result of their conspiracy in violation of 18 U.S.C. § 1962(d), the RICO

           ASSOCIATES are jointly and severally liable to THE RELATOR in an amount to be

           determined at trial.

                                              COUNT 51

                       (Claim for Violation of Mass.Gen.Laws ch. 93A § 9 against
                                         BOSTON COLLEGE)

    1527. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

            forth herein.

    1528. The wrongful acts of BOSTON COLLEGE constitute violations of Mass.Gen.Laws eh.

            93A § 9.

    1529. Through the 93A Letter, THE RELATOR made a written demand for relief pursuant to

            Mass.Gen.Laws ch. 93A § 9(3).

    1530. BOSTON COLLEGE failed to make an adequate response to the 93A Letter, thereby

            entitling THE RELATOR to judgment of this Court and for all damages and related relief

            authorized by statute.

    1531. As set forth herein, BOSTON COLLEGE was and is acting in bad faith with respect to

            the 93A Letter.




                                                  306
        Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20       Page 306 of 347




                                              I,1.JJ

     (Claim for Violation of the Sherman Antitrust Act, 15 U.S.C. § 1 et seq. against
   BOSTON COLLEGE, CORNELL, COLUMBIA, UVA, PENN, NORTHWESTERN,
      UNIVERSITY OF CHICAGO, UNIVERSITY OF DENVER, LAW SCHOOL
          ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION)

1532. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

1533. BOSTON COLLEGE, CORNELL, COLUMBIA, IJVA, PENN, NORTHWESTERN.

         UNIVERSITY OF CHICAGO, UNIVERSITY OF DENVER, LAW SCHOOL

         ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION as well as any

         unnamed co-conspirators, entered into a continuing contract, combination, or conspiracy

         in unreasonable restraint of trade in violation of the Sherman Act (15 U.S.C. § 1).

1534. In particular, BOSTON COLLEGE, CORNELL, COLUMBIA, UVA, PENN,

         NORTHWESTERN, UNIVERSITY OF CHICAGO, UNIVERSITY OF DENVER, LAW

         SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION have

         contracted, combined, or conspired to raise, fix, maintain, and/or stabilize the price of

         tuition at two or more ABA-approved law schools.

1535.    As a result of the unlawful conduct of BOSTON COLLEGE, CORNELL, COLUMBIA,

         UVA, PENN, NORTHWESTERN, UNIVERSITY OF CHICAGO, UNIVERSITY OF

         DENVER, LAW SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR

         ASSOCIATION, prices for tuition at two or more ABA-approved law schools were

         raised, fixed, maintained, and/or stabilized in the United States.




                                                  307
        Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 307 of 347




1536. The contract, combination, or conspiracy between BOSTON COLLEGE, CORNELL,

        COLUMBIA, UVA, PENN, NORTHWESTERN, UNIVERSITY OF CHICAGO,

        UNIVERSITY OF DENVER, LAW SCHOOL ADMISSIONS COUNCIL, and

        AMERICAN BAR ASSOCIATION consisted of a continuing agreement, understanding,

        and concerted action between them and any urmamed co-conspirators, including, but not

        limited to, use of the Deans' LISTSERV and electronic, mail, telephone, and/or in person

        communications to share tuition price and related information.

1537.    For purposes of formulating and effectuating their contract, combination, or conspiracy,

         BOSTON COLLEGE, CORNELL, COLUMBIA, UVA, PENN, NORTHWESTERN,

         UNIVERSITY OF CHICAGO, UNIVERSITY OF DENVER, LAW SCHOOL

         ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION and any co-

         conspirators did those things they contracted, combined, or conspired to do, including,

         but not limited to: (1) agreeing to raise, fix, and/or maintain prices for tuition at ABA-

         approved law schools; (2) raising, fixing, and/or maintaining prices for tuition at ABA-

         approved law schools; and (3) selling, offering, and/or accepting tuition at ABA-approved

         law schools throughout the United States at inflated prices.

1538. As a result of the unlawful conduct of BOSTON COLLEGE, CORNELL, COLUMBIA,

         UVA, PENN, NORTHWESTERN, UNIVERSITY OF CHICAGO, UNIVERSITY OF

         DENVER, LAW SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR

         ASSOCIATION, THE RELATOR has been injured in that he paid more for tuition at an

         ABA-approved law school than THE RELATOR otherwise would have paid in the

         absence of the unlawful conduct of BOSTON COLLEGE, CORNELL, COLUMBIA,
                                                  308
     Case 6:20-cv-00362-ADA           Document 1      Filed 05/05/20   Page 308 of 347




      UVA, PENN, NORTHWESTERN, UNIVERSITY OF CHICAGO, UNIVERSITY OF

      DENVER, LAW SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR

      ASSOCIATION.

1539. The alleged contract, combination, or conspiracy between BOSTON COLLEGE,

      CORNELL, COLUMBIA, UVA, PENN, NORTHWESTERN, UNIVERSITY OF

      CHICAGO, UNIVERSITY OF DENVER, LAW SCHOOL ADMISSIONS COUNCIL,

      and AMERICAN BAR ASSOCIATION is a violation of the federal antitrust law.

                                                                 UVA, PENN,
1540. The unlawful conduct of BOSTON COLLEGE, CORNELL, COLUMBIA,

      NORTHWESTERN, UNIVERSITY OF CHICAGO, UNIVERSITY OF DENVER, LAW

       SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION is

       continuing and will continue unless enjoined by this Court.

1541. Pursuant to 15 U.S.C. § 9, THE RELATOR seeks the issuance of an injunction against

       BOSTON COLLEGE, CORNELL, COLUMBIA, UVA, PENN, NORTHWESTERN.

       UNIVERSITY OF CHICAGO, UNIVERSITY OF DENVER, LAW SCHOOL

       ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION, preventing and

       restraining the violations alleged herein.

                                           COUNT 53

     (Claim for Violation of Mass.Gen.Laws Ch. 93 § 4 against BOSTON COLLEGE,
     CORNELL, COLUMBIA, UVA, PENN, NORTHWESTERN, UNIVERSITY OF
        CHICAGO, UNIVERSITY OF DENVER, LAW SCHOOL ADMISSIONS
                   COUNCIL, and AMERICAN BAR ASSOCIATION)

 1542. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.
    Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20       Page 309 of 347




1543. BOSTON COLLEGE, CORNELL, COLUMBIA, UVA, PENN, NORTHWESTERN,

     UNIVERSITY OF CHICAGO, UNIVERSITY OF DENVER, LAW SCHOOL

     ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION as well as any

     unnamed co-conspirators entered into a continuing contract, combination, or conspiracy

     in unreasonable restraint of trade in violation of Mass.Gen.Laws ch. 93 § 4.

1544. In particular, BOSTON COLLEGE, CORNELL, COLUMBIA, UVA, PENN,

     NORTHWESTERN, UNIVERSITY OF CHICAGO, UNIVERSITY OF DENVER, LAW

     SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION have

     contracted, combined, or conspired to raise, fix, maintain, and/or stabilize the price of

     tuition at two or more ABA-approved law schools.

1545. As a result of the unlawful conduct of BOSTON COLLEGE, CORNELL, COLUMBIA,

     UVA, PENN, NORTHWESTERN, UNIVERSITY OF CHICAGO, UNIVERSITY OF

      DENVER, LAW SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR

      ASSOCIATION, prices for tuition at two or more ABA-approved law schools were

      raised, fixed, maintained, and/or stabilized in the United States.

1546. The contract, combination, or conspiracy between BOSTON COLLEGE, CORNELL,

      COLUMBIA, UVA, PENN, NORTHWESTERN, UNIVERSITY OF CHICAGO,

      UNIVERSITY OF DENVER, LAW SCHOOL ADMISSIONS COUNCIL, and

      AMERICAN BAR ASSOCIATION consisted of a continuing agreement, understanding,

      and concerted action between them and any unnamed co-conspirators, including, but not

      limited to, use of the Deans' LISTSERV and electronic, mail, telephone, and/or in person

      communications to share tuition price and related information.
                                               310
      Case 6:20-cv-00362-ADA           Document 1        Filed 05/05/20      Page 310 of 347




1547. For purposes of formulating and effectuating their contract, combination, or conspiracy,

       BOSTON COLLEGE, CORNELL, COLUMBIA, UVA, PENN, NORTHWESTERN,

       UNIVERSITY OF CHICAGO, UNIVERSITY OF DENVER, LAW SCHOOL

       ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION and any co-

       conspirators did those things they contracted, combined, or conspired to do, including but

       not limited to: (1) agreeing to raise, fix, and/or maintain prices for tuition at ABA-

       approved law schools; (2) raising, fixing, and/or maintaining prices for tuition at ABA-

       approved law schools; and (3) selling, offering, and/or accepting tuition at ABA-approved

       law schools throughout the United States at inflated prices.

1548. As a result of unlawful conduct by BOSTON COLLEGE, CORNELL, COLUMBIA,

       UVA, PENN, NORTHWESTERN, UNIVERSITY OF CHICAGO, UNIVERSITY OF

       DENVER, LAW SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR

        ASSOCIATION, THE RELATOR has been injured in that he paid more for tuition at an

        ABA-approved law school than he otherwise would have paid in the absence of the

        unlawful conduct of BOSTON COLLEGE, CORNELL, COLUMBIA, UVA, PENN,

        NORTHWESTERN, UNIVERSITY OF CHICAGO, UNIVERSITY OF DENVER, LAW

        SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION.

 1549. The alleged contract, combination, or conspiracy between BOSTON COLLEGE,

        CORNELL, COLUMBIA, UVA, PENN, NORTHWESTERN, UNIVERSITY OF

        CHICAGO, UNIVERSITY OF DENVER, LAW SCHOOL ADMISSIONS COUNCIL,

        and AMERICAN BAR ASSOCIATION, and the AMERICAN BAR ASSOCIATION is a

        violation of Massachusetts antitrust law.
                                                 311
        Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20     Page 311 of 347




1550. The unlawful conduct of BOSTON COLLEGE, CORNELL, COLUMBIA, UVA, PENN,

        NORTHWESTERN, UNIVERSITY OF CHICAGO, UNIVERSITY OF DENVER, LAW

        SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION is

        continuing and will continue unless enjoined by this Court.

1551. Pursuant to Mass.Gen.Laws ch. 93 § 12, THE RELATOR seeks the issuance of an

         injunction against BOSTON COLLEGE, CORNELL, COLUMBIA, UVA, PENN,

        NORTHWESTERN, UNIVERSITY OF CHICAGO, UNIVERSITY OF DENVER, LAW

         SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION,

         preventing and restraining the violations alleged herein.

                                             COUNT 54

(Claim for Violation of the Sherman Antitrust Act, 15 U.S.C. § 1 et seq. against BOSTON
COLLEGE, UNIVERSITY OF DENVER, LAW SCHOOL ADMISSIONS COUNCIL, and
                           AMERICAN BAR ASSOCIATION)

1552. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

1553.    BOSTON COLLEGE, UNIVERSITY OF DENVER, LAW SCHOOL ADMISSIONS

         COUNCIL, and AMERICAN BAR ASSOCIATION entered into a conspiracy in

         unreasonable restraint of trade in violation of the Sherman Act (15 U.S.C. § 1).

1554.    In particular, BOSTON COLLEGE, UNIVERSITY OF DENVER, LAW SCHOOL

         ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION conspired to

         preclude THE RELATOR from studying law in Colorado and saving in excess of $10,000

         in tuition costs.



                                                  312
     Case 6:20-cv-00362-ADA          Document 1      Filed 05/05/20   Page 312 of 347




1555. As a result of the conduct of BOSTON COLLEGE, UNIVERSITY OF DENVER,
                                                                          LAW


      SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION, THE

      RELATOR was unlawfully restrained from studying law in Colorado and saving in

      excess of $10,000 in tuition costs.

1556. The conspiracy between BOSTON COLLEGE, UNIVERSITY OF DENVER, LAW

      SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION consisted

      of a continuing agreement, understanding, and concerted action among them and any

      unnamed co-conspirators to preclude THE RELATOR from studying law in Colorado and

      saving in excess of$lO,000 in tuition costs.

1557. For purposes of formulating and effectuating their conspiracy, BOSTON COLLEGE,

      UNIVERSITY OF DENVER, LAW SCHOOL ADMISSIONS COUNCIL, and

      AMERICAN BAR ASSOCIATION, and any co-conspirators did those things they

      conspired to do, including, congregating at LAW SCHOOL ADMISSIONS COUNCIL

      and AMERICAN BAR ASSOCIATION events and communicating through interstate

      communications facilities.

1558. As a result of the unlawful conduct of BOSTON COLLEGE, UNIVERSITY OF

       DENVER, LAW SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR

       ASSOCIATION, THE RELATOR has been injured in that he paid more for tuition at an

       ABA-approved law school than THE RELATOR otherwise would have paid in the

       absence of the unlawful conduct.




                                              313
     Case 6:20-cv-00362-ADA            Document 1     Filed 05/05/20     Page 313 of 347




                                                                  OF               DENVER,
1559. The alleged conspiracy involving BOSTON COLLEGE, UNIVERSITY

                                                                                          is a
      LAW SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION

      violation of the federal antitrust law.

1560. The unlawful conduct of BOSTON COLLEGE, UNIVERSITY OF DENVER,
                                                                    LAW


      SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION is

      continuing and will continue unless enjoined by this Court.

                                                                                 against
1561. Pursuant to 15 U.S.C. § 9, THE RELATOR seeks the issuance of an injunction

      BOSTON COLLEGE, UNIVERSITY OF DENVER, LAW SCHOOL ADMISSIONS

      COUNCIL, and AMERICAN BAR ASSOCIATTON, preventing and restraining the

       violations alleged herein.




     (Claim for Violation of Mass.Gen.Laws Ch. 93 § 4 against BOSTON COLLEGE,
      UNIVERSITY OF DENVER, LAW SCHOOL ADMISSIONS COUNCIL, and
                           AMERICAN BAR ASSOCIATION)

1562. THE RELATOR incorporates the foregoing paragraphs and allegations as if
                                                                              fully set


       forth herein.

 1563. BOSTON COLLEGE, UNIVERSITY OF DENVER, LAW SCHOOL ADMISSIONS

       COUNCIL, and AMERICAN BAR ASSOCIATION entered into a conspiracy in

       unreasonable restraint of trade in violation of Mass.Gen.Laws ch. 93 § 4.

 1564. In particular, BOSTON COLLEGE, UNIVERSITY OF DENVER, LAW SCHOOL

       ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION conspired to

       preclude THE RELATOR from studying law in Colorado and saving in excess of $10,000

       in tuition costs.
                                                314
     Case 6:20-cv-00362-ADA           Document 1      Filed 05/05/20   Page 314 of 347




                                                                  DENVER,           LAW
1565. As a result of the conduct of BOSTON COLLEGE, UNIVERSITY OF

                                                                                  THE
     SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATiON,

     RELATOR was unlawfully restrained from studying law in Colorado and saving in

      excess of $10,000 in tuition costs.

                                                                                 LAW
1566. The conspiracy between BOSTON COLLEGE, UNIVERSITY OF DENVER,

      SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION consisted

      of a continuing agreement, understanding, and concerted action among them and any

      unnamed co-conspirators to preclude THE RELATOR from studying law in Colorado and

      saving in excess of $10,000 in tuition costs.

1567. For purposes of formulating and effectuating their conspiracy, BOSTON
                                                                            COLLEGE,

      UNIVERSITY OF DENVER, LAW SCHOOL ADMISSIONS COUNCIL, and

      AMERICAN BAR ASSOCIATION, and any co-conspirators did those things they

      conspired to do, including, congregating at LAW SCHOOL ADMISSIONS COUNCIL

      and AMERICAN BAR ASSOCIATION events and communicating through interstate

       communications facilities.

 1568. As a result of the unlawful conduct of BOSTON COLLEGE, UNIVERSITY
                                                                         OF


       DENVER, LAW SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR

       ASSOCIATION, THE RELATOR has been injured in that he paid more for tuition at an

       ABA-approved law school than THE RELATOR otherwise would have paid in the

       absence of the unlawful conduct.




                                                315
        Case 6:20-cv-00362-ADA           Document 1         Filed 05/05/20   Page 315 of 347




1569. The alleged conspiracy involving BOSTON COLLEGE, UNIVERSITY OF DENVER,

        LAW SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION is a

        violation of the Massachusetts antitrust law.

1570.   The unlawful conduct of BOSTON COLLEGE, UNIVERSITY OF DENVER, LAW

        SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION is

        continuing and will continue unless enjoined by this Court.

1571. Pursuant to Mass.Gen.Laws ch. 93 § 12, THE RELATOR seeks the issuance of an

         injunction against BOSTON COLLEGE, UNIVERSITY OF DENVER, LAW SCHOOL

         ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION, preventing and

         restraining the violations alleged herein.




 (Claim for Violation of the Sherman Antitrust Act, 15 U.S.C. § 1 et seq. against BOSTON
  COLLEGE, CORNELL, LAW SCHOOL ADMISSIONS COUNCIL, and AMERICAN
                                  BAR ASSOCIATION)

1572. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

1573. BOSTON COLLEGE, CORNELL, LAW SCHOOL ADMISSiONS COUNCIL, and

         AMERICAN BAR ASSOCiATION entered into a conspiracy in unreasonable restraint of

         trade in violation of the Sherman Act (15 U.S.C. § 1).

1574.    In particular, BOSTON COLLEGE, CORNELL, LAW SCHOOL ADMISSIONS

         COUNCIL, and AMERICAN BAR ASSOCIATION conspired to preclude THE

         RELATOR from studying finishing his law degree at Cornell Law School.



                                                      316
     Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20    Page 316 of 347




1575. As a result of the conduct of BOSTON COLLEGE, CORNELL, LAW SCHOOL

      ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION, THE RELATOR

      was unlawfully restrained from studying law at Cornell Law School.

1576. The conspiracy between BOSTON COLLEGE, CORNELL, LAW SCHOOL

      ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION consisted of a

      continuing agreement, understanding, and concerted action among them and any

      unnamed co-conspirators to preclude THE RELATOR from studying law at Cornell Law

      School.

1577. For purposes of formulating and effectuating their conspiracy, BOSTON COLLEGE,

      CORNELL, LAW SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR

      ASSOCIATION, and any co-conspirators did those things they conspired to do,

      including, communicating regarding THE RELATOR's status at BCLS and any

      application to Cornell Law School in 2015 and/or in 2018.

1578. As a result of the unlawful conduct of BOSTON COLLEGE, CORNELL, LAW

       SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION, THE

       RELATOR has been injured in that he paid more for tuition at an ABA-approved law

       school than THE RELATOR otherwise would have paid in the absence of the unlawful

       conduct and in that he paid all of the tuition payments to BOSTON COLLEGE for a

       degree that is unobtainable except at 885 CENTRE STREET.

 1579. The alleged conspiracy involving BOSTON COLLEGE, CORNELL, LAW SCHOOL

       ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION is a violation of the

       federal antitrust law.
                                             317
        Case 6:20-cv-00362-ADA         Document 1      Filed 05/05/20    Page 317 of 347




1580.   The unlawful conduct of BOSTON COLLEGE, CORNELL, LAW SCHOOL

        ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION is continuing and

        will continue unless enjoined by this Court.

1581. Pursuant to 15 U.S.C. § 9, THE RELATOR seeks the issuance of an
                                                                      injunction    against

        BOSTON COLLEGE, CORNELL, LAW SCHOOL ADMISSIONS COUNCIL, and

        AMERICAN BAR ASSOCIATION, preventing and restraining the violations alleged

         herein.

                                            COUNT 57

        (Claim for Violation of Mass.Gen.Laws Ch. 93 § 4 against BOSTON COLLEGE,
                 CORNELL, LAW SCHOOL ADMISSIONS COUNCIL, and
                              AMERICAN BAR ASSOCIATION)

1582.    THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

 1583. BOSTON COLLEGE, CORNELL, LAW SCHOOL ADMISSIONS COUNCIL, and

         AMERICAN BAR ASSOCIATION entered into a conspiracy in unreasonable restraint of

         trade in violation of Mass.Gen.Laws ch. 93A. § 4.

 1584. In particular, BOSTON COLLEGE, CORNELL, LAW SCHOOL ADMISSIONS

         COUNCIL, and AMERICAN BAR ASSOCIATION conspired to preclude THE

         RELATOR from studying finishing his law degree at Cornell Law School.

 1585. As a result of the conduct of BOSTON COLLEGE, CORNELL, LAW SCHOOL

         ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION, THE RELATOR

          was unlawfully restrained from studying law at Cornell Law School.



                                                 318
        Case 6:20-cv-00362-ADA          Document 1      Filed 05/05/20   Page 318 of 347




1586. The conspiracy between BOSTON COLLEGE, CORNELL, LAW SCHOOL

        ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION consisted of a

        continuing agreement, understanding, and concerted action among them and any

        unnamed co-conspirators to preclude THE RELATOR from studying law at Cornell Law

        School.

1587.   For purposes of formulating and effectuating their conspiracy, BOSTON COLLEGE,

        CORNELL, LAW SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR

        ASSOCIATION, and any co-conspirators did those things they conspired to do,

        including, communicating regarding THE RELATOR's status at BCLS and any

        application to Cornell Law School in 2015 and/or in 2018.

1588. As a result of the unlawful conduct of BOSTON COLLEGE, CORNELL, LAW

         SCHOOL ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION, THE

         RELATOR has been injured in that he paid more for tuition at an ABA-approved law

         school than THE RELATOR otherwise would have paid in the absence of the unlawful

         conduct and in that he paid all of the tuition payments to BOSTON COLLEGE for a

         degree that is unobtainable except at 885 CENTRE STREET.

1589. The alleged conspiracy involving BOSTON COLLEGE, CORNELL, LAW SCHOOL

         ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION is a violation of the

         Massachusetts antitrust law.

1590. The unlawful conduct of BOSTON COLLEGE, CORNELL, LAW SCHOOL

         ADMISSIONS COUNCIL, and AMERICAN BAR ASSOCIATION is continuing and

         will continue unless enjoined by this Court.

                                                 319
        Case 6:20-cv-00362-ADA           Document 1     Filed 05/05/20      Page 319 of 347




1591. Pursuant to Mass.Gen.Laws ch. 93A. § 12, THE RELATOR seeks the issuance of an

        injunction against BOSTON COLLEGE, CORNELL, LAW SCHOOL ADMISSIONS

        COUNCIL, and AMERICAN BAR ASSOCIATION, preventing and restraining the

         violations alleged herein.

                                            COUNT 58

                         (Claim for Negligence against BOSTON COLLEGE)

1592. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

1593.    BOSTON COLLEGE owed a duty of care to THE RELATOR because THE RELATOR

         was a student at BOSTON COLLEGE, which was aware of THE RELATOR's litigation

         by and through its employees.

1594. BOSTON COLLEGE knew or reasonably should have known about the risks to THE

         RELATOR and THE RELATOR's litigation posed by the conduct of its own employees

         and individuals associated with BOSTON COLLEGE.

1595. BOSTON COLLEGE breached its duty of care to THE RELATOR through the negligent

         conduct as alleged herein.

1596. But for the intentional and negligent acts and omissions of BOSTON COLLEGE and its

         violations of the standards of care and statute set forth herein, THE RELATOR would not

         have been injured.

1597. The intentional and negligent acts and omissions of BOSTON COLLEGE amount to

         negligence, negligent failure to warn, train, and educate, and negligence per se.



                                                 320
        Case 6:20-cv-00362-ADA          Document 1        Filed 05/05/20      Page 320 of 347




1598. As a result of the conduct of BOSTON COLLEGE set forth in this Complaint, THE

        RELATOR has suffered and continues to suffer financial losses; has suffered and

        continues to suffer great pain of mind and body, shock, emotional distress, physical

        manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

         humiliation, and loss of enjoyment of life; has suffered and continues to suffer spiritually;

         was prevented and will continue to be prevented from performing THE RELATOR's

         daily activities and obtaining the full enjoyment of life; and has sustained and will

         continue to sustain loss of earnings and earning capacity.

                                              COUNT 59

  (Claim for Negligent Infliction of Emotional Distress against the RICO DEFENDANTS)

1599.    THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

1600. As set forth herein, the RICO DEFENDANTS acted negligently.

1601. As a direct and proximate result of the cOnduct of the RICO DEFENDANTS, Plaintiff

         has suffered and continues to suffer severe emotional distress.

1602. The conduct of the RICO DEFENDANTS was a substantial factor in causing Plaintiff's

         severe emotional distress.

1603. The conduct of the RICO DEFENDANTS was malicious, oppressive, and fraudulent,

         thereby warranting punitive damages.




                                                   321
     Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 321 of 347




                                         COUNT 60

(Claim for Intentional Infliction of Emotional Distress against the RICO DEFENDANTS)

1604. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

      forth herein.

1605. The acts and omissions of the RICO DEFENDANTS were intended to inflict emotional

      distress and were outrageous and beyond the bounds of conduct tolerated in civilized

      society.

1606. As a direct and proximate result of the acts and omissions alleged herein, THE

       RELATOR has suffered extreme emotional distress.

                                         COUNT 61

      (Claim for Recovery, Compensation, Award, and Injunctive Relief pursuant to
 Bivens v. Six Unknown Named Agents, 403 U.S. 388 (1971), against the OFFICE OF THE
ATTORNEY GENERAL OF THE COMMONWEALTH and the ESSEX DA, as well as the
    RICO ASSOCIATES, individually and in their respective official capacities, if any)

1607, THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1608. The OFFICE OF THE ATTORNEY GENERAL OF THE COMMONWEALTH and the

       ESSEX DA are amenable to suit pursuant to Bivens because those offices received

       federal money from the Equitable Sharing Program.

1609. The retention of THE RELATOR's property in the form of THE RELATOR's

       whistleblower bounties by the OFFICE OF THE ATTORNEY GENERAL OF THE

       COMMONWEALTH and the ESSEX DA, as well as the RICO ASSOCIATES violates

       THE RELATOR's due process rights under the Fifth Amendment.


                                              322
     Case 6:20-cv-00362-ADA           Document 1       Filed 05/05/20      Page 322 of 347




1610. The RICO ASSOCIATES violated THE RELATOR's due process rights under the Fifth

      Amendment to the U.S. Constitution in connection with illicit Equitable Sharing Program

      payments and subsequent unlawful activity as alleged in this Complaint.

1611. The Fifth Amendment requires that the OFFICE OF THE ATTORNEY GENERAL OF

      THE COMMONWEALTH and the ESSEX DA as well as the RICO ASSOCIATES

      return and/or pay one the whistleblower bounties to THE RELATOR.

1612. An award of compensatory and/or punitive damages is necessary to remedy the Bivens

       violation of the guarantee of due process of law under the Constitution.

                                           COUNT 62

(Claim for Recovery, Compensation, Award, and Injunctive Relief pursuant to Bivens v. Six
      Unknown Named Agents, 403 U.S. 388 (1971), against the RICO ASSOCIATES,
               individually and in their respective official capacities, if any)

1613. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1614. The RICO ASSOCIATES, acting under color of federal law, violated THE RELATOR's

       due process rights by rigging the judge selection processes in federal courts at 1

       COURTHOUSE WAY, 55 PLEASANT STREET, 156 FEDERAL STREET, and 901

       19TH STREET.

1615. The Fifth Amendment requires the return of money taken from THE RELATOR in

       connection with all federal court cases with a rigged judge selection process.

 1616. An award of áompensatory and/or punitive damages is necessary to remedy the Bivens

       violation of the Fifth Amendment's guarantee of due process of law.



                                                323
     Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 323 of 347




1617. Injunctive relief against the RICO ASSOCIATES is required to preclude their

      participation in any case in which THE RELATOR was, is, and/or will be a party.

                                           I1IJhI1
(Claim for Recovery, Compensation, Award, and Injunctive Relief pursuant to Bivens v. Six
  Unknown Named Agents, 403 U.S. 388 (1971), against TORRESEN, BERRY, STORMS,
           and SNYDER, individually and in their respective official capacities)

1618. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1619. TORRESEN, BERRY, STORMS, and SNYDER violated THE RELATOR's due process

       rights by concealing receipt of the TORRESEN Mailing at 156 FEDERAL STREET.

1620. The Fifth Amendment requires the return of money taken from THE RELATOR in

       connection with the Rigged New Hampshire Action at 156 FEDERAL STREET.

1621. An award of compensatory and/or punitive damages is necessary to remedy the Bivens

       violation of the Fifth Amendment's guarantee of due process of law.

1622. Injunctive relief against TORRESEN, BERRY, STORMS, and SNYDER is required to

       preclude their participation in any case in which THE RELATOR was, is, and/or will be a

       party.




(Reverse False Claim pursuant to 31 U.S.C. § 3729(a)(1)(G) against OBAMA, GEORGE W.
    BUSH, WALKER IV, DIAMOND, SLIM, JEB BUSH, BUNZEL, MANGALJI, and
                                      SHUTZER)

1623. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.



                                              324
      Case 6:20-cv-00362-ADA             Document 1      Filed 05/05/20     Page 324 of 347




1624. Any person who knowingly conceals or knowingly and improperly avoids an obligation

      to transmit money or property to the United States that was forfeited upon commission of

      any act giving rise to forfeiture of that money or property pursuant to 18 U.S.C. § 1963(c)

      has committed a reverse false claim actionable under 31 U.S.C. § 3729(a)(1)(G).

1625. OBAMA, GEORGE W. BUSH, WALKER IV, DIAMOND, SLIM, JEB BUSH,

      BUNZEL, MANGALJI, and SHUTZER knowingly concealed or knowingly and

      improperly avoided an obligation to pay or transmit money and/or property forfeited to

      the U.S. government pursuant to 18 U.S.C. § 1963(c), including 745 7TH AVENUE.

1626. 745 7TH AVENUE is the property of the U.S. government pursuant to 18 U.S.C. §

       1   963(c).

                                             COUNT 65

 (Reverse False Claim pursuant to 31 U.S.C. § 3729(a)(1)(G) against OBAMA and SIMAS)

1627. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1628. Any person who knowinglyconceals or knowingly and improperly avoids an obligation

       to transmit money or property to the United States that was forfeited upon commission of

       any act giving rise to forfeiture of that money or property pursuant to 18 U.S.C. § 1963(c)

       has committed a reverse false claim actionable under 31 U.S.C. § 3729(a)(1 )(G).

1629. OBAMA and SIMAS knowingly concealed or knowingly and improperly avoided an

           obligation to pay or transmit money and/or property forfeited to the U.S. government

           pursuant to 18 U.S.C. § 1963(c), including OBAMA FOUNDATION ACCOUNTS 1 -X.



                                                  325
        Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 325 of 347




1630. OBAMA FOUNDATION ACCOUNTS 1-X is or are the property of the U.S.
                                                                       government

        pursuantto 18 U.S.C. § 1963(c).

                                           COUNT 66

        (Reverse False Claim pursuant to 31 U.S.C. § 3729(a)(1)(G) against SOROKIN)

1631. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully
                                                                                    set


         forth herein.

                                                                                    to
1632. SOROKIN knowingly concealed or knowingly and improperly avoided an obligation

         pay or transmit money and/or property forfeited to the U.S. government pursuant to 1.8

         U.S.C. § 1963(c), including 100 DAVIS AVENUE.

1633.    100 DAVIS AVENUE is the property of the U.S. government pursuant to 18 U.S.C. §

         1963(c).

                                            COUNT 67

                     (Reverse False Claim pursuant to 31 U.S.C. § 3729(a)(1)(G)
                              against HEALEY and WOLOHOJIAN)

1634. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

1635.    HEALEY and WOLOHOJIAN knowingly concealed or knowingly and improperly

         avoided an obligation to pay or transmit money and/or property forfeited to the U.S.

         government pursuant to 18 U.S.C. § 1963(c), including 40 WINTHROP STREET.

 1636. 40 WINTHROP STREET is the property of the U.S. government pursuant to 18 U.S.C. §

          1963(c).




                                                 326
      Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 326 of 347




                (Reverse False Claim pursuant to 31 U.S.C. § 3729(a)(1)(G)
                             against the RICO ASSOCIATES)

1637. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully
                                                                                    set


      forth herein.

1638. The RICO ASSOCIATES knowingly concealed or knowingly and improperly avoided an

       obligation to pay or transmit money and/or property forfeited to the U.S. government

       pursuant to 18 U.S.C. § 1963(c), including 55 PLEASANT STREET, 156 FEDERAL

       STREET, I COURTHOUSE WAY, 901 19TH STREET, 885 CENTRE STREET,

       BOSTON COLLEGE ACCOUNTS 1 -X,            1   PEMBERTON SQUARE, 3 PEMBERTON

       SQUARE, MAG BOSTON, and EQUITABLE SHARING ACCOUNTS I -X.

1639. 55 PLEASANT STREET, 156 FEDERAL STREET, I COURTHOUSE WAY, 901 19TH

       STREET, 885 CENTRE STREET, BOSTON COLLEGE ACCOUNTS 1 -X, 1

       PEMBERTON SQUARE, 3 PEMBERTON SQUARE, MAG BOSTON, and

       EQUITABLE SHARING ACCOUNTS I -X are the property of the U.S. government

       pursuant to 18 U.S.C. § 1963(c).

                                          COUNT 69

  (Reverse False Claim pursuant to 31 U.S.C. § 3729(a)(1)(G) against THOMAS DURKIN,
                      BRIAN DURKIN, and THOMAS LAMPERT)

 1640. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

        forth herein.

 1641. THOMAS DURKIN, BRIAN DURKIN, and THOMAS LAMPERT knowingly

        concealed or knowingly and improperly avoided an obligation to pay or transmit money
                                               327
     Case 6:20-cv-00362-ADA           Document 1         Filed 05/05/20      Page 327 of 347




      and/or property forfeited to the U.S. government pursuant to 18 U.S.C. § 1963(c),

      including the DURKIN CAR.

1642. The DURKIN CAR is the property of the U.S. government pursuant to 18 U.S.C. §

      1963(c).

                                              WJ*LU

 (Claim for Declaratory Judgment and Related Injunctive Relief pursuant to 28 U.S.C. §
   2201, 2202 against SUFFOLK SUPERIOR COURT, MASSACHUSETTS APPEALS
  COURT, U.S. DISTRICT COURT FOR THE DISTRICT OF MAINE, U.S. DISTRICT
 COURT FOR THE DISTRICT OF MASSACHUSETTS, U.S. DISTRICT COURT FOR
  THE DISTRICT OF NEW HAMPSHIRE, and U.S. COURT OF APPEALS FOR THE
                                  FIRST CIRCUIT)

1643. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1644. A genuine controversy exists between THE RELATOR and each of the above-named

       courts for which THE RELATOR is entitled to declaratory relief pursuant to 28 U.S.C. §S

       2201, 2202, where there are ongoing violations of fundamental constitutional rights that

       should have ended a long time ago, but for the judicial and prosecutorial crime spree

       alleged herein.

1645. Each of the above-named courts, by their deliberate actions or inactions, have contributed

       to constitutional violations that are historic in their scope, severity, and synchronicity.

1646. The violations of the Constitution implicate the Fifth and Fourteenth Amendments,

       because the defendants sabotaged THE RELATOR's litigation and livelihood in order to

       save and advance themselves and their criminal enterprise.




                                                 328
        Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20     Page 328 of 347




                                                                                     SUPERIOR
1647.   This Court should declare that the judge selection processes at SUFFOLK

                                                                                        FOR THE
        COURT, MASSACHUSETTS APPEALS COURT, U.S. DISTRICT COURT

        DISTRICT OF MAINE, U.S. DISTRICT COURT FOR THE DISTRICT OF

        MASSACHUSETTS, U.S. DISTRICT COURT FOR THE DISTRICT OF NEW
                                                                                               and/or
        HAMPSHIRE, U.S. DISTRICT COURT FOR THE DISTRICT OF COLORADO,

        U.S. COURT OF APPEALS FOR THE FIRST CIRCUIT are rigged.

                                                                                     is violative of
1648.   This Court should declare that such rigging of the judge selection process

        the Due Process and Equal Protection Clauses of the Fifth and Fourteenth
                                                                                     Amendments.

         This Court should issue related injunctive relief mandating this Court's oversight
                                                                                              of
1649.

         SUFFOLK SUPERIOR COURT, MASSACHUSETTS APPEALS COURT, U.S.

                                                                                               FOR
         DISTRICT COURT FOR THE DISTRICT OF MAINE, U.S. DISTRICT COURT

         THE DISTRICT OF MASSACHUSETTS, U.S. DISTRICT COURT FOR THE
                                                                                                    OF
         DISTRICT OF NEW HAMPSHIRE, U.S. DISTRICT COURT FOR THE DISTRICT

                                                                                         with respect
         COLORADO, and U.S. COURT OF APPEALS FOR THE FIRST CIRCUIT

         to the judge selection process to ensure compliance with the requirements
                                                                                      of the Fifth and

         Fourteenth Amendments.

                                             COUNT 71

          (Claim for Declaratory Judgment and Related Injunctive Relief pursuant to
           28 U.S.C. § 2201, 2202 against each and every defendant that is a natural
               person, individually and in his or her respective official capacity)

 1650. THE RELATOR incorporates the foregoing paragraphs and allegations
                                                                                  as if fully set

          forth herein.



                                                  329
      Case 6:20-cv-00362-ADA           Document 1        Filed 05/05/20      Page 329 of 347




1651. A genuine controversy exists between THE RELATOR and each of the defendants
                                                                                              that is


       a natural person for which THE RELATOR is entitled to declaratory relief pursuant to 28

       U.S.C. § 2201, 2202, where there are ongoing violations of fundamental constitutional

       rights that should have ended a long time ago, but for the judicial and prosecutorial crime

       spree aleged herein.

1652. Each of the defendants that is a natural person, by his or her deliberate actions or

       inactions, have contributed to constitutional violations that are historic in their scope,

       severity, and synchronicity.

1653. The violations of the Constitution implicate the Fifth and Fourteenth Amendments,

       because the each of the defendants that is a natural person sabotaged THE RELATOR's

       litigation and livelihood in order to save and advance themselves and their criminal

       enterprise.

1654. This Court should declare that each and every defendant that is a natural person is

        prohibited from participating in any manner in any litigation involving THE RELATOR

        except as a party in an individual capacity.

1655. This Court should issue related injunctive relief to preclude the direct and indirect

        participation of each of the defendants that is a natural person in any case involving THE

        RELATOR except as a party in an individual capacity to such case within the jurisdiction

        of the United States and any state or territory therein.




                                                  330
        Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20      Page 330 of 347




 (Claim for Amended Judgment pursuant to Mass. R. Civ. P. 59(e) and Leave to Amend
Complaint pursuant to Mass. R. Civ. P. 15 against Suffolk Superior Court, Commonwealth
    of Massachusetts, and the Office of the Attorney General of the Commonwealth)

1656. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

        forth herein.

1657. This Court should vacate the judgment in the Parallel State Action pursuant to Mass. R.

        Civ. P. 59(e) based on this Complaint and newly discovered evidence and because GILES

        and GREEN are defendants in this action and both GILES and GREEN served as a judge

        in the Parallel State Action, which was prejudged and remains rigged.

1658. This claim is timely because it was first brought in the Rigged New Hampshire Action

        within 28 days after entry of judgment in the Parallel State Case.

1659. This Court should grant leave to amend the complaint in the Parallel State Action

        pursuant to Mass. R. Civ. P. 15.

                                            COUNT 73

  (Claim for Amended Judgment pursuant to Fed. R. Civ. P. 59(e) and Leave to Amend
 Complaint pursuant to Fed. R. Civ. P. 15 against the U.S. DISTRICT COURT FOR THE
  DISTRICT OF MASSACHUSETTS, the COMMISSIONER, the U.S. Department of
                            Justice, and the United States)

1660.    THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

1661. Based on additional facts as alleged herein, this Court should vacate the judgment in the

         Rigged Sorokin Action pursuant to Fed. R. Civ. P. 59(e).




                                                 331
         Case 6:20-cv-00362-ADA            Document 1    Filed 05/05/20     Page 331 of 347




         This claim is timely because it was first brought in the Rigged New Hampshire
                                                                                         Action
1662.

         within 28 days after entry of judgment in the Rigged Sorokin Action.

                                                                         Sorokin       Action
1663. This Court should grant leave to amend the complaint in the Rigged

         pursuant to Fed. R. Civ. P. 15.

                                              COUNT 74

(Claim for Relief from Judgment pursuant to Mass. R. Civ. P. 60(b)(4) against the OFFICE
 OF THE ATTORNEY GENERAL OF THE COMMONWEALTH, MASSACHUSETTS
                APPEALS COURT, and SUFFOLK SUPERIOR COURT)

1664. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully
                                                                                    set


          forth herein.

1665. Rule 27 of the Massachusetts Rules of Appellate Procedure holds that "{a]
                                                                                petition    for


          rehearing shall be decided by the quorum or panel which decided the appeal."

 1666. No notice was provided to THE RELATOR that Rule 27 of the Massachusetts
                                                                               Rules             of

          Appellate Procedure had been suspended before NEYMAN joined a new panel in

          ultimately disposing of the appeal of the dismissal of the Qui Tam Action.

 1667. No notice was provided to THE RELATOR that NEYMAN had joined the panel

          disposing of the appeal of the dismissal of the Qui Tam Action before NEYMAN joined a

          new panel in ultimately disposing of the appeal of the dismissal of the Qui Tam Action.

 1668. This claim was originally brought through the Rigged New Hampshire Action.

 1669.    The judgment of the Massachusetts Appeals Court affirming the dismissal of the Qul Tam

          Action is void for failure to conform to the requirements of the Due Process Clause.




                                                  332
      Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20     Page 332 of 347




1670. The judgment of the Massachusetts Appeals Court affirming the
                                                                    dismissal   of the Qul Tam

      Action must be vacated in order to conform to the requirements of the Due Process

      Clause.

                                        COUNT 75

(Claim for Relief from Judgment pursuant to Mass. R. Civ. P. 60(b)(5) against the
                                                                                  OFFICE
  OF THE ATTORNEY GENERAL OF THE COMMONWEALTH, MASSACHUSETTS
                APPEALS COURT, and SUFFOLK SUPERIOR COURT)

1671. THE RELATOR incorporates the foregoing paragraphs and allegations
                                                                        as      if fully set

       forth herein.

                                                                         longer      be longer
1672. Applying the judgment in the Qui Tam Action prospectively would no

       equitable.

                                                                            in the   Qui Tam
1673. This claim was originally brought within one year of entry ofjudgment

       Action through the Rigged New Hampshire Action.

1674. The judgments in the Qui Tam Action should be vacated according to the principles
                                                                                               of

       equity.

                                         ri1uJ'*I-1

 (Claim for Relief from Judgment pursuant to Mass. R. Civ. P. 60(b)(6) against the OFFICE
   OF THE ATTORNEY GENERAL OF THE COMMONWEALTH, MASSACHUSETTS
                 APPEALS COURT, and SUFFOLK SUPERIOR COURT)

 1675. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully
                                                                                          set


        forth herein.

 1676. Allowing the judgment in the Qui Tam Action to stand would be a gross miscarriage
                                                                                                of

        justice.



                                              333
      Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20     Page 333 of 347




1677. This claim was originally brought within one year of entry of judgment in the Qul Tam

      Action through the Rigged New Hampshire Action.

1678. The judgment in the Qui Tam Action should be vacated to avoid a gross miscarriage of

      justice.

                                         COUNT 77

     (Claim for Relief from Judgment pursuant to Fed. R. Civ. P. 60(b)(2) against the
                     COMMISSIONER, DOJ, and the United States)

1679. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1680. There is newly discovered evidence that, with reasonable diligence, could not have been

       discovered in time to move for a new trial under Rule 5 9(b) in the Rigged O'Toole

       Action.

1681. DOJ published statistics for Equitable Sharing Program payments from federal Fiscal

       Year 2015 on or about January 27, 2016, which is when the appeal of the dismissal of the

       Rigged O'Toole Action was pending in the U.S. COURT OF APPEALS FOR THE

       FIRST CIRCUIT.

1682. This claim was originally brought within one year of entry of judgment in the Rigged

       O'Toole Action through the Rigged Sorokin Action and the Rigged New Hampshire

       Action.

1683. The judgment in the Rigged O'Toole Action should be vacated based on the newly

       discovered evidence.




                                              334
        Case 6:20-cv-00362-ADA        Document 1       Filed 05/05/20     Page 334 of 347




     (Claim for Relief from Judgment pursuant to Fed. R. Civ. P. 60(b)(3) against the
                     COMMISSIONER, DOJ, and the United States)

1684. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

        forth herein.

1685. The judgment in the Rigged O'Toole Action involved fraud, misrepresentation, and/or

        misconduct by an opposing party.

1686. This claim was originally brought within one year of entry of judgment in the Rigged

        O'Toole Action through the Rigged Sorokin Action and the Rigged New Hampshire

        Action.

1687. The judgment in the Rigged O'Toole Action should be vacated based on fraud,

         misrepresentation, and/or misconduct by an opposing party.

                                           COUNT 79

        (Claim for Relief from Judgment pursuant to Fed. R. Civ. P. 60(b)(5) against the
                        COMMISSIONER, DOJ, and the United States)

1688. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

         forth herein.

1689. Applying the judgment in the Rigged O'Toole Action prospectively would no longer be

         longer equitable.

1690.    This claim was originally brought within one year of entry of judgment in the Rigged

         O'Toole Action through the Rigged Sorokin Action and the Rigged New Hampshire

         Action.



                                                335
     Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20    Page 335 of 347




1691. The judgment of the Rigged O'Toole Action should be vacated according to the

      principles of equity.'




     (Claim for Relief from Judgment pursuant to Fed. R. Civ. P. 60(b)(6) against the
                       COMMISSIONER, DOJ, and the United States)

1692. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

      forth herein.

1693. Allowing the judgment in the Rigged O'Toole Action to stand would be a gross

       miscarriage of justice.

1694. This claim was originally brought within one year of entry ofjudgment in the Rigged

       O'Toole Action through the Rigged Sorokin Action and the Rigged New Hampshire

       Action.

1695. The judgment in the Rigged O'Toole Action should be vacated to avoid a gross

       miscarriage of justice.

                                         COUNT 81

 (Claim for Relief from Judgment pursuant to Fed. R. Civ. P. 60(b)(4) and/or 60(b)(6) and
    Leave to Amend Complaint pursuant to Fed. R. Civ. P. 15 against All Defendants)

1696. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1697. TORRESEN was not validly appointed as a United States District Judge and therefore

       did not have jurisdiction to issue a judgment in the Rigged New Hampshire Action.

1698. The judgment in the Rigged New Hampshire Action is void for failure to conform to the

       requirements of the Due Process Clause.
                                             336
      Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20     Page 336 of 347




1699. Alternatively, the judgment in the Rigged New Hampshire Action is void because

      TORRESEN and others obstructed justice in connection with concealing receipt of the

      TORRESEN Mailing.

1700. The judgment in the Rigged New Hampshire Action must be vacated in order to conform

      to the requirements of the Due Process Clause.

1701. This Court should grant leave to amend the complaint in the Rigged New Hampshire

      Action pursuant to Fed. R. Civ. P. 15.

                                          COUNT 82

(Claim for Amended or Additional Findings pursuant to Fed. R. Civ. P. 52(b) and Leave to
        Amend Complaint pursuant to Fed. R. Civ. P. 15 against All Defendants)

1702. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

       forth herein.

1703. Pursuant to Fed. R. Civ. P. 52(b), this Court should amend the findings in the Rigged

       New Hampshire Action based on new allegations involving events occurring after entry

       of judgment in the Rigged New Hampshire Action.

1704. This Court should grant leave to amend the complaint in the Rigged New Hampshire

       Action pursuant to Fed. R. Civ. P. 15.

1705. This claim is timely because it is brought within 28 days after entry of judgment in the

       Rigged New Hampshire Action.




                                                337
           Case 6:20-cv-00362-ADA            Document 1        Filed 05/05/20    Page 337 of 347




                                                   i1PJi   (
                                                                                60(b)(6) and
    (Claim for Relief from Judgment pursuant to Fed. R. Civ. P. 60(b)(4) and/or
       Leave to Amend Complaint pursuant to Fed. R. Civ. P. 15 against All Defendants)

                                                                                     as if fully set
1706. THE RELATOR incorporates the foregoing paragraphs and allegations

           forth herein.

                                                                  District               Judge and
1707. BROOKE JACKSON was not validly appointed as a United States

                                                                                             Action.
           therefore did not have jurisdiction to issue a judgment in the Rigged Colorado

                                                                                          to the
1   708.   The judgment in the Rigged Colorado Action is void for failure to conform

           requirements of the Due Process Clause.

1709. Alternatively, the judgment in the Rigged Colorado Action is void because
                                                                                         JOHN DOE

            i   -x tampered and/or stole THE RELATOR's mail, including a copy
                                                                                   of the judgment in

           the Rigged Colorado Action.

                                                                          to conform               to the
1710. The judgment in the Rigged Colorado Action must be vacated in order

            requirements of the Due Process Clause.

    1711. This Court should grant leave to amend the complaint in the Rigged New
                                                                                 Hampshire

            Action pursuant to Fed. R. Civ. P. 15.




    (Claim for Relief from Judgment pursuant to Fed. R. Civ. P. 60(b)(2) and Leave to Amend
                Complaint pursuant to Fed. R. Civ. P. 15 against All Defendants)

    1712. THE RELATOR incorporates the foregoing paragraphs and allegations as
                                                                               if fully            set


                forth herein.

                                                                                   as     to the Rigged
    1713. Pursuant to Fed. R. Civ. P. 60(b)(2), there is newly discovered evidence

                                                                                                       time
                Colorado Action that, with reasonable diligence, could not have been discovered in
                                                       338
         Case 6:20-cv-00362-ADA             Document 1      Filed 05/05/20   Page 338 of 347




          to move for a new trial, namely new allegations involving events occurring after entry of

         judgment in the Rigged Colorado Action.

1714. This Court should grant leave to amend the complaint in the Rigged Colorado Action

          pursuant to Fed. R. Civ. P. 15.

1   715. This claim is timely because it is brought within one year days after entry of judgment in

          the Rigged Colorado Action.

                                                COUNT 85

                 (Declaratory Judgment and Related Injunctive Relief pursuant
              to 28 U.S.C. § 2201, 2202 against U.S. TAX COURT, IRS, and DOR)

1716. THE RELATOR incorporates the foregoing paragraphs and allegations as if fully set

          forth herein.

1717. This Court ought to declare and issue a related injunction holding that any notice of

          deficiency sent by IRS or DOR to THE RELATOR is void.

1718. This Court ought to declare and issue a related injunction holding that THE RELATOR

          has timely filed a petition before the U.S. TAX COURT by virtue of the filing of this

          Complaint and the indefinite closure of the U.S. TAX COURT during and after the

          statutory time period to file a petition.

1719. This Court ought to declare and issue a related injunction holding that the U.S. TAX

          COURT violated the law by ordering THE RELATOR to provide the U.S. TAX COURT

          with a copy of the complaint in the Rigged New Hampshire Action.




                                                      339
         Case 6:20-cv-00362-ADA           Document 1          Filed 05/05/20   Page 339 of 347




1720. Absent declaratory and related injunctive relief, THE RELATOR will suffer irreparable

          harm as to accrual of interest and related costs associated with action by IRS and DOR

          against THE RELATOR.

1721. There is no other adequate remedy as to the dispute between THE RELATOR, IRS, and

          DOR regarding allegedly past due payments.

1   722. An injunction is required in order to protect the due administration of justice and the

          rights of THE RELATOR, who does not owe money to but is owed money by iRS and

          I,I.11

1723. Accordingly, this Court ought to enter a permanent injunction prohibiting IRS and DOR

          from pursuing payments from THE RELATOR based on any notice of deficiency sent by

          IRS or DOR.

                                            COUNTS 86-170

1724.     ADAMS, individually and not as a state or federal relator, incorporates the foregoing

          counts 1-85 as if fully set forth herein and re-alleges each of the counts 1-85 in his own

          name as a separate count such that there are a total of 170 counts alleged in this

          Complaint, or such that this Court consider each count of this complaint as a state and/or

          federal relator and separately, as an individual.




                                                    340
     Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20     Page 340 of 347




       WHEREFORE, THE RELATOR and/or ADAMS respectfully request the following relief

from this Court:

1.     As to Count 1 and/or Count 86, enter a permanent injunction against the U.S. Department

       of Justice to compel the production of all records required to be produced pursuant to the

       Freedom of Information Act to THE RELATOR and/or ADAMS.

2.     As to Count 2 and/or Count 87, enter a permanent injunction against the U.S. Department

       of Justice to compel the production of all records required to be produced pursuant to the

       Freedom of Information Act to THE RELATOR and/or ADAMS.

       As to Counts 3 and 4 and/or Count 88 and 89, declare that the Massachusetts Department

       of Revenue violated the Massachusetts Public Records Law to THE RELATOR and/or

       ADAMS. In addition, provide THE RELATOR and/or ADAMS with costs as allowed by

       law and enter a permanent injunction against the Massachusetts Department of Revenue

       to compel the production of all records required to be produced pursuant to the

       Massachusetts Public Records Law.

4.     As to Counts 5 and 6 and/or Counts 90 and 91 declare that the Office of the Attorney

       General of the Commonwealth of Massachusetts violated the Massachusetts Public

       Records Law. In addition, provide THE RELATOR and/or ADAMS with costs as

       allowed by law and enter a permanent injunction against the Office of the Attorney

       General of the Commonwealth of Massachusetts to compel the production of all records

       required to be produced pursuant to the Massachusetts Public Records Law.
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20      Page 341 of 347




       As to Count 7 and/or Count 92, declare that the Secret DOR Directive is unconstitutional

       under the Guarantee Clause and/or Article 20 of the Massachusetts Declaration
                                                                                        of Rights

                                                                                   the executive
       and enter a permanent injunction against the COMMISSIONER precluding

       suspension of the CST.

                                                                                 ADAMS
6.     As to Counts 8-43 and/or Counts 93-128, award THE RELATOR and/or

                                                                                           relief
       compensatory damages in an amount to be determined at trial and order injunctive

       as this Court may deem appropriate.

       As to Count 44, declare that OBAMA is not a natural born citizen of the
                                                                                 United States


       and was therefore never eligible to be President of the United States, and accordingly,

       declare that each of the judicial commissions for the FAKE FEDERAL JUDGES was

        void ab initio and ordering injunctive relief for removal of each of the FAKE
                                                                                        FEDERAL


        JUDGES.

        As to Counts 45-57 and/or Counts 130-142, award THE RELATOR and/or ADAMS

        treble damages and costs in an amount to be determined at trial and order injunctive
                                                                                               relief

        as this Court may deem appropriate.

 9.     As to Counts 58-63 and/or Count 143-148, award THE RELATOR and/or ADAMS

        compensatory damages in an amount to be determined at trial and order injunctive
                                                                                             relief

        as this Court may deem appropriate.

                                                                                            30
 10.    As to Counts 64-69 and Counts 149-154, award THE RELATOR and/or ADAMS

                                                                                             the
        percent of the proceeds of settlement of or recovery of property and/or funds from

        enumerated violations of the False Claims Act, or such amounts as this Court deems
                                                                                                 just

         and proper, and award injunctive relief as this Court may deem appropriate.
                                                342
       Case 6:20-cv-00362-ADA         Document 1       Filed 05/05/20        Page 342 of 347




11.    As to Counts 70 and 71 and/or 155 and 156, grant the requested declaratory and related

       injunctive relief.

12.    As to Count 72 and/or. Count 157, vacate the judgment and/or order in the Parallel State

       Action (Suffolk Superior Court case number SUCV-2017-3165E), grant leave to amend

       the complaint in the Parallel State Action with this Complaint serving as the amended

       complaint, as well as order injunctive relief as this Court may deem appropriate.

13.    As to Count 73 and/or Count 158, vacate the judgment and/or order in the Rigged

       Sorokin Action (U.S. DISTRICT COURT FOR THE DISTRICT OF

       MASSACHUSETTS case number 18-11383-LTS), grant leave to amend the complaint in

       the Rigged Sorokin Action with this Complaint serving as the amended complaint, as

       well as order injunctive relief as this Court may deem appropriate.

14.    As to Counts 74-76 and/or Counts 159-161, vacate the judgments and/or orders in the

       Qué Tam Action (Suffolk Superior Court case number SUCV-2014-2090D) as well as

       order injunctive relief as this Court may deem appropriate.

15.    As to Counts 77-80 and/or Counts 162-165, vacate the judgments and/or orders in the

        Rigged O'Toole Action (U.S. DISTRICT COURT FOR THE DISTRICT OF

        MASSACHUSETTS case number 14-14303-GAO) as well as order injunctive relief as

        this Court may deem appropriate.

 16.    As to Counts 81 and/or Count 166, vacate the judgment and/or orders in the Rigged New

        Hampshire Action (U.S. DISTRICT COURT FOR THE DISTRICT OF

        MASSACHUSETTS case number 19-11283-NT (transferred from District of New

        Hampshire to Massachusetts)) and grant leave to amend the complaint in the Rigged New
                                               343
      Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20     Page 343 of 347




      Hampshire Action with this Complaint serving as the amended complaint, as well as

      order injunctive relief as this Court may deem appropriate.

17.   As to Counts 82 and/or Count 167, amend the findings in the Rigged New Hampshire

      Action (U.S. DISTRICT COURT FOR THE DISTRiCT OF MASSACHUSETTS case

      number 19-11283-NT (transferred from District of New Hampshire to Massachusetts))

      and grant leave to amend the complaint in the Rigged New Hampshire Action with this

      Complaint serving as the amended complaint, as well as order injunctive relief as this

      Court may deem appropriate.

18.   As to Counts 83 and/or Count 168, vacate the judgment and/or orders in the Rigged

      Colorado Action (U.S. DISTRICT COURT FOR THE DISTRiCT OF COLORADO case

      number 20-111 -RBJ) and grant leave to amend the complaint in the Rigged Colorado

      Action with this Complaint serving as the amended complaint, as well as order injunctive

      relief as this Court may deem appropriate.

19.   As to Count 84 and/or Count 169, vacate the judgment and/or order in the Rigged

      Colorado Action (U.S. DISTRICT COURT FOR THE DISTRICT OF COLORADO case

      number 20-111 -RBJ) and grant leave to amend the complaint in the Rigged Colorado

      Action with this Complaint serving as the amended complaint, as well as order injunctive

      relief as this Court may deem appropriate.

20.   As to Count 85 and/or 170, grant the requested declaratory and related injunctive relief.

21.   In general, declare that each of the FAKE FEDERAL JUDGES are not federal judges,

       because their judicial commissions were signed by OBAMA, who was and is ineligible to

      hold the Office of President of the United States.

                                              344
      Case 6:20-cv-00362-ADA          Document 1       Filed 05/05/20      Page 344 of 347




22.   In general, declare that the RICO ASSOCIATES cannot, to the extent that each is and/or

      will be a government official, participate in any case or matter in which THE RELATOR

      and/or ADAMS is a party and/or has an interest in the outcome.

23.   In general, declare that the OFFICE OF THE ATTORNEY GENERAL OF THE

      COMMONWEALTH has a disqualifying conflict of interest in any case involving THE

      RELATOR and/or ADAMS.

24.   In general, declare that THE RELATOR and/or ADAMS is entitled to the maximum

      potential bounty in the Qul Tam Action, or such other amount as this Court deems just

      and proper.

25.    In general, declare that THE RELATOR and/or ADAMS is entitled to the maximum

      potential bounty in the Second Qui Tam Action, or such other amount as this Court deems

      just and proper.

26.    In general, declare that THE RELATOR and/or ADAMS is entitled to the maximum

       potential bounty in this action, or such other amount as this Court deems just and proper.

27.    In general, declare that THE RELATOR and/or ADAMS is entitled to $360,000, or thirty

       percent of $1.2 million, as the relator in the Qui Tam Action, or such other amount as this

       Court deems just and proper.

28.    In general, declare that THE RELATOR and/or ADAMS is entitled to $4,057,200, or

       thirty percent of $13,524,000, as the relator in the Second Qui Tam Action, or such other

       amount as this Court deems just and proper.

29.    In general, declare that THE RELATOR and/or ADAMS is entitled to all expenses

       incurred in connection with proceeding pro se as the relator in the Qui Tam Action, the
                                               345
      Case 6:20-cv-00362-ADA         Document 1        Filed 05/05/20      Page 345 of 347




      Second Qué Tam Action, and all state and federal actions arising out of or related to the

      Qué Tam Action and the Second Qué Tam Action, including, but not limited to, this

      Complaint.

30.   In general, order culpable defendants to make restitution to THE RELATOR and/or

      ADAMS for all expenses incurred by THE RELATOR and/or ADAMS in connection

      with proceeding pro se as the relator in the Qui Tam Action, the Second Qué Tam Action,

      as well as all state and federal actions arising out of or related to the Qué Tam Action and

      the Second Qué Tam Action, including this Complaint, in an amount to be determined at

      trial.

31.    In general, award THE RELATOR and/or ADAMS his attorneys' fees as is just and

       proper.

32.    In general, calculate any award to THE RELATOR and/or ADAMS with interest, costs,

       and fees in the Qué Tam Action, the Second Qué Tam Action, as well as all state and

       federal actions arising out of or related to the Qui Tam Action and the Second Qué Tam

       Action.

33.    In general, where allowed by law, afford THE RELATOR and/or ADAMS punitive

       damages in an amount to be determined at trial.

34.    In general, afford THE RELATOR and/or ADAMS such other relief as is just and proper.




                              [SIGNATURE PAGE FOLLOWS]



                                               346
Case 6:20-cv-00362-ADA    Document 1        Filed 05/05/20   Page 346 of 347




                  Respectfully Submitted,




                  JOHN ADAMS
                  (formerly Jaideep S. Chawla)
                  PROSE
                  Mailing Address:
                  12 Lexington Avenue
                  Charlestown, MA 02129

                  Dated: April 28. 2020




                                  347
                         1T!
    y sp.ecifie.d for domestic use.
     JGTM included to
                        many major
     Page 347 of 347




    estinations.
    itional insurance.
    Ie,
    online.                                                                                                                     -                      ---
     rnatIonaHy, a customs
    y be required.
                                                                                                                                                                        U.S. POSTAGE
                                                                                                                                    P
                                                                                                                                                                              $23.85
                                                                                                                                                                          PM 3-DAY
     Filed 05/05/20




                                                                                                                                                                         03038 0004
                                                                                                                                                                         Date of sale
                              P R'I 0 R'I T
                                                                                                                                                                        04/28/20
                                                                                    y®UNITED S7TES                                                                      06    2S
                                                              *                     POSThL SERVIcE®                                                                      11486400w
                                                                               VJSITUSATUSPS.COMa
                                                                               ORDER FREE SUPPLIES ONLINE
                                                                                                                                           PRIORITY MAIL 3-DAY®
                              FROM:                                                                                                                                               41b7.QOoz
                                                                                                                                    EXPECTED DELIVERY DAY: 05/04/20
                                                                                           S.
                                          r                       (E,rv&-\1
                                                                                                                                                        )e                              0004
     Document 1




                                                                ARUE.
                                                                                                                                           Ckxk-
                                                      TO:
                                                               J'AA tDI20\
                                                              (fS                                                                          u     D5cn1-  (t
                                                                                                                                                       jWcJ oI-       ->S     C096
                                                     U s. 0    t4               \-Ur.   Ocw cJ- t' (eXcS                            SHIP
                                                                                                                                    TO:
                                                         co   fc,'rUt
                                                                           i
                                                                          AQevue,                                                      800 FRANKLIN AVE
     Case 6:20-cv-00362-ADA




                                                                   -.'                                                                 RM380
                                                          NO.Q,     \x'       i1Cfl                                                    WACO TX 76701 -1 934
                              Label 228, July 2013                 FOR DOMESTIC AND INTERNATIONAL USE
                                                                                                                                            USPS TRACKING® NUMBER
                                                                                                                                4     1II
I   G ENVELOPE                                                                                                                         iiiI
                                                                                                             To schedule free                  9505 5066 3216 0119125384
                                                                                                                                                                                               I
                                                                                                             Package Pickup,
                                                                                                            scan the OR code.
                                                                                                                                                                                        ___
I 1HlJllhiI11iIliII                                  A
